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  Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM


                         IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                                  IN AND FOR SARASOTA COUNTY, FLORIDA
                                              CIVIL DIVISION

          VINCENT DERAMO, JR.,
          TRACY DERAMO, as Husband and Wife, and
          VINCENT W. DERAMO AS TTEE U/A AS TO
          AN UNDECIDED Yz INTEREST AND
          TRACY DERAMO AS TTEE U/A AS TO AN
          UNDECIDED Yz INTEREST, and
          HOMES BY DERAMO, INC.,

                    Plaintiffs,

          vs.                                                            Case No: 2017 CA
                                                                                             -----
          WORLD BUSINESS LENDERS, LLC, and
          WBL SPE II, LLC

                    Defendant.


                                                        COMPLAINT

                    Plaintiffs, VINCENT DERAMO, JR., TRACY DERAMO, and HOMES BY DERAMO,

          INC., sue Defendants, WORLD BUSINESS LENDERS, LLC and WBL SPE II, LLC, and

          allege:

                                                   COUNT I
                                            DECLARATORY JUDGMENT

                    1.      This is a cause of action seeking a declaratory judgment pursuant to Florida

                            Statutes Chapter 86.

                    2.      Vincent DeRamoi Jr. and Tracy DeRamo are husband and wife and residents of

                            Sarasota County, Florida.

                    3.      Homes by DeRamo, Inc. (hereinafter sometimes referred to as "HBD") is a

                            Florida corporation that performs general contractor services in Sarasota County,




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                Florida. Vincent DeRamo, Jr. is the President and CEO of Homes by DeRamo,

                Inc.

          4.    On March 27, 2001, Vincent DeRamo, Jr. and Tracy DeRamo transferred their

                Homestead property for estate planning purposes to VINCENT W. DERAMO AS

                TTEE U/A AS TO AN UNDECIDED Y2 INTEREST AND TRACY DERAMO

                AS TTEE U/A AS TO AN UNDECIDED \ti INTEREST. It remains their

                Homestead.

           5.   World Business Lenders, LLC (hereinafter sometimes referred to as "WBL") is a

                New York corporation with its principal office in New York City.

           6.   Upon information and belief, WBL SPE II, LLC (hereinafter sometimes referred

                to as "WBL SPEH) is an affiliate of World Business Lenders, LLC, and is a

                Delaware corporation.

           7.   In the Fall of 2015, HBD became in need of a short term loan for cash flow

                purposes.

           8.   WBL contacted Vincent DeRamo, Jr. and HBD proclaiming it was an agent for

                the Bank of Lake Mills, a Wisconsin Bank, and offered to loan HBD $400,000 for

                one year at 15% interest if Vincent DeRamo, Jr. signed a pel'sonal guaranty and

                VINCENT W. DERAMO AS TTEE U/A AS TO AN UNDECIDED \ti

                INTEREST AND TRACY DERAMO AS TIEE U/A AS TO AN UNDECIDED

                Yi INTEREST signed a mo1tgage against their Homestead prope1ty and pledged

                their Sarasota Homestead as collateral.




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           9.    The loan documents were signed in Sarasota, Florida on November 8, 2015 and

                 returned to New York. The promissory note and personal guarantee is attached as

                 Exhibit 1 and the mortgage is attached as Exhibit 2.

           10.   The documents were prepared by WBL, were mailed to WBL, and at no time did

                 the Plaintiffs have any contact with Bank of Lake Mills or the State of Wisconsin.

           11.   Nowhere in any of the loan documents is the rate of interest disclosed.

           12.   From November 15, 2015 through March 23, 2016, HBD made payments totaling

                 $265, 142.60 to WBL in New York.

           13.   On or about March 24, 2016, WBL and HBD negotiated a refinance of the

                 November 8, 2015 loan.

           14.   Again, WBL told Vincent DeRamo, Jr. and HBD that the terms of the loan would

                 be 15% interest, with a one year term.

           15.   Despite the fact that HBD had paid $265,142.60 in less than four months, the

                 $400,000 principal was increased to $457,625, but HBD received only

                 $106,596.84 in additional funds.

           16.   As with the first loan, WBL required that Vincent DeRamo, Jr. sign a guaranty

                 and VINCENT W. DERAlvfO AS TTEE U/A AS TO AN UNDECIDED                    ~

                 INTEREST AND TRACY DERAMO AS TTEE U/A AS TO AN UNDECIDED

                 Vz INTEREST pledge their Homestead as collateral.

           17.   On March 24) 2016, the promisso1y note, guaranty, and mortgage were signed in

                 Sarasota, Florida and returned to WBL in New York. A copy of the promissory

                 note and guaranty is attached as Exhibit 3 and the mortgage is attached as Exhibit

                 4.


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           18.   The documents were prepared by WBL, were mailed to WBL, and at no time did

                 the Plaintiffs have any contact with Bank of Lake Mills or the State of Wisconsin.

           19.   Between March 24, 2016 and May 3, 2016, HBD paid WBL $78,548.82 in New

                 York.

           20.   On the same day as Exhibits 3 and 4 were signed, March 24, 2016; the m01tgage

                 was assigned for Bank of Lake Mills to WBL (Exhibit 5). The assignment was

                 signed by Alex Nadler, Vice President of WBL, as Power of Attorney for Bank of

                 Lake Mills.

           21.   In March of2016, HBD contacted WBL in Ne~ York requesting a loan against

                 two empty lots located in Sarasota County.

           22.   WBL agreed to loan HBD $91,425 at 15% interest for a one year term and

                 required the personal guaranty of Vincent DeRamo, Jr., a m01tgage on the two

                 lots, and a mortgage on the Sarasota Homestead of Vincent DeRamo, Jr. and

                 Tracy DeRamo titled in the name of VINCENT W. DERAMO AS TTEE U/A AS

                 TO AN UNDECIDED Yz INTEREST AND TRACY DERAMO AS TTEE U/A

                 AS TO AN UNDECIDED Yz INTEREST.

           23.   On or about March 16, 2016, the loan documents were signed in Sarasota, Florida

                 and returned to WBL in New York. A copy of the loan and guaranty is attached as

                 Exhibit 6 and the m011gage as Exhibit 7.

           24.   On April 21, 2016~ the lot loan mo1tgage was assigned by Battle of Lake Mills to

                 WBL. This assignment was also signed by Alex Nadler as Vice President of

                 WBL, as Power of Attorney for Bank of Lake Mills. The assignment is attached

                 as Exhibit 8.



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           25.   Between March 16, 2016 and May 3, 2016, HBD paid WBL $14,729.00.

           26.   In May of2016, HBD became aware for the first time that WBL was charging

                 interest at the rate of72% for the November 15, 2015 loan, 73% on the March 24,

                 2016 loan, and 73.6% on the March 17, 2016 loan, and stopped allowing daily

                 payments to be withdrawn from its bank account.

           27.   When HBD confronted WBL with the fact that it ·was being charged an

                 outrageous and usurious interest rate, WBL replied that was because Wisconsin

                 does not have usury loans on commercial loans and that despite the fact that HBD

                 had no contact with the State of Wisconsin, the promissory notes prepared by

                 WBL contained a provision that states that Wisconsin law applies.

           28.   The mortgage, on the other hand, on Page 13 (again, prepared by WBL), state in

                 bold the following:

                        "This mortgage will be governed by Federal law applicable to

                        Lemler and, to the extent not preempted by Federal law, tbe

                        laws of the State of Florida without regard to its conflict of laws

                        p1·ovisions. This mortgage bas been accepted by the Lender in

                        the State of Florida."

           29.   No substantial or normal relation exists between the loans and the State of

                 Wisconsin.

           30.   On May 8, 2017, the $457,625 rn01tgage and the $91,425 mo1tgages were

                 assigned by WBL to WBL SPE II, LLC. Copies of the assignments are attached

                 as Exhibits 9 and 10.




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              31.    WBL SPE II, LLC was aware of the usurious interest being charged on these

                     loans when they accepted the assignments.

             32.     There is a bona fide, actual, present, and practical need for the Declaratory

                     Judgment.

             33.     The Declaration will deal with present asce1tained or asce1tainable states of facts

                     or present controversy as to the state of facts.

             34.     That some immunity, power, privilege, or right of the Plaintiffs is dependent upon

                     the facts and/or the law applicable to the facts.

             35.     All persons who have or reasonably may have an actual, present, adverse and

                     antagonist interest in the subject matter are before the court by proper process.

             36.     The relief sought is not merely for the giving of legal advice by the comt, or to

                     answer questions propounded from curiosity.

             37.     The Plaintiffs contend that Florida law applies and the Florida usury laws must be

                     applied to these loans and that pursuant to Florida Statutes Chapter 687, the

                     interest charged is usurious and such usurious interest shall be forfeited to the

                     Plaintiffs in an amount of double of what the Defendants received, took, or

                     exacted.

             38.     The Plaintiffs are obligated to pay their attorney a reasonable fee and Defendants

                     are Hable for the payment of the Plaintiff's fees.

             WHEREFORE, the Plaintiffs demand that the Court enter a Declaratory Judgment that

      Florida Law applies to these loans and mortgages upon the Plaintiffs 1 Homestead property and

      that the interest received, taken, or extracted by the Defendants is usurious and forfeited in an




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      amount to be doubled by the Comt, and award the Plaintiffs' attorney's fees, interest, and court

      costs.

                                    COUNT II
           FLORIDA DECEPTIVE AND UNFAIR TRADE PRACTICES ACT (''FDUTP N,)

               39.     This is a cause of action seeking damages in ex~ess of $15,000.00 for violation of

                       FDUTPA, Florida Statute 501.201- 501.213.

               40.     Plaintiffs reallege Paragraphs 2 " 31 as if fully set forth herein.

               41.     WBL actions to solicit loans from Florida residents and obtain mmigages upon

                       their Homestead; to misstate the interest to be charged; to prepare loan documents

                       that do not disclose the interest rate charged; and to utilize a "straw man" out of

                       state bank to usurp Florida usury laws, resulting in interest in excess of 72%,

                       73%, and 73.6% are Deceptive and Unfair Trade Practices in violation of

                      FDUPTA.

               42.     As a direct and proximate result of WBL's violation ofFDUTPA, Plaintiffs have

                      sustained damages in excess of $15,000.00.

               43.     Plaintiffs have retained the undersigned attorney and have agreed to pay him a

                      reasonable fee for his services. Defendants are liable for the attorney's fees

                      incurred by Plaintiffs in this action.

               WHEREFORE, the Plaintiffs demand judgment for damages against the Defendants, plus

      interest, attorney's fees, and court costs.

                                         DEMAND FOR JURY TRIAL

               Plaintiffs hereby demand a trial by jury on all issues so triable.




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           Dated: May   2017




                                   Dana J. Watts,
                                   Florida Bar Number: 0292141
                                   1620 Main Street, Suite One
                                   Sarasota, FL 34236
                                   (941) 955-5791 Telephone
                                   (941) 951-2076 Facsimile
                                   dana@danawattslaw.com Primary Email
                                   legalassistant@danawattslaw.com Secondary
                                   Attomey for Plaintiffs




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                                   BUSL'!\IESS LOAN SUMMARY"~




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           Dale:    11/8/2015




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           STATE/COMMONWEALTH OF FL

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           COUNTY OF




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                                                     customers,

           9,DEFAULT:



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             (c) My writOOn representation, $!atement or W<t'!anty made to Lender by Bom:iwer ¢l' any Glllmm.tor is untrue or is
                 breached;



                 any other loan ag,i:eement that Borrower may have with any other lender;



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       !5. MISCELLANEOUS:

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               or requ!rern1;1nt,

         (b) This L•)an Agreement may not be modifted oraily, ~md lllllY be modified only upon written agreement signed hy
             Lender,

         (e) Undet is an FDIC       Wisconsin state cli:a:.-tered bank Md this Loan       is
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           THIS LOAN AGREEMENT.

                                                     BORROVlh"'R: Homes By De Ramo, lnc.
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                                             ACKNOWLEDGMENT


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              COUNTY OF _ _ _ __




                       Notary Public
                                11/ty Commission e:xpires:




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                                  EXHIBIT I
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                                                                                                  COOPERATlON AGllERMENT

           DATE: ll/612015

           m oonnection wiffl the hU$illllSS loan ti:i Bo,."i:'Ower evidellCed by th.e Business Promissory Note and Soourity Ag;~ei:mmt
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                   S'fATE/COMMONWEAI:rH OF FL




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                                                                                                       KAREN E. RUSHING
                                                                                                 CLERK OF THE CIRCUIT COURT
                                                                                                 SARASOTA COUNTY, FLORIDA
                                                                                            SIMPLJFILE                Receipt# 1922036
                                                                                               OocStamp·Mort: $1,400.00

                                                                                                       lntang. Tax: $800.00


                    RECORDATION REQUESTED aY;
                    World Business Lendert, LLC
                    120 Wost 45lh Street
                    New York, NY 10036

                    WHEN RECORDED MAIL TO:
                    Wotld Business Lenders, LLC
                    120 West 46111 Street
                    New York, NY 10036


                                                                                                    FOR RECORDER'S use ONLY




                                                                     MORTGAGE
                    THIS MORTGAGE dated November alh 2015, Is made and executed between Vincent W. DeRamo,
                    Truslee under agreement dated 311100, as to an undivided one-half Interest, and Tracy E. OeRamo1
                    Trustee under agreement dated 317/00, as to an undivided one·hilff Interest, reserving a llfe estate
                    1ntore11t, whose addrest Is 7614 Penlnaular Drive, Sarasota, Fl. 34233 (referred to below as
                    "Grantot") and Bank of Lake MUie, Its Successors and or Assigns, whose address Is 136 e.
                    Madison St., Lake Mllls, WI 635111 (referred to below as "l.en<lar'').
                    GRANT OF MORTGAGE. For valuable consideration, Grantor mortgages and warrants to Lender
                    all of Gran!o(s right, tllle, and interest whether existing or hereafter acquired, ln and to the following
                    described real property, together with all existing or subsequently erected or affixed buildings,
                    improvements and fixtures; atl easements, rights of way, and appurtenances, public or private, now or
                    hereafter used In conneolion with the Property; all rfghls lo make divisions of the land that are exempt
                    from the plaiting requirement$ of all applicable land division andfor platting acts, as amended from time lo
                    llm e; an water, w~ter rights, watercQur$es and dlteh right$ (lnciudi11g $loci< In utl!ltie$ v~lh ditch or irrigation
                    right($); all Personal Property; all licensee, contracts, permits and agreements required or used ln
                    connection with lhe owner&h!p, operaUon or maintenance of the Property; all insurance proceeds.: all
                    awards, inciuding lntere$1, make to Gran!or for any taklng by eminent domain of Iha Property; all existing
                    and future leases. subleases, licenses and other agreements for the use and/or occupancy of the
                    Property, ora1 or wrlllen, Including all extenslons, renewal$, replacements and holders: an Rents from the
                    Property; and au other rights, royaltles, and proms relating to the real property, Including wilhOut llm11atlon
                    au minerals, oil, gas, ge<:itttermal a:nd 11lmllar matters, (the "Real Propertyi') located In Sarasota
                    County, Stat& of Florida:
                    See Exhibit A, which 111 attached to this Mortgage and made a part of this Mortgage as tr fully Ht
                    forth herein.
                    the Real Property or Its address Is commonly known as 7614 Peninsular Drive, Sarasota, PL
                    34233.
                    Cross·Collaterallz.atlon. In addition to the Note, this Mortgage secures all obligations, debts and
                    liablf!Ues, plus lnteresl thereon, -0f Grantor to Lender, or any one or more of them, as well as all cl;:ilms by
                    Lender against Grantor or any ooo or more or them, where now existing or hereafter arlstng, whether


                    FLORIDA~ ReSIDENllAL    PROPP.Rn'· OUAl\ANTOR




                                                                                                                                                 .EXHIBIT




Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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                rel.a!ed or unrelated to the purpose of the Note, whelher voluntary or otherwise, whether due or not due,
                direct or Indirect, determined or undetermined, absolute or contingent, liquidated or unliqufdated whether
                Grantor may be liable Individually or jointly with others, whether obligated as guarentor, surety,
                a¢COO'lmodatlon party or otherwlse, and whether recovery upon such amounts may be or hereafter may
                become barred by any statute of limltatklns, and whether the obligation to repay such amounts may be or
                hereafter may become otherwise unenforceable.
                Grantor uncondltlonally, lrrevo<::ably and presently asslg ns, gran ta, oonveys and eels over to Lender all of
                Grantor's right, tttle and Interest in and to all present and future leases, subleases, licenses and other
                agreements for the use and/or occupancy of the Property, oral or written, Including all e>:tenelons,
                renewals, replacements and holdovers {collectively the 'Lease$') and all Rents from the Property, In
                addition, Grantor grants to Lender a Uniform Commercial Code security Interest In Iha Personal Properly
                and Rents.
                THIS MORTGAGE1 INCLUDlNG THE ASSIGNMENT OP RENTS AND THE SECURITY INTEREST IN
                THE RENTS AND PE!RSONAI. PROPERTY, IS GIVEN TO SE.CURE (A) PAYMENT OF THE
                INDEateDNESS ANO (B) PERFORMANCE OF ANY AND ALL OBL!OA'TIONS UNDER THE NOTE,
                THE RELATED DOCUMENTS, AND iHJS MORTGAGE. THIS MORTGAGE IS GIVEN AND
                ACCEPTED ON THE FOLLOWING TERMS:
               GRANTOR'S WAIVERS. Gtantor walVes all rights or defense.s: arising by reason of any "one action" or
               "anll·defic.leney'' law, or any olher law which may prevent Lender from bringing any a<:Uon against
               Grantor, lrwludlng a ctalm for deflclency to the extent Lender Is otherwise entitled to a c!atm for deficiency,
               before or after Lende(s commencement or tomplellon of any foreclosure aclfon, either judicially or by
               exercise of a power of sale.
               GRANTOR'S REPRESENTATIONS AND WARRANTIES. Granter warrants that: (a) this Mortgage fs
               executed at Borrower's request and not at the request of Lender: (b) Grantor has the full power, right,
               and authorlty lo enter rnto this Mortgage and to hypothecate the Properly; (c) the provlalons of thts
               Mortgage do not eon met w1th, or result Jn a default under any agreement or other instrument binding upon
               Grantor and do not result In a violation of any law, regulation, court decree or order applicable to Grantor:
               {d) Grantor has establlshSd adequate means of obtaining from Borrower on a continuing basis
               Information about Borrower's frnancial condition: and (e) Lender has made oo representation lo Grantor
               ttbout Borrower (fncludtng without llmilatlon the creditworthlness of Borrower).
               PAYMENT ANO PERFORMANCE. Except as otherwise provided In this Mortgage, Botrower shall pay to
               Lender etl lndebtednes$ sooured by this Mortg~e as It becomes due, and Borrower and GrantOI' shall
               s!ri<:Uy perform all Borrower's and Grantor's obligations underlhis Mortgage.
               POSSESSION AND MAINTENANCE OF THE PROPERTY. Sorrower and Grantor agree Iha! Borrower's
               and Grantots P<>Ssasslon and use of the Property shall be governed by the following proVislons:
               Possession and Use, Un!U the occurrence of an Event of Default, Grantor may (1) remain in possession
               and conttol of the Property; (2) use, operate or manage the Property; and (3) collect the Rents from the
               Property.
               Duty to Maintain. Granlor shall maintain lhe P<operty In good cond~lon end promptly perform all repairs,
               replacements, and maintenance nece$SEITY to preserve lie value.
               Compllance With Environmental Laws. Grantor represents and warrants to Lender that: (1) Ourfng the
               period of Grantor's ownership of the Pr<>perty, there has been no use, generation, manufacture, storage,
               treatment, disposal, release or threatened relea$e of any Ha~ardous Substance by any person on, under,
               abou! or from the Properly; (2) Grantor has no knowledge of, or reason to believe that there has been,
               except as previously disclosed to and acknowledged by Lender in writing, (a) any breach orvlolatlon of
               any Envlronmental Laws, {b) any use, generation, manufacture, storage, lrealment, disposal, release or
               threatened release of any Hazardous Substance on, under, about or ftom the Property by any prior
               owners or oocupants of the Property, or {c) any actual or threatened lltlgatron or claims of any kind by any
               person relating to such matters: and (3) Except as previously dlsc!osed to and e.ctnO\'~edged by Lender
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               in writlng, (a) neither Grantor nor any tenant, contractor, agent or other authorized user of the Property
               shall use, generate, manuf~ture, store, treat, dispose of or release eny Hazardous Substance on, under,
               about or from the Property; and (b) any such activity shall be conducted In eompllance with all applicable
               federal, state, and local Javts, regulations and ordinances, Including without limitation all Environmental
               Laws. Grantor auth¢rlzes Lender and lte agents to enter upon the Property to make such inspections and
               tests, at Qran1or's expense, as Lender may deem appropriate to determine oomp11anee of the Property
               with this section of the Mortgage. Any Inspections or tests made by Lender shall be for Lender's
               purposes only and shall not be construed to ereate any responsibility or liabllity on the part of Lender to
               Grantor or to any other person. The representations and warranties contained hareln are based on
               Grantor's due dillgence tn Investigating the Property for Hazardous Sub$lances.
               Grantor end any ocwpants al the Property shall exerolse extreme care In handling Hazardoos
               Substances and, If Grantor or any OCQupant uses or encounters any Hi.uardous Substances at the
               Property, Granlor shall, at Us own cost and expeni>e, in addltkin to oomplylng with all applicable federal,
               state and local laws, regulations and ordinances, tncludlng, without limltatlon, all EnVil'()nmental Laws,
               undertake any and all preventive, investigatory or remedial action {Including emergency response,
               removal, conla!nmenl and other remedial action) nacessary to prevent or minimize (a) property damage
               {Including damage to Grantor's or any occupant's own property), (b) personal Injury, {e) damage to the
               envlronmenl or (d) the threat of any such dam41ge or Injury, ln each case, by reason of any release of or
               exposure to any Hazardous Substances at the Property or the operations of Grantor or any occupant at
               the Property,
               Grantor authotlies Lender and Its agentll lo enter upon the Property to make such Inspections and tests,
               at Grantor's expense, as Lender may deem approprlate to determine compliance of the Property with this
               secUon of this Mortgage. Any inspeeUons or tests made by Lender shall be for Lendefs purposes only
               and shall not be construed to ¢!'eate any responslblllly or l!abl1ity on the part of Lender to Gran!or or to
               any other person. If, pursuant to the section set forth below regarding expenditure& by Lender, Lender
               performs any of the actions required of Grantor under this section of the Mortgage, Lender shall not, by
               reason of such performance, be deemed to be assuming any responsibll!ly of Grantor under any
               Environmental Law or to any third party,
               Grantor shall Immediately ootlfy Lender ul)On be<:Omlng aware of any of the following: (a) any spill.
               release or disposal of any Hazardous Substances at the Property or In oonnecllon \·~th any of operations
               at the Property, If such spill, release or disposal must be reported to any governmental authority under
               appllcable Envlronmental Laws; (b} any oontamlnatlon, or Imminent threat or contamination, of tha
               Property by any Hazardous Substanoos or any vlolatlon of Environmental Laws ln connecllon with the
               Property or any operations conducted at the Property; (c) any order, notice of violation, fine, penalty or
               other similar action by any governmental aUlhorlty reraUng to Hazardous Substances, Environmental
               Laws, the Property or the operations conducted at the Property; (d) any Judlc:laf or administrative
               lnvesllgation or pro~e<llng relallng to Hazardous Substances, Envlronmental Laws, that would glve a
               reasonably prudent lender cause to be concerned that the value of Lender's security Interest In the
               Property may be reduced or threatened or that may Impair, or threaten to impair, Grantor's ability to
               perform any of Its obligations under this Mortgage when such perfo1TI1ance Is due. Grantor shall deliver to
               Lender, at Lender's request, e-0pies of any al1(! all documents in Grantor's possession (or to whleh tt has
               access) relating to Hazardous Substances, Environmental Laws, lhe Property or the operations
               conducted at the Property, inciudin9, without limltatlon, the results of laboratory analyses, site
               assessments or studies, enVironmental audit reports and other consultants' studies and reports.
               Grantot hereby (1) releases and waives any fulure claims against any Indemnified Person (as define<l
               below) for lndemnlty or contribution In the event Grantor becomes Hable for cleanup or other costs under
               any Environmental Laws: and {2) agrees to Indemnify, defend, and hold harmless each Indemnified
               Person against any and all claims, losses, llabiltties, damages, penalties, and expenses which any
               !ndernnlfied Person may directly or indirectly sustain or suffer result!ng from a breach of this section of !he
               Mortgage or as a consequence of {a) any breach of this section of the Mortgage, (b) any use, generation,
               manufacture, ~torage, disposal, release or threatened release occurring during or prior to Oranlor's

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                ownership or Interest In the Property, whelhar or not the same was or should have been known to
                Grantor, {c) any Investigatory or remedial action lnvoMng \he Property, the operations conducted at the
                Property or any other operalloos of Grantor or any occupant at lhe Property that Is raqulred by any
                Erw1ronrnenta1 Laws and (d) the cootarnfnat!on of the Property by any Hazardous Substances, by any
                means whatsoever {ineludlng, without llmltalkm, any mlgratlon of any Hazardous Substances onto the
                Property, present or future. The provisions of this section of the Mortgage, lncludlng the obligation to
                Indemnify and defend, shall survlve the payment of the Indebtedness and the satlsfacl!on and
                teconveyance of the llen of thls Mortgage and shall not be affEl¢ted by Lendets acqulslUon or any Interest
                in the Property, whether by foreclosure or otherwise.
                Nuisance, Waste •. Grantor shall not cause, co·nducl or permlt any nutsanee nor commit, pennlt, or suffer
                any slripptng or or waste on or to the Property or any PQrtlon of the Property. Without limiting the
                generality of the foregoing, Grantor wiU not remove, or grant to any other party the right to remove, any
                Umber, minerals (Including oll and gas), coal, clay, scorlEI, soll, gravel or rock producis without Lendet111
                prior written consent,
               Removal of Improvements. G1antot shall not demolish or remove any Improvements from the Real
               Property without Lender's prior written consent. Ae a condition to the removal of any Improvements,
               Lender may require Granter to make arrangements satisfactory to Lender to replace such Improvements
               with Improvements of at least equal value.
                Lender's Right to Enter. Lender and Lender's agents and representatives may enter upon the Real
                Property at au reasonable Umes to attend lo Lender's interest& an<I to Inspect the Real Property for
                purposes of Grantor's compliance with the terms and conditions of thls Mortgage.
                Subsequent l.lenfl. orantor shall not allow any sub$equent liens or mortgages on all or any portion of
                the Property without the prior written consent of Lender.
               Compl!ance wllh Governmental Requirements. Grantor shall promptly comply with all laws,
               ordinances, and regulations, ncm or hereafter in effect, of all governmental aulhoriltas applleab!e lo the
               use or occupancy of the Property, inciuding without Umttatlon, the Amerlcans with Olsabllak!s Act.
               Gran!or may contest In good fatth any such raw, ordinance, or regulatkm and withhold compliance durlr1g
               any proceeding, !nc!udlng appropriate appeals, so long $s Grantor has notified Lender In wr!\lng prior lo
               doing so aoo so long as, in Lender's sole opinion, Lender's Interests fn the Property are not Jeopardized.
               Lender may require Grantor to post adequate seoortty or a surety bond, reasonably sa!lsfaclory to
               Lender, to protect Lender's Interest.
               Duty to Protect, Grantor agreas, neither to abandon or leave unattended the Properly. Grantor shall do
               all other aets, rn addition to those acls set forth above Jn lhls section, which from the chara<:tar and use of
               the Property are reasonably necessary to protect and preserve the Property.
               DUE ON SALe ~CONSENT BY LENDER. Lender may, al Lender's option, declare Immediately due and
               payable all sums seoutad by this Mortgage upon Iha sale or transfer, wlthout Lende(s prk>r written
               consent, of all or any part of the Real Property, l)J' any interest in the Real Property. A •sale or transfer'
               means the conveyance of Real Property or any right, !Ula or Interest in the Real Property; whether legal,
               beneflcla1 Of equltable; whether voluntary or Jrworuntary; whether by outright sale, deed, lnstaUment sale
               conuact, land contract, contract for deed, leasehold Interest with a term greater than three (3) years,
               laase-opUon cootraet, or by sale, esslgnmenl, or transfer of any beneflclal Interest in or to any land trust
               holding tlUe to Iha Real Property, or by any other method of conveyance of an Interest ro the Real
               Property. lf any Grantor is a corporation, partnership or limite<l lfabllity company, transfer also Includes
               any change In ownership of more than twenty-five percent (25%} of the voting stook, partnership fnterest11
               or limited llabmly company Interests, as Iha case may be, of such Orantor. However, this option shall not
               be exerclsed by Lender If such exercise is prohibtted by federal law or by Florida law.
               TAXES AND LIENS. 1he fOllowlng promlons relating to the taxes and liens on the Property are part of
               thls Mortgage:
               Payment. Grantor shall pay when due (and In all events prior to dellnquency) all taxes, payroll 1axes,
                                                                     4
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               specfal taxes, assessments, water charges and sewer se!Vice charges levied against or on account of the
               Prop·&rty, and shall pay When due all clalms for work done on or for services rendered or material
               furnished to the Property. Grantor shall Matntatn the Property rrea or any !lens having priority over or
               equal to the Interest of Lender under !his Mortgage, except for those liens speclflcally agreed to In wrarng
               by Lender, and except for the llen of laxes and assessments not due as further specified in the Right to
               Contest paragraph.
                Right to Contest. Grantor may wlthh<lld payment of any tax, assess.men!, or claim In connool!on with a
               good fatth dispute over the obligation to pay, so long as Lender's Interest rn the Property Is not
               jeopa~dized. If a lien arises or 1$ fikld a$ a result of nonpayment, Grantor shall within fifteen (15) days
               after the lien arises or, if a llen Is filed, whhin fifteen (15) days after Grantor has notrce of lhe fi1J119 1 secure
               the discharge of the Hen, or If requested by Lender, deposit with Lender cash or a sufficient corpora!a
               surety bond or other se<:Urtty satisfactory to Lender In an amount sufficient to discharge the lien plus any
               costs and reasonable attomeys' fees, or other chargas that could accrne as a result or a foreclosure or
               sate under the lien. In any contest, Grantor shall defend Itself and I.ender and shafl satisfy any adverse
               judgment before enforcement agalnst the Property. Grantor shall name Lender as an addttkmal obllgee
               under any surety bond furnished In the contest proceedings.
               Evidence of Paym ant, Grantor shall upon demand furnish to Lender satisfactory evidence of payment of
               the taxea or assessments and shall authorize Iha appropriate governmental official to deliver to Lender at
               any time a written &tatement or the 1axas and assessments against me Property.
               Notice of construction. Grantor shall no11fy Lender at leaM fifteen (16) days before any work Is
               commenced, any servkes are furnished, or any materlali;1 are suppfied to Iha Property, If any mechanfc's
               lien, matertalmen's lien, or other lien could be asserted on a«:ount of the work, services, or materlals.
               Granlor will upon request of Lender furnf$h to Lender advance assurances aausractory to Lender that
               Granlor can and wlll pay the cost of such improvement$.
               PROPERTY DAMAGE INSURANCE. The following provisions relat!ng to insuring the Property are a part
               of lhls Mortgage:
               Maintenance of Insurance. Grantor aha11 procure and malntaln pollcles of fire insurance with standard
               extended <x>verage endorsements on a repfacement basis for the full insurable value covering all
               Improvements on the Real Property fn an amount sufficient to avoid appl~tlon of any coinsurance
               c:tause, and w~h a standard mortgagee c!susa In favor of Lender. Grantor shall also procure and
               malntaln comprehensive general Uablllty lnsurarioe in auch coverage amounts as Lender may request
               with Lender being named as addltlonai Insured In such llablllty Insurance poUcles. Additionally, Granter
               shell maintain such other lnsuranca, Including but not llmlted to hazard, business Interruption and bolfer
               Insurance as Lender may require. Pollcies shall be wrmen by such Insurance companies and fn such
               form as may be reasonably acceptable to Lender. Grantor shall deliver to Lender certificates of coverage
               from e~h lnaurer containing a stlpulatlon that coverage wl!I not be ca~ooUed or diminished without a
               mlnlmum of thirty {30) days' prior written nollce to Lender and not conlalntng any disclaimer of the
               Insurers liability for faUure to give such notice. Each Insurance policy a1S-O shall Include an endorsement
               providing that coverage In favor of Lendetwfll not be lmpi:itred ln any way by any act, omission or default
               of Grantor or any other person. Should the Real Property be located In an area designated by the
               Director of the Federal Emergency Management Agency as a spix:!al flood hazard area, Granter agrees
               to obtain end malntafn Federal Fklod Insurance, lf available, within 45 days after noliee is given by Lender
               that the Property Is located In a speolal flood hatard area, for Iha full unpaid pr!nc!pal balanoo of the k.lan
               and any prk>r lien& on the property securing the k'.lan, up to lhe maximum po!tcy limits sel under the
               National Flood Insurance Program, or as olherw!se required by Lender, and to maintain such Insurance
               for the term of the loan.
               Applleatlon of Proceeds. Grantor shall promptly notify Lender of any Joss or damage to the Property.
               Lender may make proof of loss ff Grantor raus to do so withfn fifteen (15) days of the casualty. Whether
               or not Lender's seeurlty Is Impaired, Lender rnay, al Lender's eleelkm, receive and retain Iha proceeds of
               any Insurance and apply the proceeds to the reduction of the Indebtedness, payment of any lien affe<:Ung

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               the Property, or the re$toratlon and repair of the Property. If lender elects to apply Iha procae<ls to
               restoration and repair, Gtanlor shall repair or replace the damaged or destroyed Improvements rn a
               maMer sat!sfactory to Lender. Lender shall, upon saUsfactory proof of SU¢h expenditure, pay or
               reimburse Grantor from lhEI proceeds for the reasonable cost of repair or restora~on lf Granlor is not in
               default under this Mortgage. Any proC$edS which have not been disbursed wilhin 180 days after !heir
               receipt and which Lender has not ¢¢mmltted to the repair or restoration of the Property shall be used fillt
               to pay any amount owing to Lender under this Mortgage, then to pay ae<:rued lnterest, and the remainder,
               tf any, shall be applied to the principal balane.e of the Indebtedness. lf Lender hOkl$ any proei!eds after
               payment in full of the lndebledness, sucil proceeds shall be paid to Grantor as Granto~s Interests may
               appear.
               Unexpired Insurance at Sale. Any unexptre<l lnsuran<:e shall Inure to lhe benefit of, and pass to, the
               purchaser oF the Property covered by thls Mortgage at any tn.istee's sere or other sale held under the
               provisions of this Mortgage, or at any foredosure sale of such Property.
               LENDER'S EXPENDITURES. If Granlor falls {A) to keep the Property free of all ta)(es, liens, security
               Interests, encumbrances, and other claims, (Bl to provide any required Insurance on the Property, or (C)
               to make repairs to the Property, then lender may do so, If any action or proceeding Is commenced that
               would materially affect Lende~s Interests In the Property, then Lender on Grento(s behalf may, but Is not
               required to, take any action that Lender believes to be appropriate to prolecl Lendefs Interests, Including
               but not llmtted to discharging costs for Insuring, malntetnl119 aod preserving the Property. All expenses
               lncom!d or paid by Lender for such purposes will then bear lntereat at the rate charged under the Note
               from the date Incurred or paid by Lender to the date or repayment by Grantor. A!I such eXl)eoses wlll
               become a part of the Indebtedness and, at Lender's option, wtll (A) be payable on demand; (B) be added
               to the balance of the Note and be apportioned among and be payable with any installment payments lo
               become due during either (1) the term of any appl!cabte rnsuranee policy; or (2) !he remaining term of the
               Note; or (C) be trea!ed as a balloon payment which will be <!Ue and payable at the Note's maturity. The
               Mortgage also wlll secure payment or these amounts. Tho rights provided for rn this paragraph $hall be In
               addltkin to any other rights or any remedies to whk:h lender may be entitled on aC<:Ount of any default
               and shall be exercisable by Lender to lhe extent perm!tted by applicable law. Any such aciion by lender
               shall not be construed as cunng the default so as to bar Lender from any remedy that l! otherwise would
               have had.
               WARRANTY; DEFENSE OF TITf..E. The followlng provisions re1atlng to ownership of the Property ara a
               part of th" Mortgage:
               Title. Granlor warrants that: (a) Grantor hokls good and mar1<etab1e title of reCOfd to the Property In fee
               slmp~,   free and clear of all liens and encumbrances other than those set forth in the Real Property
               description or In any title Insurance pci!cy, title report, or final tltle oplnlon l~sued in favor or, and aooepted
               by, lender, or have otherwise been previously disclosed to and accepted by Lender rn writing In
               oonneetlon wUh lhlS: Mortgage, and (b) Granlor ha$ the full right, power, and authority to execute and
               dal!ver lhfs Mortgage to Lender,
               Defense or Title. Subjec! to the exceptlon In the paragraph above, Grantor warrants and wlll forever
               defend lhe litre to the Property against !he cf aims of all persons. ln lhe event any aetlon or proceeding is
               commenced !hat quesuona Orantofs tttle or the interest of Lender under this Mortgage, Grantor shall
               defend the action at Grantor's expense. Grantor may be the nominal party tn such proceeding, but
               Lender shall be antilled to participate in the proceeding and lo be represented In the pr~edlng by
               counsel of lender's ctnn Choice, .and Grantor will deliver, or cause to be delivered, lo Lender such
               instruments as Lender may re<iuesl flom !!me to lime lo permit sueh partlctpaUon,
               Compllan ce With Laws. Grantor warrants that the Property and Graotofs use orthe Property complies:
               with au existing applicable laws, ordinances, and regulatlons of governmental authorities.
               Survival of Representations and Warranlles. AH representations and warranties, ~reements, and
               statements Grantor has made !n thl~ Mortgage shall survive the execution and dellvery of this Mortgage,
               shall be continuing In 11ature and shall remain In full force and effect until such tlme as Borrowers
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                Jndebtedness ls paid In full.
               CONDEMNATION. The following provisions relating to condemnation proooedfngs ere a part of this
               Mortgage:
               PtoceedJng$, If any proceeding In conclemna\ion is filed, Grantor shall promptly notify LE!nder In writing,
               and Grantor shall promptly take such steps as may be neceasary to defend the action and obtain lhe
               award. Grantor may be the nominal party In such proceeding, but Lender shall be entitled to partlclpate In
               \he ptocee<llng and to be represented In the proceeding by counsel of Its own choice, and Grantor \•All
               deliver or cause to be deUvered to Lender such Instruments and documentaUon as may be requested by
               Lender from Ume lo time to permit such partlclpatron.
               Appllcatton of Net Proceeds, If all or any pert of the Property Is oondemned by eminent domain
               proetedloge or by any proceeding or purchase lri lleu of condemnatlon, Lender may at its election require
               that all or any portion of the net proceeds of !he award be applied to !he Indebtedness M the repair ol'
               restoration of the Property. The net proceeds or !he award shall mean the award after payment of all
               reasonable costs, expenses, end attorneys' feflS incurred by Lender In connectton wllh the condemnalkm.
               IMPOSITION OF TAXES, FEES ANO CHARGES BY GOVERNMENTAL AUTHORITIES. The following
               provisions rel ating tog overomental taxes, fees and charges are a part of this Mortgage:
               Current Taxes, Fees and Charges. Upon request by Lender, Grantorshall execute $Uch documents In
               addition to this Mortgage and take whatever other act!Dn Is requested by Lender to perfect and conlinue
               Lender's Hao on the Reill Property. Granter shall reimburse Lender for a11 tal(es, as described below,
               together with all expenses Incurred In recording, perfecting or contrnulng this Mortgage, Including without
               limitatron all taxes, fees, documentary stamps, and other <:harges for recording or re-gisterlng this
               Mortgage,
               Taxes. The following shall constitute taxes to which this sectk>n applies: (1) a Sf)ei.)IOc: tax upon this type
               of Mortgage or upon all or any part of the lmtebtedness secured by this Mortgage; (2) a speclflo tax on
               Borrower vmlch Borrower Is authorized or required to deduct from payments on the Indebtedness secured
               by this type of Mortgage; {3) a tax on this type of Mortgage chargeable against the Lender or the holder
               of the Note; and (4) a specific tax on all or any porUon of the Indebtedness or on payments of principal
               and Interest made by Borrower.
               Subsequent Taxes. lf any tax lo whk:h this section appnes Is enacted subseque11t to the date or this
               Mortgage, this even! shall have the same effect ae an Event of Default, and Lender may exercise ariy or
               atl of its avallab!e remedies for an Even! of Default as provided below unleS$ Grantor either (1 ) pays the
               tax before It becomes delinquent, N (2) contests the tax as provided .above In the Taxes and Llans
               section and deposits with Lender cash or a sufficient corporate surety t>ond or other security satisfactory
               to Lender,
               ASSIGNMENT OF RENTS AND LEASES. The following provlslons relating to this Mortgage as an
               as$fgnment of Rents and Leases are a part of this Mortgage:
               License to Grantor. Unless and un!i! Lender exercises ils rlght to collect the Rents as provided below,
               Md so long as no Event of Default exlats, Granlcir shall have a license to (a} remain In possession and
               control of the Property, (b) operate aoo manage the Property and (c) collect the Rents: provided that the
               granting of such license shalt not constitute Lender's consent to Iha use of cash colleteral In any
               bankruptcy proceedings, The foregoing license shall automatically and Immediately terminate, without
               notice to Grantor, upon the occurrence of any Event of Default. After the occurrence of any Event of
               Default, tender may exercise any of the rights and remedies set forth below and/or elsewhere ln this
               Mortgage. Any Ren ls that are collected by Grantor after the occurrence of any Event or Default shall be
               held In trust for the benefit of LMder.
               Grantor's RepresentaUonsi Warranties and Covenants. Grantor represents, warrants and covenants
               that: (a) Grantor has good tltle to the Leases and ts entitled to receive the Rents, In each case, free and
               clear of all rights, loans, liens, encumbrances, and claims, except as disclosed to and accepted by Lender

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               In writing; (b) Grantor has the run right, power and authority lo assign arid ~nvey the Leases and Rents
               to Lender; (o) Grantor has not ptevlously assigned or corweyed the Leases and/or Rents to any other
               person or entity by an Instrument now rn force; (d) Grantor wlll not sell, assi~n. encumber, or otherwise
               dispose or any or Gri:into~s right ln the Leases and/or the Rents; (e) Grantor will fulfill and perform its
               obliga!lons under all Leases and wlU give Lender prompt notice of any defautt in the performan<:e of the
               terms of any of the Leases by either Grantor or any tenant, together with copies of all nonces sent to or
               received by Grantor In connection with any Lease: (f} Grantor will enforce the tenants' obtlgatlons under
               the Leases; (g) Gran!or wur not, In any way enter into any new Lease, amend, assign, cancel, or
               tennlnate any Lease, acx:ept a surrender of any Lease or any leased premises, accept any payment of
               Rent more than one month In advawi or waive, release, discharge or compromtse any Rent or any of the
               obllgatlons of the tenents under any of the Leases, In each case, without the prior wrttten consent of
               Lender; (h} Grantor will appear In and defend or prosewte any action growing out of any Lease, at
               Grantor's cost aod expense; (Q there ts no present default by any tenant under any Lease; 0) all exlsUng
               Leases are In full force and effect end unmodmed; (k) to the best of Grantor's knov.ie<lge, no person or
               entity other than authorized tenants Is In possession or all or My part of the Property; (Q Grantor wlll
               provide coples of any and all Leases and Lease amendments, and all records relating thereto, to Lender
               upon Lender's request.
                I.ender'$ Right to Receive and Collect Rents. Sub) ect to the license granted to Grantor above, Lender
               shall have the right, at any time from aoo after the oowrrence of any C:vant of Default lo coHect and
               receive the Rents. For this purpose, Lender Is hereby grven and granted !he follow!ng rights, powers, and
               authority: (a) Lender may send not~s to ~my and all tenants or the Property advlsing them of this
               assignment and directing all Rents lo be paid directly to Lender or Lender's agent. (b) Lender may (l)
               enter upon and take p0$!1e&s!on of the Properly, 01) demand, collect and receive from the tenants (or from
               any other persons liable therefor) all of the Rents of the Property, (!IQ Institute and carry on all legal
               proceedings necessary for 1he protection of the Property, Including such proceeds as may be necessary
               to recover possession of the Property and collect the Rents, (Iv) remove any tenant or other pe<Sons from
               the Property, (v) enter upon the Property to marntaln !he Property and keep the. serne Jn repair, and pay
                the cosls thereof and of all sarvloos of all employees, including their equipment, and alt continuing costs
               and expenses of matntalnlng the Property In proper repair and condition and (vl) pay all taxes,
               assessments and water utlllt!es and the premiums on fire and olher 1nsurance effected by LeMer on the
               Property: (c) Lender may do any and all things necessary or advlsabla to executed and comply with all
               applicable laws, rules, orders, ordinances and requirements of all governmental agencle$; (d) Lender may
               (l) rent or lease the whole or any part of the Property for such tenns or terms and on such conditions as
               Lender may deem appropriate and (l~ modify, terminate or accept the surrender of any Leases andfor
               waive, release, discharge or compromise any Rent or any obllgatlons of any of the tenants under the
               Leases; (e) Lender may make any payment Including neoessary ~sis, expenses and reasonable
               attorney fa.es, or perform any action required of Grentor under any Lease, without releasing Grointor from
               the obl!gaUon to do so an<I wi1hout notice to or demand on Grantor; (~ Lender may engage such agent or
               agents as Lender may deem appropriate, either in Lender's name or In Granto~s name, to Nlnt and
               manage the Property, lnelodlng the colte<:tlon and apptlooUon of Rents; and (g) Lender may ck> all such
               other things and acts wilh respect to lhe Property, thEI Leases and the Rents as Lender rnay deem
               appropriate and may act exclusively and solely in the place and stead of grantor. Lender ha$ all of the
               power of Grantor for the purposes stated above, Lender shall not be requlred to do any of the foregoing
               aets or thlr'lgs and the fact !hat Lender shall have performeil one or more of the foregoing acts or things
               shall not require Lender to do any other speclfio act or thing. The foregoing rights and remedies of
               Lender are In addition to end no! In !Imitation of the rights and remedtes of Lender under the RIGHTS
               ANO REMEDIES UPON DEFAULT section of this Mortgage iooludlng the rights and remedies $!'II forth In
               the 'Collect Rents• prov!slon, all of which rights and remedies are lncorPorated rnto this ASSIGNMENT
               OF RENT$ seetlon.
               Application of Rents. Any Rents received by Lender shall be appl!fJIJ against th! indebtedness
               Qnchidlng Lender's costs and expenses) In such order or manner as Lendar shall elect rn tts sole
               discretion.

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               Right to Rely. Grantor hereby Irrevocably authorizes and directs the tenants under the lease$ to pay
               Rents to Lender UJ:l¢n written demand by ~ender, with<>ut further consent of Grantor. The tenants may
               rely upon any written $latement delivered by Lender to the tenMts. Any such payment to Lender shall
               oonsUtute payment of Grantor under the Leases. The provisions of !his paragraph are lntended solely for
               the benefit of the !Manis ari<I aha!I never Inure to the benefit of Graritor or any person clalming through or
               under Grentor, other than a tenant who has not received suelt notice. The assignment of ROl\ts and
               Leases set forth herein is not contingent upon any notice or demand by Lender to the tenants.
               Lender In Possession. Lende~s acceptance or this. Mortgage shall not, prior to entry upon and taking
               posseioslon of !he Property by Lender, be deemed to constitute Lender a 'mortgagee In possession,' nor
               obligate Lender to: (a) appear In or defend any prooeedings relating to any of the Leases, the Rents or to
               the Property; (b) taken any action hereunder; (c} expend any money, Incur any expenses or perform any
               obliga\JOns or llablllty under the Leases; or (d) assume any obligation for any deposits delivered lo
               Grantor by any lenant and not de!iveted lo Len<ier. Lender shall not be Hable for any Injury or damage to
               any person or property In or about the Property. Grantor lndemrllnes Lender and holds It harmless from
               all liability or damages which Lender may Incur under any Lease and from all claims ari<I demands which
               may be asserted against Lender by reason of any alleged obtlgatkm on Its psrt to perform any term of any
               Lease.
               SECURITY AGREEMENT; FINANCING STATEMElNTS. The following provisions relaUng to !his
               Mortgage as a security agreement are a part of this Mortgage:
               Security Agreement. This Instrument shall constitute a Security Agreer'!'lent to tile extent any of the
               Property constitutes fixtures, and tender shall have all of the rights of a secured party under the Uniform
               Commercial Code as amended from time to time.
               Security Interest. Grantor hereby authorizes Lender lo file such flnanclng statements with respect to the
               Property as Lender shall deem appropriate and Grantor shall take Whatever other actlon !ti requested by
               Lender to perfect and continue Lender's security Interest tn the Rents and Personal Property. Upon
               request by Lender, Grantor shall lake Whatever action is requested by lender to perfool and conlfnue
               Lende(s security Interest In the Personal Property. In addition to reoordlng this Mortgage In the real
               property records, lender may, al any time and without further aulhorlzatlon from Gtantor. flle executed
               counterparts, copies or reproductions of th!$ Mortgage aa a flnerrctn-a statement. Grantor shall relmburae
               Lender for all expenses lncurre<I fn perfecting or e¢ntinulng lhls security Interest. Upon default, Gmn!OI'
               shall not ram<lve, sever or detach the Pereona1 Property from the Property and shall assemble any
               Personal Property not aff1Xed to the Property In a manner end et a place reasonably convenient to
               Grantor and Lender and make It a.vallable to Lender within three (3} days after receipt of written demand
               from Lender to th& extent permltled by appUeable law.
               Addre&Se1>, The mal!lng addresses of Grantor (debtor) and Lender (secured party) from whk:h
               informaUon ooncernlng the security Interest granted by lhls Mortgage may be ob1alne<l {each as required
               by the Uniform Commerc!al Code) are as stated on the flrst page of thls Mortgage.
               FURTHER ASSURANCES; ATTORNEV•IN·FACT. The following provisions relating to further
               assurances and attorney-In-fact ere a part of this Mortgage:
               Further Assurances. At any time, and from time to lime, upon request of Lender, Grantor wtll make,
               execute and deliver, orwlll cau!e to be made, executed or delivered, lo Lender or to Lender's designee,
               and when requested by Lender, cause to be filed, recorded, refiled, or rerecorded, as !he case may be, at
               such Umes and In such offices and places as Lender may deern appropriate, any and all such mortgages,
               deeds of bus!, security deeds, seculily agreements, flnaoolng statemenls, continuation statements,
               Instruments of fUrther assurance, certificates, and otller document$ as may, In the soll!I opinion of lender,
               be necesaary or desirable In order to effectuate, complete, perfect, continue, or preserve (1) aorrowefs
               and Grantor's obl~atlons under the N-Ote, this Mortgage, and the Related Documents, and (2) the Hens
               and security interests created by this Mortgage as first and prior !lens on the Property, whether oow
               owned or hereafter acquired by Grantor. Unless prohlbtted by law or Len<Jer esrees to Iha contrary in
               writing, Grantor shall relmburs:e Lender for all CO$\S and expenses incurred In connection with the matter&
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               referre<l to tn thta parag(aph,
               Attorney·ln·Fact. If Granter fails to do any of the lhlngs referred to In Iha preceding par8iJraph, Lender
               may do so for and In the name of Grantor and al Grantor's expense, For such purposes, Granto( hereby
               lrreVQCabfy appoints Leooer as Grantor's attomey·in-fact for the purpose of making, &xeeuUng, det!vering,
               filing, recording, and doing all other thlngs as may be necessary or desirable, In Lender's sole opinion, to
               accomplish the mattert referred to In the preceding paragraph.
               FULL PERFORMANCE. If B<lrrower and Granlor pay all the Indebtedness when due, and Grantor
               othl!rwl&e performs all the obligations Imposed upon Grantor under this Mortgage, Lender shall execule
               and d~!liver \o Grantor,a suitable satisfaction of lhis Mortgage and suitable statements of termlnaHon of
               any financing statement on file evidencing Lender's security Interest In the Rents and tha Personal
               Property. Granter wlll pay, If permltted by applicable Jaw, any reasonable tennlnaUon fee as determined
               by Lender from lime to llme.
               EVENTS OF DEFAULT. Each of Iha following and each Event of Default (as detrned In the Note)
               described In Section 8 of the Note, at Lender's option, shall constitute an Evant of Default under !his
               Mortgage:
               Payment Default. Borrower rails to make any payment when due under the Indebtedness.
               Cefault on Olher Payments. Fa!lure of Gtantor within the lime required by thfs Mortgage to make any
               payment for ta:.:es or Insurance, or any other payment necessary to prevent filln9 of or lo effect discharge
               of anyllan.
               Break Other Promises. Borrower or Grantor breaks any promise made to Lender or fails to perform
               promptly at the time and slrlctly in the manner provided In thls Mortgage or in any agreement related to
               this Mortgage.
               False Statements. Any warranty, representation or statement made or furnished to Lender by Borrower
               or Granlor or on Borrowe(s or Grantofs behalf under this Mortgage, the Note or the Related Documents
               Is false or mls!eadlng In any material respect, either now or at the time made or furnished or becomes
               false or misleading at any lime !hereafter.    ·
               Defeotlve Collateralltat1on, This Mortgage or any of the Related Documents oeases to be ln full force
               and effect (Jncludlng failure of any collateral d~ument to create a valid i'!Od perfec!ed security Interest or
               lien) at any time and for any reason.
               Dilath or tnsolvanoy. The dlsaolution of Grantor (regardless or whether election to conUnue Is made),
               any nwmber or partner withdraws from !he lhnited llablll!y company or Umlted partnership, or any other
               termination of Granto~s existenca as a going bvslness or the death of Borrower or Grantor, the
               insolvency of Sorrower or Gra.ntor, the appointment of a receiver for any part of 8(1rrowe~s or Grantor's
               property, any assignment for the benefit of credftors, any type of creditor wo1kout, or the commencement
               of any procMd!ng under any bankruptcy or insolveocy laws by or against Borrower or Gra;ntor.
               Creditor or Forfeiture Procet1dln9s. Commencement of foreclosure, replevln, repossesston,
               atlachment, levy, exei;utlon, or folfeltvre proceedings, either by )l.ldfo!<ll proceeding, self·help, or any other
               method, by any credltor of Grantor, or by any governmental agenoy agall'\St the Collateral or any other
               issets of Grantor, This includes a garnishment of any of Grantor's accounts, including depo5ft a¢X!Unts,
               with lender. However, this Event of Default shall not apply If there Is a good faith dispute by Grantor as to
               the validity or reasooablene$$ of me cta!m which le the basls of the creditor or forlelture proceeding and If
               Granlor gives Lender written nolice of the creditor or forfeiture p1oceootng and deposits with Lender
               monies or a surety bond for the creditor or forlelture proceedings, In an amount determined by Lender, In
               its sole discretion, as being an adequate reserve or bond for the dispute.
               Taking of the Property. Any credltor or governmental agency tries to take any of tha Property or any
               other of Borrowe~s or Grenlor's property tn which Lender he$ a lien. This Includes taking of, gamishlng of
               or levying on Borrower's or Grantor's accounts with Lern:ler. However, If Borrower or Grentor disputes in
               good faUh whether the cfalm on which the taklng of the Property Is based Is val!d or reasonable, and if
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               Borrower or Orantor gives Lender written nollce of the clafM an<l furnishes Lender with monies or a surety
               bond sall$factory to Lender to satisfy lhe crarm, then this default provlslon will not apply,
               Breach of Other Agtettment. Any breach· by Borrower or Grantor under the terms of any other
               agreement between Borrower or Granlor and Lender that Is not remedied within any grace period
               provided therein, including without llmftatlon any agreement concerning any Indebtedness or other
               obllgatlon of Borrower or_Grantor to Len<ler, whether existing now or rater.
               Adveree Change. A material adYerse change occurs in Grantor's flnanc.lal condition, or Lender bal!eves
               the prospect of payment or performance of the Indebtedness Is Impaired.
               Events Affecting Guarantor. Any of the preceding events w.:urs with resp~t to any guaranlor,
               end<l!'$er, surety, or accommodation party of any or the Indebtedness or any 9uarantor, endorser, surety,
               or aceommodatlon party dies Of be<:omes Incompetent, or revokes or disputes the validity of, or llab!llty
               under, ariy Guaranty of.the lndebtednes$.
               Insecurity, Lender in good faith believes ltselr Insecure.
               RIGHTS ANO REMEDIES ON DEFAULf. Upon the occurrence of an E1Jent of Default and at any ttme
               thereafter, Lender, al Lende~s option, may exercise any one or more of the follow!ng rights and remedies,
               in addition to any other rights or remedies provided by law:
               Accelerate Indebtedness. lender shall have the right at its option without notice to Borrower or Grantor
               to declare the entire Indebtedness Immediately due and payable, including any prepayment penally that
               BQrrcwer would be required to pay.
               UCC Remedies. Wrth respect to all or any part of the Personal Property, Lerider shall have a\I the rights
               and remedies of a secured party under the Unlfonn Commercial Code.
               Colle<:t Rents. Lender personally, or by Lender's agents or attorneys may enter Into and upon all or any
               part of the Property, and may exclude Grantor, Grantor's agen!s and servants whol~ from the Property.
               Lender may use, ope1ate, manage and control the Property. Lender shall be enlilled to ootlecl and
               receive all earnings, revenues, rents, issues, profits and Income or the Property and every part thereof, all
               of which shaU for all purposes consU!ute property of Grantot. After ded~l!ng thli! expenses of conducting
               the business thereof, and of alt maintenance, repairs, renewals, replacements, alterations, additions,
               betterments encl IMprovemente and amounts necessary to pay for taxes, assessments, Insurance and
               prior or other property charges upon the Property or any part thereof, as well as just and reasooable
               compensation for lhe services of Lender. Lender shall apply such monies lfrst to the payment of the
               principal of the Note, an<l the Interest thereon, when and as the same shall become payable and second
               the payment of any other sums required to be pald by Grantor under this Mortgage.
               Appoint Receiver. ln the event or a suit being Instituted to foreclose this Mortgage, Lender shelf be
               entitled to apply at any time pending such foreclosure suit to the court having jurisdiction thereof for the
               appointment of a receiver of any or au of the Property, and of all rents, Incomes, profits, issues and
               revenues thereof, from wha!soever source. The parties agree lhat tha court shall forthwith appoint such
               receiver wfth the usual powers and duties or receivers In like cases. Such appointment shall be made by
               the court as a matter of strict right to Lender and without not!ce to Grantor, aoo without reference to the
               adequacy or Inadequacy of the value of the Property, or to Grantor's solvency or any other party
               dafendant to such suit Grantor hereby speclflcally waives the right to object to the appointment of a
               recel11er and agrees that such appointment shall be made as an admitted equity and as a matter of
               absofu!e right to Lender, and consents to the appointment of any officer or employee of Lender as
               receiver. Lender shall nave the right to have a receiver appointed to lake possession of all or any part of
               the Property, wllh the power to protect and preserve the Property, to operate the Property preceding
               foreclosure or sale, and to coHect the Rents from the Property and apply the proceeds, over and above
               the oost of the reeelvershlp, $Salnst the Indebtedness. The receiver may serve without bond If permitted
               by law. Lende(s right to the appcfnlment of a recell/er shall exlsl whether or not the apparent value or the
               Property exceeds !he Indebtedness by a substantial amount. Employment by Lender shall not disqualify
               a person from serving as a receiver.
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               Judicial Foreclosure, lender may obtafn a judicial decree foreeloslng Granlo(s interest In t'lll or any pert
               of the Property.
               Non)udlclal Sale. Upermitted by applicable law, Lender may foreclose Grantor's Interest In all OI' in any
               part or the Personal Property or the Real Property by non·Judlcial sefe,
               Deficiency Judgment. If permitted by appll¢a:ble Jaw, Lender may ob!aln a judgment for any deficiency
               remaining In the Indebtedness due lo Lender after application of all amounts received from the exercise
               of the rights provided in this secllo11.
               Tenancy at Sufferance. If Gtantor remains In possession of the Property after the Property Is sold as
               proVlded above or Lender otherwlse becomes enl!Ued to possess.Jon of the Property upon default of
               Borrower or Grantor, Granter shall l)eoome a tenant at sufferance of Lender or the purchaser of the
               Property and shall, at Lender's opUon, either (1} pay a reasonable rental for lha use or the Property, or
               (2) vacaie the Property Immediately upon the demand of Lender.              ·
               Other Remedies. lander shall have all other rights and remedies provided In this Mortgage or the Note
               or avallable at law or ln equity.
               Sala of the Property. To the extent perrnltled by applicable law, Borrower and Grantor hereby waive any
               and all right to have the Property marshaled. tn exercfstog Its rights and remedies, Lender shall be free to
               sell all or any part of the Property together or separately, In one sate or by separate a.ales. Lender shall
               be entlHed lo bid at any public sate on all or any portion of lhe Property.
               Notice of S11le. Lender will give Grantor reasonable notice of \he time and place of any public sale of the
               Personal Property or of the time after which any private sale or other intended dlsposttlon of 1he Personal
               Property Is to be made. Reasonable noUoo shall mean notice given at least ten (10) day$ before the time
               of the sale or disposition. Any safe of the Personal Property may M made In conjunc!lon with any sale or
               the Real Property.
               Insurance Policies. Lender shall have the right upon an Event or Default, but not the ob!igatloo, to
               assign all of Granto(s fight, tme and interest In and to all po!lclas of Insurance on the Property and any
               unearned premiums paid on such insurance to any receiver or any purchaser of me Property a! a
               fore<:fosure sah~. and Grantor hereby appoints Lender as attorney In fact lei assign and tr•msrer such
               policies.
               Electron of Remedies. All of Lenders rights alld remedies wUI be cumulative and may be exercised
               alone or together. An eleotton by Lender to choose any one remedy will not bar Lender from using any
               other remedy. If Lender decides to spend money or to perform any of Grantor's ob!igatlons under this
               Mortgage, after Grantor's failure to do so, that dec\$!on by Lender wlll flQl affect Lender's right to declare
               Grantor in default and 10 exercise Lender's remed~s. Nothing under thls Mortgage or otherwlae shall be
               construed so as lo Ifmil or restrict the rights and remedies avallab!e to Lender following an Event of
               Default, or ln any way to limit or reslrl¢t the rights and ablHty of Lender to proceed d!reclty against Orantor
               and/or against any other co-maker, guarantor, surety or EJndol'$er and/or to proceed against any other
               eollateral directly or lndlreclly securing the Indebtedness.
               AttorMys' Feos; Expenses. If Lender lnstltutes any suit or action to enforce any of the terms or this
               Mortgage, Lender shall be enlltlad to recover such sum as the court may adjudge reasonable as
               attorneys' rees at trial and upon any appeal. Whether or not any court acllon Is Involved, and to the
               extent not prohibited by law, all reasonable expenses Lender incurs that In Lende(s opinion are
               necessary at any lime for the protec\ion of Its interest or the enforcement of Its right& shall become a part
               of the Indebtedness payable oo demand and shall bear interest at the Note rate from the date of the
               expenditure until repaid. Expenses covered by this paragraph Include, without Hmltallon, however subject
               to any llmlts under applicable taw, Lender's reasonable a\tomeys' fees and Lender's legal expenses.
               wllether or not there rs a rawsult, including reasonable attorneys' fees and expenses for bankruptcy
               proce~lngs (including efforts to modify or vacate any automatic stay or injunction), appeals, and any
               anlk:lpated posl·judgment collection services, the cost of searching records, obtaining t~le repons
               (Including foreclosure reports), surveyors' reports, and appraisal fees and lltla Insurance, lo Iha extent
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               permitted by applicable law. Gran!or also will pay any oourt cos\$, In addition to all other sums provided
               bylaw.
               NOTICES. Any no!iee required to be given under this Mortgage, lnetuding Without lb'rlltallon any notfce of
               default and any notice of sale ehall be giYen in wrtt!ng, and shall be effective when actually delivered,
               when actually received by telefacs!mlle (unles.s otherwl$e required by law), when deposited with a
               nallonally recognized overnight courier, or, if malled1 when deposited in the United S1ati» mail, as first
               class, certified or registered rnail postage prepaid, directed to the addresses shown near the beginning of
               this M-Ortgage, All copies of notices of foreclosure from the holder of any Hen which has priority over this
               Mortgage shall be sent to Lende($ address, as shown near the beginning of this Mortgage. Any person
               may change his or her address for notices under this Mortgage by giving formal written notice to the other
               person or per$Ons, specifying that the purpose of the notkla Is to change the person's address. For notice
               purposes, Grantor agrees to keep Lender informed at all tlmes of Granto(s current addres$. Unless
               otherwise provided or requlred by law, If there Is more than one Granter, any noHce gfven by Lender to
               any Grantor Is deemed to be notice given to all Granton1, It v.111 be recipient Gran!o(s responslbl\lty to tell
               the others ol the notice from Lender.
               JURY WAIVER. THE UNDERSIGNED AND LENDER {BY ITS ACCEPTANCE HEREOF} HEREBY
               VOLUNTARILY, KNOWINGLY, IRREVOCABLY AND UNCONDlTlONALLY WAIVE ANY RIGHT TO
               HAVE A JURY PARTICIPATE IN RESOLVING ANY DISPUTE (WHETHER BASED UPON CONTRACT,
               TORT OR OTHERWISE) BETWEEN OR AMONG THE. UNDERSIGNED AND LENDER ARISING OUT
               OF OR IN ANY WAY RELATED TO THIS DOCUMENT, THE RELATED DOCUMENTS, OR ANY
               RELATIONSHIP BErvVEEN OR AMONG THE UNDERSIGNED AND LENDER WHETHER ANY SUCH
               RIGHT NOW OR HEREAFTER EXISTS. THIS PROVISION IS A MATER.AL INDUCEMENT TO
               LENDER TO PROVIDE THE FINANCING EVIDENCED BY THIS OOCUM!:NT AND THE RELATED
               DOCUMENTS.
               INFORMATION WAIVER. Lel'lder may provide, Without any llmttalion whatsoever, to any one or more
               purchasers, potenti!il purchasers, or affiliates of lender, any Information or knovAedge Lender may have
               about Grantor or about any matter rela1ing to this Mortgage, and Granlor hereby waives any rtght to
               privacy Grantor may have with respec! to such m11tters.
               MISCELLANE:OUS PROVISIONS. The followlr1g miscellaneous provisions are a part of thls Mortgage:
               Amendments. What Is written ln thls Mortgage and in the Related Documents is GrantMs entire
               agreement with lender concemlng the matters oovered by this Mortgage. To be effectlve, any change or
               amendment to this Mortgage must be in wrillng and must be signed by whoever wlll be bound or
               obligated by the change or amendment.
               Annual Reports. If the Property rs used for purposes other than Grantor's reskle11ce, Grantor shall
               furnish to Lender, upon request, a certmed statement of net operating income received from the Property
               during Grantor's prev1oull: fiscal year ln such form and detail as Lender shall require. "Net operating
               Income• shall mean all cash receipts from the Property less all cash expendttures made in connection
               with \he cooperation of the property.
               caption Headings. Caption headings In !his Mortg<ige are for convenience purposes only and are no! lo
               be used to interpret or deflne the pro\llslons of this Mortgage.
               Governing Law. This Mortgage will be governed by federal law appUcable to Lender and, to the
               extent not preempted by federal law1 the laws of the State of Florida without regard to Its confllcts
               of law provisions. This Mortgage has been accepted by Lender In the State of Florida.
               Choice of Venue, If there rs a lawsult, Grantor agrees upon Len<ler's request to submit to the Jurisdiction
               or the courts of Iha State of F!ortda, in the county In which Borrowets followlng address Is localed:
               Sarasota County1 Florlda.
               Joint and Several Liability. All obligations of Borrower and Graotor under this Mortgage shall be joint
               and several, and all references to Grantor shall mean each and every Grantor, and au referen«is to

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               Borrower shall mean each and every Borrower. Thi$ means that each Grantor signing below is
               retponslble for all ob!Jgatlons In this Mortgage.
               No Waiver by Lender. Lender shall no! be doomed to have waived any rlghls under this Mortgage
               unless sueh waiver Is given in writing and slgned by Lender. No delay or omlsslon on lhe part of Lender
               in exercising any right shell operate as a waiver of such right or any other rlght. A waiver by Lender of a
               provision of this Mortgage shall not prejudice or constitute a waiver of Lender's right otherwise lo demand
               strict compliance wtth that provision or any other provision of this Mortgage. No prior waiver by Lender,
               nor any course of dealing between Lender and Grantor, shall constitute a waiver of any of Lender's rights
               or of any of Grantotll obllgallons as to any future transacltons. WMnever the consent of Lender Is
               required under this Mortgage, the granting of such consent by Lender In any inslance shall nol cons!11ute
               wnllnu!ng consent lo sub5e<1uenl Instances where such consent ts requlred and In all cases sooh
               oonsenl may beg ranted or wlthhekl in the sole discretion of Lender.
               Indemnity. Grantor hereby agrees to indemnify, defend and hO!d harmless Lender, and Its officers,
               directors, empl~yeas, agents and representatives (each an ·indemnified Person"), from and against any
               and au llab!ll!les, obligations, clalms, losses. damages, penalUes , actions, judgments, sults, cost&,
               expenses or disbursements of any kind or !la.lures (collecllvety, the ·ctalms'} which may be Imposed on,
               Incurred by or asserted: against any lndemnlned Person (whether or oot caused by an Indemnified
               Person's sole, concurrent or contributory negligence) arising in connection with the Related Documents,
               the Indebtedness or the Property (Including, without IJmllatlon, the enforcement of the Related 0()(,)uments
               and the defense of any tndemnltted Person's actlon and/or Inaction In connection with the Related
               Dooumen!s), except to the Umlled extent that the Clalms against the Indemnified Person are proxfmalely
               caused by such Indemnified Person's gross negligence or willful mleconduct. The indemnlllcalk>n
               provided for In !his section shall survive the termination of this Mortgage and shall extend and continue to
               benefit each Individual or enuty who ls, become OI' has any time b&en an Indem nlfled Person hereunder.
               SeverablUty. If a court of competent )ulisdlcUon finds any provision of this Mortgage to be illegal, lnvalld,
               or unenforceable as to any c1rcumstance, that finding shall not make the offaodlng provision nlega!,
               lnvalkl, or unenforceable as to any other circumstance. If feasible, lhe offending provision shall be
               considered modified as so that It be<:0mes legal, valid and enforceable. If the offending prov!slon cannot
               be so modified, it shall be considered deleted rrom this Mortgage. Unless olherwlse required by law, the
               illegality, lnvalldtty, or unenrorceabllny Qf any provlslon of this Mortgage shall not affect the l~atity,
               valklily or enforceablllly of any other provlslon of this Mortgage.
               Margot. There shall be no merger of the fnterest or estate created by thls Mortgage with any other
               inlerest or estate !n the Proper1y al eny trme held by or for the benefit of Lender In any capacity, without
               the wrlllen e<>nsent of Lender.
               Succe&aors and Assign&. Subject to any llmlta\lons stated In this Mortgage on transfer of Gran!Of's
               1nterast, this Mortgage shall be binding upon and Inure to the benefit of the parties, their su~ssors and
               assign&. If ownership of !he Properly becomes vested Jn a person other than Grantor, Lender, without
               notrce to Grantor, may deal with Grantots successors with reference to this Moogage end the
               Indebtedness by way of forbearance or extension without releasing Grantor from the obligations of this
               Mortgage <>r llabillty under the Indebtedness.
               Time Is of the Essence. Tlme le of lhe essence rn the performance of this Mortgage.
               Waiver of Homestead Exemption. Grantor hereby releases and waives all rights and benef!ls of lhe
               homestead exemption laws of the Slate of Florlda as to all Indebtedness secured by this Mortgage.
               DEFINITIONS, The following words shall have the following meanings when use<! Jn this Mortgage:
               Unless specmcally stated to the contrary, all references to dollar amount& shall mean amounts In lawful
               money of the United States of America, Worde and terms, used In the slngular shall Include lhe plural,
               and the plural sh!lll Include the singular, as the context may require. Words and terms not otherwlse
               defined In this Mortgase shall have the meanings altrlbuted to such terms In the Uniform Commerolal
               Code to the extent that this Mortgage encumbers Personal Property that Is governed: by the Florida

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                Uniform Commercial Code.
               Borrower. The word 1Borrower" means Homes by DeRamo, Inc. and Includes all co-signers and eo·
               makers signing the Note and all their sU<:cessors and assigns.
               Environmental Laws. The words "Environmental Laws" mean any and all state, federal, l0«il and
               foreign statutes, judicial decisions, regulations, ordinances, rules, judgments, orders, decreu, plans,
               Injunctions, permit$, oonoosslons, grants, franchises, 11-censes, agreements and other governmental
               reslrictlons relallng to (I) the protection of human health or the environment, (Ii) the effect of the
               environment on human health, (liQ emissions, discharges or releases of pollutants, contaminants,
               hazardous subslaooes or Wl)stes lnto surface water, ground water or land or (Iv) the manufacture,
               processing, dlstribuUon, use, treatment, storage, d!s:posal, transport or handling of pol!ulanl$,
               contemlnants:, hazardous substances or was\(ls or Ille clean.up or other remediation thereof, Including
               without llmitaHon the Comprehensive Environmental Response, Compensation, and Llablllly Act of 1980,
               as amended, 42 u.s.c. Seetlon 9601 1 et seq. ("CERCLA"), the Svperfund Amendments and
               Reautho!Uatlon Act of 1986, Pub. L. No. 99-499 ("SARA"), the Hawdous. Materials Transportation Act,
               49 U.S.O. Section 1801, el seq., the Resource Conservation and Recovery Act, 42 U.S.C. Section 6901,
               et seq., or other appllcable state or federal laws, rules, or regulations adopted pursuant thereto.
               Event of Default. The WQrds •evenl of Defauit• mean any or Iha events of default set forth In this
               Mortgage In the events or default section of this Mortgage.
               Grantor. The word "Grantor" means Vlneent W. OeRamo, Tru&too under agreement dated 3f7/00; as
               to an undivided one-half lnter&at, and Tracy E, OeRamo. Trustee under agreement dated 317/00, as
               to an undivided onEl·half Interest, reserving a life estate Interest.
               Guarantor. The word 'Guarantor• means Vincent Wllllam De Ramo, Jr.
               Guaranty. The word "Guarantt 1 means the Continuing Guaranty (Unlimited) from Ouarantor to Lander,
               dated Nowm her 6'.11 2015,
               Hazardous Substances, The words ''Hazardous Subslances'1 mean materials that, because of their
               quantity, ooncentratlon or physk\al, chemical or lnfectious characteristic$, may cause or pose a present or
               potential hazard to human health or the environment when Improperly ueed, treated, stored, disposed of,
               generated, manufactured, transported or otherwise handled, The words "Hazardous Substanca'!l'' ere
               used !n their veJY broadest sense and Include without limitation any and all hazardous or to>:!c
               substances, material~ or waste as defined by or listed under the Environmental Laws. The term
               ~Hazardous Substances" also lncludes. without liml!allon, all explosive or radloaclive substances or
               wastes an<! all he1:ardous or toxic substances, wastes or other pollutants, including petto1eum or
               petroleum distillates, asbestos or asbestos containing materials, polych!orinated b!phenyls, radon gas,
               Infectious or medkla! wastes and all other substances or wastes of any nature regulated pursuant to any
               l:ovlronmental Law.
               Improvements. The word •Jmprovemen\$" means all existing and future Improvements, buildings,
               structures, mobUe homes affixed on the Real Property, facllitles, additions, replacements and other
               construction on the Real Property.
               Indebtedness. The word "lndebtedneSl3" means all prlnclpal, Interest, and other amounts, cos\s and
               expenses payable under tha Note or Related Documents, together wilh all renewals of, extensions of,
               modifications of, cons:olidatlons of and substitutions for the Note or Related Documents and any amounts
               expanded or advanced by Lender to discharge Grantots obUgatlons or expenses Incurred by Lender lo
               enfo~ Grantor's obligations under this Mortgage, together wtth Interest on such amounta M provkled In
               this Mortgage. In add~ion, and without llmllaUon, the term •tndebtedness• Includes a1l amounts. identified
               In the Croea-Collateralization paragraph of this Mortgage.
               Lender. The word "Lender• means aank of Lake Mills, Its Successors and or Assigns. The words
               ''suceesso1s or assigns" mean any person or company that acquires any Interest rn the Note.
               Mortgag a. The word "Mortgage" means this Mortgage between Grantor and Lender.

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               Note. ihe word "Note" means the Business Promissory Note and Security Agreement dated November
               6th 2016, In the orlglnar p~nolpal amount of $400,000.00 from B0trowar to Lender, together with all
               renewals, extensions, modlnca!lons, refinanclngs, coosolldatlons, and subatttutlons thereof. The Interest
               rate on the Note is 0.331513939726% per day. The Note Is payable commencing on 11/10/201& and on
               each Busines$ Day thereafter untll 9/0812016 wUh each 4a11y payment equallng $3,047.62, rollowed by a
               final payment of $3,047.42. on 9/0912018, when any remaining outstanding Prlnclpal, Interest and other
               unpald charges shall be due and payable In full. The maturlty date of the Note Is 9/0912016.
               Pel'6onal Ptop&rty. The words ''Personal Property" mean all equipment, fixtures, and Olher articles of
               personal property nCNi or heraafter owned by Grant0<, and now or hereafter a!tached or affixed lo the
               Real Property; together with all accessions, parts, and additions to, all replacements of, and all
               substitutions for, any of $uCh property; and together wtth all proceeds (lnclud!ng without flmltatlon an
               Insurance proceeds and refunds of premiums) from any sale or other d!sposltion of the Property.
               Property. The word "Property" means collecl!Vely the Real Property and the Personal Property.
               Real Property. The words "Real Property" mean the real property, Interests and tights, as further
               desCflbed in thls Mortgage.
               Rolated Documents, The words "Related Ooeuments• mean all promissory notes, credit agreements,
               loan agreements, envrronmental agreements, guaranties, including the Guaranty, any and all other
               guaranties, se<:urlly agreements, mortgages, deeds of true!, security deeds, collateral mortgages, and all
               other Instruments, agreements and d-Ocumenls, whether now or hereafter existing, executed In
               connecllon with the Indebtedness.
               Rents. The word "Rents'' means all present and future rents, revenues, Income, issues, royalties, profits,
               and other beneflts derived ftoM the Property.

                    [SIGNATURE PAGE iO ~OLLOW; REMAINDER OF PAGE INTENTIONALl.V LEFT BLANK]




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                       GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, AND
                       GRANTOR AGREES TO ITS TERMS.


                       GRANTOR: Vincent W. DeRamo AKA Vincent Wiiiiam Oe Ramo Jr., Trustee under agreement
                       dated 3nJOO, as to an undiVlded one-half Interest, reserving a llfe estate Interest

                /Jvw:J$./r#b~/Tl<A Jl~JtJ~zu~v.::z. /~

                                                    INDIVIUAL ACKNOWLEDGMENT


                       STATE OF FLORIDA
                                                         :SS



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                       The foW!,otng rnsJrument was        Q&fore me thls fil_         da~ No
                                                                                        of          h.e.r, £
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                       who has produced f'- /}tr'VW //µ1vas ldentlflcaUon and whO did (did not) take an oath.



                                                                (Signature of Person Taking Acknowledgment)

                                                                     G4// l GnU


                                                                 (Serial Number, lf any)
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               GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, ANO
               GRANTOR AGREES TO ITS TERMS.


               GRANTOR: Tracy E. D&Ramo aka Tracy Elizabeth OeRamo, Trustee under agreement dated 3rT/QO,
               as to an undivided one·he1f Interest, reserving a me estate lnt&rest


              .1ar3J [)g.~tl( il~J~ ~~U)d1iw1 T~
                                             INDIVIUAI.. ACKNOWLEDGMENT

               STATE. OF FLORIDA
                                                 :SS




                                                        (Signature of Person Taking Acknowledgment)

                                                                   r. Go Id
                                                              t;r;il
                                                        (Name of Acknowledger Typed, Printed or Stamped)

                                                         {T1t~d~f~ry
                                                         (Serial Number, lf any)
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                                                              exhibit A

                                                         Legal Descrlnlfon


               ALL THAT CERTAl Ntot or p!eca of ground sit1Jale In the City or Sarasota, County of Sarasota, State of
               Florida.
               Lot 62, SOUTHPOINTE SHORES, Unit No. 2, as per plat thereof, rec<irded In Plat Book 10, Page 68, of
               the Publ!O Records of Sarasota: County, Florida.

               Commonly Known as 7614 PeninauJar Drive, Sarasota, FL 34233
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  Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                                                            BUSINESS LOAN SUM1\'IARY*
          Borrower: Homes By De Ramo, Inc,                                               Lender: Bank of Lake Mills
                        4610 Ashton Rd., Sarasota, Florida, 34233                                  136 E. Madison St., Lake Mills, WI 53551

                                                                Disbmsement to Borrowers:
                                                                            $106,596.84
                                                                       I                       I
                                                           This amount is to be disbursed on 3/17/2016
                                                                                 Fees:

                                                                      I
                                                                             $7i625.00
                                                                                               I
                                                               See Itemization on attached Page 2
                                                                           Adj ustmcnts:
                                                                            $343,403.16
                                                                       1
                                                                                               I
                                                              See Itemization on attached Page 2
                                                                           Loan Amount:
                                                                            $457,625.00
                                                                      I                        I
                                                              See Itemization on attached Page 2
                                                                             -
                                                                      Interest Chnl'ge:
                                                                            $33M86.13
                                                                      I                  I
                                                               See Itemization on attached Page 2
                                                                 Total ReJ)ayment Amount:
                                                                          $791,711.13          1
                                                                       I
                                                              See Itemization on attached Page 2

          Payment Schedule: 251 payments of $3,141.73 due each "Business Day" commencing on 3/18/2016 until 3/17/2017, followed by
          a final payment of$3,136.90 on 3/20/2017 when any remaining outstanding Principal, interest and other unpaid charges shall be
          due and payable in full. "Business Day" means any Monday through Friday, except Federal Reserve holidays. The period
          commencing on 3/18/2016 and ending on 3/20/2017 ls referred to as the "Repayment Period."
          Prepayment: Borrower may make a full prepayment of unpaid Principal at any time accompanied by a prepayment premium.
          The prepayment premium will be equal to the greaterof (a) fifteen percent (15%) of the amount of the unpaid Principal or (b)
          the aggregate amount required to be repaid by Borrower to Lender during the Repayment Period reduced by the sum of (i) the
          aggregate amount of any payments made by Borrower to Lender prior to the date of such prepayment and (ii) the amount of the
          unpaid Principal.
          Charges: Returned (NSF/A CH) Payment Charge: $35.00.
         *If there is any conflict between the terms of this Business Loan Summary and the related Business Promissory Note and Security
         Agreement entered into by Borrower, the terms of the Business Promissory Note and Security Agreement shall govern.
         Bonower hereby aclmowlcclge(s) reading and unclmtanding RH of the infomrntion disclosed above, and receiving a
         completed copy of this Business LoRn Summat'Y on the date indicated below.
         Bon ·~rtR~ &~~~&J.%.v, P.e Rl\R10, Inc.
                        1
                                                    A,,.
         B •     Vtl.r\..WAt UJillitW>t V'-' ~\'lb JY ,
          y.       2a.   ~ nt William De Ramo Jr.
         Pl'inted Name: _ _ _ _ _ __
          .     president
         T1tle: -~--------
                                            .     16           03        2016
         Readj acknowledged and accepted Tins Day __ of Month __ of Year _ _.




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Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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                                            BUSINESS LOAN SUMMARY ITEMIZATION
   FEES                                Description                                                                                  Net Out                    Capitalize
   Processing Fee                      Fee for loan processing                                                                      $0.00                      $795.00
   Nota1yFee                           Fee for notary to witness m01igage signing                                                   $0.00                      $0.00
   Courier & Wire                      Fee to deliver documents and wire fund                                                       $0.00                      $0.00
   Settlement Fee                      Fee for settlement or closing fee                                                            $0.00                      $0.00
   Title Exam Fee                      Fee for title examination                                                                    $0.00                      $0.00
   Business Inspection                 Fee for inspection of business                                                               $0.00 -~,~·"~'~V~~A~,,--
                                                                                                                                                               $0.00
   Estimated Title Fee                 Estimate of Title Fees                                                                       $0.00                      $7,000.00
   Residential Title Insurance         Fee for residential propeiiy insurance                                                       $0.00                      $0.00
   Commercial Title Search             Fee for commercial property lien search report(s)                                            $0.00                      $0.00
   Commercial Title Insurance          Fee for commercial property insurance                                                        $0.00                      $0.00
   Closing Protection Letter           Fee for Closing Protection Letter                                                            $0.00                      $0.00
   Recording Fee                       Fee for title agency to record mo11gage(s)                                                   $0.00                      $0.00
   Endorsement                         Fee for change(s) in title insurance coverage                                                $0.00                      $0.00
   Mo1igage State Tax Stamps           Fee for state tax stamps                                                                     $0.00                      $0.00
   Tax Certification                   Fee for confirming if property tax is current                                                $0.00                      $0.00
   Certificate of Good Standing        Fee for Cet1ificate of Good Standing                                                         $0.00                      $0.00
   Broker Price Opinion Fee            Fee for evaluating the prope11y                                                              $0.00                      $0.00
   Prepaid Fees                        Borrower prepaid fee credit                                                                  ($0.00)                    ($365.00)
   Abstract fee                                                                                                                                                $195.00


                                                                                                            $0.00
                                                                                                 TOTAL FEES $7,625.00
   ADJUSTMENTS
   Principal Balance (Refl Only)       Unpaid principal balance on previous loan                                                    $342,223.16
   Remaining Interest (Refl Only)      Unpaid interest due on previous loan                                                         $0.00
   Interest Due                        Current daily interest charge                                                                $0.00
   Funds Held in Escrow                Amount in escrow to be released upon satisfaction of escrow condition(s)                     $0.00
   Third Party I Payoff                Payoff for Prepayment for Title Fees for 2nd Pati of loan                                    $580.00
   Third Party 2 Payoff                Payoff for Prepayment for BPO on 2nd part of loan                                            $600.00
   Third Party 3 Payoff                                                                                                             $0.00
   Third Party 4 Payoff                                                                                                             $0.00




                                                                                   TOTAL ADJUSTMENTS $343,403.16
   BEGINNING PRINCIPAL
   Loan Amount Before Fees & Costs                                                               $450,000.00
   Total Fees (only if capitalized)    Sum of above itemized fees                                $7,625.00
                                                                       TOTAL BEGINNING PRINCIPAL $457,625.00
   DISBURSEMENT AMOUNT
   Loan Amount Before Fees & Costs                                                                  $450,000.00
   Total Fees (Only ifnet out)         Sum of above itemized fees                                   $0.00
   Total Adjustments                   Sum of above itemized adjustments                            $343,403.16
                                                                                 TOTAL DISBURSEMENT $106j596.84
   INTEREST CHARGES
   Interest Charges                    Total interest to be paid over the term of the loan        $334,086.13
                                                                           TOTAL INTEREST CHARGES $334,086.13
   TOTAL REPAYMENT
   Loan Amount Before Fees & Costs                                                            ... .... .......
                                                                                                    -~-
                                                                                                                $450,000.00
                                                                                                          -~,-,,.,·~~   ~   ~~'"




   Total Fees (only if capitalized)    Sum of above itemized fees                                              -$7,625.00
   Interest Charges                    Total interest to be paid over the term of the loan                      $334,086.13
                                                                                    TOTAL REPAYMENT $791,711.13

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     BUSINESS LOAN AUTHORIZATION AGREEMENT FOR DIRECT DEPOSIT (ACH CREDIT) AND DIRECT PAYMENTS
     (ACH DEBITS)
     Date: 03-16-2016
     DISBURSEMENT OF BUSINESS LOAN PROCEEDS. By signing below, Borrower authorizes Lender to disburse the business loan
     proceeds, as evidenced by the Business Promisso1y Note and Security Agreement executed by Borrower of even date herewith, less the
     amount of any applicable fees, (a) by issuing (i) a check to Borrower or (ii) a check or bank wire to Borrower's checking account
     indicated below (or a substitute checking account Borrower later identifies and is acceptable to Lender) (hereinafter referred to as the
      Designated Checking Account) or (b) by initiating an ACH credit entry to the Designated Checking Account. This authorization is to
     remain in full force and effect until Lender has received written notification from Borrower of its termination in such time and in such
     manner as to afford Lender and Borrower's depository bank a reasonable opportunity to act on it.
     AUTOMATIC PAYI\'IENT PLAN. Enrollment in Lende1Js Automatic Payment Plan is required for approval of the business loan.By
     signing below, Borrower agrees to enroll in the Automatic Payment Plan and authorizes Lender to collect payments required under the
     terms of the Business Promisso1y Note and Security Agreement by initiating ACH debit entries to the Designated Checking Account in
     the amounts and on the dates provided in the Payment Schedule set fo1th in the Business Promissory Note and Security Agreement.
     Borrower authorizes Lender to increase the amount of any scheduled ACH debit ent1y or assess multiple ACH debits for the amount of
     any previously scheduled payment(s) that was not paid as provided in the Payment Schedule and any unpaid charges.This authorization
     is to remain in full force and effect until the loan is paid in full or until Lender has received written notification from Borrower of its
     termination in such time and in such manner as to afford Lender and Borrower's depository bank a reasonable opportunity to act on it.
     Lender may suspend or terminate Borrower's enrollment in the Automatic Payment Plan immediately if Borrower fails to keep
     Borrower's Designated Checking Account in good standing or ifthere are insufficient funds in Borrower'sDesignated Checking
     Account to process any payment. IfBonower terminates this authorization or Lender suspends or terminates Borrowees enrollment in
     the Automatic Payment Plan, Bonower still will be responsible for making timely payments pursuant to the alternative payment method
     prescribed by Lender.
     BUSINESS PURPOSE ACCOUNT, By signing below, Borrower attests that the Designated Checking Account was established by
     Borrowel', and the Joan proceeds will be used for business purposes only and not for personal, consumer, family or household purposes
     or to purchase personal, consumer, family or household goods.
     ACCOUNT CHANGES. Borrower agrees to notify Lender promptly if there are any changes to the Designated Checking Account,
     including routing numbers.
     MISCELLANEOUS. Lender is not responsible for any fees charged by Borrower's depository bank as the result of credits or debits
     initiated under this Authorization Agreement. The origination of ACH transactions to Borrower's Designated Checking Account must
     comply with the provisions of U.S. law.
     Depository Bani{ Name: Suntrust Bank
     Branch: Sarasota
     Branch Add1·ess: PO Box 305183 Nashville, 1N 37230
     Account Name: Homes By Deramo, Inc
     Account#: 0574000060097
     Routing#: 061000104
     Customer Federal Tax ID (EIN): XX-XXXXXXX
     BORROW




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                                                                                      BUSINESS LOAN PURPOSE AFFIDAVIT


      Dote: 3/16/2016
                                                                AFFIDAVIT


      STATE/COMMO:NWEALTH OF------~

                                                                         ss.:

      COUNTY




      In connection with the business loan to Borrower evidenced by the Business Promisso1y Note and Security Agreement of even
      date herewith C'Loan Agreement"), Borrower being first duly sworn on oath deposes and states:

      That the proceeds of the Loan Agreement of FOUR HUNDRED FIFTY-SEVEN THOUSAND SIX HUNDRED TWENTY-FIVE
      DOLLARS AND ZERO CENTS ($457,625.00), being furnished to Borrower will be used for business pm·poses only, and not for
      personal, consumer, family or household purposes or to purchase personal, consumer, family or household goods.

      Subscribed and sworn to by Borrower, under penalty of pe1jmy, this _ _ day of _ _ _, in the year __.



                                                BORROWER: Homes By De Ramo, Inc.

                                                By:   Q;:.;::f TuiUiMI o~ /i'Mll .Jr.
                                                        ZBAA8S3CftTri~·ent wi 11 i am oe Ramo Jr.
                                                Printed Name: _ _ _ _ _ _ __

                                                Title: president




      Subscribed and sworn to me this_ . _day     _ _ _ , in the year __.



      My Commission expires:




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                                  BUSINESS PROMISSORY NOTE AND SECURITY AGREEMENT

      BORROWER: Homes By De Ramo, Inc.

      PRINCIPAL (including pl'Ocessiug fees): $457,625.00

      DATE: 3/16/2016                                                                                                                       \,

      1. l~RQMISg TQ PAY: Homes By De Ramo, Inc. ("Bon·owern), with its principal place of business located at 4610
      Ashton Rd., Sarasota, Florida, 34233, does hereby promise to pay to the order of BANK OF LAKE MILLS, its successors
      and/or assigns ("Lender") at its offices located at 136 E. Madison St., Lake Mills, WI 53551, or at such other location or in
      such other manner as designated by Lender, the sum of FOUR HUNDRED FIFTY-SEVEN THOUSAND SIX
      HUNDRED TWENTY-FIVE DOLLARS AND ZERO CENTS ($457,625.00) plus interest at the daily interest rate set
      forth below in Section 2 in accordance with the payment schedule set f01ih below in Section 3. This Business Promissory
      Note and Security Agreement ("Loan Agreement')) is accepted by Lender in Wisconsin.

      2. INTEREST RATE: The unpaid Principal shall bear interest at the rate of 0.335% per day until paid in full.

     3. PAYMENT SCHEDJJLE/APPLICATION OF PAYMENJS: Borrower shall repay the Principal and interest
     commencing on 3/18/2016 and on each Business Day thereafter until 3/17/2017 with each daily payment equaling
     $3,141.73, followed by a final payment of$3,136.90 on 3/20/2017, when any remaining outstanding Principal, interest and
     other unpaid charges shall be due and payable in full. "Business Day" means any Monday through Friday, except Federal
     Reserve holidays. The period commencing on 3/18/2016 and ending on 3/20/2017 is referred to as the "Repayment Period."

      All payments shall be made by automatic ACH debit from the ''Designated Checking Account" set forth in the Business
      Loan Authorization Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH Debits) given by Borrower to
      Lender or pursuant to an alternative payment method prescribed by Lender, and Bonower shall maintain balances in the
      Designated Checking Account sufficient to make each daily payment due under this Loan Agreement.

     Payments shall be applied on the date received first to late charges and other charges due under this Loan Agreement, then
     to unpaid accrned interest, and then to Principal.

     4. VOLUNTARY PREPAYMENT AND PREPAYMENT PREMIUM: Borrower has the right to prepay the unpaid Principal in
     full at any time, but may not make partial prepayments (except as permitted by applicable law). Any such prepayment of the unpaid
     Principal shall be accompanied by a prepayment premium equal to the greater of (a) fifteen percent (15%) of the amount of the unpaid
     Principal as of the date of such prepayment or (b) the aggregate amount requil'ed to be repaid by Borrower to Lender during the
     Repayme11t Period reduced by the sum of (i) the aggregate amount of any payments made by Borrower to Lende1· pursuant to Section
     3 above prior to the date of such prepayment and (ii) the amount of the unpaid Principal as of the date of such prepayment. This
     prepayment pl'emium is in addition to any and all interest calculated and accrued on the unpaid Principal as of the date of such
     prepayment in accordance with Section 2 above together with all other amounts then due and payable under this Loan Agreement. No
     prepayment is permitted unless all outstanding charges are paid in full as of the date of prepayment. IfBorrower desires to prepay,
     Borrower shall forward a written request to WBLPayoff@wbl.com. In addition, Borrower may contact Lenders Servicing Agent at
     120 W. 45th St. 29th Floor, New York, NY 10036 or at 212-293-8200 and Lenders Servicing Agent shall provide Borrower with the
     amount of the unpaid Principal, prepayment premium, and any other amounts due under the terms of the Loan Agreement as of a date
     designated by Borrower. For the avoidance of doubt, as permitted under applicable law, if the Obligations (as defined below) have
     been accelerated on the happening of an Event of Default (as defined below), payment of Principal and interest shall be deemed a
     prepayment for purposes of this Section 4 and shall be accompanied by a prepayment premium.

     5. RETURNED PAYMENT CHARGE: Borrower will pay a charge of thMy-five clo1lats ($35.00) ("NSF Charge") in
     connection with any payment by check or electronic transfer that is returned unpaid because of an insufficient balance in the
     Designated Checking Account or otherwise.

     6. SECURITY INTEREST: BotTower grants to Lender a security interest in and to any and all property as described below in
     this Section 6 to secure payment of all debts, obligations and liabilities of Boirower to Lende1· evidenced by this Loan
     Agreement or any other loan agreement with Lender (1'0bligations"). This is a continuing security interest and will continue in
     effect even though all or any pmt of the Obligations is paid in full and even though for a period of time Borrnwer may not be
     indebted to Lender. The collateral includes the prope1iy purchased with the proceeds of this Loan Agreement described on
     Schedule A attached to and made a part of this Loan Agreement (' 1Purchase Money Collateral')), the vehicles and other persona\
     property described on Schedule B attached to and made a pait of this Loan Agreement ("Specific Collateral") and all other
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      personal property now owned ot hereafter acquired by Botrower (which, along with Purchase Money Collateral and Specific
      Collateral, is collectively referred to as "Collateral"), including, but not limited to, all goods (except consumer goods), farm
      products, inventoty, equipment, fbrniture, money, instruments, accounts, accounts receivable, contract rights, documents,
      chattel paper, general intangibles, including, but not limited to, all products and proceeds of Collateral and all additions and
      accessions to, replacements of, insurance proceeds of, and documents covering Collateral, all property received wholly or pa1tly
      in trade or exchange for Collateral, all leases of Collateral and all rents, revenues, issues, profits and proceeds arising from the
      sale, lease encumbrance, collection, or any other tempormy or permanent disposition, of the Collateral or any interest therein.
      Botrower agrees that Lender may file any financing statement, lien entry form or other document Lender requires in order to
      perfect, amend or continue Lender's security interest in the Collateral and Borrower agrees to cooperate with Lender as may be
      necessmy to accomplish said filing and to do whatever Lender deems necessaiy to protect Lender's security interest in the
      Collateral. Borrower shall ensure that Lender is named as the only lien holder on the titles to the motor vehicles listed on
      Schedule B to this Loan Agreement as of the date of this Loan Agreement (or the nearest subsequent date as pe1mitted under
      applicable law).

      Bonower shall maintain the Collateral in good condition and repair and not permit its value to be impaired; keep the
      Collateral free from all liens, encumbrnnces and security interests (other than those created or expressly permitted by this
      Loan Agreement); defend the Collateral against all claims and legal proceedings by persons other than Lender; pay and
      discharge when due all taxes, license fees, levies and other charges upon the Collateral; not sell, lease or otherwise dispose
      of the Collateral or permit it to become a fixture or an accession to other goods, except as specifically authorized by Lender
      in writing; and not pennit the Collateral to be used in violation of any applicable law, regulation or policy of insurance.

      Borrower shall pay all expenses and, upon request, take any action reasonably deemed advisable by Lender to preserve the
      Collateral or to establish, determine priority of, perfect, continue perfected, tenninate and/or enforce Lender1s interest in the
      Collateral or rights under this Loan Agreeme11t and, fmther, Borrower authorizes Lender, with full power of substitution, to
      execute in Borrower's name any documents necessmy to perfect, amend or to continue Lender's interest in the Collateral or
      rights under this Loan Agreement or to demand termination of filings of other secured patties. Lender has no duty to protect,
      insure or realize upon the Collateral. Loss of or damage to the Collateral shall not release Borrower from any of the
      Obligations.

      7. FOR BORROWERS OR COLiiATERAL JN LOUISIANA ONLY:

            (a)      Foreclosure. In the event that Borrower is domiciled in, or Collateral is located in, Louisiana, on the
      happening of an Event of Default, Lender shall have the right to commence appropriate foreclosure proceedings against the
      Collateral and against Bmrowet

           (b)      Seizure and Sale of Collateral. In the event that Lender elects to commence appropriate Louisiana foreclosure
     proceedings under the Loan Agreement, Lender may cause the Collateral, or any part or parts thereof, to be immediately
     seized and sold, whether in term of court or in vacation, under ordinmy or executo1y process, in accordance with applicable
     Louisiana law, to the highest bidder for cash, with or without appraisement, and without the necessity of making additional
     demand upon or notifying Borrower or placing Borrower in default, all of which are expressly waived.

            (c)      Executo1y Process. For purposes of foreclosure under Louisiana execut01y process procedures, Borrower
     confesses judgment and acknowledges to be indebted to Lender, up to the full amount of the Obligations, in Principal,
     interest, prepayment charges, NSF Charges, and any other unpaid costs and charges authorized by the Loan Agreement,
     reasonable attorneys' fees and all costs of collection. Borrower forther confesses judgment and acknowledges to be indebted
     unto and in favor of Lende1· in the amount of any additional advances that Lender may make on Bo1rower's behalf pursuant
     to the Loan Agreement, together with interest thereon. To the extent permitted under applicable Louisiana law, Bonower
     additionally waives the following: (1) the benefit of appraisal as provided in Articles 2332, 2336, 2723, and 2724 of the
     Louisiana Code of Civil Procedure, and all other laws with regard to appraisal upon judicial sale; (2) the demand and three
     (3) days' delay as provided uncle!' Articles 2639 and 2721 of the Louisiana Code of Civil Procedure; (3) the notice of seizure
     as provided under A1ticles 2293 and 2721 of the Louisiana Code of Civil Procedure; (4) the three (3) days' delay provided
     under Alticles 2331 and 2722 of the Louisiana Code of Civil Procedure; and (5) all other benefits provided unde1· Articles
     2331, 2722 and 2723 of the Louisiana Code of Civil Procedure and all other Articles not specifically mentioned above.

            (d)    Keeper. Should any or all of the Collateral be seized as an incident to an action for the recognition or
     enforcement of this Loan Agreement, by executo1y process, sequestration, attachment, writ of fieri facias or otherwise,
     Borrower hereby agrees that the court issuing any such order shall, if requested by Lender, appoint Lender, or any agent
     designated by Lender or any person or entity named by Lender at the time such seizure is requested, or any time thereafter,
     as "Keeper" of the Collateral as provided under La. R.S. 9:5136, et seq. Such a Keeper shall be entitled to teasonable
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      compensation. Borrower agrees to pay the reasonable fees of such Keeper, which compensation to the Keeper shall also be
      secured by this Loan Agreement.

      8. REPRESENTATIONS, WARRANTIES, AND COYENANIS: Borrower makes the following representations,
      warranties and covenants:

          (a) Bo1rower is the owner of or is acquiring the Purchase Money Collateral free of all liens, encumbrances and
              security interests (except Lender's security interest), and is the owner of all other Collateral free of all liens,
              encumbrances and security interests, except Lender's security interest and any security interests listed on Schedule
              .C attached and made a part of this Loan Agreement;

          (b) the proceeds of this Loan Agreement will be usecl for business purposes only, and not for 11ers01rnl, consumer,
              family or household purposes or to purchase personal, consumer, family or household goods. Borrowe1·
              umletstands Lender is relying on the accuracy of this i•epreseutatiou in disbursing the loan proceeds and that
              Borrower's agreement not to use the proceeds of this Loan Agreement for pe1·s01uil, consumer, family 01•
              householcl purposes or to purchase pe1·smrnl, consumer, family 01· household goods means that certain
              important duties imposed upon entities making loans for consumer/personal purposes, ancl certain important
              rights conferred upon consumel's, pursuant to federal or state law will not apply to this Loan Agreement, or
              any othe1· document or instl'Ument given to Lender in connection with or related to this Loan Agreement.
              Borrower also m1de1·stands that Lender will be unable to confirm whether the proceeds of this Loan
              Ag1·eement will be used fo1· business purposes only. Bol'l'ower acknowledges and agrees that a breach by
              Borrower of the provisions of this subsection 8(b) will not affect Lender's right to (I) enforce Borrower's
              promise to pay for all amounts owed uncler this Loan Agreement, regardless of the 1mrpose for which the
              proceeds of this Loan Agreement are in fact obtained or (II) use any remedy legally available to Lender, even
              if that remecly would not have been available had the proceeds of this Loan Agreement been used for
              consumer pm·poses;

          (c) the Collateral will be kept at Bo1rower's address set fmih above in Section l, on Schedule D attached to and made a
              part of this Loan Agreement;

          (d) Borrower>s name in Section l above is its exact name on its organizing and/or registered documents, if any, and is
              Borrower's principal place of business. Borrower shall immediately advise Lender of any change in Borrower's
              name or address as set forth above in Section l;

          (e) Borrower is duly organized, validly existing and in good standing under the Jaw of the jurisdiction in which it is
              organized, and has all licenses and authorizations necessary to carry on its business as now being conducted;

          (t) Borrower has the full power and authority to execute, deliver and perfonn all transactions contemplated by this
              Loan Agreement and the performance of and compliance with the terms of this Loan Agreement will not violate the
              Bonower's organizational documents or constitute a default of any contract, agreement 01· other instnunent to which
              Borrower is a party;

          (g) Borrower has duly authorized the execution, delive1y and perfonnance of this Loan Agreement and has duly
              executed and delivered this Loan Agreement, and this Loa11 Agreement constitutes a legal, valid and binding
              obligation of the Botrower, enforceable against it in accordance with its terms;

          (h) there is no action, suit, proceeding or investigation pending or, to Bo1rower's knowledge, threatened against or
              affecting it or "any of its assets before or by any court or other govermnental authority which, if determined
              adversely to it, would have a material adverse effect on its financial condition, business or prospects, or the value of
              the Collateral; and

          (i) Borrower will provide any financial infonnation on request or pennit an examination of its books and records to
              permit Lender to confirm BoJTower's ability to pay its Obligations and all other financial obligations.

         (j) Borrower has not been notified by any of its lenders that it is in default under the terms of any of its credit
             agreements, nor has Borrower done, caused to be done, or failed to do any act or omission that would result in a
             default under any credit agreement.


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          (k) No third pmiy source of financing for Borrower's customers has discontinued, or threatened to discontinue
              providing financing to Borrower's customers.

      9. DEFAULT: On the happening of any of the following events (each an "Event of Default"):

          (a) failure by Borrower to pay any daily or other payment required by this Loan Agreement when due;

          (b) failure by Borrower to observe, perform, keep or abide by any term, covenant or condition contained in this Loan
              Agreement 01· any other document or instrnment given to Lender in connection with or related to this Loan
              Agreement, including any real estate mortgage, security agreement or other agreement or document now or
              hereafter evidencing or creating any security for the payment of this Loan Agreement;

          (c) the filing of a bankruptcy proceeding, assignment for the benefit of creditors, issuance of a judgment execution,
              garnishment or levy against, or the appointment of a representative of any kind for the commencement of any
              proceeding for relief from indebtedness by or against Borrower;

          (d) the happening of any event, which, in the reasonable judgment ofLender, adversely affects Borrower's ability 01·
              the ability of any guarantor of Botrnwees Obligations under this Loan Agreement ("Guarantor") to repay
              Borrower's Obligations, or materially affects the value of the Collateral;

          (e) any written representation, statement or warranty made to Lender by Bo1rower or any Guarantor is untrue or is
              breached;

          (f) the occurrence of (I) a default under any guaranty of Borrower's Obligations ("Guaranty"), or any other document
              or instrnment given to Lender in connection with or related to this Loan Agreement, or (II) an event of default under
              any other loan agreement that Bonower may have with any other lender;

          (g) any Guaranty is revoked or becomes unenforceable for any reason;

          (h) Lender, upon examination of Borrower's financial information during the term of this Loan Agreement, becomes
              insecure in Bmrower's ability to pay the Obligations,

     Lendet', at its option, without notice or demand (except as required by applicable law), may (A) declare the entire unpaid
     balance of all Obligations under this Loan Agreement or other agreements immediately due and payable, and shall have the
     right to prnceed to collect such Obligations under applicable law and enforce its rights under any Guaranty; and (B) proceed
     against the Collateral and any other collateral securing any obligation to Lender as if said collateral secured the Obligations,
     as petmitted under the applicable Uniform Commercial Code or any othe1· applicable law. As pennitted under the Uniform
     Commercial Code, Lender may take possession of Collateral without notice or hearing, which Borrower waives, and upon
     demand, Borrower shall assemble the Collateral and make it available to Lender at any convenient place designated by
     Lender. Lender's receipt of any payment after the occurrence of an Event of Default, whether or not the Obligations have
     been accelerated, shall not constitute a waive1· of the default or of Lender's rights or remedies upon such default, including
     Lender's right to accelerate the unpaid balance of the Obligations and pursue collection thereof. Election by Lender to
     pursue or waive any remedy shall not exclude pursuit of any other remedy.

     10. INSPECTION OF COLLATERAL AND PLACE OF BUSINESS: Lender and Lender's representatives and agents
     shall have the right at any reasonable time or times to inspect the Collateral wherever located and the interior and exterior of
     any Botrower place of business, and B01rower shall assist Lender and its representatives and agents in making any such
     inspection. During an inspection of any Bonower place of business, Lender or Lendds representatives and agents may
     examine, among other things, whether Bonower (i) has a place of business that is separate from any personal residence, (ii)
     is open for business, (iii) has sufficient inventory and/or staff to conduct Borrower's business and (iv) has one or more credit
     card tenninals or point of sale systems if Borrowe1· processes credit card transactions. When performing an inspection,
     Lender or Lender's representatives and agents may photogmph the interior and exterior of any Bmrnwer place of business,
     including any signage. Any photograph will become and remain the sole property of Lender and will be shared with
     Lender's employees, representatives and agents. Borrower grants Lender the irrevocable and pennanent right to display and
     share any photograph in all fonns, including composite and modified representations, for all purposes, with Lender's
     employees, representatives and agents. Bonowe1· agrees to reimburse Lend et· for the cost of the inspections described in this
     Section 10.


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      11. EVALUATION OF CREDIT: Borrower authorizes Lender to obtain business and personal credit bureau reports in
      BotTower's name, at any time and from time to time for purposes of deciding whether to approve the requested business loan
      or for any update, renewal, extension of credit or other lawful purpose. Upon Borrower's request, Lender will advise
      Borrower if Lender obtained a credit report and Lender will give Borrower the credit bureau's name and address. Borrower
      agrees to submit current financial information, a new credit application, or both, in Borrower's name at any time promptly
      upon Lender's request.

      12. ATTORNEYS' FEES 1 COLLECTION COSTS AND POST-JUDGMENT RATE OF INTEREST: In the event
      Lender retains counsel with respect to enforcement of its rights under this Loan Agreement or any other document or
      instrnment given to Lender, B01rower agrees to pay all expenses of Lender in enforcing its rights to collect the Obligations
      or in taking possession, holding, preparing for disposition, and disposing of the Collateral, including Lender's reasonable
      attorneys' fees (whether or not an action is commenced and whether or not in the court of original jurisdiction, appellate
      comt, bankruptcy court or otherwise) and all costs of collection of any judgment and any costs of appeal. In the event this
      Loan Agreement is brought to a judgment, interest shall accrue at the interest rate set forth in Section 2 above until the
      judgment is satisfied, except as prohibited by applicable law.

      13. SALE OF LOAN AGREEMENT: This Loan Agreement, or an interest in this Loan Agreement, together with the
      rights to the Collaterali may be sold, assigned, transferred or conveyed by Lender one or more times.

     14. INDEMNIFICATION: Except for Lender's willfol misconduct, Borrower will indemnify and save Lender hannless
     from all loss, costs, damage, liability or expenses (including, without limitation, court costs and reasonable attorneys' fees)
     that Lender may sustain or incur by reason of defending or protecting Lender's security interest or the priority thereof or
     enforcing its rights to collect the Obligations, 01' in the prosecution or defense of any action or proceeding concerning any
     matter growing out of or in connection with this Loan Agreement and/or any other documents or instruments now or
     hereafter executed in connection with this Loan Agteement and/or the Obligations and/or the Collateral. This indemnity
     shall survive the repayment of the Obligations and the termination of this Loan Agreement.

      15. MISCELLANEOUS:

          (a) Delay or failure of Lender to exercise any of its rights under this Loan Agreement shall not be deemed a waiver
              thereof. No waiver of any condition or requirement shall operate as a waiver of any other or subsequent condition
              or l'equirement.

          (b) This Loan Agreement may not be modified orally, and may be modified only upon written agreement signed by
              Lender.

          (c) Lender is an FDIC insured, Wisconsin state chmtered bank and this Loan Agreement is accepted by Lender in
              Wisconsin. CONSEQUENTLY, THIS AGREEMENT WILL BE GOVERNED BY FEDERAL LAW
              APPLICABLE TO AN FDIC INSURED INSTITUTION AND TO THE EXTENT NOT PREEMPTED BY
              FEDERAL LAW, THE LAWS OF THE STATE OF WISCONSIN WITHOUT REGARD TO CONFLICT OF
              LAW RULES. The legality, enforceability and interpretation of this Agreement and the amounts contracted for,
              charged and reserved under this Loan Agreement will be governed by such laws.

          (d) Bo11ower and Lender agree that any action or proceeding to enforce any rights or obligations arising out of this
              Loan Agreement shall be commenced either in Wisconsin, New York or the state (or commonwealth, as the case
              may be) of Bo1rower's address set forth in Section I above ("Borrower's State") and Borrower waives personal
              service of process and agrees that a summons and complaint commencing an action or proceeding in any such
              comi shall be properly served and confer personal jurisdiction if served by registered or certified mail to Bo1rower
              at the address specified by Borrower above in Section 1, or as otherwise provided by the laws of the State of
              Wisconsin, the State of New York, the Borrower's State, or the United States of America. Borrower and Lender
              agree that venue is proper in such courts.

          (e) Without affecting the liability ofBorrower or any Guarantor, Lender may accept partial payments marked "in full"
              or otherwise, release or impair any Collateral or agree not to sue any pa1iy liable on this Loan Agreement without
              waiving any of its rights hereunder.

          (f) Presentment, protest, demand and notice of dishonor are waived.


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          (g) Without affecting the liability of any Guarantor, Lender may from time to time, without notice, renew or extend
              the time for payment.

          (h) Borrower expressly agrees that the interest rate set forth above in Section 2 is appropriate under the circumstances
              and shall be the applicable rate at which unpaid Principal (and Costs, as defined below) shall bear interest under
              this Loan Agreement, notwithstanding any rate of interest prescribed by statute from time to time; provided,
              ~.if fulfillment of any provisions of this Loan Agreement 01· any other instnunent securing the Obligations
              is subject to a law that sets maximum interest rates or other charges, and that law is finally interpreted so that the
              interest or other fees collected or to be collected in connection with this Loan Agreement exceed the permitted
              limits, then (I) any such charge will be reduced by the amount necessary to reduce the charge to the permitted limit
              and (II) any sums already collected from Borrower that exceed the permitted limits will be refunded or credited to
              Borrower and the obligations created by this Loan Agreement shall be fulfilled to the limit of such validity as is
              permitted by law,

          (i) Borrower shall keep the Collaternl and Lender's interest in it insured under policies with such provisions, for such
              amounts and by such insurers as shall be satisfactory to Lender from time to time, and shall furnish evidence of
              such insurance satisfactory to Lende1· upon request. Borrower assigns (and directs any insure1· to pay) to Lender
              the proceeds of all such insurance and any premium refond and authorizes Lender to endorse in the name of
              Borrower any instrnment for such proceeds or refunds and, at the option of Lender, to apply such proceeds and
              refunds to any unpaid balance of the Obligations, whether or not due, and/or to restoration of the Collateral,
              returning any excess to Bonower. Lender is authorized, in the name of Borrnwer or otherwise, to make, adjust
              and/or settle claims under any insurance on the Collateral, or cancel the same after the occmrence of an Event of
              Default.

          G) If Borrower fails to perform any of Borrower's duties set forth in this Loan Agreement or in any evidence of or
             document relating to the Obligations, Lender is authorized, in BotTower's name or otherwise, to take any such
             action, including, without limitation, signing Bonower's name or paying any amount so required, and the cost
             ("Cosf') shall be one of the Obligations secured by this Loan Agreement and shall be payable by Borrower upon
             Lender's demand with interest at the interest rate set forth above in Section 2 from the date of payment by Lender.

          (k) Borrower releases Lender from any liability for any act or omission relating to the Obligations, the Collateral or
              this Loan Agreement, except Lender's willful misconduct.

          (1) Invalidity or unenforceability of any provision of this Loan Agreement shall not affect the validity or
              enforceability of any other provision.

          (m) The terms of this Loan Agreement shall be binding upon Borrower and its permitted successors and assigns, and
              shall inure to the benefit of Lender and its successors and assigns.

          (n) Bonower acknowledges that a broker may have received compensation in connection with this Loan Agreement.

           (o) Any of the Bon·owe1·, Lender or a Guarantor may choose to arbitrate any or all disputes and claims arising out of or
               relating to this Loan Agreement, the Guaranty or any other related document. A claim includes matters arising as an
               initial clai.tn, counter-claim, cross-claim, third-party claim, or otherwise, If the Borrower, Lender or a Guarantor
               chooses to litigate any dispute or claim arising out of or relating to this Loan Agreement, the Guaranty or any related
               document through a judicial action, the decision to litigate shall not be deemed a waiver of arbitration) and if such
               judicial action is contested, any party may thereafter invoke its arbitration rights at any time before any discovery is
               taken in the judicial action. If the B01Towe1\ Lender or a Guarantor seeks to have a dispute resolved by arbitration, that
               party must first send to the other party(ies) by ce1iified mail, a written Notice of Intent to Arbitrate. If Borrower,
               Lender or a Guarantor do not reach an agreement to resolve the clai.tn withi.t1 10 days after the Notice is received, any
               party may commence an arbitration proceeding with the American Arbitration Association (''AAN'). Lender will
               promptly reimburse Bo1rnwer or the Guarantor any arbitration filing fee, however, i.t1 the event that both the Borrnwer
               and the Guarantor must pay arbitration filing fees, Lender will only reimburse the Borrower's arbitration filing fee and,
               except as provided in the next sentence, the Lender will pay all arbitration administration and arbitrator fees. If the
               arbitrator finds that either the substance of any claim raised by BotTower or a Guarantor or the relief sought by
               Borrower or a Guarantor is improper or not wananted~ as measured by the standards set forth in Federal Rule of
               Procedure ll(b), then Lender will pay the administration or arbitrator fees only if required by the AAA Rules. If the
               arbitrator grants relief to the BotIOwer or a Guarantor that is equal to or greater than the value of the relief requested by
               the Bonower or a Guarantor in the arbitration, Lender shall reimburse Borrower or the Guarantor, as applicable, for
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              that pa1iy's reasonable attorneys' fees and expenses incurred for the arbitration. BORROWER AND LENDER
              AGREE THAT BY ENTERING INTO THIS LOAN AGREEMENT, EACH IS WAIVING THE RIGHT TO TRIAL
              BY JURY. BORROWER AND LENDER MAY BRING CLAIMS AGAINST ANY OTHER PARTY ONLY IN
              THEIR INDIVIDUAL CAPACITY AND NOT AS A PLAINTrFF REPRESENTATIVE OR CLASS MEMBER IN
              ANY PURPORTED REPRESENTATIVE OR CLASS PROCEEDING. Further, Bmrower and Lender agree that the
              arbitrator may not consolidate proceedings for more than one person's claims, and may not othenvise preside over· any
              form of a representative or class proceeding, and if this specific provision is found unenforceable, then the entirety of
              this arbitration clause shall be null and void. Any award by the individual arbitrator shall be final and binding, except
              for any appeal right under the Federal Arbitration Act ("FAA"), and may be entered and enforceable as a judgment in
              any comt of competent jurisdiction, h1cluding as a judgment that permits Lender to initiate or complete the exercise of
              its remedies against; or its realization or foreclosure upon, any collateral or security provided for the benefit of Lender.
              This arbitration provision is made pursuant to a transaction in interstate commerce, and shall be governed by the
              Federal Arbitration Act at 9 U.S.C. Section 1.

          (p) In order to ensure a high quality of service for Lender's customers, Lender may monitor and/or record telephone calls
              between BotTower and Lender's employees. Borrower acknowledges that Lender may do so and agrees in advance to
              any such monitoring or recording of telephone calls.

          (q) Borrower authorizes Lender and Lender's affiliates, agents and h1dependent contractors to contact Borrower at any
              telephone number Bmrower provides to Lender or from which Borrowe1· places a call to Lender, or any telephone
              number where Lender believes it may reach Borrower, using any means of communication, including, but not limited
              to, calls 01· text messages to mobile> cellular, wireless or similar devices or calls or text messages using an automated
              telephone dialing system and/or artificial voices or prerecorded messages, even if Borrower incurs charges for
              receiving such communications. Lender and Lender's affiliates, agents and independent contractol's, may use any other
              medium not prohibited by law, h1cluding, but not limited to, mail, eMmail and facsimile, to contact Borrower. Borrower
              expressly consents to conduct business by electronic means.

          (r) TO THE EXTENT NOT PROHIBITED BY APPLICABLE LAW, BORROWER AND LENDER WAIVE THEIR
              RIGHT TO A TRIAL BY JURY OF ANY CLAIM OR CAUSE OF ACTION BASED UPON, ARISING OUT OF OR
              RELATED TO THIS LOAN AGREEMENT AND ALL OTHER DOCUMENTATION EVIDENCING THE
              OBLIGATIONS, IN ANY LEGAL ACTION OR PROCEEDING.

          (s) This Loan Agreement may be executed in one or more counterparts, each of which counterparts shall be deemed to be
              an original, and all such counterparts shall constitute one and the same instrument. For purposes of the execution of this
              Loan Agreement, electrnnic or fax signatures shall be treated in all respects as original signatures.

      PRIOR TO SIGNING THIS LOAN AGREEMENT 1 BORROWER READ AND UNDERSTOOD ALL OF THE
      PROVISIONS OF THIS LOAN AGREEMENT, AFTER DUE CONSIDERATION, AND THE OPPORTUNITY
      TO CONSULT WITH OTHER LENDERS AND AN ATTORNEY, ACCOUNTANT OR OTHER COMPETENT
      PROFESSIONAL OF ITS CHOICE, BORROWER KNOWINGLY, WILLFULLY AND VOLUNTARILY
      AGREES TO THE TERMS OF THIS LOAN AGREEMENT.

      BORROWER ACKNOWLEDGES RECEIPT OF A FULLY COMPLETED AND EXECUTED VERSION OF
      THIS LOAN AGREEMENT.

                                             BORROWER: Homes By De Ramo, Inc.

                                             By:~::T&w...., v~ fM,b Jr.
                                                     2BM883CFE11F4M ...
                                                               Vincent William De Ramo Jr.
                                             Printed Name:-------~
                                             Title: president




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                                                      ACKNOWLEDGMENT



      STATE/COMMONWEALTH

                                                                 ss.:

      COUNTY

      On the___ day of                        in the year __ before me, the undersigned, a notaiy public in and for said
      State/Commonwealth, personally appeared Vincent William De Ramo Jr, personally known to me or proved to me on the
      basis of satisfact01y evidence to be the individual whose name is subscribed to the within Business Promissory Note and
      Security Agreement and acknowledged to me that she/he executed the same in her/his capacity
      as                                         of                                        , and that by her/his signaturn on the
      Business Prnmissory Note and Security Agreement, the individual, or the person upon behalf of which the individual acted,
      executed the Business Promissory Note and Security Agreement.




      Notmy Public
      My Commission expires:




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                              SCHEDULE A - PURCHASE MONEY COLLATERAL
                                                                NONE




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                                                        SCHEDULED
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                                                         SCHEDULEC
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                                                         SCHEDULED
                 ADDRESS OTHER THAN BORROWER'S ADDRESS AT WHICH COLLATERAL IS KEPT




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     CONTINUING GUARANTY, PERSONAL (Unlimited)                                      Dated: 3/16/2016

     GUARANTY. For value received, and to induce BANK OF LAKE MILLS, its successors and/or assigns ("Lender''),
     with offices at 136 E. Madison St., Lake Mills, WI 53551, to extend credit or grant or continue other credit
     accommodations to Homes By De Ramo, Inc. ("Borrower'j), the undersigned ("Guarantor," whether one or more) jointly
     and severally guarantees payment of the Obligations defined below when due or at the time any Bmrower becomes the
     subject of bankrnptcy or other insolvency proceedings. Except as provided below, "Obligations11 mean all debts,
     obligations and liabilities of Borrower to Lender arising out of credit previously granted, credit contemporaneously
     granted or credit granted in the future by Lender to B01rower. Obligations include inteI'est and cha!'ges and the amount of
     payments made to Lender or another by or on behalf of Borrower which are recovered from Lender by a trnstee, receiver,
     creditor or other party pursuant to applicable federal or state law, and all costs, expenses and attorneys' fees at any time
     paid or incm·red before and after judgment in endeavoring to collect all or pati of any of the above, or to realize upon this
     Guaranty, or any collateral securing any of the above, including those incurred in successful defense or settlement of any
     counterclaim brought by Bonowe1· or Guarantor or incident to any action or proceeding involving Borrower or Guarantor
     brought pursuant to the United States Bankruptcy Code. Obligations do not include personal, consumer, family or
     household transactions. Guarantor grants to Lender a secul'ity interest and lien in any credit balance and other money now
     owing or hereafter owed Guarantor by Lender. Lender may, at any time after the occurrence of an event of default with
     respect to any Obligation, without prior notice or demand, set off against any such credit balance or other money any
     amount owing upon the Obligations. This Guaranty also is secured by all existing and future security agreements between
     Lender and Guarantor, and the titles to the motor vehicles listed on Exhibit 1 to this Guaranty, with respect to which,
     Guarantor shall ensure that Lende1· is named as the only lien holder on each such motor vehicle title as of the date of this
     Guaranty (or the nearest subsequent date as permitted under applicable law). This Guaranty is valid and enforceable
     against Guarantor even though any Obligation is invalid or unenforceable against the Borrower.

     WAIVER. Guarantor expressly waives (a) notice of the acceptance of this Guaranty, the creation of any present or future
     Obligation, default under any Obligation, proceedings to collect from the Borrower or anyone else> (b) all diligence of
     collection and pI'esentment, demand} notice and protest, (c) any right to disclosures from Lender regarding the financial
     condition of the Botrnwer or the enforceability of the Obligations, and (d) all other legal and equitable defenses of
     suretyship and impainnent of collateral. No claitn> including a claim for reimbursement, subrogation> contribution or
     indemnification which Guarantor may, as a guarantor of the Obligations, have against a co-guarantor of any of the
     Obligations or against the Bo1rowe1· shall be enforced or any payment accepted until the Obligations are paid in full and
     no payments to or collections by Lender are subject to any right of recove1y.

     CONSENT. With respect to any of the Obligationsi Lender may from time to time before or after revocation of this
     Guaranty without notice to Guarantor and without affecting the liability of Guarantor (a) surrender, release, impair, sell or
     otherwise dispose of any security or collateral for the Obligations, (b) release or agree not to sue any guarantor or surety,
     (c) fail to perfect its security interest in or realize upon any security or collateral, (d) fail to realize upon any of the
     Obligations or to proceed against any Borrower or any guarantor or surety, (e) renew or extend the time of payment, (f)
     increase or decrease the rate of interest or the amount of the Obligations, (g) accept additional seci1rity or collateral, (h)
     determine the allocation and application of payments and credits and accept partial payments, (i) apply the proceeds of
     disposition of any collateral for the Obligations to any obligation of Borrower secured by such collateral in such order
     and amounts as it elects, G) detennine what, if anythit1g, may at any time be done with reference to any security or
     collateral, and (k) settle or compromise the amount due or owing or claitned to be due or owing from the Bmrnwer,
     which settlement or compromise shall not affect Guarantor's liability for the full amount of the unpaid Obligations.
     Guarantor expressly consents to and waives notice of all of the above. Guarantor consents to and authorizes Lender to
     obtain business and personal credit bureau reports in Guarantor's name, at any time and from time to time for purposes of
     deciding whether to approve the business loan requested by borrower or for any update, renewal, extension of credit to
     Borrower or other lawful purpose. Guarantor expressly authorizes Lender, agents or designees to report the payment
     history and loan performance to any national credit bureau for the purpose of inclusion of the related data in Guarantor's
     consumer credit report. Nothing contained in this Guaranty shall require Lender to first seek or exhaust any remedy
     against Borrower or to first proceed against any collateral or security for any of the Obligations or this Guaranty.



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     PERSONS BOUND. This Guaranty benefits and is enforceable by Lender, and its successors and assigns (collectively
     called "successors" and each a ''successor"), and binds Guarantor, and Guarantor's heirs, personal representatives,
     successors and assigns. This Guaranty shall continue in full force and effect notwithstanding any change in structure or status of
     Borrower 01· Lender, whether by merger, consolidation, reorganization or otherwise, or assignment of this Guaranty to a
     successor Lender. This Guarnnty includes additional pmvisious below.

                                                   NOTICE TO GUARANTOR
      You are being asked to guarantee the past, present and future Obligations of Borrower. If Bol'l'ower does not pay, you
      will have to. You may also have to pay collection costs. Lender can collect the Obligations from you without first
      trying to collect from Borrower or another guarantor or proceeding against any collateral or other secmity for the
      Obligations.




      Fol' Marl'ied Residents Only: Each Guarantor who signs below represents that this obligation is incurred in the interest of
      his or her marriage or family.




                                                     ADDITIONAL PROVISIONS
     ENTIRE AGREEMENT. This Guaranty is intended by Guarantor and Lender as a final expression of this Guaranty and
     as a complete and exclusive statement of its terms, there being no conditions to the full effectiveness of this Guaranty.
     This Guaranty may not be supplemented or modified, except in writing by Lender.

     REPRESENTATIONS. Guarantor acknowledges and agrees that Lender (a) has not made any representations or
     warranties with respect to, (b) does not assume any responsibility to Guarantor for, and (c) has no duty to provide
     infonnation to Guarantor regarding, the enforceability of any of the Obligations or the financial condition of the
     Borrower. Guamntor has independently determined the creditworthiness of Borrower and the enforceability of the
     Ob11gations and until the Obligations are paid in full will independently and without reliance on Lende1· continue
     to make such determinations.

     REVOCATION. This is a continuing guaranty and shall remain in full fol'ce and effect until Lender receives written
     notice of its revocation signed by Guarantor or actual notice of the death of Guarantor. Upon revocation by written notice
     or actual notice of death, this Guaranty shall continue in full force and effect as to all Obligations contracted for or
     incun·ed before revocation and, as to themi Lender shall have the rights provided by this Guaranty as if no revocation had
     occumd. Any renewal, extension or increase in the interest rate of any such Obligation, whether made before or after
     revocation, shall constihlte an Obligation contracted for Ol' incutred before revocation. Obligations contracted for or
     incurred before revocation shall also include credit extended after revocation pursuant to commitments made before
     revocation. Revopation by one Guarantor shall not affect any of the liabilities or obligations of any other Guarantor and
     this Guaranty shall continue in full force and effect with respect to them.

     ARBITRATION. Any of the Borrower, Lender or a Guarantor may choose to arbitrate any or all disputes and claims
     arising out of or relating to this Guaranty or any other related document. A claim includes matters arising as an initial
     claim, counter-claim, cross-claim, third-party claim, or otherwise. If the Borrower, Lender or a Guarantor chooses to
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      litigate any dispute or claim arising out of or relating to this Guaranty or any related document through a judicial action,
      the decision to litigate shall not be deemed a waiver of arbitration, and if such judicial action is contested, any pmty may
      thereafter invoke its arbitration rights at any time before any discove1y is taken in the judicial action. If the Borrower,
     Lender or a Guarantor seeks to have a dispute resolved by arbitration, that patty must first send to the other party(ies) by
     certified mail, a written Notice of Intent to Arbitrate. If Borrower, Lender or a Guarantor do not reach an agreement to
     resolve the claim within 10 days after the Notice is received, any party may commence an arbitration proceeding with the
     American Arbitration Association ("AAA"). Lender will promptly reimburse Borrower or the Guarantor any arbitration
     filing fee, however, in the event that both the Bonower and the Guarantor must pay arbitration filing fees, Lender will
     only reimburse the Borrower's arbitration filing fee and, except as provided in the next sentence, the Lender will pay all
     arbitration administration and arbitrator fees. If the arbitrator finds that either the substance of any claim raised by
     Borrower or a Guarantor or the relief sought by Borrower or a Guarantor is improper or not warranted, as measured by
     the standards set forth in Federal Rule of Procedure I l(b), then Lender will pay the administration and arbitrator fees only
     if required by the AAA Rules. Ifthe arbitrator grants relief to the Borrower or a Guarantor that is equal to or greater than
     the value of the reliefrequested by the Borrower or a Guarantor in the arbitration, Lender shall reimburse Borrowe1· or the
     Guarantor, as applicable) for that party's reasonable attorneys' fees and expenses incurred for the arbitration.
     GUARANTOR AND LENDER AGREE THAT BY ENTERlNG INTO THIS GUARANTY, EACH IS WAIVING THE
     RIGHT TO TRlAL BY JURY. GUARANTOR AND LENDER MAY BRING CLAIMS AGAINST ANY OTHER
     PARTY ONLY IN THEIR INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF REPRESENTATIVE OR CLASS
     MEMBER IN ANY PURPORTED REPRESENTATIVE OR CLASS PROCEEDING. Fmiher, Guarantor and Lender
     agree that the arbitrator may not consolidate proceedings for more than one person's claims, and may not otherwise
     preside over any fonn of a representative or class proceeding, and if this specific provision is found unenforceable, then
     the entirety of this arbitration clause shall be null and void. Any award by the individual arbitrator shall be fmal and
     binding, except for any appeal right under the Federal Arbitration Act ("FAN), and may be entered and enforceable as a
     judgment in any court of competent jurisdiction, including as a judgment that permits Lender to initiate or complete the
     exercise of its remedies against, or its realization or foreclosure upon, any collateral or security provided for the benefit of
     Lender. This arbitration provision is made pursuant to a transaction in interstate commerce, and shall be governed by the
     Federal Arbitration Act at 9 U.S.C. Section 1.

      INTERPRETATION. Lender is an FDIC insured, Wisconsin state chartered bank. CONSEQUENTLY, THIS
     GUARANTY WILL BE GOVERNED BY FEDERAL LAW APPLICABLE TO AN FDIC INSURED INSTITUTION
     AND TO THE EXTENT NOT PREEMPTED BY FEDERAL LAW; THE LAWS OF THE STATE OF WISCONSIN
     WITHOUT REGARD TO CONFLICT OF LAW RULES. The legality, enforceability and interpretation of this Guaranty
     and the amounts guaranteed will be governed by such laws.

     JURISDICTION. Guarantor irrevocably consents with respect to any suit, action or proceeding relating to this Guaranty
     or any of the other loan documents relating to the Obligations, that venue shall be either in Wisconsin, New York or the
     state (or commonwealth, as the case may be) of Borrower's principal place of business ("Borrower's State'') and
     Guarantor waives personal service of process and agrees that a summons and complaint commencing an action or
     proceeding in any such comt shall be properly served and confer personal jurisdiction if served by registered or certified
     mail to Guarantor at the address specified by Guarantor above, or as otherwise provided by the laws of the State of
     Wisconsin, the State of New York, the Borrower's State, or the United States of America. Guarantor agrees that venue is
     proper in such comis.




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                                                           JURY WAIVER

      GUARANTOR KNOWINGLY AND VOLUNTARILY WAIVES TRIAL BY JURY IN ANY ACTION, PROCEEDING,
      CLAIM OR COUNTERCLAIM BASED UPON, ARISING OUT OF OR IN ANYWAY RELATING TO THIS
      GUARANTY, THE OBLIGATIONS GUARANTEED BY THIS GUARANTY OR ANY CONDUCT, ACT OR OMISSION
      OF LENDER, AND AGREES AND CONSENTS THAT ANY SUCH ACTION, PROCEEDING, CLAIM OR
      COUNTERCLAIM SHALL BE DECIDED BY TRIAL TO THE COURT WITHOUT A JURY. GUARANTOR
      ACKNOWLEDGES AND UNDERSTANDS THAT THIS WAIVER AND CONSENT CONSTITUTES A MATERIAL
      INDUCEMENT TO LENDER TO ENTER INTO THE TRANSACTION WITH THE BORROWER.


         Guarantor Vincent William De Ramo Jr                      Guarantor Vincent W Deramo and Tracy E. Deramo as
                                                                   Trnstees under agreement dated 3/7/00

        ~::E!~~~ v~ ~b Jr.                                          l\;:;,j bWilli'1.l\\ Vt- 1&.1M Jr.
                                                                   C~~
                                          Acknowledgement to signature(s) on following pages.




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                                                           ACKNOWLEDGEMENT

       STATE/COMMONWEALTII OF _ _ _ _ _ _ _ _ _ )
                                                                            ) SS.
       COUNTY OF _ _ _ _ _ __                                               )

       On the _ _ day of               , in the year __, before me, the undersigned, a notary public in and for said State/Commonwealth,
       personally appeared Vincent William De Ramo Jr, personally known to me or proved to me on the basis of satisfactory evidence to
       be the individual whose name is subscribed to the within Continuing Guaranty (Unlimited) and acknowledged to me that she/he
       executed the same in her/his capacity, and that by her/his signature on the Continuing Guaranty (Unlimited), the individual, or the
       person upon behalf of which the individual acted, executed the Continuing Guaranty (Unlimited).


       Notary Public
       My Commission expires:
                                                           ACKNOWLEDGEMENT

       STATE/COMMONWEALTH OF _ _ _ _ _ _ _ _ )
                                                                            ) SS.
       COUNTY OF _ _ _ _ _ _~-                                              )

       On the ~-day of                   in the year __, before me, the undersigned, a notary public in and for said State/Commonwealth,
       personally appeared Vit1cent W Deramo and Tracy E. Deramo as Tmstees under agreement dated 30!00, personally known to me or
       proved to me on the basis of satisfactory evidence to be the individual whose name is subscribed to the within Continuing Guaranty
       {Unlimited) and acknowledged to me that she/he executed the same in her/his capacity, and that by her/his signature on the
       Continuing Guaranty (Unlimited), the individual, or the person upon behalf of which the individual acted, executed the Continuing
       Guaranty (Unlimited).


       Notary
       My Commission expires:




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                                                               EXHIBIT 1
                                                                 NONE




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                                                                                                     COOPERATION AGREEMENT

      DATE: 3/16/2016

      In connection with the business Joan to Borrower evidenced by the Business Promissoty Note and Security Agreement of even date
      herewith, Borrower hereby agrees:

      In the event any fmihe1· documentation is required by Lender in connection with the loan, Borrower hereby agrees to execute such
      documentation, including, but not limited to, any amendments, cmections, deletions or additions to the loan documents being
      executed on even date herewith.

      In the event Borrower is required to furnish such necessary documentation and fails to do so within ten (I 0) days from receipt of
      wl'itten demand, then such failure shall be an event of default under the terms of the loan and Lender or its successors and assigns
      shall have the right to demand payment in full under the loan documents and enforce all other rights against Borrower.

      The terms "Borrower" and "Lender" have the same meanings as set fo11h in the Business Promissory Note and Secmity
      Agreement.

      BORROWFR:     Homes By De Ramo, Inc.
           rfocW!iioed'lly;

      By:   \Ali\.lUJ WiilitiJ\\ Vt- ~\\6 Jr.
              28   3CFB!F438...
                      Vincent William De Ramo Jr.
      Printed Name: _ _ _ _ _ _ __

      Title: president




      STATE/COMMONWEALTH OF~---~

                                                                     ss.:

      COUNTY OF _ _ __

      On                day of                , in the year __ before me, the undersigned, a notary public in and for said
      State/Commonwealth, personally appeared Vincent William De Ramo Jr, personally known to me or proved to me on the basis of
      satisfactory evidence to be the individual whose name is subscribed to the within Cooperation Agreement and acknowledged to me
      that she/he executed              the same in          her/his    capacity as                                               of
      ----~--------' and that by her/his signature on the Cooperation Agreement, the individual, or the
      person upon behalfofwhich the individual acted, executed the Cooperation Agreement.




      Notary Public
      My Commission expires




      Rev. Sep 2014                                                                                            Page J23
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                                               ESTIMATED TITLE INVOICE AGREEMENT


              In connection with the loan and all related agreements dated 3/16/2016 (the "Agreement") between
              Bank of Lake Mills, its successors and/or assigns ("Lender'1) and Homes by De Ramo, Inc. (11Borrower'1) 1
              Borrower has requested the disbursement of the loan proceeds, notwithstanding that one or more
              title invoices needed to accurately establish the loan balance, net proceeds and/or required loan
              payments have not been received. Borrower has requested that Lender estimate the amount of the
              title invoice and establish the loan balance and/or net proceeds (as the case may be) and required
              loan payments based upon the estimated Invoice.

              Upon receipt of the actual invoice, Lender will notify the Borrower of the amount of the actual
              lnvolce(s) and the difference between the actual invoice and the estimated amount used at closing. If
              the estimate is lower than the actual cost of the related title services and premium, Borrower will be
              obligated to reimburse Lender for the shortfall and Borrower expressly authorizes Lender to ACH the
              shortfall from Borrower's business account along with the daily or weekly payment. In the event the
              actual invoice is less than the estimated invoice, Borrower will receive a refund for the excess amount.

              Where the invoice received is less than the estimated invoice, Borrower has the option in lieu of a
              refund to request an amendment to the Agreement that reduces the loan amount and required daily
              or weekly payments accordingly. Requests must be sent to closing@wbl.com from the email address
              provided in the loan applicatlon. In the event that no amendment request is received within 5
              business days of the disbursement of the loan proceeds to Borrower, Lender will automatically
              process a refund of the excess amount and Borrower agrees that the loan balance and daily payments
              will remain unchanged.

              Homes~~~~Jtwno,         Inc.
              By:G<~ (llil(jAf\1 v~ PAf111 Jr,
                     2BM883CFE9F43L
                    3/16/2016
              Date: _ __



              World Business Lenders, LLC
              By: _ _ _ _ _ __

              Date: _ __
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      "livorld Business Lenders                                           \'i[IP,Q. l00(;~¢W


               World Business Lenders, LLC                                                                                                                                                                                      Bank of lake Mills
               120 w 45th St, 29th Floor                                                                                                                                                                                        136 E Madison Street
               New York, NY 10029                                                                                                    Business Loan Application                                                                  Lake Miiis, WI 53551
               Direct: 212-293-8200                                                                                                                                                                                             Tel: 920-648-8336
                                                                                     Contact:                                                                                      Fax:
                                                                                     Direct:                                                                                       Emal!:
                                     .
        ....            ......
                 ....                        •.·
                                                                                                                                                   COMPANY INFORMATION

      Legal Name of Entity: Homes By Deramo, Inc.                                                                                                                                                   I Business Inception Date: 2/1985
      Federal Tax ID (EIN):XX-XXXXXXX                                                                                                                                     State Where Business Was Formed: FL

      legal Structure:                                                                          €)corporation                                   QLLC                   0Partnershlp           0 Sole Proprietorship
      Full Time Employees:                                                                       Part Tl me Employees:                                                    Home Based Business:                    QYes                  0No
      Business Address: 4610 Ashton Rd.

      City: Sarasota                                                       J   State: FL                          J       ZIP Code: 34233                                 Estimated Monthly Revenue:

      Phone:                                                                                    Ext:                                                                      Website:

      Ownership of Business Location:                                                                          (!)Rented                                Qowned by Business                          If Owned, Property Value:

      Landlord Name:                                                                                                                         j Landlord Phone:                                      Monthly Rent:

      Landlord Type:                                            0Management Company                                                           0 Sole ownership                              Ocorporation                   Qother:
                                     .·  .
                                                    ...          ,.   ;     •:':-.:
                                                          ·.·    .,· i:' :~:;:;';'.'.           ... ··.   ',
                                                                                                                                                                   BUSINESS OWNER

      Name: Vincent William Deramo Jr,                                                                                                                                                                     I Date of Birth: 3/27/1957
      Primary Address: 7614 Peninsular Dr.
     City: Sarasota                                                                                                                                                       State: FL                               I ZIP Code: 34231
     Home Phone: 941-926-2600                                                                                                                                             Mobile Phone: 941-650-4983
     E-mail: b!ll@homesbyderamo.com                                                                                                                                       Social Security#: XXX-XX-XXXX
     Driver's License#: 0650-879-57-107·0                                                                                                                                 Driver's License State: FL              I Ownership% 100
                                                                                                                      .·.......:·.::.:·.:::'·.:.·:·:1: . . ,:.-.
                                                                                                                        .. · :··.··: . .,·::.:.:·.:i.::·           /CO~APPLICANT                                                                                               .


     Name:                                                                                                                                                                                                   j Date of Birth:
     Primary Address:
     City:                                                                                                                                                                State:                                  j ZIP Code:
     Home Phone:                                                                                                                                                          Mobfle Phone:

     E-mail:                                                                                                                                                              Social Security #:

     Driver's License #:                                                                                                                                                  Driver's License State:                 I Ownership      %:

       ·.
                                 .. '''."
                                                   ..
                                                        ,';).'::\,, .::;       ...   ··.;
                                                                                       .·
                                                                                            '
                                                                                                                                                                    LOAN REQUEST
                                                                                                                                                                                                                      ·:          ·•·
                                                                                                                                                                                                                                   ...... ·:::   '··;'.   '   ;·'. ••..!.:'\:•.:
     Requested Funding Amount: $400,000.00

     Use of Funds: Consolidation and working capital
                                                                                       .......
                                                                      . ,.,·:•:·))•·f                                            CERTIFICATION AND AGREEMENT
     The originating lender to which this Business loan Applrcat!on ('Applfcatlon') ls directed as the Bank of Lake Miiis, lake Miiis, Wisconsin ('lender"). By signing and
     submitting thfs appllcatlon to World Business lenders ('\'ISL"), each of the underslgnM wtmes to \'/Bl and the Lender that (1) I am authorized to apply for business
     financing on behalf of the entity Identified above In the Company loformatlon section, (11) the Information provided within this Application Is true and accurate and (Ill)
     I wlll promptly notify wat of any material changes to such Information. This Appllcatlon must be accompanied by additional supporting documents and Information as
     directed by the Lender in order to be considered for approval. 1he undersigned authorizes WBL to submit this Applfcatton and any other supporting documents and
     Information to !he Lender. By submitting this Appl!catlon, each of the undersigned authorizes Lenders, and their respective agents, assignees and/or third-party
     providers to make all Inquiries deemed necessary to verify the accuracy or the Information provided In this Applfcatton (Including requesting business and personal
     credit bureau reports from credit reporting agencies and other sources). Each of the undersigned agrees and understands that WBL wlll retain this Appllcat!on and all
     supporting documents and Information whether or not this Applrcatlon Is approved.
     ~~r~wrwr                                      Signature:                                                                                                             Co-Applicant Signature:
            u~ UJiWIU'>\ 01,., ~l\\b J~.
     Tftle: presiden"t                                                                                                                                                    Title:

     Date: 3/16/2016                                                                                                                                                      Date:
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                                                                                                      Cust Num: 224057                       O.M.B No. 1660-0040
                     FEDERAL EMERGENCY MANAGEMENT AGENCY
             STANDARD FLOOD HAZARD DETERMINATION FORM (SFHDF)
                                                                                                      Cost Cent:
                                                                                                                                       I     Expires May 30, 2015

                                                                               SECTION I
   1. LENDER NAME AND ADDRESS                                 2. COLLATERAL(Building/Mobile Home/Personal property) PROPERTY ADDRESS
                                                              (Legal description may be al!ached)
   WORLD BUSINESS LENDERS, LLC                                DERAMO, VINCENT W & DERAMO TRUSTEES, TRACY E
   120 W 45TH STREET· 29TH FLOOR                              7614 PENINSULAR DR
   NEW YORK, NY 10036                                         SARASOTA, FL 34231-5320




   3. LENDER ID. NO.                                          4. LOAN IDENTIFIER                     5. AMOUNT OF FLOOD INSURANCE REQUIRED

                                                               18528                                 $
                                                  SECTJON ll
   A. NATIONAL FLOOD INSURANCE PROGRAM (NFlP) COMMUNITY JURISDICTION
   1. NFIP community name                                     2. County(les}                                                3. Slate               4. NFIP community
                                                                                                                                                   number
   SARASOTA COUNTY*                                           Unincorporated Areas                                                     FL                 125144

   B. NATIONAL FLOOD INSURANCE PROGRAM (NFIP) DATA AFFECTING BUILDING f MOBILE HOME
   1.NFIP map number or community- panel number               2. NFIP map panel effective/          3.LOMNLOMR             4. Flood zone/BFE       5. No NFIP map
   (community name, if not the same as in "A").               revised date

                        1251440207E                                       09/0311992
                                                                                                   D                            AE BFE: 11
                                                                                                    Yes       Date
   C. FEDERAL FLOOD INSURANCE AVAILABILITY (check all that apply)

   1. 0 Flood Insurance is available (community participates in NFIP).                       0 Regular Program D Emergency Program of NFIP
   2. 0 Federal Flood Insurance is not available because community Is nol participating in !he NFIP.
   3. D Building/Mobile home is in a Coastal Barrier Resources Area (CBRA) or Otherwise Protected Area ( OPA ), Federal Flood insurance may not be
   avallable,
            CBRA/OPA designation date:

   D. DETERMINATION
   IS BUILDING I MOBILE HOME IN SPECIAL FLOOD HAZARD ARl:A
   (ZONES CONTAINING THE LETTERS "A" OR "V")?
                                                                                                  0     Yes
                                                                                                                            D         No

   If yes, flood Insurance is required by the Flood Disaster Protection Act of 1973.
   lf no, flood insurance Is not required by the Flood Disaster Protection Act of 1973. Please note, the risk of flooding In this area Is only reduced, not removed.
   E. COMMENTS (optional):
   Request Date: 11/03/2015                  Service Type: Life Of Loan
                                             Requested By: J057213A

   Input address: 7614 PENINSULAR DRIVE, SARASOTA, FL 34233
   HMDA Information: MSNMD: 42260 NECTA: State: 12County:115 Census Tract: 0020.05




   This flood determination ls provided solely for the use and benefit of the entity named In Section 1, Box 1 in order to comply with the 1994 Reform
   Act and may not be used for or relied upon by any other entity or individual for any purpose, including, but not limited to deciding whether to
   purchase a property or determining the value of a property.

   This determination is based on examining the NFIP map.any Federal Emergency Management Agency revisions to it, and any other Information needed to
   locate the building/mobile home on the NF! P map.

   F.PREPARER'S INFORMATION                                                                          Certificate:      56558731-0
   Name, address, telephone number (If other !ha n lender)                                                           DATE OF DETERMINATION

                                           Great Lakes Flood Certification, LLC
                                           P.O.Box 663                                                                          11/03/2015
                                           Wautoma, WI 54982
                                           (920) 787 - 7664


  FEMA FORM 086·0·32, (4f12)                                    PREVIOUSLY FEMA FORM 81-93
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                                      NOTICE OF SPECIAL FLOOD HAZARDS
                                 AND AVAILABILITY OF FEDERAL DISASTER RELIEF

      Prepared by: Great Lakes Flood Certification, LLC                               Loan #:        18528
      Customer:    WORLD BUSINESS LENDERS, LLC                                        Certiflcate #: 56558731-0
      Client#:     224057                                                             Date:          11/03/2015

      Borrower:     DERAMO, VINCENT W & DERAMO TRUSTEES, TRACY E
      Property:     7614 PENINSULAR DR
                    SARASOTA, Fl 34231-5320


          We are giving you this notice to inform you that
          + The building or mobile home securing the loan for which you have applied is or will be located ln an area
              prone to high flood risks that we call a Special Flood Hazard Area (SFHA).
          + The area has been Identified by the Federal Emergency Management Agency (FEMA) as an SFHA using the
              Flood Insurance Rate Map (FIRM) or the Flood Hazard Boundary Map (FHBM) for the community number
              125144. FIRMs are prepared by FEMA in cooperation with the applicable community to identify high flood risk
              and low-to-moderate flood risk areas. The SFHA In which your building or mobile home is or will be located
              has at least a one percent chance of a flood equal to or exceeding the base flood elevation (a 100-year flood)
              in any given year. During the life of a 30-year mortgage loan, the risk of flooding in an SFHA is 26 percent.
          + Federal law allows a lender and borrower jointly to request the Administrator of FEMA to review the determination
              of whether the property securing the loan is located in an SFHA. lf you would like to make such a request, please
              contact us for further information. Borrowers may also call a FEMA mapping specialist at (877) 336-2627 to discuss
              their concerns.
          + Federal financial assistance, including FEMA disaster assistance, flood mitigation grants and federally backed
              mortgage lending Is available in the NFIP participating communities. Mandatory flood Insurance requirements are
              applicable to all Federal financial assistance. The mandatory flood insurance purchase requirements under section
              102(b} of the Flood Disaster Protection Act of 1973 are applicable to Federally regulated lenders making loans in
              SFHAs. We will not make you the loan that you have applied for if you do not purchase flood insurance. lf you fail
              to renew flood insurance on the property, federal law authorizes and requires us to purchase the flood insurance
              for you at your expense. The flood insurance must be maintained for the Hfe of your loan .
              ./ Flood insurance coverage under the NFIP may be purchased through an insurance agent who will
                 obtain the policy either directly through the NFIP or through a Write Your Own (WYO) company
                 that has agreed to write and service NFIP policies on behalf of FEMA. Flood insurance also may
                 be available from private insurers that are not Federally backed .
              ./ At minimum, flood insurance purchased must cover the lowest of: (1) the outstanding principal
                 balance of the loan(s); or (2) the maximum amount of coverage allowed for the type of building
                 under the NFIP; or (3) the full replacement cost value {RCV) of the building and/or contents
                 securing the loan. The market value or land value on which t11e building is located has no bearing
                 on the RCV of the building.
          + Federal disaster relief assistance, the majority of which is in the form of a low- interest disaster assistance loan
              from the Small Business Administration (SBA), may be available for losses not covered by your flood insurance
              policy. Flood insurance requirements apply to recipients of Federal disaster assistance grants and SBA disaster
              assistance .loans. lf you are planning to build a structure or make repairs, contact the local community's chief
              executive official to determine bui!dfno standards for structures within an SFHA.

          Notified Borrower Signature:
                                         ~~'&wtU\\ Ot. ~~Jr.
                                                   m      ...
                                                                                           i11612016
                                                                                     Date: _ _ _ __

         Authorized Lender Signature: - - - - - - - - - -                            Date: _ _ __
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                                              Conditional Closing Agreement
              We are pleased to inform you that you have been approved for a business loan in the principal amount
              of $457,625.00 with an anticipated funding date 3/17/2016. By signing below, Borrower understands
              and acknowledges that Lender will not consider funding Borrower's loan/lease application until such
              time as all dosing conditions (including1 but not limited to, the additional conditions set forth below) are
              met:

                  •     the title company has received any and all relevant documentation needed to satisfy the
                        requirements listed on the title search
                  •     the title company is able to provide a clear and acceptable flnal title policy to the Lender in
                        accordance with the Lender's guidelines and the Loan Approval of the subject loan transaction
                  •     Lender has reviewed and approved the fully executed loan documents
                  •     Borrower provides Lender with an Attorney Opinion Letter with the attorneys Errors &
                        Omissions Policy that is satisfactory to Lender.
                  •     Borrower provides updated Flood Insurance for the property located at 7614 Peninsular Drive,
                        Sarasota, FL 34233.

              Nothing herein shafl be construed as an obligation of Lender to provide funds to Borrower, it being
              expressly understood that the obligations of the parties shall be established pursuant to the terms of
              the Business Promissory Note dated 3/16/2016 only upon actual funding of Borrower's loan.




              BORRO~~~:gn~d°iiWes By De Ramo, Inc.

              By:(}tl>cl.Ulf ()JiUiAA< v~ ~0 Jr,
                      2BAAS83CFE9F43'8 .. ,
                            Vincent William De       Ramo Jr,
              Printed Name: _ _ _ _ _ __

              Title: president
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Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                                                                                 RECORDED IN OFFICIAL RECORDS
                                                                              INSTRUMENT# 2016043640                      73 PG(S)
                                                                                             4112/201611 :07 AM
                                                                                            KAREN E. RUSHING
                                                                                      CLERK OF THE CIRCUIT COURT
            RECORDATION REQUESTED BY:                                                 SARASOTA COUNTY1 FLORIDA
            World Business Lenders, LLC                                          SIMPLIFILE                Receipt# 1972148
            120 West 451h Street
            New York, NY 10036                                                        DocStamp-Mort: $319.55

            WHEN RECORDED MAIL TO:                                                          lntang, Tax: $182.43
            Worid Business Lenders, LLC
            120 West 4Sth Street
            New York, NY 10036


                                                                                           FOR RECORDER'S USE ONLY




                                                            MORTGAGE
            THIS MORTGAGE dated March 24, 2016, is made and executed between Tracy E. OeRamo and
            Vincent W. OeRamoi wJfe and husband, (Premises A, S) and Vincent W. OeRamo, Trustee under
            agreement dated 317100 and Tracy E. Deramo, Trustee under agreement dated 3/7/00 (Premises C)
            whose address Is 7614 Peninsular Drive, Sarasota, FL 34233 (referred to below as uGrantor'1) and
            Bank of Lake Miils, Its Succ:essors and or Assigns, whose address Is 136 E. Madison St., Lake
            Miiis, WI 53651 (referred to below as "Lender0 ).
            GRANT OF MORTGAGE. For valuable consideration, Grantor mortgages and warrants to Lender
            all of Grantor's right, title, and interest whether existing or hereafter acquired, In and to the folfowlng
            described real property, together with all existing or subsequently erected or affixed buildings,
            Improvements and fixtures; all easements. rights of way, and appurtenances, public or private, now or
            hereafter used In connection with the Property; all rights to make diVlsrons of the land that are exempt
            from the platling requirements of all applicable tand division and/or platting acts, as amended from time to
            time; all water, water rights, watercourses and dilch rights (Including stock in utilities with ditch or Irrigation
            rlght(s); an Personal Property: all licenses. contracts, permits and agreements required or used fn
            connection with the ownership, operation or maintenance of the Property; all Insurance proceeds; all
            awards, including Interest, make to Grantor for any li!klng by emlnent domain of the Property; all existing
            and future leases, subleases, licenses and other agreements for the use and/or oe<:upancy of the
            Property, oral or written, Including all extensions, renewals, replacements and holders; all Rents from the
            Property; and all other rights, royalties, and profits relating to the real property, includfng without limltatlon
            all minerals, oll, 9as1 geothermal and sfmllar matters, (the ''Real Property") located In Sarasota
            County, State of Florida:
            See Exhibit A, which Is attached to this Mortgage and made a part of this Mortgage as If fully set
            forth herein.
            The Real Property or its address fs commonly known as 74 Sugarm!ll Drive, Osprey, FL 34229, and
            82 Sugarmlll Drive, Osprey, FL 34229, and 7614 Peninsular Drive, Sarasota, FL 34231.
            Cross·Collaterallzatlon. In addftlon to the Note, this Mortgage secures all obligations, debts and
            liabllltles, plus Interest thereon, of Grantor to Lender, or any one or more of them, as well as all claims by
            Lender against Grantor or any one or more of them, where now existing or hereafter arising, whether


            FLORIDA- RESIDENTIAL PROPERTY· OUARANTOR


                                                                                                                              EXHIBIT
                                                                                                                      j           tf
Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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         related or unrelated to the purpose of the Note, whether voluntary or otherwise, whether due or not due,
         direct or indirect, determined or undetermined, absolute or contingent, Uquidated or unllquidated whether
         Grantor may be Hable Individually or jointly with others, whether obligated as guarantor, surety,
         accommodation party or otherwise, and whether recovery upon such amounts may be or hereafter may
         become barred by any statute of limitations, and whether the obligation to repay such amounts may be or
         hereafter may become otherwise unenforceable.
         Grantor uncond!tlonally, Irrevocably and presenlly assigns, grants, conveys and sets over to Lender all of
         Grantor's right, tltle and interest in and to all present and future leases, subleases, licenses and other
         agreements for the use and/or occupancy of the Properly, oral or written, includlng all extensions,
         renewals, replacements and holdovers (collectively the "Leases") and all Rents from the Property. In
         addition, Grantor grants to Lender a Uniform Commerclal Code security interest in the Personal Property
         and Rents,
         THIS MORTGAGE, INCLUDING THE ASSIGNMENT OF RENTS AND THE SECURITY INTEREST IN
         THE RENTS ANO PERSONAL PROPERTY, IS GIVEN TO SECURE (A) PAYMENT OF THE
         INDEBTEDNESS ANO {B) PERFORMANCE OF ANY ANO ALL OBLIGATIONS UNDER THE NOTE,
         THE RELATED DOCUMENTS, AND THIS MORTGAGE. THIS MORTGAGE IS GIVEN AND
         ACCEPTED ON THE FOLLOWING TERMS:
         GRANTOR'S WAIVERS. Grantor waives all rights or defenses arising by reason of any •tone aetlon" or
         11
           antl·deficiency" law, or any other law which may prevent Lender from bringing any action against
         Grantor1 including a claim for deficiency to the extent Lender is otherwise entitled to a clalm for deficiency,
         before or after Lender's commencement or completion of any foreclosure action, either judicially or by
         exercise of a power of sale.
         GRANTOR'S REPRESENTATIONS AND WARRANTIES. Grantor warrants that: (a) this Mortgage Is
         executed at Borrower's request and not at the request of Lender; (b) Grantor has the full power, right,
         and authority to enter into this Mortgage and. to hypothecate the Property; (c) the provisions of this
         Mortgage do not conflict with, or result in a default under any agreement or other Instrument binding upon
         Grantor and do not result In a violation of any law, regulation, court decree or order applicable to Grantor;
         (d) Grantor has established adequate means of obtaining from Borrower on a continuing basis
         information about Borrower's financial condttlon; and (e) Lender has made no representation to Grantor
         about Borrower (including without llmllatlon the creditworthiness of Borrower).
         PAYMENT AND PERFORMANCE. Except as otherwise provided in this Mortgage, Borrower shall pay to
         Lender all lndebtednese secured by thls Mortgage as it becomes due, and Borrower and Grantor shall
         strictly perform all Borrower's and Grantor's obligations under this Mortgage.
         POSSESSION AND MAINTENANCE OF THE PROPERTY. Borrower and Grantor agree that Borrower's
         and Grantor's possession and use of the Property shall be governed by the following provisions:
         Possessron and Use. Untn the occurrence of an Event of Default, Grantor may (1) remain In possession
         and control of the Property; (2) use, operate or manage the Property; and (3) collect the Rents from the
         Property.
         Duty to Maintain. Grantor $hall maintain the Property In good condition and promptly perform all repairs,
         replacements, and maintenance necessary to preserve Its value.
         Compliance With Environmental Laws. Grantor represents and warrants to Lender that: {1) During the
         period of Grantor's ownership of the Property 1 there has been no usei generatlon1 manufacture, storage,
         treatment, disposal, release or threatened release of any Hazardous Substance by any person on, under,
         about or from the Property; (2) Grantor has no knowledge of, or reason to believe that there has been,
         except as prevlously disclosed to and acknowledged by Lender In writing, (a) any breach or violation of
         any Environmental Laws, (b} any use, generation, manufacture, storage, treatment, disposal, release or
         threatened release of any Hazardous Substance on, under, about or from the Property by any prior
         owner$ or occupants of the Property, or (c) any actual or threa1ened Htlgation or claims of any kind by any
         person relating to such matterl:l; and (3) Except as prevlously disclosed to and acknowledged by Lender
                                                                2
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         in writing, (a) neither Grantor nor any tenant, contractor, agent or other aulhorized user of the Property
         shall use, generate, manufacture, store, treat, dispose of or release any Hazardous Substance on, under,
         about or from the Property; and {b) any such activity shall be conducted In compliance with all applicable
         federal, state, and local laws, regulations and ordinances. including wlthout limitation all Envlronmental
         Laws. Grantor authorizes Lender and its agents to enter upon the Property to make such Inspections and
         tests, at Grantor's expense, as Lender may deem appropriate to determine compliance of the Property
         wlth this section of the Mortgage. Any Inspections or tests made by Lender shall be for Landers
         purposes only and shall not be construed to create any responsibllity or Uabllity on the part of Lender to
         Grantor or to any other person. The representations and warranties contained herein are based on
         Grantor's due dlllgence in Investigating the Property for Hazardous Substances.
         Grantor and any occupants at the Property shall exercise extreme care In handling Hazardous
         Substances and, if Grantor or any occupant uses or encounters any Hazardous Substances at the
         Property, Grantor shall, at lte own cost and expense, in addition to complying with all applicable federal,
         state and local laws1 regulations and ordinances, lncluding1 without ltmltation, au Environmental Laws,
         undertake any and all preventive, investigatory or remedial action (Including emergency response,
         removal, containment and other remedial action) necessary to prevent or minimize {a) property damage
         (including damage to Grantor's or any occupant's own property), {b) personal Injury, (c) damage to the
         environment or (d) the threat of any such damage or lnjury, in each case, by reason of any release of or
         exposure to any Hazardous Substances at the Property or the operations of Grantor or any occupant at
         the Property.
         Grantor authorizes Lender and Its agents to enter upon the Property to make such Inspections and tests,
         at Grantor's expense, as Lender may deem appropriate to determine complfance of the Property with this
         section of thfs Mortgage. Any inspe<:tions or tests made by Lender shall be for Lender's purposes only
         and shall not be construed to create any responsibility or llablllty on the part of Lender to Grantor or to
         any other person. If, pursuant to the section set forth below regarding expenditures by Lender, Lender
         perfonns any of the actions required of Grantor under this section of the Mortgage. Lender shall not, by
         reason of such perfonnance, be deemed to be assuming any responsibllity of Grantor under any
         Environmental Law or to any third party.
         Grantor shall immediately notify Lender upon· becoming aware of any of the foUowlng: (a) any splll1
         release or disposal of any Hazardous Substances at the Property or In connectfon wllh any of operations
         at the Property, If such splll 1 release or dfsposal must be reported to any governmental authorlty under
         applicable Environmental Laws; (b) any contamination, or Imminent threat of contaminatron, of the
         Property by any Hazardous Substances or any vfolatlon of Environmental Laws In connection with the
         Property or any operations conducted at the Property; {c) any order1 notice of violation, fine, penally or
         other similar action by any governmental authority relating to Hazardous Substances, Environmental
         Laws, the Property or the operations conducted at the Property; (d) any judiclal or administrative
         investigation or proceeding relating to Hazardous Substances, Environmental Laws 1 that would give a
         reasonably prudent lender cause to be concerned that the value of Lender's security Interest in the
         Property may be reduced or threatened or that may Impalrt or threaten to impair, Grantor's abtuty to
         perform any of Its obligations under this Mortgage when such performance is due. Grantor shall deliver to
         Lender, at Lender's request, copies of any and all documents in Grantor's possession (or to which it has
         access) relating to Hazardous Substances, Environmental Laws, the Property or the operations
         conducted at the Property, Including, without limitation, the results of laboratory analyses, slte
         assessments or studies, environmental audit reports and other consullants' studies and reports.
         Grantor hereby (1) releases and waives any future claims against any Indemnified Person (as defined
         below) for fndemnlty or contribution In the event Grantor becomes liable for cleanup or other costs under
         any Environmental Laws; and (2) agrees to indemnify, defend, and hold harmress each Indemnified
         Person against any and all c!af ms, losses, liabilities, damages, penallles1 and expenses which any
         Indemnified Person may directly or indirectly sustain or suffer resuftlng from a breach of this section of the
         Mortgage or as a consequence of (a) any breach of this section of the Mortgage1 (b) any use, generation,
         manufacture, storage, disposal, release or threatened release occurring during or prior to Granto~s

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         ownership or Interest in the Property, whether or not the same was or should have been known to
         Grantor, (c) any investigatory or remedial action involving the Property, the operations conducted at the
         Property or any other operations of Grantor or any occupant at the Property that Is required by any
         Environmental Laws and (d) the contamination of the Property by any Haiardous Substances, by any
         means whatsoever (Including, wilhout nmrtatlon, any migration of any Hazardous Substances onto the
         Property, present or future. The provisions of this section of the Mortgage, including the obligation to
         Indemnify and defend, shall survive the payment of the Indebtedness and the satisfaction and
         reconveyance of the llen of this Mortgage and shall not be affected by Lender's acquisition of any Interest
         In the Property, whether by foreclosure or otherwlse.
         Nuisance, Waste. Grantor shall not cause, conduct or permit any nuisance nor commit, penniti or suffer
         any stripping of or waste on or to the Property or any portion of the Property. Without limiting the
         generality of the foregoing, Grantor will not remove, or grant to any other party the right to remove, any
         timber, mlnerals (Including oil and gas), coal. clay, scoria, soll 1 gravel or rock products without Lendets
         prior wrltten consent.
         Removal of Improvements. Grantor shall not demolish or remove any Improvements from the Recal
         Property without Lender's prior written consent. As a condition to the removal of any Improvements,
         Lender may require Grantor to make arrangements satisfactory to Lender to replace such Improvements
         with Improvements of at least equal value.
         Lender's Right to Enter. Lender and Lender's agents and representatives may enter upon the Real
         Property at all reasonab1& times to attend to Lender's Interests and to inspect the Real Property for
         purposes of Grantor's compliance with the terms and conditions of this Mortgage.
         Subsequent Liens. Grantor shall not allow any subsequent liens or mortgages on all or any portion of
         the Property without the prior wrllten consent of Lender.       ·
         Compliance with Governmental Requirements. Grantor shall promptly comply with an laws1
         ordinances, and regulations1 now or hereafter rn effeot1 of all governmental authorities applicable to the
         use or occupancy of the Property, including without llmitallon 1 the Americans wllh Olsabllllles Act.
         Grantor may contest In good faith any such law, ordinance, or regulallon and withhold compliance during
         any proceeding, Including appropriate appeals, so long as Grantor has notified Lender in writing prior to
         doing so and so long as 1 in Lender's sole opinion, Lender's interests in the Property are not jeopardized.
         Lender may require Grantor to post adequate security or a surety bond, reasonably satisfactory to
         Lender, to protect Lender's Interest.
         Duty to Protect. Grantor agrees neither to abandon or leave unattended the Property. Granter shall do
         all other acls, in addition to those acts sat forth above in this section, which from the character and use of
         the Property are reasonably necessary to protect and preserve the Property.
         DUE ON SALE • CONSENT BY LENDER. Lender may1 at Lender's option, declare immediately due and
         payable all sums secured by this Mortgage upon the sale or transfer, without Lender's prior written
         consent, of all or any part of the Real Property, or any fnterest In the Real Property. A "sale or transfet'
         means the conveyance of Real Property or any right, title or Interest ln the Real Property; whether legal,
         beneficial or equitable; whether voluntary or involuntary; whether by outright sale, deed, installment sale
         contract, land contract, contract for deed, leasehold interest with a term greater than three (3) years,
         /ease-option contract, or by sale, assignment, or transfer of any beneficial Interest In or to any land trust
         holding title to the Real Property, or by any other method of conveyance of an Interest In the Real
         Property. If any Grantor Is a corporation, partnership or llmlted Uabllity company. transfer also Includes
         any change In ownership of more than twenty-five percent (25%) of the voting stock, partnership Interests
         or limited Uabll!ty company Interests, as the case may be, of such Grantor. However, this option shall not
         be exercised by Lender if such exercise is prohibited by federal law or by Florida raw.
         TAXES AND LIENS. The following provisions relating to the taxes and Uens on the Property are part of
         thls Mortgage:
         Payment. Grantor shall pay when due (and in all events prlor to delinquency) all taxes, payroll taxes,
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         special taxes, assessments! water charges and sewer service charges levled against or on account of the
         Property, and shalt pay when due all clalms for work done on or for servlces rendered or material
         furnished to the Property. Grantor shall maintain the Property free of any liens having priority over or
         equal to the interest of Lender under this Mortgage, except for those Hens specifically agreed to in writing
         by Lender, and except for the llen of taxes and assessments not due as further specified in the Right to
         Contest paragraph.
          Right to Contest. Grantor may wJthhold payment of any tax, assessment, or claim in connection with a
          good faith dispute over the obligation to pay, so long as Lendets Interest ln the Property Is not
         jeopardized. If a Hen arises or Is filed as a result of nonpayment, Grantor shall within fifteen (15) days
          after the Uen arises or, if a lien Is filed, within fifteen (15) days after Grantor has notice of the filing, secure
         the discharge of the lien, or If requested by Lender, deposit with Lender cash or a sufficient corporate
          surety bond or other security satisfactory to Lender In an amount sufficient to discharge the lien plus any
          costs and reasonable attorneys1 fees,· or other charges that could accrue as a result of a foreclosure or
          sale under the Hen. In any contest! Grantor shall defend itself and Lender and shall satisfy any adverse
         judgment before enforcement against the Property. Grantor shall name Lender as an additional obllgee
          under any surety bond furnished In the contest proceedings.
         Evidence of Payment. Grantor shall upon demand furnish to Lender saUsfactory evidence of payment of
         the taxes or assessments and shall authorize 1he appropriate governmental officlal to dellver to Lender at
         any time a wrltten statement of the taxes and assessments against the Property.
         Notice of Construction. Grantor shall notify Lender at least fifteen (15) days before any work is
         commenced, any services are furnished, or any materlals are supp/led to the Property, If any mechanic's
         lien, materlalmen's Hen, or other lien could be asserted on account of the work, services, or materials.
         Grantor wilf upon request of Lender fumlsh to Lender advance assurances satisfactory to Lender that
         Grantor can and will pay the cost of such Improvements.
         PROPERTY DAMAGE INSURANCE. The following provisions relating to insuring the Property are a part
         of thls Mortgage:
         Maintenance of Insurance. Grantor shall procure and maintain policies of fire insurance with standard
         extended coverage endorsements on a replacement basis for the full insurable value covering all
         Improvements on the Real Property In an amount sufficient to avoid appllcatlon of any coinsurance
         clause, and with a standard mortgagee clause in favor of Lender. Grantor shall also procure and
         maintaln comprehensive general liablllty Insurance In such coverage amounts as Lender may request
         with Lender being named as additional Insured in such liability Insurance pollcies. Additionally, Grantor
         shall maintain such other insurance, Including but not limited to hazard, business interruption and boiler
         Insurance as Lender may require. Pollcles shall be written by such Insurance compantes and In such
         fonn as may be reasonably acceptable to Lender. Granter shall deliver to Lender certificates of coverage
         from each Insurer containing a stipulation that coverage wUI not be cancelled or diminished wtthout a
         mlnlmum of thirty (30) days• prior written notice to Lender and not containing any dtsclalmer of the
         lnsurets liability for failure to give such notice. Each Insurance policy also shall include an endorsement
         providing that coverage in favor of Lender will not be Impaired In any way by any act, omission or default
         of Grantor or any other person. Should the Real Property be located In an area designated by the
         Director of the Federal Emergency Management Agency as a special flood hazard area, Grantor agrees
         to obtain and maintain Federal Flood Insurance, ff available, within 45 days after notice is given by Lender
         that the Property is located in a special flood hazard area, for the full unpaid prlnclpal balance of the loan
         and any prior liens on the property securing the loan, up to the maximum policy lfmlts set under the
         National Flood Insurance Program, or as otherwise required by Lender, and to maintain such Insurance
         for the term of the loan.
          Application of Proceeds. Grantor shall promptly notify Lender of any loss or damage to the Property.
          Lender may make proof of loss if Grantor fail~ to do so within fifteen (15) days of the casualty. Whether
          or not Lender's security is impaired, Lender may, at Lendets election, receive and retain the proceeds of
          any Insurance and apply the proceeds to the reduction of the tndebtedness 1 payment of any lien affecting

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         the Property, or the restoration and repair of the Property. If Lender elects to apply the proceeds to
         restoration and repair, Grantor shall repair or replace the damaged or destroyed Improvement$ in a
         manner satisfactory to Lender. Lender shall, upon saUsfactory proof of such expendlture, pay or
         reimburse Grantor from the proceeds for the reasonable cost of repair or restoration If Granter is not in
         default under lhis Mortgage. Any proceeds which have not been dtsbursed within 180 days after their
         recelpt and which Lender has not committed to the repair or restoration of the Property shall be used firet
         to pay any amount owing to Lender under this Mortgage, then to pay accrued interest, and the remainder,
         if any, shall be applied to the prlncfpal balance of the Indebtedness. If Lender holds any proceeds after
         payment in full of the Indebtedness, such proceeds shall be paid to Grantor as Grantor's interests may
         appear.
         Unexpired Insurance at Sale. Any unexpired insurance shall inure to the benefit of, and pass to, the
         purchaser of the Property covered by this Mortgage at any trustee's sale or other sale held under the
         provisions of this Mortgage, or at any foreclosure sale of such Property.
         LENDER'S EXPENDITURES. If Grantor fails (A) to keep the Property free of all taxesr liens, security
         Interests, encumbrances, and other claims, (B) to provide any required Insurance on the Property, or (C)
         to make repairs to the Property, then Lender may do so. If any action or proceeding is commenced that
         would materially affect Lender's interests in the Property. then Lender on Granto~s behalf may. but is not
         required to, take any action that Lender believes to be appropriate to protect Lende~s Interests, including
         but not tlmlted to discharging costs for Insuring, maintaining and preserving the Property. AU expenses
         incurred or paid by Lender for such purposes will then bear interest at the rate charged under the Note
         from the date incurred or paid by Lender to the date of repayment.by Grantor. All such expenses will
         become a part of the Indebtedness and, at Lendets optton. wlll (A) be payable on demand; (B) be added
         to the balance of the Note and be apportioned among and be payable with any installment payments to
         become due during either (1) the tenn of any applicable insurance policy: or (2) the remaining term of the
         Note; or (C) be treated as a balloon payment which w!ll be due and payable at the Note's maturtty. The
         Mortgage also wlll secure payment of these amounts. The rights provided for In this paragraph shall be In
         addition to any other rights or any remedies to which Lender may be entltled on account of any default
         and shall be exercfsable by Lender to the extent pennltted by applicable law. Any such action by Lender
         shall not be construed as curing the default so as to bar Lender from any remedy that it otherw:lse would
         have had.
         WARRANTYi DEFENSE OF TITLE. The following provisions relating to ownership of the Property are a
         part of this Mortgage:
         Trtle. Grantor warrants that: (a) Grantor holds good end marketable title of record to the Property In fee
         simple1 free and clear of an Hens and encumbrances other than those set forth in the Real Property
         description or In any title insurance policy, tltle report, or final title opinion issued In favor of1 and accepted
         by 1 Lender, or have otherwise been prevlously disclosed to and accepted by Lender In writing in
         connection with this Mortgaget and (b) Grantor has the full right, power, and authority to execute and
         deUver this Mortgage to Lender.
         Defense of Title. Subject to the exception in the paragraph above, Grantor warrants and will forever
         defend the tltle to the Property against the claims of all persons. In the event any action or proceedlng ls
         commenced that questions Grantor's tttle or the interest of Lender under this Mortgage, Grantor shall
         defend the action at Grantor's expense. Grantor may be the nominal party In such proceeding, but
         Lender shall be entitled to participate In the proceeding and to be represented In the proceeding by
         counsel of Lender's own choice, and Grantor wlH deliver! or cause to be delivered! to Lender such
         instruments as Lender may request from time to time to permit such parttcipaUon.
         Compliance With Laws. Grantor warrants that the Property and Granto~s use of the Property complies
         with all existing applicable Jaws, ordinances1 and regulations of governmental authorities.
         Survival of Representations and Warranties. All representations and warranties, agreemenls, and
         statements Grantor has made In this Mortgage shall survive the execution and delivery of this Mortgage,
         shall be continuing tn nature and shall remain In full force and effect until such time as Borrowe~s
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         Indebtedness is paid fn full.
         CONDEMNATION. The following provisions relating to condemnation proceedings are a part of this
         Mortgage:
         Proceedings. If any proceedfng In condemnation is filed, Grantor shall promptly notify Lender in wrlting 1
         and Grantor shall promptly take such steps es may be necessary to defend the action and obtain the
         award. Grantor may be the nominal party In such proceeding, but Lender shall be entitled to participate in
         the proceeding and to be represented in the proceeding by counsel of its own choice, and Granter will
         deliver or cause to be delfvered to Lender such Instruments and documentation as may be requested by
         Lender from time to time to permit such participation.
         Application of Net Proceeds, If all or any 'part of the Property is condemned by eminent domain
         proeeedings or by any proceeding or purchase in lieu of condemnaUon, Lender may at Its election require
         that all or any portion of the net proceeds of the award be appUed to the Indebtedness or the repatr or
         restoration of the Property. The net proceeds of the award shall mean the award after payment of alf
         reasonable costs. expenses, and attorneys• fees incurred by Lender in connection wfth the condemnation.
         IMPOSITION OF TAXES, FEES AND CHARGES BY GOVERNMENTAL AUTHORITIES. The followlng
         provisions relating to governmental taxes, fees and charges are a part of this Mortgage:
         Current Taxes1 Fees and Charges. Upon request by Lender. Grantor shall execute such documents in
         addition to this Mortgage and· take whatever other action is requested by Lender to perfect and continue
         Lender's llen on the Real Property. Grantor shall reimburse Lendeir for all taxes, as described below,
         together with all expenses Incurred In recordlng1 perfecting or continuing this Mortgage1 Including wilhout
         !Imitation all taxes, fees, documentary stamps, and other charges for recording or registering this
         Mortgage.
         Taxes. The followlng shall constltute taxes to which this section applies: (1) a speoffio tax upon this type
         of Mortgage or upon all or any part of the Indebtedness secured by this Mortgage; (2) a specific tax on
         Borrower which Borrower Is authorized or required to deduct from payments on the Indebtedness secured
         by this type of Mortgage; (3) a tax on thts type of Mortgage chargeable against the Lender or the holder
         of the Note; and (4) a specific tax on all or any portion of the Indebtedness or on payments of principal
         and interest made by Borrower.
         Subsequent Taxes. If any tax to which this section applies Is enacted subsequent to the d~te of this
         Mortgage, this event shall have the same effect es an Event of Default, and Lender may exercise any or
         all of Its available remedies for an Event of Default as provided below unless Grantor either (1) pays the
         tax before It becomes delinquent, or (2) contests the tax as provided above In the Taxes and Liens
         section and deposits with Lender cash or a sufficient corporate surety bond or other security satisfactory
         to Lender.
         ASSIGNMENT OF RENTS AND LEASES. The following provisions relating to this Mortgage as an
         assignment of Rents and Leases are a part of this Mortgage:
         Ltcense to Grantor. Unless and until Lender exercises Its rlght to colleet the Rents as provided below1
         and so long as no Event of Default exists, Grantor shall have a license to (a) remain in possession and
         control of the Property1 (b) operate and manage the Property and (c) collect the Rents; provided that the
         granting of such license shall not constitute Lender's consent to the use of cash collateral In any
         bankruptcy proceedings. The foregoing license shall automatically and Immediately terminate, without
         notice to Grantor, upon the occurrence of any Event of Default. After the occurrence of any Event of
         Default, Lender may exercise any of the rights and remedfes set forth below and/or elsewhere In this
         Mortgage. Any Rents that are collected by Grantor after the occurrence of any Event of Default shall be
         held In trust for the benefit of Lender.
         Grantor's Representations, Warranties and Covenants. Grantor represents, warrants and covenants
         that: (a) Granter has good title to the Leases and is entitled to receive the Rents, In each case, free and
         clear of an rights, loans, liens, encumbrances, and claims, except as ~lsclosed to and accepted by Lender

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         in writing; (b) Grantor has the full right, power and authority to assign and convey the Leases and Rents
         to Lender; (e) Grantor has not previously assigned or conveyed the Leases and/or Rents to any other
         person or entity by an instrument now In force; (d) Grant.or will not sell, assign, encumber, or otherwise
         dispose of any of Grantor's right In the Leases and/or the Rents; (e) Grantor will fulfill and perform its
         obligations under all Leases and will give Lender prompt notice of any default in the performance of the
         terms of any of the Leases by either Grantor or any tenant, together with copies of all notices sent to or
         received by Granter In connection with any Lease; {f} Grantor will enforce the tenants' obHgatlons under
         the Leases; (g) Grantor wlll not, ln any way enter fnto any new Lease, amend, assign, cancel, or
         terminate any Lease. accept a surrender of any Lease or any leased premises, accept any payment of
         Rent more than one month in advance or waive. release, discharge or compromise any Rent or any of the
         obligatlons of the tenants under any of the Leases, in eech case, without the prior written consent of
         Lender; {h} Grantor wl11 appear in and defend or prosecute any actton growing out of any Lease. at
         Grantor's cost and expense; (I} there is no present default by any tenant under any Lease; 0) all existing
         Leases are in full force and effect and unmodified; (k) to the best of Granto~s knowledge, no person or
         entity other than authorized tenants is In possession of an or any part of the Property; (I) Grantor will
         provide copies of any and all Leases and Lease amendments, and all records relating thereto. to Lender
         upon Lender's request.
         Lender's Right to Receive and Collect Rents. Subject to the license granted to Grantor above1 Lender
         shall have the right 1 at any time from and after the occurrence of any Event of Default to colle.ct and
         receive the Rents. For this purpose, Lender is hereby given and grarited the folfowing rights 1 powers, and
         authority: (a) Lender may send notices to any and alf tenants of the Property advlslng them of this
         assignment and directing all Rents to be paid dlrecUy to Lender or Lender's agent. (b} Lender may (i)
         enter upon and take possession of the Property, (Ii) demand, collect and receive from the tenants (or from
         any other persons liable therefor) all of the Rents of the Property, (Iii) institute and carry on all legal
         proceedings necessary for the protection of the Property, including such proceeds as may be necessary
         to recover possession of the Property and collect the Rents, (lv) remove any tenant or other persons from
         the Property, (v) enter upon the Property to maintafn the Property and keep the same in repair, and pay
         the costs thereof and of all services of all employees, Including their equfpment1 and all continuing costs
         and expenses of maintaining the Property in proper repair and condition and (vi) pay all taxes,
         assessments and water utilitles and the premiums on fire and other Insurance effected by Lender on the
         Property; (c) Lender may do any and all things necessary or advisable to executed and comply with all
         applicable Jaws, rules, orders, ordinances and requirements of all governmental agencies; (d) Lender may
         (!) rent or lease the whole or any part of the Property for such terms or terms and on such conditions as
         Lender may deem appropriate and (U) modify, terminate or accept the surrender of any Leases and/or
         waive, release, discharge or compromise any Rent or any obllgatlons of any of the tenants under the
         Leases; (e) Lender may make any payment including necessary costs, expenses and reasonable
         attorney fees 1 or perfOrm any action required of Grantor under any Lease, without releasing Grantor from
         the obligation to do so and without notrce to or demand on Grantor; (f) Lender may engage such agent or
         agents as Lender may deem appropriate, either in Lende~s name or In Grantor's name! to rent and
         manage Iha Property, lncludtng the collection and application of Rents; and (g) Lender may do all such
         other things and acts with respect to the Property,· the Leases and the Rents as Lender may deem
         approprtate and may act excluslvely and solely In the place and stead of grantor. Lender has au of the
         power of Granlor for the purposes stated above. Lender shall not be required to do any of the foregoing
         acts or things and the fact that Lender shall have performed one or more of the foregoing acts or things
         shall not require Lender to do any other specific act or thing. The foregoing rights and remedles of
         Lender are in addition to and not In !Imitation of the rights and remedies of Lender under the RIGHTS
         AND REMEDIES UPON DEFAULT section of this Mortgage including the rights and remedies set forth tn
         the ~collect Rents" provision, all of which rights and remedies are Incorporated tnto this ASSIGNMENT
         OF RENTS section.
         Application of Rents. Any Rents received by Lender shall be applied against the indebtedness
         (incfuding Lender's costs and expenses) In such order or       mann~r   as Lender shall elect In its sole
         discretion.

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         Right to Rely. Grantor hereby irrevocably authorizes and directs the tenants under the Leases lo pay
         Rents to Lender upon wrltten demand by Lender, without further consent of Grantor. The tenants may
         rely upon any written statement dellvered by Lender to the tenants. Any such payment to Lender shall
         constitute payment of Granter under the Leases. The provisions of this paragraph are Intended solely for
         the benefit of the tenants and shall never Inure to the benefit of Granter or any person claiming through or
         under Grantor, other than a tenant who has not received such noUce. The assignment of Rents and
         Leases set forth herein Is not contingent upon any notice or demand by Lender to the tenants.
         Lender In Possession. lenders acceptance of thls Mortgage shall not, prior to entry upon and takfng
         possession of the Property by Lender, be deemed to constitute Lender a Mmortgagee in possession,• nor
         oblfgate Lender to: (a) appear In or defend any proceedings relating to any of the Leases, the Rents or to
         the Property; {b) taken any action hereunder; (c) expend any money, Incur any expenses or perfonn any
         obligations or liability under the Leases; or (d) assume any obligation for any deposlls delivered to
         Grantor by any temmt and not delivered to Lender. Lender shall not be Hable for any Injury or damage to
         any person or property in or about the Property. Grantor Indemnifies Lender and holds it harmless from
         all liability or damages whlch Lender may Incur under any Lease and from all claims and demandi which
         may be asserted against Lender by reason of any alleged obllgatlon on ils part to perform any tenn of any
         Lease.
         SECURITY AGREEMENTi FINANCING STATEMENTS. The followlng provisions relating to this
         Mortgage as a security agreement are a part of this Mortgage:
         Security Agreement. This Instrument shall constitute a Security Agreement to the extent any of the
         Property constitutes fixtures, and Lender shall have all of the rights of a secured party under the Unlfonn
         Commercial Code as amended from time to time.
         Security Interest. Grantor hereby authorizes Lender to file such financing statements with respect to the
         Property as Lender shall deem approprlate and Grantor shall take whatever other action is requested by
         Lender to perfect and continue Lender's security Interest In the Rents and Personal Property. Upon
         request by Lender, Grantor shall take whatever action is requested by Lender to perfect and continue
         Lender's security interest In the Personal Property. In addltlon to recording this Mortgage In the real
         property records, Lender may, at any time and without further authorization from Grantor, flle executed
         counterparts 1 copies or reproductions of this Mortgage as a financing statement. Grantor shall reimburse
         Lender for an expenses Incurred In perfecting or continuing this security interest. Upon default, Grantor
         shall not remove, sever or detach the Personal ?roperty from the Property and shall assemble any
         Personal Property not affixed to the Property In a manner and at a place reasonably convenient to
         Gr~ntor and Lender and make it available to Lender within three (3) days after receipt of written demand
         from Lender to the extent permitted by applfcable law.
         Addresses. The mailing addresses of Grantor (debtor) and Lender (secured party) from which
         information concerning the security Interest granted by this Mortgage may be obtained (each as required
         by the Uniform Commercial Code) are a$ stated on the first page of this Mortgage.
         FURTHER ASSURANCES; ATTORNEY·IN·FACT. The following provisions relating to further
         assurances and attorney-In-fact are a part of this Mortgage:
         Further Assurances. At any tlme, and from time to time, upon request of Lender, Grantor wlll make,
         execute and deliver, or will cause to be made, executed or delivered, to Lender or to Lender's deslgnee,
         and when requested by Lender, cause to be flied, recorded, refiled, or rerecorded, as the case may be, at
         such times and in such offices and places as Lender may deem appropriate, any and an such mortgages,
         deeds of trust, security deeds, security agreements, financing statements, continuation statements,
         instruments of further assurance, certificates, and other documents as may, in the sole opinion of Lender,
         be necessary or desirable tn order to effectuate, complete, perfect, continue, or preserve (1} Borrower's
         and Grantots obligations under the Note, this Mortgage, and the Related Documents, and (2) the liens
         and security interests created by this Mortgage as first and prior liens on lhe Property, whether now
         owned or hereafter acquired by Grantor. Unless prohibited by law or Lender agrees to the contrary tn
         writlng 1 Granlor shall reimburse Lender for all costs and expenses incurred In connection with the matters
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         referred to in this paragraph.
         Attorney.f n~Fact. If Grantor falls to do any of the things referred to in the preceding paragraph, Lender
         may do so for and In the name of Grantor and at Gr~ntor's expense. For such purposes, Grantor hereby
         irrevocably appoints Lender as Grantor's attorney-in-fact for the purpose of making, executing, delivering,
         filing, recordlng1 and doing all other things as may be necessary or desirable, in Lender's sole opinion, to
         accomplish the matters referred to In the pre<:eding paragraph.
         FULL PERFORMANCE. If Borrower and Grantor pay all the Indebtedness when due, and Grantor
         otherwise performs all the obltgatlons Imposed upon Grantor under thls Mortgage, Lender shall execute
         and deliver to Grantor a suitable satisJacllon of this Mortgage and suitable statements of tennlnation of
         any financing statement on fife evidencing Lender's security interest ln the Rents and the Personal
         Property. Grantor wUI pay, ff permitted by appllcable law, any reasonable termination fee as determined
         by Lender from time to time.
         EVENTS OF DEFAULT. Each of the followlng and each Event of Default (as defined in the Note)
         described in Section 8 of the Note, at Lender's option, shall constitute an Event of Default under this
         Mortgage:
         Payment Default. Borrower falls to make any payment when due under the Indebtedness.
         Default on Other Payments. Failure of Grantor within the time required by this Mortgage to make any
         payment for taxes or Insurance, or any other payment necessary to prevent filing of or to effeet discharge
         of any lien.
         Break Other Promises. Borrower or Granlor breaks any promise made to Lender or falls to perform
         promptly at the time and strictly ln the manner provided In this Mortgage or in any agreement related to
         this Mortgage.
         False Statements. Any warranty 1 representation or statement made or furnished to Lender by Borrower
         or Grantor or on Borrowe~s or Grantor's behalf under this Mortgage, the Note or the Related Documents
         Is false or misleading in any mater!al·respect, either now or at the time made or furnished or becomes
         false or mlsleadlng at any time thereafter.
         Defective Collaterallzatlon. This Mortgage or any of the Related Documents ceases to be In full force
         and effect (Including failure of any collateral document to create a valid and perfected security interest or
         Uen) at any time and for any reason.
         Death or Insolvency. The dissolution of Grantor (regardless of whether electlon to continue is made},
         any member or partner withdraws from the limited llabllfty company or limited partnership, or any other
         termination of Grantor's existence as a going business or the dealh of Borrower or Grantor, the
         fnsolvency of Borrower or Grantor, the appointment of a receiver for any part of Borrower's or Grantor's
         property, any assignment for the benefit of creditors, any type of creditor workout, or the commencement
         of any proceeding under any bankruptcy or insolvency laws by or agalnst Borrower or Grantor.
         Creditor or Forfeiture Proceedings. Commencement of foreclosur~ 1 replevln, repossession,
         attachment, levy, execution, or forfeiture proceedings. eilher by judlcfal proceeding, selfMhelp, or any other
         method, by any creditor of Grantor, or by any governmental agency against the Collateral or any other
         assets of Grantor. Thls Includes a garnishment of any of Grantor's accounts, including deposit accounts,
         with lender. However, this Event of Default shall not apply if there Is a good faith dispute by Grantor as to
         the vaUdlty or reasonableness of the ct arm which ls the basis of the creditor or forfeiture proceeding and If
         Granter gives Lender written notice of the creditor or forfeiture proceeding and deposits with Lender
         monles or a surety bond tor the creditor or forfeiture proceedings, In an amount determined by Lender, In
         its sole discretion, as belng an adequate reserve or bond for the dispute.
         Taking of the Property. Any creditor or governmental agency tries to take any of the Property or any
         other of Borrower's or Grantor's property in which Lender has a Hen. Thi$ Includes taking of, gamlshlng of
         or levying on Borrowets or Grantor's accounts with Lender. However, If Borrower or Grantor disputes In
         good faith whether the claim on which the taking of the Property Is based is valid or reasonable, and If
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         Borrower or Grantor gives Lender written nollce of the claim and furnishes Lender with monies or asurety
         bond satrsfactory to Lender to satisfy the claim, then this default provision wlll not apply.
         Breach of Other Agreement. Any breach by Borrower or Grantor under the terms of any other
         agreement between Borrower or Grantor and Lender that Is not remedfed within any grace period
         provlaed thereln1 including without llmltatron any agreement concerning any Indebtedness or other
         obllgatlon of Borrower or Grantor to Lender, whether existing now or later.
         Adverse Change. A material adverse change occurs In Grantor's financial condition, or Lender believes
         the prospect of payment or performance of the Indebtedness Is impaired.
         Events Affecting Guarantor. Any of the preceding events occurs with respect to any guarantor,
         endorsert surety, or accommodation party of any of the Indebtedness or any guarantor, endorser1 surety,
         or accommodation party dies or becomes Incompetent, or revokes or disputes the validity of, or liability
         undert any Guaranty of the Indebtedness.
         Insecurity. Lender ln good faith believes itself Insecure.
         RIGHTS AND REMEDIES ON DEFAULT. Upon the occurrence of.an Event of Default and at any ttme
         thereafter. Lender, at Lenders option, may exercise any one or more of the followtng rights and remedies,
         In addition to any other rights or remedies provided by law:
         Accelerate Indebtedness. Lender shall have the right at Its option without notice to Borrower or Grantor
         to declare the entire Indebtedness Immediately due and payable, Including any prepayment penalty that
         Borrower would be required to pay.
         UCC Remedies. With respect to all or any part of the Personal Propertyt Lender shall have all the rights
         and remedies of a secured party under the Uniform Commercial Code.
          Collect Rents. Lender personally, or by Lender's agents or attorneys may enter Into and upon an or any
         ·part of the Property, and may exclude Grantor1 Grantor's agents and servants wholly from the Property.
          Lender may use, operate, manage and control the Property. Lender shall be entitled to collect and
          receive all earnings, revenues. rents, Issues, profits and Income of the Property and every part thereof, all
          of which shall for all purposes constftute property of Grantor. After deducting the expenses of conducting
          the business thereof1 and of. au maintenance, repairs, renewals, replacements. alterations, additions,
          betterments and Improvements and amounts necessary to pay for taxes, assessments, Insurance and
          prior or other property charges upon the Property or any part thereof, as well as just and reasonable
          compensation for the services of Lender. Lender shall apply such monies first to the payment of the
          principal of the Note1 and the interest thereon, when and as the same shall become payable and second
          the payment of any other sums required to be paid by Grantor under this Mortgage.
         Appoint Rec~lver. In the event of a suit being instituted to foreclose this Mortgage, Lender shall be
         entitled to apply at any time pending such foreclosure suit to the court having jurisdiction thereof for the
         appointment of a receiver of any or all of the Property, and of all rents. incomes, profits, issues and
         revenues thereof, from whatsoever source, The parttes agree that the court shall forthwith appoint such
         receiver wlth the usual powers and duties of receivers rn llke cases. Such appointment shall be made by
         the court as a matter of strict right to Lender and without notice to Grantor1 and without reference to the
         adequacy or inadequacy of the value of the Property, or to Grantor's solvency or any other party
         defendant to such suit. Granter hereby speclfica1Jy waives the right to object to the appoin1ment of a
         receiver and agrees that such appointment shall be made as an admitted equity and as a matter of
         absolute right to Lender, and consents to the appointment of any officer or employee of Lender as
         receiver. Lender shall have the right to have a receiver appointed to take possession of all or any part of
         the Property, with the power to protect and preserve the Property,_ to operate the Property precedf ng
         foreclosure or sale, and to collect the Rents from the Property and apply the proceeds, over and above
         the cost of the receivership, against the Indebtedness. The receiver may serve without bond if permitted
         by law, Lender's right to the appointment of a receiver shall exist whether or not the apparent value of the
         Property exceeds the Indebtedness by a substantial amount. Employment by Lender shall not dfsqualify
         a person from serving as a receiver.
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         Judicial Foreclosure. Lender may obtain a judlclal decree foreclosing Grantor's interest in all or any part
         of the Property.
         Nonjudlclal Sale. If permitted by applicable law. Lender may foreclose Grantor's Interest in all or rn any
         part of the Personal Property or the Real Property by non~judlclal sale.
         Deficiency Judgment. If permitted by applicable law, Lender may obtain a judgment for any defielency
         remaining In the Indebtedness due to Lender after application of an amounts received from the exercise
         of the rights provided in this section,
         Tenancy at Sufferance. If Grantor remains in possession of the Property after the Property is 1>old as
         provided above or Lender otherwise becomes entttled to possesslon of the Property upon default of
         Borrower or Grantor, Grantor shall become a tenant at sufferance of Lender or the purchaser of the
         Property and shall, at Lende~s option, elther (1) pay a reasonable rental for the use of the Property, or
         (2) vacate the Property Immediately upon the demand of Lender.
         Other Remedies. Lender shall have all other rights and remedies provided in this Mortgage or the Note
         or available at law or rn equity.                                ·
         Sale of the Property. To the extent permitted by appltcable law, Borrower and Grantor hereby waive any
         and aU right to have the Property marshaled. In exercising ils rights and remedies, Lender shall be free to
         sell all or any part of the Property together or separately, in one sale or by separate sales. Lender shall
         be entitled to bid at any public sale on an or any portion of the Property.
         Notice of Sale, Lender wlll give Grantor reasonable notice of the time and place of any public sale of the
         Personal Property or of the time after which any private sale or other Intended dlsposlUon of the Personal
         Property is to be made. Reasonable notice shall mean notice given at least ten (10) days before the trme
         of the sale or disposition. Any sale of the Personal Property may be made In conjunction with any sale of
         the Real Property.
         Insurance Policies. Lender. shall have the right upon an Event of Default, but not tha obligatlon, to
         assign an of Grantor's right, title and Interest in and to all policies of insurance on the Property and any
         unearned premiums paid on such Insurance to any receiver or any purchaser of the Property at a
         foreclosure sale, and Grantor hereby appoints Lender as attorney in fact to assign and transfer such
         policies.
         Election of Remedies. All of Lender's righte and remedies will be cumulative and may be exercised
         alone or together. An election by Lender to choose any one remedy will not bar Lender from using any
         other remedy. If Lender decides to spend money or to perform any of Grantor's obligallons under this
         Mortgage, after Granters failure to do so, that decision by Lender wm not affect Lender's right to deelare
         Grantor in default and to exercise Lender's remedies. Nothing under this Mortgage or otherwise shall be
         construed so as to limit or restrict the rights and remedies available to Lender following an Event of
         Oefaultt or in any way to limit or restrict the rights and ability of Lender to proceed directly against Grantor
         and/or against any other co-maker, guarantor, surety or endorser and/or to proceed against any other
         collateral directly or indirectly securing the Indebtedness.
         Attorneys' Feesi Expenses. If Lender institutes any suit or aetlon to enforce any of the terms of this
         Mortgage, Lender shall be entitled to recover such sum as the court may adjudge reasonable as
         attorneys' fees at trial and upon any appeal. Whether or not any court action Is lnvolved1 and to the
         extent not prohibited by law, an reasonable expenses Lender Incurs that in Lender's opinion are
         necessary at any time for the protection of its interest or the enforcement of Its rights shall become a part
         of the Indebtedness payable on demand and shall bear Interest at. the Note rate from the date of the
         expenditure until repaid. Expenses covered by this paragraph Include, without limitation, however subject
         to any limits under applicable law, Lender's reasonable attorneys' fees and Lender's legal expenses,
         whether or not there Is a lawsuit, including reasonable attorneys' fees and expenses for bankruptcy
         proceedings (Including efforts to modify or vacate any automatic stay or Injunction), appeats. and any
         anticipated post~Judgment collecllon seivlces. the cost of searching records, obtaining tftle reports
         (lncluding foreclosure reports)", surveyors1 reports, arid appraisal fees and title insurance, to the extent
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         permitted by applicable law. Grantor also will pay any court costs, in addition to all other sums provided
         bylaw.
         NOTICES. Any notice required to be given under this Mortgage, including without llmitation any notice of
         default and any notice of sale shall be given in writing, and shall be effective when actually delivered,
         when actually received by telefacslmlle (unless otherwise requlred by law), when deposited with a
         nationally recognized overnight courier, or, if mailed, when deposited in the United States mail, as first
         class, certified or registered mail postage prepaid, directed to the addresses shown near the beginning of
         this Mortgage. All copies of notices of foreclosure from the holder of any Hen which has priority over this
         Mortgage shall be sent to Lender's address, as shown near the beginning of this Mortgage. Any person
         may change his or her address for notices under this Mortgage by giving formal written notice to the other
         person or persons, specifying that the purpose of the notice is to change the person's address. For notfce
         purposes., Grantor agrees to keep Lender informed at an times of Grantor1s current address. Unless
         otheiwlse provided or required by tawt If there ls more than one Granter, any notice given by Lender to
         any Grantor is deemed to be notice given to all Grantors. It will be recipient Grantor's responsibility to tell
         the others of the notice from Lender.
         JURY WAIVER. THE UNDERSIGNED AND LENDER (BY ITS ACCEPTANCE HEREOF) HEREBY
         VOLUNTARILY1 KNOWINGLY, IRREVOCABLY AND UNCONDITIONALLY WAIVE ANY RIGHT TO
         HAVE A JURY PARTICIPATE IN RESOLVING ANY-DISPUTE (WHETHER BASED UPON CONTRACT,
         TORT OR OTHERWISE) BElWEEN OR AMONG THE UNDERSIGNED AND LENDER ARISING OUT
         OF OR IN ANY WAY RELATED TO THIS DOCUMENT. THE RELATED DOCUMENTS, OR ANY
         RELATIONSHIP BETWEEN OR AMONG THE UNDERSIGNED AND LENDER WHETHER ANY SUCH
         RIGHT NOW OR HEREAFTER EXISTS. THIS PROVISION IS A MATERAL INDUCEMENT TO
         LENDER TO PROVIDE THE FINANCING EVIDENCED BY THIS DOCUMENT AND THE RELATED
         DOCUMENTS.
         INFORMATION WAIVER. Lender may provide, without any Umitation whatsoever1 to any one or more
         purchasers, potential purchaser$, or afflllates of Lender, any lnfonnatlon or knowledge Lender may have
         about Grantor or about any matter relating to this Mortgage, and Grantor hereby waives any right to
         privacy Grantor may have with respect to such matters.
         MISCELLANEOUS PROVISIONS. The following miscellaneous provisions are a part of this Mortgage:
         Amendments. What is wrftten in thfs Mortgage and In the Related Documents Is Grantor's entire
         agreement with Lender concerning the matters covered by this Mortgage. To be effectlvet any change or
         amendment to this Mortgage must be ln writing and must be signed by whoever wlll be bound or
         obligated by the change or amendment.
         Annual Reports. If the Property is used for purposes other than Grantor's residence, Grantor shall
         furnish to Lender, upon request, a certified statement of net operating income received from the Property
         during Grantor's previous fiscal year in such form and detail as Lender shall require. "Net operating
         income· shall mean all cash receipts from the Property less all cash expenditures made in connection
         with the cooperation of the property.
         Caption Headings. Caption headings In this Mortgage are for convenience purposes only and are not to
         be used to interpret or define the provisions of this Mortgage.
         Governing Law. This Mortgage wlll be governed by federal law appllcable to lender and, to the
         extent not preempted by federal law, the laws of the State of Florida without regard to Its conflicts
         of law provisions. Thia Mortgage has been accepted by Lender Jn the State of Florida.
         Choice of Venue. If there Is ~ lawsult, Grantor agrees upon Lender's request to submit to the jurisdiction
         of the courts of the State ofFlorida, in the county in which Borrower's following address Is located:
         Sarasota County, Florfda. ·
         Joint and Several Liablllty. All obligations of Borrower and Grantor under this Mortgage shall be joint
         and several, and all references to Grantor shall mean each and every Grantor. and all references to

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         Borrower shall mean each and every Borrower. This means that each Grantor signing below Is
         responslbfe for all obligations in this Mortgage.
         No Waiver by Lender. Lender shall not be deemed to have waived any rights under this Mortgage
         unless such waiver is given in writing and signed by Lender. No delay or omission on the part of Lender
         in exercising any right shall operate as a waiver of such rlght or any other right A waiver by Lender of a
         provision of this Mortgage shall not prejudice or constitute a waiver of Lender's right otherwise to demand
         strict compllance wtth that provision or any other provision of this Mortgage. No prlor waiver by Lender,
         nor any course of deaUng between Lender and Grantor, shall constitute a waiver of any of Lender's rights
         or of any of Grantor's obtigalions as to any future transactions. Whenever the consent of Lender is
         required under this Mortgage, the granting of such consent by Lender ln any instance shall not constitule
         continuing consent to subsequent Instances where such consent is required and in all cases such
         consent may be granted or wilhhe!d in the sole discretion of Lender.
         Indemnity. Grantor hereby agrees to indemnlfy1 defend and hold harmless Lender, and its officers,
         directors, employees, agents and representalives (each an •indemnified Person•), from and against any
         and all liablUfies, obligations, claims, losses, damages, penalties , actions, judgments; suits, costs,
         expenses or disbursements of any kind or nalures (collectively, the ~clalms•) which may be Imposed on,
         incurred by or asserted agatnst any Indemnified Person (whether or not caused by an Indemnified
         Person's sole, concurrent or contributory negUgence) arising In connection with the Related Documents,
         the Indebtedness or the Property (including, without limitation, the enforcement of the Related Documenls
         and the defense of any Indemnified Person's action and/or inaction In connection with the Related
         Documents), except to the limited extent that the Claims against the Indemnified Person are proximately
         caused by such Indemnified Person's grO$S negligence or willful misconduct. The lndemnmeatlon
         provided for In th ls section shall survive the tennination of this Mortgage and shall extend and continue to
         benefit each indivldual or entity who is, become or has any tlme been an Indemnified Person hereunder.
         Severablllty. If a court of competent jurisdiction finds any provision of this Mortgage to be illegal, Invalid,
         or unenforceable as to any circumstance, that finding shall not make the offending provision illegal,
         Invalid. or unenforceable as to any olher circumstance. If feasible, the offending provlslon shall be
         considered modified as so that it becomes legal, valld and enforceable. If the offending provision cannot
         be so modified, It shall be considered deleted from this Mortgage. Unless otherwise required by law, the
         Illegality, lnvalldlly, or unenforceability of any provision of this Mortgage shall not affect the legaUly,
         valldlty or enforceabllity of any other provision of this Mortgage.
        , Merger. There shall be no merger of the Interest or estate created by this Mortgage with any other
          Interest or estate In the Property at any time held by or for the benefit of Lender in any capacity, wlthout
          the written consent of Lender.
         Successors and Assigns. Subject to any limitations stated In this Mortgage on transfer of Grantors
         Interest, this Mortgage shall be binding upon and Inure to the benefit of the parties 1 their successors and
         assigns. If ownership of the Property becomes vested In a person other than Grantor, Lender, without
         notice to Grantor, may deal with Grantor's successors wlth reference to this Mortgage and the
         Indebtedness by way of forbearance or extension without releaslng Grantor from the obl!gallons of this
         Mortgage or llabllfty under the Indebtedness.
         Time le of the Essence. Tlme is of the essence in the performance of this Mortgage.
         Waiver of Homestead Exemption. Grantor hereby releases and waives all rights and benefits of the
         homestead exemption laws of_the State of Florida as to all Indebtedness secured by this Mortgage.
         DEFINITIONS. The following words shall have the following meanings when used in this Mortgage:
         Unless specifically stated to the contrary, all references to dollar amounts shall mean amounts In tawful
         money of the United States of America. Words and terms used In the singular shall Include the plural 1
         and the plural shall include the singular, as the context may require. Words and terms not otherwise
         defined in this Mortgage shall have the meanings attributed to such terms in the Uniform Commercial
         Code to the extent that this Mortgage encumbers Personal Property that is governed by the Florida

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         Uniform Commerclal Code.
         Borrower. The word "Borrower• means Homes by De Ramo, Inc. and includes all co-signers and co-
         makers signing the Note and all their successors and assigns.
         Environmental Laws. The words "Environmental Laws11 mean any and all state, federal1 local and
         foreign statutes, judicial decisions, regulations, ordinances, rules, judgments, orders, decrees, plans,
         Injunctions, permits. concessions, grants, franchises, licenses, agreements and other governmental
         restrictions relatlng to (i) the protection of human he~tth or the environment, (ii} the effect of the
         environment on human health, (Iii) emissions, discharges or releases of pollutants, contaminants,
         hazardous substances or wastes into surfac~ water, ground water or land or (iv) the manuracture,
         processing, distribution, use, treatment, storage, d!sposal, transport or handling of pollutants,
         contaminants, hazardous substances or wastes or the olean~up or -other remediation thereof, including
         without IJmltation the Comprehensive Environmental Response, Compensation, and Liabllity Act of 1960,
         as amended, 42 U,S,C. Section 9601, et seq. ("CERCLA"), the Superfund Amendments and
         Reauthorization Act of 1986, Pub. L. No. 99499 ("SARA"), the Hazardous Materlals Transportation Act,
         49 U.S.C. Section 1801, et seq., the Resource Conservation and Recovery Act1 42 U.S.C. Section 6901,
         et seq., or other applicable state or federal laws, rules, or regulations adopted pursuant thereto.
         Event of Oefault. The words '1Event of Default" mean any of the events of default set forth In this
         Mortgage in the events of default section of this Mortgage.
         Grantor. The word 0Grantor" means Tracy E. DeRarno and Vincent W. DeRamo1 Wife and Husband,
         (Premises A, B) and Vincent w. DeRamo, Trustee under agreement dated 3/7/0D and Tracy E.
         Oeramo 1 Trustee under agreement dated 317/00 {Premises C)
         Guarantor. The word ~Guarantor" Vincent William De Ramo Jr., Vlncent W. DeRamo and Tracy Oeramo1
         as Trustees under agreement dated 317/00.
         Guaranty. The word "Guaranty" means the Continuing Guaranty (Unlimited} from Guarantor to Lender.
         dated March 24. 2016.
         Hazardous Substances. The words 11 Hazardous Substances11 mean materials that, because of their
         quantity, concentration or phys!oal, chemical or infectious characteristics, may cause or pose a present or
         potenUal hazard to human health or the environment when 1mproperly used, treated, stored, disposed of,
         generated, manufactured 1 transported or otherwise handled. The words "Hazardous Substances.11 are
         used In their very broadest sense and include wlthout limitation any and all hazardous or toxic
         substances, materials or waste as defined by or listed under the Environmental Laws. The term
         "Hazardous Substances11 also Includes, without limitation, all explosive or radioactive substances or
         wastes and all hazardous or toxic substances, wastes or other pollutants, including petroleum or
         petroleum dlstillates, asbestos or asbestos containing malerlals1 polychlorlnated biphenyls, radon gas,
         Infectious or medical wastes and all other substances or wastes of any nature regulated pursuant to any
         Environmental Law.
         Improvements. The word 11 lmprovements" means all existing and future improvements, buildings,
         structures, mobile homes affixed on the Real Property, facllitles, additions, replacements and other
         construction on the Real Property.
         Indebtedness. The word 11 lndebtedness11 means an prJncipal, interest, and other amounts, costs and
         expenses payable under the Note or Related Documents, together· with all renewals of, extensions of,
         modifications of 1 consolidations of and substitutions for the Note or Related Documents and any amounts
         expended or advanced by Lender to discharge Grantor's obligations or expenses Incurred by Lender to
         enforce Grantor's obligations under this Mortgage, together with Interest on such amounts as provided In
         this Mortgage. In addition, and without !Imitation, the term "Indebtedness" includes all amounts identified
         In the Cross-Collaterallzatlon paragraph of this Mortgage.
         Lender. The word "Lande~· means Bank of Lake Miiis, its Successors and or Assigns. The words
         "successors or assigns11 mean any person or company that acquires any interest In the Note.
         Mortgage. The word "Mortgage" means thfs Mortgage between Grantor and Lender.
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                           11
          Note. The word Note" means the Business Promissory Note and Security Agreement dated March 241
          2016, in the original prlnclpal amount of $91,216.00 from Borrower to Lender, together with au renewals,
          extensions, modifications, refinanclngs, consolidations, and substftuUons thereof. The Interest rate on the
          Note Is 0.335945206479% per day commencing on 3/30/2016 with each daily payment equaling $626.20
          followed by a final payment of $622,07 on 3/30/2017, when any remaining outstanding Principal, interest
          and other unpaid charges shall be due and payable in full. The maturity date of the Note is 3/30/2017.
         Personal Property. The words "Personal Property" mean all equipment, fixtures, and other artlc!es of
         personal property now or hereafter owned by Grantor1 and now or hereafter attached or affixed lo the
         Real Property; together with all accessions, parts, and additions to, an replacements of, and all
         substitutions for1 any of such property; and together with all proc~eds (Including without limltalion an
         insurance proceeds and refunds of premiums) from any sale or other disposition of the Property.
         Property, The word 11 Property'' means colleotlvely the Real Property and the Personal Property.
         Real Property. The words "Real Property'' mean the real property, interesls and rights, as further
         described in this Mortgage.
         Related Documents. The words "Related Documents" mean all promissory notes, credit agreements,
         loan agreements, environmental agreements, guaranties, Including the Guaranty, any and all other
         guaranties, security agreements, mortgages, deeds of trust, security deeds, collateral mortgages, and all
         other instruments, agreements and documents. whether now or hereafter existing, executed in
         connectron with the Indebtedness.
                                   11
         Rents. The word "Rents means all present and future rents, revenues, income, issues, royalties, profits,
         and other benefits derived from the Property.


              [SIGNATURE PAGE TO FOLLOW; REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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         GRANTOR ACKNOWL.EDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, AND
         GRANTOR AGREES TO ITS TERMS.



         3/7/00                                             J.
         GRAN OR: Tracy E. DeRamo, afkla Tracy Elizabeth DeRamo 1 Trustee Under agreement dated


                                                     aJ. .,_ ~~De~
                                               INDIVIUAL ACKNOWLEDGMENT

         STATE OF FLORIDA
                                                  :SS



         The foregolng instrument was acknowledged before me this;ijM. day of          !ft.114     ,  201l, by
                ~\ .t!                                                   who Is personally known to me or
         who ha produced '""                        Identification and who did (did not) take an oath.



                                                        (Signature of Person Taking Acknowledgment)
                                                             f?t11b I If. rt!JMe,.
                           CAROL A. MOORE               (Name of Acknowledger Typed, Printed or Stamped)
                            NOTARY PUBLIC
                        '"'!STATE OF FLORIDA
                                                            AJ P-)?<.V'   61 b/_, c~
                    • Comm# FF01!':S666                 (TiUe or Rank')
                    $    Expires 51712017                   &oJ5c...;:t
                                                        (Serial Number, if any)
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         GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, AND
         GRANTOR AGREES TO ITS TERMS.


         GRANTOR: Vincent W. DeRamo, a/k/a Vincent Wiiiiam De Ramo Jr.1 Trustee under agreement
         dated 3/7100


       'l~tq~/f/K/tt ~ /()4~1~
                                                 INDIVJUAL ACKNOWLEDGMENT

         STATE OF FLORIDA
                    /'                '
                                                    :SS
         COUNTY OF .) aq,,.Jt..f.,._.:


         The foregoing lnstrument was acknowledged before me this ;l L/.Yt,,. day of /!Jk,~-        , 201tz.. by
           ')• ;._.,(, u.rf    '~    ~ ":'r',,-·
                                         t                               who ls personally known to me Of
                                                                              I

         who has produced - c,. . (..., ui-J      s Identification and who did (did not) take an oath.



                                                          (Signature of Person Taking Acknowledgment)
                               CAROL. A. MOORE
                                NOTARY PUl:JLIO               Ctur>      J ff.tJ.11:.:"' 1 e..-
                              ""STATS OF FLORIDA          (Name of Acknowledger Typed. Printed or Stamped)
                          • comm# FF015656
                      l\'ti 5xplrea 611J2017              _;\ll)..J<.My           fu &l 6
                                                          (Title or Rank) I
                                                               ;':.i';;:::t) ) 5' r;. S" ~
                                                          (Serial Number, If any)
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 97 of 189 PageID 168




         GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, AND
         GRANTOR AGREES TO ITS-TERMS.




                                            INDIVIUAL ACKNOWLEDGMENT

         STATE OF FLORIDA
                                               :SS
         COUNTY OF   S::cu ~/r-




                                                     (Signature of Person Taking Acknowledgment)
                      CAROL A. MOORE
                      NOTARY PUBLIC
                                                          Cm I /1. fJl1ni;e-
                      $TATE OF FLORIDA
                      Comm# FF016856
                  'if!.; Expires 51712017


                                                     (Serial Number, if any)
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 98 of 189 PageID 169




         GRANTOR ACKNOWLEDGES HAVING READ ALL THE PROVISIONS OF THIS MORTGAGE, AND
         GRANTOR. AGREES TO ITS TERMS.


         GRANTOR: Vincent W. DeRamo, alk/a Vincent WllUam De Ramo Jr.


        ·'/;~;P.i)~A/r/A ~aJ~,~ld, h
                                            INOIVIUAL ACKNOWLEDGMENT

         STATE OF FLORIDA
                                               :SS



         The foregoing Instrument was acknowledged before me thisG<'l/7'-k day of
           l/, c:-r..,,,-f                _;;Ir
                                                                                    lt/a.vt ,        201_0 by
                                                                       1 who is personally known to me or

         who has produced --                         entlfication and who did (did not) take an oath.



                                                       (Signature of Person aktng Acknowledgment)
                       cAAOL A. MOORE
                       NOTARY PUBl.IC                      {7u rt- I /{, !tl.a&/G.·
                       STATS OF Fl.OR.JOA              (Name of Acknowledger Typed, Printed or Stamped)
                       ~FF01~
                     • EJpireS 5llf2J.U1                    Af6~r~V,~
                                                       (Tille or Rank) /
                                                                            &l lk
                                                           ?l*"t>J si~s?
                                                       {Serial Number, if any)
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 99 of 189 PageID 170




                                                           Exhibit A
                                                      Legal Description

           PRBMl§!SA•

           ALL THAT CERTAIN lot or piece of ground situate In the County of Sarasota, State of Florida.
           Lot 751 Oaks. according to the plat thereof recorded in Plat Book 28, Pages 48. 4SA through 48S,
           Inclusive. of the PubHc Rec;ords of Sarasota County, Florida.
           eBEMISS§S:
           ALL. THAT CEiRTA1N lot or piece of ground $ltut:t~e in the County of $arasota, Stale of Flortda.
          Lot 77. Oake, according to the Plat thereof recorded Jn Plat Book 28, Pages 48, 4aA lhro1.1gh 48S,
          lncruslve. of the Publlo Records or sara&ota County, Ronda.
           eB§MISESCj

          ALL. THAT CERTAIN lot or pleoe of grounq situate In the Gity or Sarasota, County of Sarasota. Slate 01
          Florlda.

          Lot 62, SOUTHPOINTE SHORES, Unit No. 2. as per plat thereof, recorded in Plat Book 10, Page 58, ol
          the Public Records of Sarasota County, Florida.


         Commonly Known as 74 Sugarmlll Drive, Osprey, FL 34229, and 82 Sugarmlll Drive, Osprey, FL 34229 1
         and 7614 Penlnsular Drive, Sarasota, FL 34231
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 100 of 189 PageID 171




                                                                      Exhibit 11 A11

                                           ADDENDUM TO MORTGAGE FROM
                                                     Trncy E. DeRamo, TO
                                BAnk of Lake Mills. its §Uccessorn and/or assi~s. BENEFICIARY

           This Mortgage is given in the fom1 ofhypothecated security in that it is given to secure the debt of
           another> to wit: the indebtedness evidenced by the Promissory Note dated 3/24/2016, in the
           amount of$91,215.00 which is made and delivered by Homes By De Ramo Inc. (hereby referred
           to as "Borrowef') to and for the benefit ofBeneficiary. Tracy E. DeRamo, (hereinafter referred to
           as 110wner 11) will derive a material and direct benefit from the loan evidenced by the Note, and in
           accordance therewith 1 Owner agrees that such interest and benefit are sufficient consideration to
           support the Mortgage. In the event of a default by Borrower under the Note, Owner expressly
           acknowledges> covenants> and agrees that Beneficiary shall have all rights and remedies hereunder
           as set forth for default just as if Owner had executed the Note. Further> in the event of default
           under the Note, it shall likewise be deemed an event of default hereunder giving rise to all rights
           and remedies as set forth herein for default. Owner expressly agrees thatt upon such default,
           Beneficiary may elect to enforce any rights and remedies which it may have under this Mortgage.
           The foregoing provisions are set forth and made by Owner as an inducement to Beneficiary to


           OiR: Traoy E               •n
           entet' into the loan transaction secured he1-eby.

                                                 ak      acy   Bli,.b~h DeR'"1o

                                                               :SS



           The foregoing instrument was acknowledged before me thisd1/ll.. day of        1 c-{       /!&
                                                                                                 ) 201k. by
            -.-- a ,_ l         1                                        ) who is personally known to me or
           who hasp oduced 7 7t                      ~ntification and who did (did not) take an oath.

                                                                          Cb{.,;-/ A~   I
                                                                      (Signature of Person Taking Acknowledgment)
                                          CAROi. A. MOORE
                  ..........,.....,.,.~~ NOTARY pueuc
                                     !:.) STATE OP FLORIDA
                                                                           {Jt'/ I J</, 11; ~> .- e..
                                                                                  1 •           <>

                                    • Comm# FF016656                  (Name of Acknowledger Typed, Printed or Stamped)
                                          6xph'(l$ 61712017
                                                                           1Vo-Jt!•1
                                                                      (Title or Ran!Q
                                                                                        4.£ // ~
                                                                            P';:::-- ,us G. s· ?
                                                                      (Serial Number~ if any)
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 101 of 189 PageID 172




                                                        Exhlbit"N'

                                                     Legal Description



        fBEMISE!A:
        ALL THAT CERTAIN lot or pl~e of ground situate In lhe County of Sarasota, State of Florid$.
        LQl 7&. Oaks, aceording to the plat then~of recorded In Plat Sook 28, Pages 48~ 48A through 48S.
        fncluslve, of the Publlc Records of Sam$ot~ County, Florlt.la.
        PREMIOE§B~

        ALL THAT CERTAIN lot or piece of ground situate In the County of Sarasota. State of Florida.
        Lot 77, Oaks, ti.¢eordlng lo the Plat thereof recorded in Pla1 Book 28. Pages 4$, 48A through 48S,
        Inclusive, of the Public Records of Sarasota County, Florida.



    Commonly Known as 74 Sugannill Drive, Osprey, FL 34229, and 82 SugarmUI Drive, Osprey, FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 102 of 189 PageID 173




                                                       Exhibit 11A''

                                      ADDENDUM TO MORTGAGE FROM
                                                Tr@CX E. DeRamo~ TO
                           Bank ofL,ake Mills. its successors and/or assigns 1 BENEFICIARY

           This Mortgage is given in the fonn ofhypothecated security in that it is given to secure the debt of
           another, to wit: the indebtedness evidenced by the Promissory Note dated 3/24/2016, in the
           amountof$91,215.00 whk:h is made and delivered by Homes By De Ramo Ino, (hereby referred
           to as HBorrower11) to and for the benefit of Beneficiary. Tracy E. DeRamo, as Trustee under
           agreement dated 317/00, as to an undivided one..half interest,(hereinafter referred to as 110wner 0 )
           will derive a material and direct benefit from the loan evidenced by the Note~ and in accordance
           therewith, Owner agrees that such interest and benefit are sufficient consideration to support the
           Mortgage. Jn the event of a default by Borrower under the Note, Owner expressly acknowledges1
           covenants, and agrees that Beneficiary shall have all rights and remedies hereunder as set forth for
           default just as if Owner had executed the Note. Further. in the event of default under the Note, it
           shall likewise be deemed an event of default hereunder giving rise to all rights and remedies as set
           fo11h herein for default. Owner expressly agrees that, upon such default, Beneficiary may elect to
           enforce any rights and remedies which it may have under this Mortgage. The foregoing
           provisions are set forth and made by Owner as an inducement to Beneficiary to enter into the loan
           transaction secured hereby.




                                          '     :SS
           COUNTY OF      $;'/rt<.•""/. . '.

           The foregoing instrument was acknowledged before me this ~-day of !l1rf1 (..A 1 2otl., by
           -..1.;....:_..;.;..;..,~~_.i.;i;;;:~~~-=---+-----~---' who is personally known to me or
                             ~LJL.L..:.:!.~~i:J..!.d.~l;':::-identification and who did (did not) take an oath.

                                                             {!()AJJA y ~
                                                        (Signature of Person 'J{R~g Acknowledgment)

                                                             ~,.-a)               /11Q·~ll!.;
                           CAROL A, MOORE
                           NOTARY PUBLIC                                   /(/,
                                   Or
                           STArE FLORIDA                (Name of Acknowledger Typed~ Printed or Stamped)
                         , COmm# FF015656
                           Expires 51712017                 Ji/& .J..A-/    /lv 1. 11 c..-
                                                        (Titte or Rank)
                                                           ICp 6       ;J(., S'(.
                                                        (Serial Number~ if any)
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 103 of 189 PageID 174




                                                Exhibit''An
                                             Legal Description


            ALL THAT CERTAIN lot or piece of ground situate in the City of Sarasota, County of Sarasota, Stale of
                                                           Florlda.
          Lot 62. SOUTHPOINTE SHORES, Unit No, 2, as per plat thereof, recorded Jn Plat Book 10, Page 58 1 of the
                                   Public Records of Sarasota County, Florida.

         Commonly Known as 7614 Peninsular Drive. Sarasota, FL 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 104 of 189 PageID 175




                           CROSS-DEFAULT RIDER TO MORTGAGE DATED MMch 24, 2016
                                       IN THE AMOUNT OF $91,215.00

          THIS CROSS~DEFAULT RJDER ("Rjdei:">) made and entered into th.is 24th day of March 2016 by and
          between Bank of Lake Mills, its successor and/ or assigns C'Lendern) and , Vincent William De Ra.mo, Jr..
          and Vincent William De Rnmo as Trustee, on behalf of the Vincent W. DeRamo, and Ttacey E. DeRamo,
          agreement dated 3/7 /00 (collectively, "Guaranton'')and made pan of the Mortgage dated March 24, 2016
          between Lender and Gcantor (the, ('Security Insttument'').

                WHEREAS, as a part of the consideration and as additional sccwity for the Lender making a loan to
          Borrower, the Lender has requked Grllntor to agtee to enter into th.is Rider as hereinafter set forth; and

                    WHEREAS) there ls a Business Promissory Note and Security Agreement between the Lender and
          the Borrower dated March 161 2016 in the amount of $457>625.00 (Loan 1") guaranteed by Grantor pursuant
          to the terms of a Continuing Guaranty agreement dated March 161 2016 rGuaranty 1'?, which guatanty is
          secured by the Security Instrument covedttg the real p.coperty described in Schedule A attached hereto (the,
          c'Collatera1")1 and

          WHEREAS, there is a Business Promissory Note and Security Agreement between the Lender and the
          Borrower dated March 24, 2016 in the amount of $91,215.00 (0 Loan 21\ Loan 1 and Loan 2 are collectively,
          the ''Loans'» guaranteed by Grantors pursuant to the terms of a Continuing Guaranty agreement dated
          Match 24, 2016 ("Guaranty 2"), which guarantees are also secured by the Security Instrument (Guaranty 1
          and Guru:anty 2 are collectively, the "Guru:antees"); and Tracy Eliza.beth DeRamo, as Trustee under
          agreement dated 3/7 /00 1 as grantor puuuant to the terms of the mortgage and hypothecation agreement
          whose guaranty is also secured by the Collateral on Loan l and Loan 2.

                   NOW, THEREFORE, IN CONSIDERATION of the Loans made by Lender to Borrower, Grantor
          does hereby agree that any Event of Default a$ defined in Loan 1 shall constitute an Event of Default with
          respect to Loan 2 and that any Event of Default with respect to Loan 2 shall constitute an Event of Default
          with respect to Loan 1. The occurrence of an Event of Default with respect to either Loan 1 or Lonn 2 shall
          entitle: Lendec to exercise its rights and remedies wid\ respect to the· Loans including Lender's rights and
          remedies set forth in the Guarantees and Moxtgage and Deeds of Trust securing the Guarantees and
          specifically the Security Instrument.




           Guarantor: Virtcent William De Ramo, Jc.               Guarantor: Vincent \VI. DeRam.0 1 as Trustee

           By:   ·2~titd~~~J~                                     under agreement dated 3/7 /00

          Title:   /ktA,                                          By:   z0tchtt1tJ. 11411'0
                                                                  Title:    /<t11/.J '
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 105 of 189 PageID 176




                                                               Individual Acknowledgement


          STATE/COMMONWEALTH OF _FL"'"'"--~
                                                                     ) $$,


          COUNTYOF                $.:...:..;,tf-1.,
          On the d10"A.day of /11f!1t.{L- 1 in the year.ldJ?., before me, the undersigoed, a notary public In and for said
          State/Comm011wealth, personally appeared            ,Yincent William De Ramo Jr.• personally known to me or
          proved to me on the basis of satisfactory evidence to be the individual whose name is subscribed to the within
          Cross Default Rider· Guarantor and acknowledged to me that she/he exe<:uted the $all1e in her/his capacity, and
          that by her/his signatu.t:e on the Cco&s Default Ridet • Guarantor> the individual, or the person upon behalf of which
          the individual actcd 1 executed the Cross Default Ride(· Guarantor.

              &=ell~
          Notaty Public
          My Commission e::-.-pires:            5. 7 ., I "7

                                    CAROL A. MOORE!
                            ~NOTARY PUE.'ILJC
                            ~STATE OF FLORIDA
              \\".'\it""'-~""'•'it Comm# rFOi56513
                      'J\f/;)       Expires 51712017



                                                              Individual Acknowledgement


          STATE/COMMONWEALTH OF FL                                     )
                                                                     ) SS.


          COUNTY OF .)';;. rt:"'{(',-J-,<.-

          On the£4'l/1...day of ;t/;Ac./l.; in the year J(. , befo.te me, the undersigned, a notary public in and for said
          State/Conunonwealth, personally appeared          Vincent W. DeRamo> ll$ Tro!)tee yoder ag:wement dqted
          3/7/00 . personally known to me or proved to me on the basis of satisfacto.cy evidence to be the individual
          whose name is subscribed to the within Cross Default Rider · Guarantor and acknowledged to me that she/he
          executed the same in her/his capacity, iind thllt by her/his signature on the Cross Default Rider· Guarantol', th~
          individual, or the person upon behalf of which the individual acted> executed the Cross Default Ridct. GuUflntor.

             (!a£d~J16~
          Notaty Public
          My Com.mission expires:              S' ~ 7 ,. . I '7

                                              CAROLA.MOORE
                                              NOTARY PUB~IC
                                               ~STATE OF FLORIDA
                            •                  .~Comm# FF015656
                                \:';y,   • ~'1> Expires 51712017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 106 of 189 PageID 177




                                                             Individual Acknowledgement


          STAT.E/COMMON\'VEALTH OF FL----
                                        ) ss.

          COUNTY OF         s'ai as <ift<.
          On the J't/#".day of      //1rh
                                       t: A , in the yeat /.k_, before me, the unde(signed, a notary public in and for said
          State/Commonwealth, peuonally appeared            Tracy :f:. DeRamo, as Trustee under agreement dated
          aLU.mlpersonally known to me or proved to me on the basis of satisfactory evidence to be the individual whose
          name is subscribed to the within Cross Default Rider· Guarantor and acknowledged to me that she/he executed the
          same in her/his capacity~ and that by her/his signanu:e on the Ctoss Default ruder • Guarantor, the individual, oi: the
          person upon behalf of which the individual acted, executed the Cross Default Rider - Guarantor.

                (74.t/dit~-
          Notary Public
          My Com.mission expires:          .{~ 7 .. ; 7


                                            CAROL A. MOORE
                                            NOTARY PU0UC
                                        ~STATE OF FLORIOA
                 ....................- •. - Comm# FF015S66
                           (\ Explrlls 5/112017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 107 of 189 PageID 178




                                                 SCHEDULE A. Loan 1


          ALL THAT CERTAIN lot or place of ground situate in the City of Sarasota, County of Sarasota, State of
          Florida.
          Lot 621 SOUTHPOINTE SHORES, Unit No. 2, as per plat thereof, recorded in Plat Boole 10, Page 58, of
          the Publle Records of Sarasota County, Florida.


          Commonly Known as 7614 Peninsular Drive, Sarasota~ FL 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 108 of 189 PageID 179




                                                     SCHEDULE B· Loan 2




             PREMISES A:

             ALL. THAT CERTAIN lot or piece of ground situate in the County of Sarasota, State of Florida.

             Lot 751 Oaks, according to the plat thereof recorded In Plat Book 28, Pages 48, 40A through 4SS,
             lncluslve1 of the Public Records of Sarasota County, Florida.
             PREMISE! Bi

             ALL THAT CERTAIN lot or piece of ground sttuate In the County of Sarasota, state of Florida.

            Lot 77 1 Oaks, according to the Plat lhereof recorded In Plat Book 28, Pages 48, 40A through 48S,
            inclusive, of the Public Records of Sarasota Count)'. Florida.


          Commonly Known as 74 Sugarmlll Drive, Osprey, FL 34229, and 82 Sugarmlll Drlve1 Osprey, FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 109 of 189 PageID 180




                                      CROSS-DEFAULT RIDER - BORROWER(S)

          THIS CROSS~DEFAULT RIDER (uRider") made and entered into this 241h day of March 1 2016 by and
          between Bank of Lake Mills, its successor and/ or assigns (11Lcnder11) and Hom<:s by De Ramo, Inc.
          ("Borrower")

                WHEREAS, as a part of the consideration and as additional sec:utity foi: the Lender making a loan to
          Bottowet, th~ Lender has required Borrowers to agree to enter into this Rider as hereinafter set forth; and

                  WHEREAS, there is a Business Promissory Note and Security Agreement between the Lender and
          the Bouowrn dated March 16, 2016 in the amount of $457, 625.00( 'Agteemcnt 1'~ guaranteed by Vincent
          William De Ramo, Jr» and Vincent William De Ramo as 'fo1stee, on behalf of the Vincent W. DeR11mo, llnd
          Tracey E. DeRamo, agreement dated 3/7 /00, (collectively, "Guarantors") pursuant to the terms of a
          Continuing Guaranty agreement dated Match 04, 2016 { 14 Guaranty 111), which guaranty is secured by two
          mortgages between Leader and Guru:antors covering the real pioperty described in Schedule A attached
          hereto {the, "Collate(ill"); and

                    \WIEREAS, there is a Business J?.rom.issory Note and Security Agreement between the Lender and
          the Borrower dated Much 24, 2016 in the amount 0£$91,215.00 ("Agreernent 2") guar1tr1teed Guarantors
          pursuant to the tenns of a Continuing Guaranty agreement ("Gual'anty 2'', Gu:uanty 1 and Guaranty 2 are
          collectively> the "Guarantees'» , which guaranty is also secured by the Collateral; and Tracy Eli2nbcth
          DeR.amo, as Trustee under agteemertt dated 3/7 /00, as grantor pursuant to the terms of the mortgage and
          hypothecation ag:ceement whose guaranty is also secured by the Collateral on Loan t and Loan 2.

               NOW, THEREFORE, IN CONSIDERATION of the loans made by Lender to Borrower, the
          Bonower does hereby agree as follows:

          As a material consideration to induce Lcndet to enter into each of Agreement 1 and Agreement 2
          (collectively, the 41Agteements"), Borrower agrees to comply with the terms and conditions of the
          Agreements. Bonower fw:ther agrees that any Event of Default as: defined in Agreement 1 shall constitute M
          Event of Default with respect to 1\greement 2 and that any Event of Default under Agreement 2 shall
          constitute an Event of Default with mpect to Agreement 1. The occurrence of an Event of Default with
          respect to either Agreement 1 or Agreement 2 shall entitle Lender to exercise its rights and :remedies with
          respect to the Agreements s incb.1ding Lender's rights and i:emedies set forth in the GuMantecs, Promissory
          Note alid Secu.rity Agreement and Mortgages secltring d\e GuMantees.

          Hom~~~'·
          By:~ hJ. {JP/J~(}1,
          Title:   ~Q..424-Jd
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 110 of 189 PageID 181




                                             CORPORATE ACKNOWLEDGMENT


          STATE/COMMONWEALTH OF FL

                                                                            ss.:
          COUNTY OF       ~l',1-1~/,,_.

          On the fl I/Ii.. day of /1.fr-wl ,in the yea/~? before me, the unde5signed1 a MtAf)I public in and fot said
          State/Commonwcalth1 pecsonaUy 1ippeated      1/   1.:0 ~ ......t tu, 'f)t- lh. me Jr: ,        petsonally known to me:
          or pcoved to me on the b~$(s of satisfactory evidence to be the irldi\'idual whose name is subscdbed to the within
          Ccos~fault lUder and acknowledged to me that she/he executed the same in her/his capacity
          as      /''!Sr ¢'..t.-r'                     of~ Homes by De Ramo, foe.                             , and that by
          her/hls signature on the Cross Default Rider, the individual, or the person upon behalf of which the individual acted,
          executed the Cross Default Rider.

             (j,;ftf .ift·~
          Notary Public
          My Commission expires: j,. 7 ' //


                          CAROL A. MOORE
                          NOTARY PUBLIC
                         ~STATE OF FLORIDA
                •       • Comm# FF0156$S
                    e,~~ Expires 51712.017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 111 of 189 PageID 182




                                               SCHEDULE A-Agteement 1



          ALL THAT CERTAIN lot or piece of ground situate In the City of Sarasota, County of Sarasota, State of
          Florida.
          Lot 62, SOUTHPOINTE SHORES, Unit No. 2, as per plat thereof, recorded in Plat Book 10, Page 58, of
          the Public Records of Sarasota County, Florida.


          Commonly Known as 7614 Peninsular Drive, Sarasota, FL 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 112 of 189 PageID 183




                                                     SCHEDULE B· Loan 2




             PB§MISESA:

             ALL THAT CERTAIN lot or piece of ground situate In the C<lunty of Sarasota, State of Florida.

             Lot 75, Oaks, according lo the pfat thereof recorded in Plat Book 28, Pages 48, 4BA through 485,
             Inclusive, of the Public Records of Sarasota County, Florida.

             PB§M!$g5B;
             All. THAT CERTAIN lot or piece of ground situate In the County or Sarasota, State of Florida.

             Lot 77, Oaks, according to the Plat thereof recorded in Plat Book 28, Pages 40 1 49A through 48S,
             inclusive, of the Public Records of Sarasota County, Florida.


          Commonly Known as 74 Sugarmlll Drive, Osprey, FL 34229, and 82 Sugarmlll Drive, Osprey. FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 113 of 189 PageID 184




          THIS CROSS-COLLATERAIJZATION AND CROSS-DEFAULT RIDER (1iR.ider11) made and
          entered into this 24th day of Mru:ch 2016 1 by and between Bank of Lake Mills, its successor and/ or assigns
          C1Lender") and Vincent William De Ramo, Jr., and Vincent William De Ramo as Trustee, on behalf of the
          Vincent W. DeRamo, and Tracy E. DeRamo1 under agreement dated 3/7 /00 (individually and collectively1
          uGuaranto.tS'')

                 WHEREAS, as a part of the consideration and as additional security for the Lender making a loan to
          Homes by De Ramo, Inc. ("Bo11owee') 1 the Lender has required Guarantors to agtee to enter Into this Rider
          as hereinafter set forth; and

                    WHEREAS, there is an existing Business Promissory Note and Security Agreement between the
          Lender and the Borrower dated March 16, 2016 ("Agreement r 1 or "Previous Agreement'') secured bya
          mo.ttgRge between Baok of Liike Mills, its successo.r: and/ or assigns and Guarantor as Guarantors of the
          Pi:e1fious Agreement covering the i:eal property described in Exhibit A attached thereto; and

                 NOW, THEREFORE1 IN CONSIDERATION of the loans made by Lender to Borrower, the
          Borrower does hereby agree as follows:

          Reference is made to that certain Business Promissory Note and Security Agreement ("Agreement 1') in the
          amount of $457,625.00 which is secured by a mortgage covering real ptoperty more pru:ticu1ady, described in
          Exhibit A attached hereto. As a material consideration to induce Lender to accept die New Agrccment1
          Borrower agrees to comply with the terms and conditions of Agreement 1. Borrower further agcees that any
          Event of Default as defined in the Agrcement1 shall constitute an Event of Default under Agreement 2 and
          that any Event of Default under the Agreement 2 shall constitute an Event of Default undcc Agreement 1.
          The occurrence of an Event of Default under eithei: Agreement 1 or Agreement 2 shall entitle Lender to
          exercise its tights !'Ind :cemedies under both agreements including the Lender's .dghts and remedies set forth in
          the mortgages securing Agreement 1 and Agreement 2 (collectively uThc Agreements>?,
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 114 of 189 PageID 185




          BY SIGNING BELOW, Guarantors 1tccepts and agrees to the tenns and i:ovcnants contiUned in the

          Vincent William De Ramo, Jr.

          x   ·--;v14c=i1nv. ~ 17-t,


                                    INDIVIDUAL ACKNOWLEDGMENT
                   STATEOF       &on)tv

                                                                                                                               s
                                                                                                                               s


                   On this ; ij.;./...
                   personally appeared
                                                      day of   !!£41. J_                         , 20 J ,,. , before me
                                                                    to me known lo be the person described In and who
                   execuled the fore going Mortgage, and ,acknov-te~_ged thaJ he or she executed lhe same as his or her free
                   actanddeed. f/;,1.,;<::.(;,w t.v1l/1c.µ,,.., :r:Je~f<ei,...~\V-                 /7 /} /
                                                                                                  c:a,,~r :4.        flns...e--
                                         CAROL A. MOORE                                          Notary              Public
                   [soal]               NOTARY PUSL!C
                                        STATE OF FLORIDA
                                      ,l!ii Comm# flF015656
                                                                    My Commission oxplres:           J" 7 . , J 7
                                 l\     Expires 51712017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 115 of 189 PageID 186




          BY SIGNING BELOW, Guarantors accepts and agrees to the terms and covenants contained in the

          Vincent W. DeRamo, as Trustee undei: agreement dated 3/7 /00

          x   <:r~             ea 4&~n=-


                                               INDIVIDUAL ACKNOWLEDGMENT
                   STATE OF      t::76   I   .,.ft.,

                                                                                                                              s
                                                                                                                              s

                   On thl$ ~I./+A                     day of /11%(, /(                           , 20 I  ? ,    before me
                   personalty appeared                             to me kno\Yll to ba the person described rn and who
                   exec1J!ed the foregoing Mortgage, and ackncw,fj'dged that he or she executed the same as his or her free
                   ad and deed. V, ,_, -,_,,,,; ;.o ,'()....It•><• •                             ~

                                                                                               c~/de~
                                                                                                Notary              Public
                                  CAROi.. A. MOORE
                                  NOTARY PUBl.IC                   My Commlulon explrj)$:      ~ 7 ""/ 1
                                  STATE OF FLOR10A
                                  eomm# 'Ff'015~56
                                  Expires 51712017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 116 of 189 PageID 187




          BY SIGNING BELOW~ Grantoi:s accepts and agrees to the terms and covcn:mts contfilned in the




                                    pZ          !;~~IVIDUAL ACKNOWLEDGMENT
                   STATE OF                41

                                                                                                                           s
                                                                                                                           s


                   on this      o1 l/7'A..              day o        /114, .:.
                                                                            /i..                , 20 I 4- , before me
                   personalty appeared        ·• ..... '1 ~· .,,.., • lo me known to be lhe person described In and who
                   executed lhe foregoing Mong ge, and acknoYAedged that he or Sh(l executed the aame as hfs or her free
                   aetanddeed.                                ·                             ~/If};;~

                                                                                              Notary             Publlc
                                                 CAROL A. MOORE
                      ......,.,..-............ NOTARY PUBLIC
                                              t::1STATI: OF FWRIOA
                                                                                             ...r: 7 .-;J
                                                                        My Commls.&lon exprres: - - - - - - -
                      ~ ..-.1..ll::w~ Comm# PF0166&3
                               ~,r0 Expires 5/112.017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 117 of 189 PageID 188




                                          EXHIBIT A·Agreement 1



          AL.L THAT CERTAIN lot or piece of ground situate In the City of Sarasota 1
          County of Sarasota 1 State of Florida.
          Lot 62, SOUTHPOINTE SHORES, Unit No. 2, as per plat thereof, recorded
          in Plat Book 10, Page 58, of the Public Records of Sarasota County,
          Florlda.


          Commonly Known as 7814 Penfnsular Orlvet Sarasota, FL 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 118 of 189 PageID 189




                                            EXHIBIT B -Agreement 2

             pse:M1sr:s6i
             ALL THAT CERTAIN lot or piece of ground situate In the County of Sarasota, State of Florida.

             Lot 751 Oaks, according to the plat thereof recorded In Plat Book 26, Pages 4-0, 48A through 49S,
             Inclusive, of the Public Records of Sarasota County, Florida.
             PB!!M!SJjS B:

             ALL THAT CERTAIN lot or piece of ground situate In the County of Sarasota, State of Florida.

             lot n, Oaks, according to the Plat lheteof recorded in Plat Book 28, Pages 48, 40A through 48S,
             inctuslve, of the Public Records of Sarasota County, Flonda.


          Commonly Known as 74 Sugannlll Drlve, Osprey, FL 34229, and 82 Sugarmlll Drive, Osprey, FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 119 of 189 PageID 190




                                           CROSS-DEFAULT RIDER· Guarantor

          THIS CROSS-DEFAULT RIDER ("llideru) made and entered into thl~ 24th day of March 2016, by and
          between Bank of Lake Mills> its successor and/ or assigns eunder11) and Homes by De Ramo, Inc.
          C1Bouowci,.
                 WHEREAS, as a part of the consideratior and as additional security for the Lender making a loan to
          Boti:ower1 the Ler1der has required the Borrower to agree to enter into this Rider as hereinafter set ford1; and

          WHEREAS1 there is a Business Promissory Note and Security Agreement between the Lender and the
          Bormwer dined March 16, 2016 in the l'lmount of i457,625.00 ("Loan 1») guaranteed by, Vincent William De
          Ramo, Jr., and Vincent William De Ramo as Trustee, on behalf of the Vincent W. DeRamo1 and Tracey E.
          DeRamo, under agreement dated 3/7/00 (mdividually and collectivcly1 j(Guarantors') pursuant to the terms
          of Continuing Guaranty agreements (th~ 11 Guarao.tees') 1 which Guarantees nre collectively secured by a
          mortgage betweert Lender and Guarantors covering the real property described in Schedule A attached
          thereto (the> "Collateral'1); and                                  ·

          WHEREAS, there is a Business Promissory Note and Security Ag(eement between the Lender and the
          Bortower dated Ma.rch 241 2016 in cl1e amount of $91,215.00 er.oi1n 2") guaranteed by Vincent Willi.am De
          Ramo, Jr., and Vincent W. OeRamo, as Trustee under agreement dated 3/7/00 ("Guarantors') pursuant to
          the terms of Continuing Guaranty agreements (the, "Guai:anted), whkh guarantees a.re al$o secured by the
          Collateral; and Tracy Elizabeth DeRamo, as Trustee under agreement dated 3/7 /00 , as grantor pursuant to
          the te.tms of the mottgage and hypothecation agreement whose gui\J:anty ls also secured by the Collatm.l on
          Loan 1 and Loan 2.

                NOW> THEREFORE, IN CONSIDERATION of the loans made by Lender to Borrower, the
          Borrower does hereby agree as: follows:

          As a material consideration to induce Lender to enter into each of J..oan 1 and Loan 2 (coUectively, the
          "Loans"), Borrower agrees to comply with the terms and conditions of the Loans. Borrower further agrees
          that any Event of Default as defined in Loan 1 shall constitute an Event of Default wid\ respect to Loan 2
          and that any Event of Default under the Loan 2 shall constitute an Event of Default with respect to Loan 1.
          The occmrence of an Event of Default with respect to either Loan 1 or Loan 2 shall entitle Lender to
          exercise its rights and remedies under each of the respective loan agreements including Lender's rights and
          .remedies set forth in the Guarantees and Mortgages and securing the Guarantees.



                                                    ,.-:--"
          By:_£_~~~~~~:_;<(                                    '



                                                                    Guarantot: Vincent W. DeRamo, as Trustee
           Guarantor: Vincent \V/illiam De Ramo,Jr.                 under agreement di1tcd 3/7 /00

           By:~~ d!~&+:&ff}n1~{4 By:~~ ~'-
           Title:   ~                                               Tide:    ~cdt~
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 120 of 189 PageID 191




                                            CORPORATE ACKNOWLEDGMENT
          STATE/COMMONWEALTH OF FL )

                                                                        ss.:

          COUN1Y OF       sazc1. sth<.




                                                                                                      CAROL A. MOORE
                                                                                                      NOTARY PUBLIC
                                                                                                    ~ STAie OF FLORIDA
                                                                                                  -;'f! Comm# FF015656
                                                      Individual A<:knowledgement                    Expires sm2011


          STATE/COMMONWEALTH OF FL                            )
                                                            ) SS.




          On thel.W,(.·day of J1!,;1 • c/c.... , in tl1e yeadt>d-, befoxe me, the undetsigned, a notary public in and for said
          State/Cammonwc-alth, personally appeated             Vincent WiUlam De Ramo Jr. , personally known 10 me or
          proved to me on the basis of satisfactory evidence to be the individual whose natne is subscribed to the within
          Ctoss Default Ridec • Guarantor and acknowledged to me that she/he executed the s~me in her/hfa capacity, and
          that by hei:/bis signature on the Cross Default Ridec ·Guarantor, the individual, or the person upon behalf of which
          the individU1l acted, executed the Cross Default Rider. Guarantor.

          ~1;,cf,/j4,...,__
          Notary Public
                                                                                              CAROL A. MOORE
          My Commission expke$:      j , 7 . . J ")                                         NOTARY PUBUC
                                                                                          ""STAlE OF FLORIDA
                                                                                         • Comm# FF015S56
                                                                                      ;\'l>   Expires 5f7/2017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 121 of 189 PageID 192




                                                        Individual Acknowledgement


          STA'IE/COMMONWEALTH OF .._.FL"'--.....___
                                                 ) ss.

          COUN1Y OF         ~A./.t.,~ .;~..,.
                                        •       ..



          On the ,Jljjlaay of      t/J"'1 •'.f,.,, , in the yeat :J 'll·before me, the undetsigned, a notai:y public in and fot said
          State/Commonwealth, personally !lppeared                  Yincent W. DeRamo. as Irustee under agreement dated
          3/7/00 , personally known to me or p~oved to me on the basis of satisfactoi:y evidence to be the individual
          whose nattle is subscribed to the within Ctoss Default R1det • Gua.mntor l'l!ld acknowledged to me that she/he
          ei-:ecuted the same in her/his capacity, and that by her/his signature on the Cross Default Rider - Gullt'.aotos:, the
          individual, 01:: the person upon behalf of which the individUAl acted, executed the Cross Default Rider. Guarantor.

               {!ar-f,dit&~
          Notaty Public
          My Comrn.ission expires:     f · '/" / J


                                                        Individual Acknowledgement


          STATE/COMMONWEALTH OF~ .P/o r ,,.J6_,
                                                              ) ss.

          COUNTY OF          ~ ;...,.~ J...v
                     ti
          On the ti i'tdny of /fl:w: A. , in the year1.d.1J.., before me> the undet$igned, a notary public in and for said
          St11te/Commonwealtb1 personally llppeared          Tracy E. DeRamo~ as Trustee under ae.reement dated
          lL1.L.QQ.personally known to me or proved to me on the basis of satisfactory evidence to be the individual whose
          name is subscribed to the within Cross Default Rldcr • Guarnntor and acknowledged to me that she/he executed the
          same in her/his. capacity, and that by her/his signature on the Cross Default Rlder • Gua.rnntor1 the individual 1 ot." the
          person upon behalf of which the individual acted1 executed the Cross Default Ridec - Guarantor.

                ~~·~P// 11trn'-~·
          Notary Public
          My Commission expires:       J~ /          ~I 7
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 122 of 189 PageID 193




                                                 SCHEDULE A- Loan 1


          ALL THAT CERTAIN lot or piece of ground situate In the Clty of Sarasota, County of Sarasota, State of
          Florida,
          Lot 62, SOUTHPOlNTE SHORES, Unit No. 2, as per plat thereof, recorded tn Plat Book 10, Page 58, of
          the Public Records of Sarasota County, Florida.


          Commonly Known as 7614 Peninsular Crlvet Sarasota, FL 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 123 of 189 PageID 194




                                                     SCHEDULE B- Loan 2



             pBEMISESA;

             Al..L THAT CEhTAIN lot or piece of ground situate In the County of Sarasota, State of Florida.

             Lot 75, Oaks, according to the plat thereof recorded In Plal Book 28, Pages 48, 48A through 485,
             inclusive, of lhe Public Records of Sarasota County, Florida.

             eaeMl§ESB;
             ALL THAT CERTAIN lot or piece of ground situate In the County of Sarasota, State of Florida.

             lot 771 Oaks, according to the Plal thereof recorded In Plat Book 28, Pages 48, 48A through 46$,
             inctuslva1 of the Public Records of Sarasota County, Florida.


          Commonly Known as 74 Sugarmlll Drive, Osprey, FL 34229, and 82 Sugarmlll Drive, Osprey, FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 124 of 189 PageID 195




          THIS CROSS-COLLATERALIZATION AND CROSS-DEFAULT AMENDMENT ~'Amendment'~
          made and entered into this 24th day of March 2016> by and between Bank of Lake Mills, its successor 11nd/ or
          assigns C'Lender11) and Homes by De Ramo, Inc. ('Bori:ower''·

                 WHEREAS, as a pa.rt of the considerntion and as additional secruity for t11e Leoder making an
          additional loan to Borrower1 tl1e Lcnde.t has required the Borcower to agree to enter into this Amendment as
          hereinafter set fo.cth; and

                   WHEREAS> tltls Amendment amends the Business Promissoi:y Note and Security Agreement
          between the Lender and the Borrower dated March 1<» 2016 C'Agreement 1" or uP.revious Agreementu)
          secured by a mortgages between Bank of Lake Mills 1 its successor and/ or assigns and Vincent William De
          Ramo as Trustee1 on behalf of the Vincent W. DeRamo, and Tracey E. DeRamo1 agreement dated 3/7 /00
          (individually and collectively, as Guarantors of Agteement 1 covering the real property described in Exhibit
          A attached hereto; and

                   WHEREAS, Borrower and Lender have agreed to enter into a new and additional Business
          Pi:omissocy Note and Security Agreement dated March 241 2016 (11Agceement 21) o.r: 'New Agreement,,) in the
          original amount of$ 91>215.00 and secured by a mortgage between Bank of Lake Mills, its successors and/or
          assigns and Vmcent William De Ramo as Trustee, on behalf of the Vincent W. DeRamo, and Tmcey E.
          Dellamo1 agreement dated 3/7 /00 as Guarantors of Agreement 2 covering real propei:ty described in
          Exhibit A attached theretoi and

                NOW, THEREFORE~ IN CONSIDERATION of the loans made by Lender to Borrower, the
          Borrower does hereby agtee M follows:

          Reference is made to Agreement 1, which is secured by two mortgages covering real property more
          particulady described in &h.ibit A attached hereto and to Agreement 1. .As a material consideration to indu<:e
          Lender to accept the New Agreement, Bo.o:ower agrees to comply with the terms and condicions set forth in
          the New Agreement. Bonower further agrees that any Event of Default as defined in Agreemertt 1 shall
          constitute an Event of Default under Agreement 2 and that any Event of Default under Agreement 2 shall
          constitute an Event of Default under Agreement 1. The occurrence of llf1 Event of Default under either the
          New Agreement or the Previous Agteement shall entitle Lender to exercise its rights and remedies undet
          both agreements including the Lender:'s rights and remedies set forth in the mortgages securing tl\e New
          Agreement and the Previous Agreement.
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 125 of 189 PageID 196




          BY SIGNING BELOW; Borrower l'\et:epts and agrees to the teons an~ covenants contained in the



          Borrower: Vincent William De Ramo Jt,. on behalf of Homes by De Ramo Inc.




                                          CQRPORATE ACKNOWLEDGMENT
                   STATE! OP ,eL6 ,11 cU'-"'


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                   On thl$ /}LJ +A..                   day of !/1 hA:frk                       • 20 &_,       before me
                   personally appeared                           to me knomi lo ba the person described ln and \'/ho

                   act and deed.  V·  ;/Vr;...(,N I fl'Vl/J•Y'VI.
                                                      1. , ·,,,    """'    ./J       -
                                                                    •,j<?.-Kt~;t'tl\\Jr        ft
                   executed the roreg:olng Mortgage, and acknowledged that he or she executed the same as his or her free
                                                                                                        /)j j
                                                                                                   ./it~/( d1_,,1~
                                                                                               Notary             Publlc
                                   CAROL A. MOORE
                                   NOTARY PUBLIC                    My Commission expires: ..(:..   I 'J 7
                                 <-:STATE OF FLORIDA
                                • ComM# FF015656
                             ll~ Explres 5f7/2.017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 126 of 189 PageID 197




                                                EXHIBIT A-Agreement 1




          ALL THAT CERTAIN lot or piece of ground situate in the City of Sarasota,
          County of Sarasota, State of Florida.
          Lot 62 1 SOUTHPOINTE SHORES, Unit No. 2, as per plat thereof, recorded
          in Plat Book 10, Page 58, of the PubUc Records of Sarasota County,
          Florida.


          Commonly Known as 7614 Pen Insular Drive, Sarasota, FL. 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 127 of 189 PageID 198




                                             EXHIBIT B~Agreement 2


             PREMISES A:

             ALL THAT CERTAIN lot or piece of ground situate In the County of Sarasota, Slate of Florfda.

            Lot 75, Oaks1 according to the plat thereof recorded ln Plat Book 28, Pages 491 4BA through 48$,
            inclusive, of the Pubflc Records of Sarasota County, Florida.

             eREMISESB:

             ALL. THAT CERTAIN lot or pfece or ground situate in the County of Sarasota, state orFlorida.

            Lot n, Oaks1 according to the Plat thereof recorded In Plat Book 28, Pages 48, 48A through 40S,
            fnctus!ve, of the Public Records of Sarasota County1 Florida.


          Commonly Known a$ 74 Sugarmll! Drive, Osprey, FL 34229, and 82 Sugannlll Drive, Osprey, FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 128 of 189 PageID 199




          THIS CROSS-COLLATERALIZATION AND CROSS~DEFAULT AMENDMENT ("Amendment'~
          made and entered irato this 241h day of March 2016 by and between Bank of Lake Mills, it successors and/or
                                                            1

          Msigns C'Lender'~ and Vincent William De Ramo, Jr., and Vincent William De Ramo as Trustee, on behalf of
          the Vincent \VI. DeRamo, and Tracy E. DcRruno, agreement dated 3/7 /00 ("Guarantors 1, .

                 WHEREAS, as a part of the consideration and as additional security for the Lender making
          an additional loan to Homes by De llil.mo1 Inc. ("Borrower')) the Lender has required the
          Guarantors to agree to enter into this Amendment as hereinafter set forthi and

                    WHEREAS, this Amendment amends the moitgage covei:ing the real property described in Exhibit
          A attached hereto between Bank of Lake Mills, it successors and/or assigns and Vincent William De Ramo,
          Jr. 1 and Vincent William De Ramo as Trustee> on behalf of the Vincent \VI. DeRAmo, and Tracy E. DeRamo,
          agreement dated 3/7 /00 as Guarantors of the Business Promissory Note and Security Agreement dated
          March 16, 2016 Agreement in th~ amount of$ 457 1625.00 (the, "Agreement 1'1or "Previous Agreement'1);
          and

          \"\IHEREAS, Borrower and Lender have agreed to enter into a new and additional Business Pi:omissoi:y Note
          and Security Agreement dated Match 24, 2016 ("Agreement 211 or "New Agreement") in the original amount
          of $91,215.00 and secured by two mortgages between Bank of Lake Mills Vincent William De R1UT101 Jr. 1 and
          Vincent William De Ramo as T.rustee1 on behalf of the Vincent W. DeRatno, and Ttl\cey E. DeRamo,
          agreement dated 3/7/00 \'\S Guarantors of dte New Agreement covering real property described in Exhibit A
          attached theteto; and and Tracy Elizabeclt DeRamo. as Trustee under agreement dated 3/7/00 > as grantor
          pursuant to tl1e tenns of the mortgage and hypothecation agreement whose guaranty is also secured by the
          Collateral on Loan 1 !lnd Loan 2.



                NOW, THEREFORE, !N CONSIDERATION of the loans made by Lender to Bon:ower1 the
          Borrower does hereby agree as follows;

          Reference is made to the March 16 Agreement which is seeuted by a mortgage covering real ptoperty more
          particularly described in Exhibit A attached hereto and to the. March 24 Agreement. As a material
          consideration to induce Lender to accept the New Agreementi Borrower agrees to comply with the terms and
          conditions set forth in the New Agreement. Borrower further agrees that any Event of Default as defined in
          the March 16 Agreement shall constitute an Event of Default under the New Agreement and that any Event
          of Default undet d1e New Agreement shall constitute an Event of Default undei: the March 16 Agreement.
          The occurrence of an Event of Default under either the New Agreement or the March 24 Agreement shall
          entitle Lendec to exercise its rights {\fld remedies under both agreements including the Lender1s .rights and
          remedles set fotth in the mortgages securing the New Agreement and the March 16 Agreement.
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 129 of 189 PageID 200




          BY SIGNING BELOW, Guarantors accepts and agrees to the terms and covenrtnts contained in the




                                            INDIVIDUAL ACKNOWLEDGMENT
                   STATE OF      M      i) t:/(v     .


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                   On this ¢'if!>'(..               day of   h1  t.1.... d                 , 20 ) (,.,. • before me
                   personally appeared                          to me known to be the person described in and ooo
                   executed IM foregoing Mortgage, and acknowle~ed th~ he or ahe executed the sarM as h1s or her free
                   act and deed. J/;.v . . -. . ;.
                                        ~         /A.;/J /, t~ · Ut- l(ttfl' t. '((r        /J
                                                                                           L4e/,JJt~-
                                                                                            Notary            Public
                   [seall
                                 CAROL A. MOORS
                                 NOTARY PUBLIC
                                                                                            /.171/)
                                                                My Commt&Slon expires: - - - - - - -
                                 STATE OF FLORIDA
                     ~~~.        Comm#FF016656
                            ~''Ii Expires 51712017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 130 of 189 PageID 201




          BY SIGNING BELOW, Guarantors accepts and agrees to the terms and covenants contlti.ned in the

          Vincent W. DeRamo, as TMtee under agi:eement dated 3/7 /00
          x ~UM(J t(}" 4~~




                                                   INDIVIDUAL ACKNOWLEDGMENT
                                      a. . . .~'-u:&......, - - - - - -
                   STATE OF ............         ....

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                                                                                                                                s

                   On this     f2JJ-f 1A·-           day of 111£0.-:)t                        , 20      L!::___,
                                                                                                             berore me
                   personally appeared                          lo me knO\'KI to be !ho person described rn and ooo
                   executed the foregoing ~ortgage, and acknowledged !hat he or she executed the same as his or her free
                   actaildd,.d.            !/,...,.,.•-; V<J, ':i)-..~1.,..                 .     !Z
                                                                                                     . J Jt~.e.,
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                                                                                                  Notary                PubUc
                                      CAROL A. MOORE
                                      NOTARY PUBLIC
                                ~STATe Of! Fl.ORIDA                                                L_.._.,_._1...,7..____
                                                                    My Commission explr1111: _ ......
                    \>'."'1~f¥....... Comm# FF011.i656
                            • ';)'\~ Expires 51712017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 131 of 189 PageID 202




          BY SIGNING BELOW, Grantors accepts Rnd agrees to the terms and covenants contained in the




                                           INDIVIDUAL ACKNOWLEDGMENT
                   STAiE OF      On .o clw
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                                                                                                                         s


                   On this~ :;?y-fl-..             day ot /Ye~ ,.,,1,__               · , 20 &__, before me
                   persQnauy appeared 7C"';1fr! ·v.~. p 1 rr· to me known to be the person describecl In and who
                   executed the foregoing Mo age1 and acknowledged that he or she executed the same as hls or het free
                   aet arid deed.


                                                                                            Notary             Publfc
                                   CAROLA.MOORE
                                   NOTARY    puauc
                                  ~$TATE OF FLOR10A              My Commission expires:   _.J_"'_7_,_J_/__
                                  ~comm# Fr0156Se
                              ~,1J Expires 5n/2017
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 132 of 189 PageID 203




                                          EXHIBIT A -Agreement 1



          ALL THAT CERTAl N lot or piece of ground situate In the City of Sarasota 1
          County of Sarasota, State of Florida.
          Lot 62, SOUTHPOINTE SHORES1 Unit No. 2, as per plat thereof, recorded
          In Plat Book 10, Page 56, of the Public Records of Sarasota County,
          Florida.


          Commonly Known as 7614 Peninsular Drive, Sarasota, FL. 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 133 of 189 PageID 204




                                            EXHIBIT B ~Agteement 2

             PREMISES A;

             ALL THAT CERTAIN lot or piece of ground situate in the County of Sarasota1 Slate or Florida,

             Lot 75, Oaks, according to the plat thereof recorded In Plat Book 28, Pages 48, 48A through 48S,
             inclusive, of the Public Records of Sarasota County, Florlda.
             PREMl§ES B:

             ALL THAT CERTAIN lot or piece of ground situate In the County or Sarasota, State of Florlda.

             Lot n, Oaks, according to the Plat thereof recorded In Plat Book 28, Pages 48, 40A through 4BS,
             lncfusive1 of lhe Publ!c Records of Sarasota County, Florida.


          Commonly Known as 74 Sugacmill Drive, Osprey, FL 34229, and 82 Sugaunill Drive, Osprey, FL 34229
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 134 of 189 PageID 205




                                 Rider to Business Promissory Note and Security Agreement
                                       dated Marth 24, 2016 the amount of $91,215.00


         THIS RlDER ("Rider") made and entered into thls 24th day of March 2016 by and between Bank of Lake
         Mills, its successor and/ or issigns C1Lendd 1) and Homes by De Rittno, Inc. (''Bonowd').

                WHEREAS, as a part of the consideration and as additional security for the Lender making a loan to
          Borrower, the Lender has required Borrowers to agree to enter into th.is Rider as hereinafter set forthi and

                   WHEREAS, there ls g. Business Ptomisso.ty Note and Security Agreement between the Lender and
          the Borrowers dated March 16, 2016 in the amount of $457t625.00 ("Loan 111) gumnteed by Vincent William
          De Ramo as Trustee, on behalf of the Vincent \Y/. DeRamo, and Tracy E. DeR11mo, agreement dated 3/7/00
          (individually and collectively, iiGua!'imtors1)) pursuant to the terms of a Continuing Guaranty agreement dated
          March 16 1 2016 (''Guaranty 1"), which guaranty is seemed by a Mortgage between Lender and Guarantors
          coveriilg the tclated .real property (the) ! 1Collatera1"); and

                   WHEREAS, there is a Business Promissory Note and Security Agreement between the Lender and
          the Borrowers dated March 24, 2016 in the amount of $91,215.00 ("Loan 2", Loan 1 and Loan 2 are
          collectively, the "Loans'~ guaranteed Guarantors) pursuant to the terms of a Continuing Guamnty agreement
          ("Guaranty 2'» Guaranty 1 and Guaranty 2 ru:e collectively) the uGoarantces'~, which guaranty is also secured
          by the Collateral; and Tracy Elizabeth DeRamo, as Trustee under agreement dated 3/7/00 , as gcaotor
          pursuant to the terms of the mortgage and hypothecation agreement whose guaranty is also secured by the
          Collateral on Loan 1 and Loan 2.

                NOW, THEREFORE, IN CONSIDERATION of the loaos made by Lender to Borrower, the
          Borrower does hereby agr:ee as follows:

               As a material conside.\'ation to induce Lender to enter into each of Loan 1 and Loan 2 (collectively, the
          e1Loans 11), Bo,a;owcr agrees to comply with the tertns and conditions of the Loans. Bouower further agrees
          that any Event of Default as defined in Loan 1 shall constitute an Event of Default with respect to Loan 2
          and tl1at any Event of Default under the Lo;i.n 2 shall constitute an Event of Default with respect to Loan t.
          The occmience of an Event of Default with respect to either Loan 1 or Loan 2 shall entitle Lender to
          exercise its rights and temedies under each of the respective loan agreements including Lender's .rights and
          remedies set fo1th in the GuarAotees and Mottgage and Deeds of Trust securing the Guarantees.

          Homes by De Ramo; Inc.

          By:   ·~f>W-\<ljfd ~~ J:,z, I f 4o ·
          Title:    f ffs: ll/)tf(T
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          BY SIGNING BELOW1 Bonower accept:S and agrees to the tenns and covenants contained in the



          Borrower: Vincent William De Ramo Jr., on behalf of Homes by De Ramo Inc.




                                       CORPORATE ACKNOWLEDGMENT
                   STATE OF         ~ 11/~"'

                                                                                                                              s
                                                                                                                              s
                       _{....~_,.)_.i.rl._. .,._
                                               y _ _ oF   S: "M~"'-
                   -               ;

                   On this      ,7w/r....._            day of  Jft   If u /                     , 20 ~i::I It'. , before me
                   personally appeared                                to me known to be the person described in and who
                   executed the foregoln~ Morlga~e. and ~ck~oWl~ecl !))a! he ~he executed lhe same as his or her free
                   act and deed.       Vi
                                       /V(:,.<t)J'f {,J.JJl/u,,,,..'IJ.e~IL,;11,.,10 "r,          /7
                                                                                                 <J?:fdit~£-
                                            CAROL A. MOORE                                      Notary              Public
                                       13. NOTARY Puauc
                                        ~STATE OF FLORIDA
                                       • Comm# FF015656            My Commission expires:     _S_.,_7,......_1_.7:...--~
                                       ~ Expires 51712017
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                                                       E><hlblt 1A

                                                     BUSINESS LOAN SUMMARY"
            Bomnnr: Hollll!!S By De Ramo, Im.                       Ltttdm Ba:m:oflakeMills
                       4610 A.Won Rd., Sm.sot!, Floridl, 34233             136 B. M1dison St., Like Millt, WI 53551




                                                              =i
                                                        D.1$bummtnf ti) BomYIVtrJ:


                                                   This amount to be®           on3/l71l016
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                                                             ~ $7,615.00
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                                                        Total Rmal1nent Amonnh
                                                             r $7!1lt711.13    i
                                                      See I~tiouon attaelled l'll&e 2




            *li'tbm is any oontUtt ~the terms ofthis Bumiess Lxm Sum:tnaJY and the teltttd~ Promi$$0tf Notti am Security
            ~t tntmd into by Bonov.'tr,. lhe tl!:l'.ml of the~ PrOlll.U$ory Note and Security Agreement Wll go\lcm.
            Borrowtr htrtby admom~dge(s) mding and undersltuuling 1111 of tM inf'onnndon dlsdo"d abort, aud ra:thing a
            tOJ:ll{lltfed copy of Chis Bumm LoaSu.nuna.ry on the date fndkattd lnt<1w.

            :~Tt1~~~11~st·~ !r. -/~u/;d~
            Prliu:d'N:''i'li11Mint ih ih&11 be Rl.l:IO Jr.                                     ,.
                                                                                                    vY,
            Titlt: president:

            Rud,. atknordedged and at<'lpttd 'Iblt Dfly ~of Month~ ot Year         2016
                                                                                           •
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                                                                       Exhlblt1B

                                      BUSINESS PROMISSORY NOTE AND SEClllU11~ AGREEMENI'
            BORROWER: llomes By De Ramo1 Inc,
            PRINCIPAL (in~lndlngproms!ng fus): $457.61S.00

            DATE: 311612016
            I. PROMISE TO PAY1 Home.! By D6 Ramo, Int. ~'Borrow41"') 1 with it$ prlndpd place otbusines.s located at 4610
            Alhlon Rd., Samora, Florida, 34233, ~ ~Y promise to pay to the order of B&"lK. OF LAKE MILLS, il$ sueCHson
            andloras.sigt)J {"l.endu") at its officet foc~ted at '36 B. Madison Sti Lake MilJg, \VIS3SS1, orat such olher loe1tiou or in
            such other mannu as: d.Mignaled by I.euder~ the ,sum of FOUR BlJNDRED :nFlY..SEVEN THOUSAi'ID S1X
            HUNDRED TIVENW-ffi'E DOILARS AND ZERO CENTS ($457,62ii,00} plus intemt at the daily ime.rut nte Rt
            forth btlow in Sei:tfon 2 maocordance with the payment schedule Ht forth below in Seelion 3. This: Bu.rinm Promissozy
            Nore llld. Sealrity Agreement ("LomApeme.nl') is aei:iepte.11 by Un.du in Wisconsin.
            2, JNTERESI RATE: The unpaid Pri.ncipa1 shall btar in!mtit at~ rate of 0,$35% per da.pmti.I paid in twJ..

            3. U»lENI SCITTJllll.ElAPELIC\JlON OF PA\'MENTS: Borrower shall llP8Y th!! Principal and interest
            C4D1alalcing !ln Jll812016 and 011 eath Business Day thmafter until 3Jl71l011 with each daily pl)ment tqUlling
            S3J41.73. followed ll}• a final pt}'Illenl of S31136.9D on 311012-017, whtn any 1emalning ouhltnding Principe.I. interest and
            other 1.t11pa.ld ch.ugM shill be due and payable in full "Burin.Im Day" 1WJl$ any Monday through Friday, ex.oept Federal
            Re.wve boliday.s. The period oolllDlencing on3/t8nol 6 and ending on 312012017 is ufemld to u the "Repayment Period.·
            All paymems shall be made by automatic ACH debit from the ''D.ted Checliog Ace®nt'' ~t forth in ~ Busmw
            LomAuthorlzation Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH De1iiU) gi\'tll by Borrower to
            Lender or pum!llllt to an ~tmlative pa:ynu'Jlt method p~r:n'bed by I.ender, and Bomm'el' M maintain balances in the
            Desipated Checl.ing Acoount sufftwt to nuke each daily payment due under this Loan~
            Pa}mnls ab.all be applied: on the date received tint to late cb.arge.s and otbu clu.rges due wu:W tlUs loan Agnem.ent, th8l
            to unpaid uc::nud intemt, wd Ihm toPrincfpBl.
            4. YOLIDITABY JIBEW.lfENI 6ND PREPAYMJ:~T PREMif fM: BollOWtl bu the~ to~· tMU!lpaid ~in
            full Bt ~·time, but may not niak~partial p~'IXltlllS (wtpt a.s pennltted by IJlP)lcable law). Any such ~wnt of thewpaid
            NndPaIM be~ by aprep~_F!Illivm eqiW to the grea.fU of(a) fihm.p«r«nt (JS%) of theamoontof the uqmd
            Prux:iPal at of the dateOfsucli pnp~ or (b) lhe aggregme llllQUllt r~ to be repaidby Bomm'!tto Uod.ec during the
            R¢it)UM!'.tlt Perl.od r~ by the liaUlof (i) t'h!~eaulOUllt of any p~ made byBotrowtrto l.e:!da'pursu.antto Section
            3aliOve ptim'to the dale of sUcli ~ 11.lld (i;i) ~ amomd ofthe wp1;1d Principal u of the date of such prepa.)i.Ueut. 'l'bU
            pRplymml pmniwn it in addition to l1'lj' and all interest ca!Clllaled ar¥l acaued ou the ttopaid Principal u ofthe dale of w
            prepayment maa:ordaocewith Section labo\'e together with all oilier amotlll1stbm due andpayabl~talderthis Loon Agreement. No
            ptpa)'llleS1t is Jlflll.lltted\!lllt!$ aU. oubtandicg ~a.re paid in Ml u ofthe d.d~ of prepllj'l'liellt. If~ duites to prepay,
            BortowersbAlf ftuward a writ1& ~Ii> \VBLPa}'Off@wblcan. tn lldditioo, Borrower may contact Lerxlu s Stnicing Agent al
            120 W. 4Slh St. 20th Fioot, Nim' Y«k, NY' 10036 or at 212-293-8200and1'lld6 s Sm'iciDg Agent sluill prmido BolWl\'tl'withth!
            nmotmt of thbunpaid Prl:Dc~ prepayment JllY!llli.um, and llll)'. ok IUllQUQl; due Ulld!rtbe t!fn1ll of the loan Ag.rctmwt ~ ota date
            dtsigoa1ed 'b)' &mlv.'U. For the avoidal'.ltt otdoubt, u pen:u,itted undet 4pplicJhlo law. if tho Obligations (as defined Odow) have
            betliacce!mted on tlle happtningofm B\-mt ofDd'auft(u defined below), payment ofliineipal amin!.emt shall be detmeda
            pn:paymmt for p.llJlOSfS ofthis fection4 and slu1l be aecoqmiied by aprepa)'nWlf pmn!um.

            5. BETI!'BN£D fA\"!l.IENI CHARGE: Borrower will pay a charge of thlrt)•-fin dollirs ($$5.00) C'NSF Charge") in
            connection with any JllY!llellt by clteck or el~c tnnll'er that is retumed Ullptid ~use of m iruuftictmt bal!nee in tha
            DWgJu.ttd Cbeclii!g Accollfli or othswise.
            6. SEClJRID" IHIERE$T: Bormwer g:rao.ts fO Leudu a se<:Urlty intmiit in md. to aay and all proparty iu: du.cnW below in
            thh Se¢1ii>n 6 to secure p!l)1ll&lt of all debts, oblig;itions and liabilities of Bort0wer to Lender evidenced by this Loan
            A~ Qf any uthe.t loll.tl ag:retmtnl mth Lender ("Obligatiollll"). This is a continuing $1!C!.IJit)' lntemt and will continl.14 in
            e.tiect even though all or MY palt of the ObligatioDS is paid mtUll and even though for a period of liule Bomm-et ~:r not bee
            indebtell to Ltnde.f, '.fhe collateral includeii the property purchued v.ith the proc~ of this Loan Agreement descnlled on
            S:c~Mi1Io A attached to a.ad made 11 part of thULoan Agreement ("'PurclimMoney Colla.tm.l"), the vehiclt4 and other pmonal
            property dmn"bcd on Sc:btdul~ B. atta~d to and mado a pa.rt of thls Loan Agreement ("Specific C-Ollalm!'~ a.ad all o!Mt
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            -
          personal property now owned or hem.f\er ~ by Borrowu (which, dong with Pure.hut Money Collalml and Specific
          Collateral. is collec.tively ttfmed to as "Collatenl11, including, but not limited to, lll goods (ucept cOllS'lllller gorxl$), Jim\
          products, inventory, equipmen~ fumilure, money, inmunentt, accounts, account$ rmlvable, contract rights, doaunenl$,
          chattel paper, gwral. intmgi"b!M, including, but JlOt llmiled to, .U prodnch and proc~ of Col!Jtml Md all ttdditions and
          ac~oiu to, nplaCtDl.tW o~ iluuranceproi:eW o( and~ t<wering Collatml, all propt!ty ~ved wholly orpattly
          in trade or exchange for C'<>Uamcl, all lems oC Collateral and all rents, M'e.GUei, Usu.u, proflb and proe:et<b wing from the.
          sale, J.eu.e encwnbratice, collection, or any othar tempora:y or pemument dispositio11, of the C'<lllateral or any inteJM1 !M-re.in.
          Borrower 11grees that Lellder may file any financing mtt:mW:, Utn enliy fo!lll or other doi:ument under requires in oidu lo
          perfect, am.end or continue Lender's sccurity futt.test in the Collalml and Borrower agrees to coopet11l$ wilh Lender 11!1 may be
          nect4Ul'Y to accomplish stid 1iilng 8Jld to dC1 whatever Ltndu dfflD! JltUUluy to protect Lender's &KUI'ily interest I.ti !he
          Colbteral. Boi:rower shJll wure 1hat I.en.iW' b namtd u the only lien holder on the title$ to the motor vth.iclM listed 011
          Sclufilnle B to this Loan Agreement as of the date of ibis loan Agrem1ent (or lhe ue.a.re.st stlbsequenl: date as permitted under
          applicable law).
          Borrower shall mallllain the Collalml in go<Jd condition and repair and not permit its vallHl to be impaired; keep the
          Collateral frte from all lii!DS, tl'latmbranct$ and ~urity ln.tmsts: (oil!« than those a:eafto:d or e~m.sly permitted hy 1hi.s
          I.oui. Ag:reemW); ddmd th~ C-Ollafml against ill claims and legal proceedings by pem>m olhtt thaa lellder; pay and
          disclwge when due all tax~. littnSe feeil, levies and other charges upon th& Coll.altral: not ull, ln.se or otherwise dispose
          of tht Collaltral ot pmnit it to bl!eome a flxtme or m acceuion to oth~r good$, eJtCq)t u spedtically authoriztd by lender
          in writing; and not pmnit the Collatem to be used ill violation ofany applkable law, regulation or policy of inN!uce.

          Bom:iwer slW.l pay all expenses and, upon ~~ take any action rusonably deelMd ad\ti.table by lender to preserve the
          Collateml or to eslablisb, df:lenniue priority o~ perl'td, continue puftcled, tenninat0 Md!or enforce Lender's illlerest in the
          Colhteral or rights undet l.bll Loan ~ and, ftuther, Borrower authorizes lender, with full pawer of su'Mtil\ltioo., to

          rights-.x
          6l'le<:U!e in B1111owar'i name my dorumenls ncetSSU}' to peifee~ ammd or to continue ~'s in).e~t in the Collateral. or
                         tbi4 Loan Agn:ement or to dtmand t&lllinatfon 0£ ~ ot othtt secured parties. I.ender has no duly to protect,
          lnntmc or teal.iu upon the: Collatml. Loss of or da.mag:~ to tilt Collatenl .slull not relem Bozrowu from. any of the
          ObUptiwa.

          7. FQR BORROWER$ OR COLtA,TERALJN LOUI$.NA ONLY:
               (a)      Foreclornre. In the tvent that BoitoWer u domiciled in. oi Collatm.l is located in, Louisiana. on the
          happening or an E\'ent en Default. Lmdu shlll have. the right to cominenc:t apptop:riate foretloSUie pmCffdings against tho
          Collatml IUld Jgaiwt B0110wer.
                 (b)       Seizure and Sale of Collateral. mthe t\ll!llt th.at l.Anrkr eie(ts to CD1llmen¢e appropris.t~ Louisiana ibtei:Irniue
          pr~dings under         the Loan Agreement:, under may c~ th11 Collatm.I, Df an}' put ot parts th.mo( to be ~tely
          stiud and sold, whether in t411tl'! of court or ht vacation, unde.r oroiiwy or ~ecutoiy proces:~ in accordance with ij>pl.i¢llblti
          L-Otti&i4t1J law, to the big.but bidder for ca.sh, with or without appriliemen~ and wilhout the ne<:euity of making additional
          demand upon or notifying Borrower or placing SoIIOWu in defaul~ all of which are expre&.!ly wah'e<l.
                 (c)         l!Mcutory Plooess. For pu:ip~ of foreclomre under Louisi1na e:cecutory process procedure;s. Borrower
          oontesses .fudgmen:l: and adnJLl'Wledge.s to bt indebted to Lender, up to the full amount of the- ObligatioDS, iD Prlncipal,
          intem~ prepaymmt clarges. NSF Charges, a.nd any olher unpaid costs and charge$ authoriud by th.e Loan Agr~~
          NJ$onable attorneys' fees and all costll of collec.tion. Bonower ll.u1her «lnf'ems judgment and aclruowledga to be illdebted
          unto and in f.avor ofLmder in the 1U.t10U11t of any additional advances lb.at Lender may make on Borrowu's behalf pursu!D.l
          to lh$ l.oan AgrWllellt, togethttwilh inltmt thmon. To the extent pmlitt~ Wldtr applicable LO!lWw law, Borrower
          additionally lllah.-es th.e following; (1) I.he benefit of appraisal u provided in Artid~ 2332, 2336. 2123, and 2124 of the
          Louisil!M Code of Civil Procedlae, 11.lld all othu llW$ with ?egard to apprai!al upDn judicial sale; (2) th& demand and three
          (3) da}"ll' delily aQprovidedllnder Articles 2639 o.nd2121 of the l.<luiuana Code ofChi.l Proudu:re: (l) the notice ofseirure
          a.s pro\idN \lllder Articles 2293 and 2721 ofl.beLouidanA Code of Civil Pr~uce; (4) the three (3) d&y'' del!yprovided
          uwiu Articles lm and 2722 or the Louisima Codfi of Civil Pl'oc~ Md (S) all other benefib pro\'ided undtr Artid&S
          2331, 2722 and 2723 otthe Lou.l!llana Code ofCMl Plocedi:IM and all other Articles not specilieally tnentionCil above.
                 (d)     K~er. Shl:mld any or all of the CoUeteral be kiud u an incident to an action ((Ir the rocognition or
          en:forctmUll of this. Loan A~~ by executoey pt'OCe$$, ~tftnltio°* attachmen~ wril or fieri fhcias or alherwire,
          Bonower hereby agr~ tbal the comt isming any such ordfir sh.ill, If iequested by LendN, appoittf Undu, or my agtnt
          de.signaled by Lender or any plll1tlll. ur entity IWDtd b;• Lenda at the time su~h seizure is requested, or any lil:ne thmafter,
          u "Keepftf" of the Collateral Uc provided \Illder La. R.S. 9:5136, llf seq, Sucli a Keeper shall be. entitled to .-wonable
          RJni. Sep 2014                                                                                          Pn ge t6
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          compewtiou. Borrower agr~ to pay the reasonable fees of such Keipe, which compen$ation to the Keepu ~ball also~
          secured by this loan AgreeJllent.
          8, RE'fRE.SEW'UONS, WARRANJ'IES, AND CO\'ENANTS~ Botrow~:nnakes the following repr!stnbllforu,
          wananties and oovwnts:
             (a) Bomnver is tha owner of or is ac~ the Pwthase Money Collatm:al ~Ile of all liens, encumbrances and
                 security inte.rms (seept.tender'; 5eeunty interest), and u tll6 oti.'11!! of all other Collatttal free of all lieJ.U,
                 t11eumbra.nce$ PU! $ecnrlly intemb, CD.ct.pt Lcu~r's seeurity inttrest and any setl.l.rily intcruts listed on Schedule
                  1', attached and made 1 put of this loan Agreement;

              (b) the procttds or this Lo1111 Agttemtnt-nill be used tor businm purpons onl)·, nd not tor persona~ con.sumtr,
                  family or household purpom or to p1:1Nhnst pmonal, comumer1 famll}· or hou.,ehold goods. Bottoutr
                  nndmtands Ltnder is rel)i.ng on tbe •C(lll'acy of this rtpmenration in disbnNiDg the Joan prorffds :ind that
                  Borrower's agmmtnt not fa uu the pr()tftd~ of thli Loan Agmnunt tor ptl.'$0Da~ comnmtr, fttnil)' nr
                  hoosthold pw:pom or Co purc:han pmonn~ comume:r, lillllll)· or hounhold goods mt-all.$ ihllf mtaln
                  important dudes impo1ed upon entities uuildug low for comumerlpet'Sobal purposes, nnd et:rlnln lmportul
                  rights conferred upoo. coiuntJJmt pursu.n~t to federal or stllte law will not apply to this Lonn Agrttmen~ or
                  MY other documtut or insh11ll'ltnf ginn to Lend tr in conne-ction mth or n1ated fo tbh Loan .>\g?ttnunt,
                  Borrowe1• also unde11tmds that Ltoder will bt wbJt fo eonfirm whether the promds or thl.s Lo3n
                  Agmmtnt w.lll be ustd for budn&t.t purpom only, Borrowel' adiJ1olrltdges and ogrm that a bread1 by
                  Borrowe1• of the prolisioni of thh sub.mtio.11 8(1>) will not aff'ed Lendtr's right to (I) tnfom Borrower'$
                  pr(ltn.bt to p11y tor an amoDDts owtd ttlldtr this Lot1n Ap<eementt rtgcu:dltJS of the- purpo~e for wbkb the
                  pr11cee& of I.his, Lou Agnement art ln £act oblalntd or (II) nu any nmtdy legally a\'W ble to under, t\'tn
                  if that remedy would not hAvt bteii anilable hnd tht promds of ebb Loan Agrtt111.e~d b"*n rutd tor
                  coruumer pu.rp o$es;
              (c) the Collatenl will be kept at Borrower'saddre.u: Silt forth above in Seciion l; on ScOOM,e Qattached to and tnllde a
                  part of this Loan Agreement;
              (d) Bon:ower's name in Section 1 abo\•e is its w.ct name on itJ mpnizic.g mdfor :regiftued documents, if any, and is
                  Bauower's principal. phce1 of businl!lls. Borrower shill immediately advise Wde:r of MY chang! in Bon:ower's
                  name or addres.s as set fot1h abo\<e in Seclion 1;
              (e) BUJtOWer is duly organized, \'lilldly e:W:ting antl in good standing under thb lllW of the jurisdiction in which it is
                  organiud, and bu .iI llceuses a.ud authorizatiom neW$1UJ to cmy Oil its bu.mms iu now befus conducted;
              (f) BOJIOWer bu th.l'l full pow& and authority to ex«:ut11, deliver and peiform all tnmm1ioM contem,plated by tlW
                  loan Agi:~ and the ptrt'omance of and compliance with the terms ofthi$ Loan ~tmt will not violate the
                  Bomiws's organiz;i.tional docun.tents or c:omtifule a dellrult ofany conlract, agreement or othu instrument t<> \\'him
                  Boxrower is a party;
              (g) Boirowu bu duly authorized the e.uculioo, delivery and p&rfonnance ot this loan Agrff1mnt and ha; duly
                  e:xei::uted and delivere-0 thiJ Loan. Agreement, nnd this !Aan Agrttment eomtittrtes a legal,. valid tnd binding
                  obligation ofthe lJomnver, enfon:eable egainst it in aeronian«i with its tenru;
              (h) thete is no action. !tui~ proceeding or invflligation ptnding or, lo Bonower's knowledge, threatened against or
                  aftecling it or a:ny of ifll assets befo1'1 or by any court or other govemm.enlal authority which, if detum.ined
                  ad\reuely to i~ woutd ha.i,'t amaterial ad\'MSO efftct on its Jina.ndal condition. btHlnus or prospects, or the valut-of
                  the Collarml; and
              0) Bonower will provide any fim.ncW in!ollW!lion ()ti request or peimit ~ e.:wnill!tion of its boob tnd re.cords to
                 permit J:.tn4g to con1irm Borrower's ability to pay its Oblig111ions: and all other financial obligations.
              G> Bonowcr has not~ notified by any of iU. lt.ndm that it ii1 in defalllt Wlder the terms of any of ils eredit
                  agmm.enfs, nor has B!lnower don&, cawed to 1;1(1 don0, or failed to do any act or omission that would mtl!t in a
                  defil.ult under any credit a.gxeement
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               Ck) No thhd p.uty     $0Ur(I! of fina.neins for Bo11owe:t's    c:mt~       has discontinued, or lfueale®d to d.!$i:ontinue
                   providing fi.u.m<:lng to BOITOWtrS cwtomeu.

           9. DEEAJILT1 On the hippening of uy of the following                              t\.'tnts   (mh an       11
                                                                                                                          Event of OW.ult"):
               (a) failurtliy Bonower to P•Y any dilly or ot.bef pl}'llltD.t required by this I.om Apmw when due;
               (b) Wlme by BolT(lwcr to o\l.~'6, pe:d'oxm, keep or abide by any term. coWlllllt or cOlld.!tion contaiMd in this loan
                   Agretment or an}' other domment or instrummt gi\u to U.nder in conn«lion M!h or related to th.is loan
                   AgrctlllOnt iacluding any real estate mortgage. smmly apement ot other agniement or dGC'llllllQf now or
                   bem.ftef ei1d:encing or cre.'lling any ucurlly for lhe paymmt of this: Loan Agremien.t;
               (e) lhe filing of a bankmptcy proceeding, mlgnm.tnt for thfJ benefit of creditors, ismanct of a judgment uecuti<tn,
                   garnishment ot 16'/y agaimt, or !he appolniment of a representative of any kind for Iii& commencemeat of any
                   proceeding for reliefftom ~btednffl by or against Bomm:er;
               (d) the h3ppenfrJg of lltY evtnt, which, in the remna.ble fudg,mmt of Lender, adversely ~ Botto~'tl''s ability or
                   the ability of any gumnlor of aoi:rowu's Obligations under thi& Loan A~~nt e'Gumnlot') to repay
                   BOJMVa's Obligatious, or tna!erillly affeci:$ ~value of the Collaltnl;
               (e) any written rq>mentalioo., statement or warranty made to w™ir by &nowt? ot any Gua.mntor is untrue or is
                   breaclied;
               (f) IM ooeum.uce of (I) a default l.lllder my guaranty ofBorrowu's Obligatioll9 ("Guaranty'), or any olhet dDWnlmt
                   or in.strunwi,t gi.\ien 10 I..c.ad6r in connection v.ilh or rehted to thi$ Loan A~, or (11) ll1 ei.~t of &!!nit under
                   IW}' olher loan 11greell1f.llt that Bomrwer may have with any otkr ltlld~

               (g) any Guaranty is tevo:ked or becomes unenforceable for a.ny tea$0D;
               (b) Len<kr, upon eiwnination of BOIIOWl!t'lll &mclal information during the tmn of lhis I.om Agremmo~ ~omes
                   ~e in Bonower'11 ability to pay theObligatioiu,

           I..endtr. at its option, without noti~ or OOnand (ex«pt l!I requ.lred by applicable law), may (A) declare the fl!lire. unpaid
           ba.lm.e or all Obilgalfon.s undn this loan Agreement or otb.l!r agreenmlls immediately due and payable. and sh.al.I ba\re the
           right lo pro~ to eolled such ObligaliollS undt.r •ppliclble law and enforce ils rights UQ.du my Guannty; and (.B) proceed
           aylnsl the Coll•tml and aoy other tolla!ml ~any obligation t11 ltndu as if said collatml uo.ired the Obligttion.c,
           as petmitted under the applicable U.o.if01m Comroetci.al Code en: any otlw: applic.abl.e law. As permitted under the Uniform
           ColllllWcW Codt Ltnd!r llllY lib po.lSM$ion of CoUatmll wi!hout noti1» or hearing, which Boaowcr v,'li\'l!a, and upon
           danandi Bonol\'el $hall a.ueinble the Collateral and mll:e it allliliible to tender at any convenient place deaigmttd by
           Um.du, Lendar' t t«elpt of tllJj' pay.mt.at after the ocClUitllC11 of an Event -0f Default, whether or not the Obligattons ha11e
           been. melmted, WU not constitute a wa:lvtr of the default or of ~s rightt or rem6diM upan sucli defuul.~ mcluding
           JJen&r•:s right to aOO'llmte the uuplid balance of tho Obllga.tiOII! wt pumie (olleclion thmof. Elei:tiocn by 1.mtdtt to
           pursue or \'\>al\~ P>.y wnedy sha.1.1 not acluda pursuit of airJ othtlrremedy.
           IO. JNSPECTij)N OF COUJ.TER.o\L AND PLACE OF fMINESS: I.ender and Lender's rtprue.nlim>es and agent&
           shall have the right at any l.'WOlllble time or limes to ins~t the ~llatml whm.ver lOi:aled and the inWior and exterior <if
           any Br.mower place of fuu~u. and Bc1110wer shall assist Ul.lder and im r~ntalh'eS and agents iD makiog any sucll
           inspeclion. DuriDg an inspection of any Borrower place of bwinen, ~ or lendll'G represellllllh'e-S and 11gtnls may
           e:umiue, among othtt th!Dp, \\'htther Bonowu (i) hu a place of bwinm thlt is s~te ftom any penollal residwf:,. (Ii)
           is opm. for busine;s, (w) has rnftlciw Inventory mdfor sta.ft to conduct Borrower'.s busUJ.w and (iv) has one or more credit
           cud t~ or point ()f sale .system if Bonowu prooeues aedit card ~etious, Wht:ll ~ an inspeciio11,
           IAudu or lender's NPre.telliative.i 11.lld agaits ni.ay phologcaph ihfJ intetior and exterior 11f .ny Borrowe:r pl.aeo of bushltl.ls,
           fncludfllg ui.y signage. ~ pbotogn:ph v.1ll be«lm! and re.nam the sole property of J..emW and v.1ll be sh.md Vrilh
           Lender's employees, r~tltive.$ and agems. Borrower grants lcndu the i:im'OCllble and pemlllllellt rifPit to dispby and
           shJ.re any photograph in all founs, including composito ll1d modifif4 repreRD.tations, fur all ~e$, with Lendtf'5
           employ~. ~presenlltivts and ~ellls. Borrower 1grces to reimbunc Lender fur the c:ost of the inspeclioll.s <M1ctibed in thb
           Section l0.
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           11. &;YALUATIO:ti; OF CR£DIT: Borrowu authorizes. Under to obtain b~s wl pmooal credit bureau reporil in
           Borrower's nime1 at any time and from time to time for pmposes of cheidiug whethe.t to appro'w'e the ~tst&J bwille$s loan
           or fot any updatt, reDewal, men.don of credit or other lawful JlUIPO$tl. Upon Donower's requm. Lender will ad\'isa
           Borrower if Lender obtained a ewlitreport ud Leader v.ill give B(Jno\\tr the credit bureau's nam& and address. Bonower
           8.gift$ to submit cwrent fin.w:ial informati.on. a mnv atdit applfoation, or 'both, in Borrower's~ at my 1ime promptly
           upon Leudet's request,
           lZ. ATIQRNUSt FEE§. COLLECTION COSTS AND POST,JtiDGMEN'f RATE OF INTEBESI: In 1he ei.'e.!lt
           Leudet rttains ooUIUel with. mp«t to entorcement of its rlght$ under this Loan Agi:ttmerd or ID)' other doclllll"1li or
           in.sl:twnent ,given lo Lendu, Borrower 11~ to pay all expenses of Undu in enfon:illg its rights to collect the Obligatton.s
           01  in taldng possmion, holding, ptap~ fot disposition, and disposing of lhe ColliteJa]. Wcluding Under'$ xeasot11ble
           al'klmey&' fee.s (whether or not an ac!Wn JS COllllllellC~ 11.lld whether or not in the court of original jmisdiclion, appdlate
           oourt, bank ruptey court or ~) and all el>rti of collecti.011 of my judgment and any costs of appeal. Ill the event Ibis
           Loan Aget.IJlell.i is br011ght to a jud,ynMt. int~rest shall uocnJA at the ill~tst mte m fOJth in Section l above until !be
           judgplentis satiriied., except as pruhi"'bited by applicable hw.

           13. SALE OF LOAN AGBE£MENT; This Loan Agreement, or an interest ln this Loan A~cnt. togellu!t with the
           rights: to the Collatml, may be $Old, . assigned, transfmed or oonve:ytd by Un.du one or more times-,

           U. lNDEMNJEICAnON: Except for Lender's willfW. ml.<iconduc:t, Borrower will indermrify and $ave 1.Mde: hannle$$
           ftom all loss, cosfll, damage, liability or l!ll:JleMeS (illcludiug, without limit.lion, ooutt com and rwonab!e altomey.s' fees)
           that Lender my suslafn or incur by reason of defeJldfng or protetting Lender's ~eurity intutrt or the priority thereof or
           enforclng its rights to collect the Obligations, or in the pr0$CCutiOn or de~ of any action or pro~g conct.ming any
           matter gxawing out of or in c<1nnection with this loan Agreement and/or 8P:r other documents or instrumtJlts now or
           hereafter e.tecuted in connection 'With this Loan Agreement and/or the Oblig4tions and/or the Qillatml This indemnify
           s.ball lltl!\ive the repayment ofthe Oblig.atio1U and the lennbiation of this Loan Agm.menl

           15. WCEI l,AfiEOJ.lS:
                (11) Delay ot W!Uie of lendM to u:ercise any of its rig.his 1.t11der this Loan Agreement shall not be de.emed t waker
                     thereo£ No wai\'er of any condition ar requimneut shall operate as a w1.h'el' of any other or nibsequent condition
                    or~me:nl.

                (b) 'this Loan AgrfflJmlt may not be modified Gt!lly, and may be modified only upon 'l\.'rilten agtWileut $igll~ by
                    Lendu.
                (c) Lender is an FDIC Umtred. Wisconrin state c.b.a.rtmd NDk a.nd tlili Loan Agnement i$ accepted by I.en.du in
                    Wilconsi.n. CONSEQ.UENTI.Y, THIS AGREEMENT Will BE GOVERNED BY FEDBRAL LAW
                    AP.PUCABLB TO AN FtlIC INSURED INS11'M'ION AND TO 'lllE EXTENT NOT PREEMHED BY
                    FEDERAL LAW, TIIE LAWS OF THE STATE OF WISCONSIN WllHOUT REGARD TO CONFLICT OF
                    LAW RULES. The legality, enforceability and inte:ipretation ot this Agreement and the l!nloun!$ contntcted for,
                    charged and resen~ under this loan Agreement will be governed by Mb. laws.
                (d) :Sonmver and lender agree that any action or prooetding to enforoe B1rJ rights or obligations a.rlsiDg out of tbk
                    LoM A~ &hall be colll.Ulellced either in. Wi.s4lonsin, New York or the state (or commonweal.th, au tht cau.
                    may lM!) of Boauwers addrffs set forth in Sec.lion 1 abo\'e C'norrower's Sta1ei and Bol'l'Qwet waive! pelW!lll
                    sen.ice <1f pt<1ttlls and agreei that a summons and complaint colD.DWlcing an action or pro~g in my such
                    court d1all be properly $8\'ed and c:onter pmonal jurisdiction if ttl\'td by fl!gisle.rtd or wtilied mail to Bonower
                    at the add.ms specified \>y Borrower above in Section 1, or tU olht.nvist!: provided by thtJ laws of the Stale or
                    Wisconsin, th6 Sbte ofNew York, the Bommer's State, or tM Uni!ed States or Aml!rl~ Borrowa anli Le.nder
                    agree that \'elllle JJ proper in sucli comb,
                (e) Without affecti.o.g thll liability ofB orrower or my Otla.nmtor, Lemler may ac.c~pt partial pll}~ mad:ed "iD. full"
                    or othenvise, relelllb or impair llll}' Collatml or agree not to sue any party lleble on this loan AgtUment wilh.oot
                    waiving Ill)' of ifsrlgills limunda'.
                (f) Preseutment, pro res~ demand and notke of dishonor are wai\'ed.
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           (g) Without affecting the liability of any Guarantor. l..ende{ llll)' tfom tim.e to time, l\1thout notit(\ renew Qf extend
               the time for payment.                    .
           (b)   BOttOWtr upressl:y agree$ that the inlm:$t nte set forth above in Seci:ion 2fa appropriat& und&r the cin:umslances
                 and shall be the applicable rate at which unpaid Principal (and ~$1&, as 4-tifinad below) shall hear i.ntere$t tllldu
                 this Lom Agreemm,, notwith!tanding any raft of inter4st pmcnW by statute from time to time; ~
                 hDlm:.tt, if ful.fi.Ument of any provid0ll$ of this Loan Agr~ent or any other iostramt.nt securing the Obligatioll$
                 ~ s:u'bject tot law that ~maximum interest nfN or other charges, and that law is finally inte.ipttted so that the
                 interest or other f m collected or to be ~llecttd in connection with this loan Agreement exceed the permitte<l
                 limits, then (J) any such dwge will be reduced by th& amount nooe.m.ry to reduce the charge to the pennitted limit
                 and (ll) any sums already colh<!ted ftom Borm\V(!f that exceed the pennitted Lim.its will be rtfunded or c:reditt.d fo
                 Bo.nower and the oblip.tions created by this Loan Agret.tntnt shall be fulfilJed to the limit of sucll Villid.ity at is
                 permitted by law.
            (i) Qouower sh.all keep th& Collateral and Lmdtis int&-est in it insured undet pollcie.s with sudl PfovisioDS, far !illch
                m:noimts mi by such insurer& u sball be satisfactory to LeOOtt fl:om time to tilue, and 5haU fum.ish evide.nce ot
                 such insuwlce ntisfactozy to Lender upon request Bomw.•er usigns {and difeds my ~ to pay) to I.ender
                 the proceeds <>f l!lI mh insurmce and any piemium refund and all1horiru Lender to endone in the mme of
                 Bouower any in.drument for such procced:i or refunds andi at the option of Lender, to epply such ptotCl!d.s and
                 refunds to any unpaid balance of the Obligations, whethei or nor due., audlor to resloratiOll of the Collateral.
                 re.turning llllY excess to Borrower. Under is authorized, in the name of BoJtOwer or otlternise, fo make, adjust
                 and/or settle cl.!iim under any inmranee on lhe Collatml, or cane!! the Sllllle after the oocumnce of an Event of
                 Default.

            fj) 1£ Bonower fails to pe.rfonn any of Borrowets dulie; stt forth in this Loan Agreement or in any e\1den~ of or
                doCUIIltJlt relating to !he Obligations, lAnde.r h authorized, in Bomiwer's nAll1e or othe.nvise, to take !Ill}' such
                action, induding, without limitation. $igning: Borrower's name or paying any amollf!t $0 required, and the c0$t
                {"Cost'? shall be one oflhe.Obligati~ seeurtd by this Loan~ and shall \>Cl payabl& by llO?l'OWerupon
                Lender's demand with interest at the interestrate set forth above mSection 2 from tlw date ofpayment by Lend.M.
            (l.:) Bonowtt meases Lendo: from an.y liability for any act or om.Wion relating to the Oblig.atiam, the Collateral or
                 th.is Loan Agreemen~ e.xcept Lend«& will1\1l misconduct.
            (1) hl\'al.idity or unenfon:eabllity of any pravision of this Loan Agreement shall not affect the vmdity or
                entbIC6abWty of any olhi::r provision.
            (m) The terms of this Loan Agreement shall be binding upon Borrower and its permitted S\l.CCe.ssors and assigns, and
                .WU iml:re to fut benafit of L!.nder and its $\ICetiMOts arui assign.;.
            (n) BoJIOwe.r acknowledges that a broker may have. received compensaticu1 in connection with this I.om Agreemmt.

            (o) lurj of the B01:roWer, Lende.r or a Guamilot liliY <.hoose to l!bitrate any or all disputes end cWms arising out of ()f
                relating to this Loan Agmmien~ the Oum_nfy or any other related doctunent. A cla.i:tn includes matters arising as llll
                initial tlaini, counter-tlainl, miss-claim, thiid-parly claiin, or otherwise. If the Borrower, LtruW or a Guanntor
                clloosf4 to li1igate any dlspu~ or el.aim arising out of ot relating to this Lol\ll Agrctm@~ the Guaranty or any related
                document through a ju.clieial 4etion, the deci$lon to litigate wall not be decm"1 a V1 ai\ier of aibitration., and if such
                                                                                                           1


                judicial action is oonterted. any party may thm:a.fl:tt fnvol:e its arbitntion rights at any time Wore any discovezy is
                talc~ in the judicial actfoll. If the Borrower, Lender or a Oumntor rem to ban· a dispute xesolvi!d by l!lbitraticm. that
                pll'ty must fils.t send to the. other party(iei>) by cmified mail, a written Notite of Intent to Atbitrnte. 1f SMOwer,
                Lend!r or a. Gum.Dior do not reach an agreement to resolve the claim within 10 dayi: after the Notice is uceived, any
                party lllllY c~ an ubitralion pX'OCffding wilh the American Aibill'ation A!s.ooiafion C'AAA'). Len.d!f will
                piomptly reitnbune Boxrower or the GuannlC!r my arbitntiou filing fee, however, in the event that both the B01Iowu
                and the Ouualltor must pay arbitration filing fte'J;I Lender will only mmbme th! Bonow~·$ ubitntion filing fee and.
                except u provided in the mm $enlen.ce, the Lender will pay all arbitration achninistntion and arbitrator f!et:. If the
                arllilrator .finds that either the sub!lmce of any claim nUsed by Banov;er or a Oulrantor {,Ir the mlief sought by
                BOJIOWor or a C3umntor is i.mproptr or not "1iUT~ as measured by the s!mdaids lll!t forth in Fed.en! Rule of
                Procedure 11(b), the.u I.tnd& will pay theadminislratfon. or lilbilrator fees only if required by th0cAAA Rules. lfthe
                aibitrator gnint$ relief to the Bom:iwer or aGuarantor that is equal to or greater than !he \'3lue of the relief rll9,U'"ttd by
                the BottOWer or a Guar.mtor in the arbitiatiOll., Lendet sball reimbun& Bonower or the Guarantor, as applicable, for
          -· to- "lllU                                                                                           Tl. - • 1111
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                 that pany's reasonable attom.cya' fees md expwe.s inruired for the arbilratfon, BOR'ROWER. AND LBNDER
                 AGREE 'IHAT BY BNTF.RING INTO nus LOAN AGREE.MEN'!'; BACH IS WAMNG THE RIGHT TO 'l.1UAL
                 BY JUR.Y. BORROWER AND LENDER MAY URlNO CLAIMS AGAINST ANY OnmR. PARTY ONLY lN
                 THEIR INDl\'IDUAL CAPACITY AND NOT AS A J?LAJNllFP RBPRBSENTATIVE OR CLASS MEMBER IN
                 ANY PURPORTED REPRESENTATIVE OR Ct.ASS PROCBEOlNG, Fmthe.r, Bcm:owtr and Lendu IP,:e! that the
                 a:i:bitntor may m1t consolidate pl\Xttding$ fbr more thau one person's claims, awl may not olherwise pl'e$lde om any
                 fotm of a: nipresetdative or class proceeding, and if this specilic provision is found 1l!lenfotetable, then 1he ditty of
                 this arbitration cla'o.s.e shall be null and void. Arty awud by the individual arbitrator sh.all be: ti.Dal and binding, except
                 for my appeal right under the Fedetal Arbitm.tio'n Act \'FAA"), and may be e.nlmd and e.Dfon:eable as a judgment in
                 my court of compemrt ju:riadittion,. including as a judgment that permit'l: Under lo initiate or oomplete the txmUe of
                 its 1em.edies agailm. ot its reafu.atio.11 or foreclosure 1!pOil, any col.lateral or security provided fur fue brufit of Lwder.
                 This arbitnitio11. pioviJion h mule pursuant to a ttwtction in interstate coJIWJme, and shall be gove.l'IW<l by lhe
                 Fed.ml Atbitration Act at 9U.S.C. Section 1.
             (p) In order to tll$1J[e a high quality of S!Mce for Lendt.r's cus1omen, under tDay mOl'litor and.for recont telephbn~ c.tlk
                 bet\\"een Borrower and t..ndt.r's: empfoyee.s. Bomm·cr ad:nowkdges that LeJJdtr may do so and lgtte$ in a~ to
                 any such monitoring or r~ording of telephone ealli.
             (q) Bosrower llU1honus 4udu and Lender's affi.t.!ates; llgenls and indepc.n®nt contractor~ lo contact Borrower at any
                 telepoone lllllilb& Bonower ]lfovidM to Lender or fl'olll wbkh Bonowe.r place& a C3ll to Le.ndu. or any telephone.
                 number where Lender believts it may mch Borrows, using any mew of comrmmi<:ation, including, but not limited
                 to, calls or U:,rj: menages to D).()bil°' c&Iular, wirelus or m.lar devic:M or.<'alls or text ~agtS wing 11.11 llllonuted
                 telephone dialing system and/or aJti.llclal voices or prerecorded n1ess1ges, e\'ell if BOllOWet iu.cun cbaigtt fut
                 rewiiing such commtm.ica~ons. Lewief lllld Lfnder's affiliates, &gtllls arid Uidependmt canfmlors, may use l:Q}' other
                 medium not prob.tolled by bw, including, but not limited to, nui.1, e-mail and l:li~ to contact Bonower. lfottow~
                 expreuly consents to conduct~$ by electronic means.
             (r) TO Tim EXTENT NOT PROHIBITED BY APPLICABLE LAW, BORROWER AND LENDER WAIVE 'fHElR
                 RIGHT TO A'IRJALBY WRY OF ANY CLAlM OR CAUSB OF ACTION BASED UPON, ARISING OUT OF OR
                 RELATBD TO THIS LOAN AGREEMENT AND All OnmR DOCUMENTATION EVIDENCING THE
                 OBLIGATIONS, lN ANY LEGAL ACTION O~ PROCEEDING.
             (s) This loan~ may be WCttted in one or more i»'llJlterpW, etch of which counteipw $ball be~ fo be
                 llll origiual. a.ild all si.1ch coUD!e:rpw shall constitute Oll(J and the :llllle insl:mmel:Jt For pwposes of the execution of this
                 loan Ayeement, e.leciroDie or fa:t siguatum sh1ll 'be treated in all mspeets as origi!W. signatam.
           PRIOR TO SlGNtNG 1'BIS LOAN AGRtEMENrt BORROWER READ AND UNDERSTOOD ALL OF TRI
           PROVISIONS OF tBIS LOAN AGREEMENT••\l<U:R DUE CONSIDERATION, AND THE OPPORTUNITY
           TO CONSULT l\'lTR OTHER LE.:~ERS &'ID AN ATIORNEY, ACCOUNl'ANf OR OT.HER COMPETEh'l
           PROFESSIONAL OF           rrs
                                  CHOICE. BORROWER KNOWJN'GLY, WlLU'ULLY A."'ID VOLUNI'AR.n.Y
           AGREES TO THE TEIU!S OF mrs LOAN AGREEMENT.
           BORROWER ACKNOWLEDGES RECEIPT OF A FULLY COMPLETED AND E.\'tCtrrED VER.SlON OF
           ntIS LOAN AGREEMENT.
                                                   BORROWER.: Homes By De R.amo, Inc.
                                                       (\o-"v"""'r
                                                   By~=!~~~{h.~y,
                                                   U..:w   l!dN   . VineMt Willill!I De Ruo Jr,
                                                                                                           /)/     ~
                                                                                                           ~Jz/ M~ v~                                      I
                                                   n.wl       amt.                                                                                     /

                                                   Title: president
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           ae<:6Ul1t5 t1CWo'1bl6t COll!J;IM ripts1 dO~llXlmlt$ 1 Wtttl PJpu', J:lllml imDg:io[u, incJading, but not li.mihld lo, :all products :md
           pro-ends of CoUJfml ml all additiOll.'I ud amsiiol!.!l to, R:pb.camuts o~ ia.swan~e procetds of. :wd doeumtllb c-wmng CoUalm~
           all propmy :nceh·ed wholly OT putly mtnde or eicch.utit for Collatml, all leasts of Colhttn.1 ad all rtllisi lln'IUUIU, uruu, pmfits
           and p1oi:eeds wing &om th4 s:ale, least e.ncum\innce, eollmo11, o: any other tuiporaiy or ptraWltnt dhpo$1tion, of the Colhtv.al
           or a11y inltltit 1hutfu. Bo:rmwu agro~ tmt ~du may ii.le uy !naud.1:11 sb.ttmtn~ &n i.l1hy forw. or othu docm:Mllt le.ndu
           re~ in order to llimi:t, am.m.i Qr ('Qm11 Under'$ ~turity intuut in the CoU:ttual and Born>w~ aJNti to coopmte wilh
           Lender as w)• li-ll ntmuiyto accomplish sWi tillii.J and to do ~tl!\'er Lauder dtel!U ~m.ry to pl'(lml l.ede.r'~ stcwity inltnrt
           isl tha Colbtenl. liorMrer sh.all enwre that Lender is mmed ;u the only lien bolder on the till~ to the motonwcles lliitd. on
           Schtdul1 Dto lb.is Lo:m AJ11!tme.Dt u ot the dite ol thU Lom Agrowm1t (or the llfUttt rub!:.eq.uw dil4! 1s permitted un.dtr
           applicable law).

           Bom>l\'111 shall nuintain !ht Colli.tent in 10<ld conditlon md. npair and not pennit its \'alllt fo 'be impai.Nd;: bep the Collateral
           £nee from all wns, .f.tJ.Cumbm1.m and stcu:rity inte.ruts (othtr thall those created or ~e$sly pennitttd. 'by this Loaa Aitoew.wt);
           dtl'elld the Collaltral agairut all cWi:iu lUd !epl proctt~ by pv..ons other thm Lender; pay at1d disdw~ Wh111 due all
           tilxes, licwe &ts, h.\ies and olhtr clw.1aii up<lll. the Collatt.rd; l:l:Ol stll, }P$~ flf olhuM.se dispm or the Collatml or ptnnil it
           to btcom11 a flimue or :in 2cc-esiioi to l!lhlr go-o<U, except as spmncally authorized by Lender in writU\g; and not pemU! lb
           Colhtml to be med in violation o£my applica'ble law, nigulation orpoliey of~ce.

           Bonower WU pay all elJM!DSU and, upon ttq111~ bb auy action rtiso1Ubly dt&med ad.vi.sable b)• I.u.®r to pmen't th!.
           Collatual ot lo e:ibblish, dttarmiu priority o( JHirftct, co11til!me petftcltd, ruminate and/or 1!11.foree Lendei5 illttmt ill tht
           Collm.ral or rithts IUl.d&r thlJ ~ Attttmtnl and, ii.n1ht.r, Bonowtr ;utht>ri.w. ie11w1 w.ith full powu of sulntifutio11, to
           tll:tt\m iii Borromir' s n:une .a.ny docw:peat$ nemsary to pe.rflct, llIW1d or to continue IAlldus intemt in the Colhlmtl or righl:s
           v:nde.r ~ Loui. AgrH111ent or fo d!m;ind tennirution or ll.lings of other mured patti~. lender lw no duty to prol.ct, ~ or
           i-.~ upon lhfi Colhtml Loss of or d.una;e to the Colbtual shall not ralime Borrower &o11:1 any oftht ObllptiolU',

           7. FOR BORROWER.$ OR COLLAT.ER.AL lN LOtilSIANA Ol'"LY:

                  (a)    Forl!Closure:. ht the event tlut ll 01?ower i!i domiciltd in, or Colhtw.1 i$ localed in, Louhlll:U, on tla happt~g of'
           a E\'lnt or Defn114 Linder shill ha\>e Iha t:ij!ht to WllUlltnte ippropriate fofl!clo.Slll'Q proceedings ag.li.nst tht Colbtenl a.ud
           ap.i.Qst Bonowv.

                  (b)       SllizW'11 and Sale or Coll11ml. In the 11\'tnt thJ.t Lender elt!:I$ •o commt.11ot aPJlropriafl! Lowiw fomlr»\l.l'f
           pr~edi!.lp     undu the Loan Atmmenl, Lender may awt the: Collatual, or my put or puts thueof, to ba i.mmtdiafely W.Ud
           and sold, whetbu in. ttrm of court or in \ozca.tion, undtt ordin.aiy or u.t<:utory pn>W$, in. iccordance n.oith applic~bte Loiililawi
           bw1 to the hilhest biddu for ca.sh, with O?"l\ithout 1ppr.iliemttrt, and without the nt<:enity ofnukmr addition.al d1ma11d tipou or
           11otilyi.tl1 Borm.'fr or placb1t Borrowu in dJaul~ all of which art ~m$}y mh'f.d..

                  (!!)     Exectitcu:y Proms. Forpu.qio~soffoniclornte tm.du Louisiana wrotory process proc~duru, Bormtur coofmes
           judpunt and aclm0:wttdgu to be indebted to Lt.udu, up lo the fiJll lttlaunl of the Obli:itioa.s, in Prinl:ip:il, intmst, pre:pJ)mtnt
           clurps, NSF Ch:ugu, ;ai1d any othu \Ulpaid c:o:its :md clmp$ aulhoriml by th41 lom ApH.millt, ruson.a'ble attonny11 t'lm and
           all mts of eolltction. Jl ~r J\athu i:Ml'vtti judp.enf and aclatowltdgu lo h ~~bt@d un!o aJ1d it\ £wor 0£ Luulu in tha
           amoua.t of :my additional advutces llut ludu may make Oil Bouowe.t'$ be~lf p\ll'SUlllt to dl.t. Lom AUIHJU!!.11~ toetthu wilh
           intmst thmo11. To the ti<tent pmni!ttd ®du appl.ic:abl! Lou:isia:a.i lan•, Bonowu additioiWly waf\"es the following; (1) the
           bmetit ohpprainl n pm~d in Articl!s 2332, 2336, 2123, a.tld 272.4 ofth1 Lou.Ui.am Code or CM.l Pro«:edOie, .a.nil all athu
           bw.s l\ith reprd to a:pprais:ahiponjuai® ult; (2) the fomnd. and: thre (3) '4y.s' dtlay as pro\ided u:ad1r Attic.Its 263~ md 2121
           of tht L11uisima Code ot Civil Proctdurt; (3) the notice of seizwe H 11rovi.ded \U'lder ArlicJt5 :2293 av.cl 2721 of the Miui5iw
           C.Ode of c1...u Pioudure; (4) tbe tbm (3) d1y~' delay pro\'idtd u.ade.r Atticltt 2331 a11d.11l2 of the Lou.isi:au Code: ofCMl
           Proctd~; ind (S) all otlrer\imt.sprO\idtd undu Arlia.las 2m, 2722 llld 2723 ofl.b~ LouiW.U Code ofCnil Pl:o~durt ind ilJ
           other Alticlu not sp tclti1:ally w.entio111d. abM'e,

                   (d)      R'.Mpu. Sbott.ld any or all otth1 Collateral b11 ~eel as :m illcid1u!t to an action for th11 m-o!lliMn or anforcunent
           of this Loan A&reement, by el.KuklQ' proms, ~t1trlratio11, afuchml!!lt, writ offim /adiu or olhuwi&e, Borro~ hm!by ageu
           that lht c:ourl issuiu, any :such ordbr ~ it req,uti:Nd. by ltllde.r, appoint Ltndu1 or any :agent dtri!Wlllff by Lender Cl? ii.DY
           pvson ot tAli:ty l!alllld by Ltudtr at the ti.ma S11ch seira:re fa requt!ittdt or any time tlu!.re3thr, ilS "Kttpti' of Ille Colhtt.ral as
           prcwid.ed m:vler La. ltS. 9:5B6, iff .118q. Such a Ketpu sh.all bt uriUeJ. lo ttUOlla'ble compwation. DonoWit 'll'llU to pay the
           reuombte fees of such K.H11er, which co)l:JJl1q:i,nlion to tht Keepauhtlhho bt ste\IJ:lld\,y this Lom Agreemillt,

           8. ltEPRESEl'l'TAUONS, WARR:\NTIU, A.'l\'D CO\"L't<IAI\TI: Btmowu mike$ the: followi.D.r represantations, m1rmlfin
           wl«i\'~tt:

                (~)   Bommr is the omier 0£ or~ acquiring: the Purclwe Money Collatml &~ Qhll lieru, eru:umbn.net.s and securil)•
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                  put of this Loan Agmmut;

              (b) lhe promdt of thu Lotn:I Agnemtnl          mn be timl for hud:D.us puqioits 111ilJ.'t ~I.Id tlol lor perlona~ tonmmu,
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                  tonr•rrtd 11pon CbDSlllDtJc, pnrsuant to ftdrnd or ilalt t:nr mn DOI DPPls' to lbh Loa Auumtnt, Ill" aD;F other
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                  bu~foeu pu.rpom oW,. Boncnnr 11tlmowledges and nr;«ff tbu :t brueh br Brn·omr of the prorldon1 or 11W
                  1ubttctlo11. 8(b) Trill not nlttd Le11der'1 tight ta (l) 1nfom fl.orro1m's pro111.h• to PA}' ror till 11m11111h owed 1111der
                  thh l.tAll ,.\grfflJlfflf1 rt1Hdl11s of the &llltil)i. for 1Thith fhe promd' (If tlib Lou1 ."-uttmenf ue In fart
                  obfnl.Gtd or (D) U$t 1111y rtmtdr hgally t1T•lt~bl1 fa Ltndu, en11 lf tbat f4mtd)' muld not ban be-eu A'Oll:tblt bAd
                  tht procu1h oflhb ton Agrffmtnt betn u red tor eoiuumu porpons;

              (o) the. Colla!m! will b1I ktpt at Borrowu's addms ~t forth. ~bo,-. in Stttlon l, 011 SsbNul! D altieh.td to qd made a pm
                  t1flhis Loa Agn.tn1tA~

              (d) Bo1T1>wtr's name ill Sedioq l ll.bo\·1 is i3 txai:t IWllll on ~ or~r llld!11r nr;is.tued doC'a.m.trd:s, if any, ac.d is
                  fl()trm'1a¥ 1S principJ! plm otbwinm. Bom.nnr Wll immtdi~tely ad-vist Ia.du otu.y change in Bonowtt's 11111\i or
                  ddteu ~ sd fol1h abo\11 in Sc-:ti on l i

              (e) Bommn b duly orpuiud, villdly tldstin; and in good sl:mflioi Utldtt the bw of !ht jurudietion. in wh.idi it u
                  orp.itlz-td, :md. 1w all lict11.1t.$ and autlioriutio~ u1~tsm}' to cmy 011 ib bmuau su now bWir conduclfll;
              ((I BoJTOWn lw the full Jl'llwer mi authority lo eJ<K\lf1, 4-lh'tf 3.lld ptrlmm ill tnn.iadfolU tllllltmpbted by thl:i I.Gm
                  AP'ffll)ttlt 111d tho petfim:naMe of :md. complim« with the. tums o! this Loan A;aemud: will 11<1t \iohht the. Borton 's
                  orgm!.ntioml docmntn.!~ orC<11Utitute a dtb.ult oflll)' ~nlta~t, ll!ftelll!J)J or other i.D.$f.mmQt 10 which :So11owu a   u
                  party;
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              (g;) J;iotTQ'l\lf bu daly .IU!ho!U.cd tht u1~on, ~uy and pwmwiet oNili Loan Apummt and ha.s duly utCllttd and
                   deli\m:d this Loan AgrHmt.11~ and tb4 Lom A~ co11.1~hlttJ a ltp.I, \-al.id and bindinr obligation of tht
                   !lolTI)'lm', WQfe:ublt apimt it iA ace:otdlnct witb ib ttnus;

              (b) !ht.rt} iii DO aclim:i, suit. p~eeding or m\"Htipri.oll P61:1d.U:i: or' to Bol'l'OM!l's bowlfd&e, tlimtutd :.ap.iiut or al&cti.niU
                  or ll'IY of it5 a.mis lldoM or by my 4:0wf or other gO\'tl'llllWllal authtiri.ty wbieh, U' cldtmilned ad\·mtly lo it, woula
                  ha~u maltri.ahd\"4t:!Ultett on. Its fuwlcW colldition, b~ums or ptoipeds, or the \W of the CoUitml; and

              (i) Bol'fGvm mu pro\idt i.11)' lilmi:Ul infollllltioA Oil nqaut or pmnit u nmimtio11 ot its books a.nd records to pttlllit
                  Ltn~r f<> confirm Borrower's ability to pay ih ObliptfoD.S and all othu fi11.u1tW qbliption.s.

            9, DlfAULT1        On    lht    hap~          ot any of the foUowinr evut:; (uch an "&ut of                                  Defawt'~:

              (a) Wlv.n1 by Borrowu to pay any 'l'>'ffllly or oihtrpayment required by tbll LOUI Apem!llhrhen dui;

              (b) tail.ure by B1111ower to obsm-e, ptrl'onu, ltep or abide by any tum, CGVtJWlt or condition aon~ in this Lou
                  AgrHmtnt or my othtt doc11111w 11r imbumml gi\·t.11 lo Lelidu in colll1ilctloll with or l:llh!ed lo th.is Lolli J\jre1U1111D.t,
                  indwlinr :any tNl esbtl l'Ml'lpJt, m:urity auwnent or uthtr 1petmt11t or dacu:mmt now or hcellfttr t\idl!llci:tie, ot
                  crtati!lg 111.y !lf:C'llrity&r tht1payi:t111llt otthiJ LoanApeemuf;

              (c) the. filing of ll bnlNptey proctedinr, nsipiment ror the be1111it or crtd.iton, UW'1\Ce ot I Judp:wl! •xtcuiion,
                  ~ or It\')' apiMt, or the appoi:otmu.I ota repmentltlve of ii.II)' kind for th• commm~uqent of uy proiiee:diiig
                  !err.it.£ !om Ui.de'bt~us by ot 1piiut Bomw.1.1;

              (d) the lup,llilia1 of :mr t\'U~ '1.ii.tch, in die rwlllllble judgmul oi'I.Andet, ;ulnrsely affects. Borrotl'lJ's J.bility or th
                  .ibility of any pm:ritor of Bonomr's Oblip.tlollS 1111du !hi.$ Loan Agmmu.t (11Crtunn1or") lo repay Bt11TOl\'V1 ~
                  Obliptions, er lllJ.tuially affecb the \...Jut o!'the Colla!ml;

              (•) 3.11)' writttD reprenuta!ion, 'l:a!tmtnt or wamnty madt to Lw:ler by Borrimw o~ illY Gu.111.ntot is unlro.e or is bm:Wd;
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               (f) the    oi:cumnu or (l) a default tmder my guuuty of Bom>nr's Obli4atioiu ('Gti.v-mly"), or an;.r other d~ or
                     instnimt11.t p\'ell to Lendt? in COilll!i:lion with ot tmltd 11' tbh Loan Ag:reemlll, or (ti) aii e<.'e.til of default undu my
                     o~r loa apwiltnt tltaHlono'll'Umay hl\-e with 1ny olhw leiid.i;

               (r)   a.ii)' Gumnty :is m'CS:td or btcomes unenfottffbw for lll)' ttll$0n;

               (h)   wdu, upon tx.aminatill11 of Borrowu's fmiueid in.foniutfon du:rii:ig Ult t1Ui:1:1 Clf thi5 lom A,l!l'Wlltllt, becolll.I, wKlllt
                     in Bl.lll'Owu's abWiy to pay tb.t OoUgatiol!S,

           Lendu, at moptfati, witlur11t nolic• or cWmAd (uctpr as required by appliciblt llw), may (A) d~cl.ue rhe v.tiHi 'Gl.Plid bal:2.1.1e:e
           of lll Oblipliom ll.lldtt thi5 I.om A~eemeo.t or othu 1get1111nh l.m.mtdiattly due and payable, a.ad WU h.n-1 the npt t<t
           proe:ttd to ~oiled such ObliptiollS under ;pplic.ble lrn- a.id Cllfotte Us f'i!hti llllm .my Guatntty. md (B) p10cud agWul the
           CoUatml and Any other col.blml murin1 any obliption fC Lcu:idu u it said collatem s~ th.e Obligation.,, as pennitt&d
           under tU :ippliilabl1 Ur.iionn Com.me.relll Code or my olhv BJ>pliabla law, As permitted 1llldu ~ Uni&m11 Com.muciil Cob,
           Lindt:r may ti.k6 JIM'll!Ui.oll of Colhtml withm nolict or heuiiir, v.·hidi Borrower WU\'H, ad upon demand, Boi:ronr $hall
           ammblt I.ht Collitml itid 11111b it available to Lender at any C:OllVWint pl.m d.esipated by Undv. Lu.dee's re<:eipt 0£ uy
           ptymt.11t atw thi ll~ct of~ fa-.nt of Oehult. whtlhu or not tba OblipliOllS h.i\'1'! bet.n ac-ulmftd, sb.all 1101 collOl:itutt i
           tn.i\'n oflht dlfault or of unidu'' ri~ or fl!D!td.its tlJl()ltsuch deb.ult, inclur1Ui1 Ludu's ri.;h.t to a~<:eleute lhe llllP~d: b.tluict
           of tht Obliptioru wl pun'llt tolltttirni Ihm.of, Ell!(;tion by leudt.r to purnia or \\'ai\'I! my remedy shall not excl11de pursuit of
           any olher Rllledy,

            10. fflW:CTIOf~ OF (;OLLATERQJ1 MfD PLACT OF BUSINESS: Lender .uid wder's npmuitatins and a4e.nb $blll
            ba\-e tbe riPt at UI.)' rtuom:ble time or times to iluped th.t Collitenl 'l\'f:iem:u loe1tfd and the mteri.or md ut¢or of 2.11y
            Bomin'U place ofbusius.s, uid Bol'JlmW shill mist Wdu and its rtprHtntativu and .ager.ta: in milinr my such lnsptdion.
            Duriagu impemon of my Bo1TOl\V p.h~• (If btui.o.us, l.tudv or Leo.der's n:prese.o.lllliw.s and agllllls ll.li)' e.IWl2.ine, amonr othl!r
            things, whtthl!rB01Iowu (j)hls a platt ofbuwm.1 th.1t ~ sepml.t :&oQI anypencwl midtncie, (U)hopmlorbtuin!s:s, (iii) hu
           sufficiW iDsen!osy and.lor 1Wf to co11dud Bono\\v's b~s alld (iv) ha.$ one of IW)ft ~t cud tennln.ili or Point ot »l•
           !l)'ltetns if Borrowa procts~ credit ~.ud tmu.aotio~. When pe:tf11n:®lg an in.spt11:ti0:11., t~nde.r or Ltndu''- npmerib.th'-' ~lid
           13t.11h my pb.otoanph dut intuior and c:duior of uy .Bomn,,'tf plm e>f biuluts, including my si~&t. Any phlltopaph will
           'bti::omt llld numi.11. die solt pto.PtlfY otl.4.ndtr a.ad 1\ill be shared mtb Ltnde.r's employm; repre1t11t:&tives and apatt. BDmrntt
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            modifl.td npme11btioru1 for all ~Sf4, wilh L!a4u1$ wpl~, repruutatives ll!ld 1gms. BoITO'll'V apffS to re.imbum
           Len.du for the col1 oftht Wplctions dmtt'l>td. in this SIH!ti.Dn 10.

           11. EYALt'ATIOt{ Of' CR.J!;l)ll: Bom>\\'tf illlho.Ws lUldu to obh.iii. busi:iion and pcrsoiu.l credit bure:ru xtpom in
           Bolffl\\'U"1j namt, at all.Y time a.ad ftom tiva to time for P1U110$M orde.cidinr wbalht.rto :ippm-e the Hquuted hu.$UlOS lo1n Cir tor
           ~ updtl~ Wl4:11'1), extwioa otcndit orothu hr.it! pwpo$11, UponBorrowu's l'l-fllltit, lwl:enill ad."1.$11 Borrol'rvif'~
           obtalud a lln!dit fl!Ptlrt a.ad Lender "'till gn"f Bomrwu tht crtdit buruu's llll:le and uldte~. Bo11ow1r apfft lo ~b~t cumat
           ~l infomalion., a new cmlit appli~alio11, or botb, in Sonomir'$ Jl3.IM at any titne proJJJPU)'eyon l9lldtT'$ uqtwt.

           u. AilOgNE,YS· FE.ES. COLtECTIQJ'$ costs M'D RQif.JU"DIDOO\j' Mll OF WlU:ST1 In the l!\'Ht Ltndtr
           rel:iin:; cott11S4!l mth 11sptct to e.o!nrctmut otitt rights UAdu this lo:m Agm:ment or :jrly o!W doC'llllluit 01 ~given to
           Wdv, Bolfowtt l'1'!U to p1y ill l!.qlwas ofltode.r hi eiil'otcl!if i!~ riahts to C.tJllecl thi Obligatiom or in bl:i.iig pcm~stou,
           holdinr, prtpui.ti1 Cot dlipohtio11., ind dhpr»inr; olth• Colla!v.U, illclading le.adu'!! l'l!UODJ'blt aMmys' fas (wlitth!r or not it\
           idi11n. is com.t11Uced .a.wl whedw or Ml in the court of cri,gi.lllljvrl$dktio11, appelht& court, bar.li:niplcycomt or othmvise} :Jlld Ill
           colits of collttlion. of my judp:w:it 11tld any oom of appeal, Ia the nt11l this· Loaii Airummt is brou,ht lo a .htdJDit11t, intuest
           WJ.l accrn• at the inltmt nle set fbrth in Section 2 abo\'t UDtil the judpunt h utislltd, attpt as prolu'bit:td by :ipplicable b.w.

           l3. $M.E OF LOAN AGR.EgflIB!fi1 Thh lom Agnemt.11t, or u illluest IA this Lewi A!lflm•nt, fQ&~ with thti righti to
           the Col.Utml, may bf sold, assiped, ~ tr .CO:ll\'A)'e<l &y Ltwl.u Ont o: mott fimu.

           H, F\]il.ffi'lFICAnoNt Euept f/Jr Lu.der'lS muJb.l ma(Os:tduct, Dorrowtr will in~· ~nd u,-. ~er hnmlus &om all
           lo~, ~05lt,      dJnu:p, liability or e:-.'J'IWH (im:ludil!g, mt.bout li:rnlhrion. court co~n md nlMOllllble 1lrorney:;' no) that Leudu
           may :rustain or bl.M by Nl$CID. ot de.tendin1 or pt0h!ctiilg Ltndar'::i mmify wtuert or tfit priarity thtnof or ui!ordnJ ii$ ri,ghls
           to collt<:t the ObUplioll!I, or in thn pro~tcnti.on or deteme of any ;iclion or pro™-dirlg c-oneulii.Dg my mat!U' JlN~ out 0£ or m
           CQAlll!':liO'll. with this loll!. il1ntu1flrt and.lot any Olhtr doC1UIW!b Cir i.nstrum.e.t!I: !IOW Or he.m.ftu fl!ll:ll'led mconnection. mfh
           ttii.s Loitll Apemem: illl:d!or !he Obliratfom: andlor the CoUatv!'llt This indua.ni!y sh.I Usur11h'll the repa)'lntl!f of tht Obliptiom
           lUld tM tumln.ation ofthis Lou AP'ffWnt.
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             (b) Thi.ii Lo1in A~ may not bl!I modified orallyt iUld w.y 'be madifid ollly u~i:i v.-ri!Wl. llfHmtlll signed by Lender,

             (c) Lend.tr is an FDIC lA®'ed, Wiscon.Uu sillta ch.utitttd bmk Mid diis Lnn Agre11111e.nt is ampmd by Lend.u in Wisi:o11SiA.
                 CONSEQUEN'ILY, THIS AGREEMENT Wll.L BE GOV!RN'ED BY ll!Da.AL lAW APPUCABLE to AN FDIC
                 INSURED INSTrruTION .AND TO TH:e EXTENt NOT P.R.IIBMPIW BY l.1l!DERAL LAWt THB LAWS OF THE
                 STATE OP WISCONSIN Wl'lliOUT :REGARD TO CONFllct OP LAW R.ULES. The ltplily, W"orw.'tiility ud
                 i.ate:rpRllfiou of thU Attttmsnt i.11.d the amounts col:lln~ted tor, clwpd and. nsm'l!d U11de.r !his Loan Atnemenf will be
                 go\•emtd by ntcb laws.

             (d) Borrowtr ~d tender ill'ff llut any action or pmffding lo tnforc. lll)' righu or obliptions arising out of tlW I.om
                 AgtWJ:1tDt iii.ill bit r:ollU!lw:ed ehlltt in Wuooll.:iini New York or tha state: (or commonwtallh, as the we m1)" be) of
                 801T11wv's add.it;s st!' ti:l.t1h in Stction l ab!TIO"e C'Bomwu't Sute'j Md Borrowuwai\"u penoml :s.e.nic. otproms
                 and agrees tbtt a S\l.ll1lllOUS and compblnt commeac!bg u action ot protudinr .ill. any S11ch court $hall oe propuly
                 se.t\'ed J.nd collfu pt.nl)!J<\'l jurisdiction i£ sm'ed by tegi$ftted ot l}QrfiliM mill tn Borrov;-er at the addms sptcl!td by
                 Bonowu ab1.we in Sec:tion l, ar as 01lil!l'Wisf: pro\ided by the law.s of the Statt ofWJ.ScomiD, the Stife ofNew Yoikt I.he
                 Borrower's State, or the United Stales of Awriea. Bonower and I.tndar agil!ll th.atvenut: is pro))tr in such coarts.

             (t) Without aiteclin1 the liability ot Bol'l'ower or any Guarantor, Umfu may acctpt puhl p1ymllll:!; mJd<ed •in full" or
                 otherwise, WUH or impair a~ Colh!enl or aBmt not to :me any puty liab)1 on !his Loan Apeement willio111 wai\'iug:
                   anyo£iq ri,;bn ~du.

             (t)   Pm1111mtll.4 protest, demand lltd notil:e of di:sbouor are wah~d.
             (IJ) Witl111ut afreclin.1 the liability of ltl'lY Guarantor, kadu may From time to time, witlu:iut no lice:, tllUtw or mend the linui
                   forp~t,

             (h) Bomiwer expr~tly :agrees that tha inttmt r.1.111 Ml t~rth abtwt in S«lion 2 is appropria~ Wldtr the cimurulutW :&tld
                 ~lull be the applicable r.alt .u which llllpaid Pnneipa.l (and CoJI$, ::is d1intd below) shall bru inruert undM tbU Loan
                 AgreemeJ111 .uotwithml!.ding an;• rate 0£ inttmt prts.m1Jtd by m~ from time lo time;~~ if
                 1Ul..6Jlmad ofa.uy piovisi.or.s atdih tom Aflllt.lllt.ll.I or :my olhu Uutromuit s.tM'iqtha Oblipti111» is subject fo 3 b.w
                                                                                        u
                 that stfs muimum inlemt 1lltes or othe:r ch.ii.rJU, and tlut liw tinally intup~ted so that the mttrut or othu fw
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                 &o111- Bmmwer th.it meed th! permitttd li.w.ib mll b1t ntundtd. or Q"edited to llo!Wwer and the oblipliOllS created by
                 this Lom Agrwnent shall be Mfil1ed to Iha 1inl.it ofruch \'alidity u is pomi!Wi by law.

             (i) Borrower sh.all ]mp 111111 Colbtenl ud Lmde.r'$ i.otutrt iu it~ wdv polic.iu with SW'!h pm-Uioiu, for $Uch
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                 hi.nuance "tis:fJ.ctoQ' to Leadei upon wi.uert. l3ort01\'U :u~JPU (aad dincts a.tty wum to pay) to Ltndtr !:ht proceed:!
                 ol;all mch iaruanc-e and Joy pmnlum refund :a.nd allihorizu Llllldtr to endon.e in the nawt of Borrower any instrument
                 for sttch pto«ieds or rt.funds md, Jt U.. option or Ltndu, to .apply such}lfocem ;uid Ht\ulds to .any UllPaid. b.danu of
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                 antborized, ill the nam11 otlh1nowu or othtJwiH, lo male, i.djurt an.d/o: sttd111 clai.Dll U.lld«r my insurance o~ tha
                 Collatitill, or cmcel !he ~ii.Ille at'tu the omi:mnu of an !\'tllt orDef.ault.

             (j) U Borrowu faih       to pufonn my of BoJTowu's dutiu nt futth in this Loa11 Ar;reeme.nt or in any e\idmee of or
                   dQ(Ulllt11t rW.tinr to lht ObligatiOllS, l.Aidtr is authorized, mllom'im's naw or oth~, 1o take a.D.Y such adio11;
                   inclnatbg, wilhout llinilation,. dJlllA1 Bomm'!ls IWXll! or pa)io1 3:11)' amowit ~o reqttlred, and the oost ("Cort'~ shall be
                   one 0£ th1 Obliptiooo SllCWf..rl by tfis Loan Ag:R!Ulltnt i.11.d shall be pay.i'ble by Bommv upon Undu's d1m111d with
                   intuul at tbiotered ntt. set forlhbo\•t in S'e<:lion 2 from lhf claw ofpi)'UWlt by Leufo.

             00 Bommw re.tum l.t.Ddu &om ;my lb'bilily for il.l)y act or omission 11:latiDg fo IL.11 Oltli"tiotu, tht Co!Jatml or IW
                   Lom A~ mept Usul1i's willful ml!-COnduct.

             0)    lm'Jliclily or untllioN112bilify a£ any provido~ of thU Lo:ui. A~t shl.l 11ot ~t th. validity ct wf01ceabilily of
                   any other pm-Uion.

             (m) The ttnm of this loan Agr~~ shill be bindin1 tlp(lll. Borrower and its perm(fttd succtSion md as$1gn$, and shall
                 inure to lhe btntfit of Lender and il5 SUCCUSOH an.d mirru.

             (11) Stitmwtt ackn11n•ledg:tJ tlut a btoku i:nay m•'t net.ired co111pensation in C:OllIU!cliDn with dW I.om A:mnuint.
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 148 of 189 PageID 219




            (o) Any oftht Borrowt:,Lendu or aGum.atorm:;iy UDOII to ubilntt my or ;ill dbpum and claim.3 arising: out of or1tbliD1
                to !his Lo.m Apff.llitJlt, the~· or any ot!iu nlmd dOC'llmw. A cl.ai= i:adudes wttm a.rilill1 ai m ir.itii.l claim,
                countt.r-i:hlm, cross-cl.a.Un, thlltl-party <:Wm, or o~e. IEthe Bomlwu, Lendu- or a Gu.mn1or thoosu to litigahl uiy
                disput11 or cbim :uUiht oul of or 11!.alii11 to thi.s lom Apeemen~ the Gu.:tnnty or my relmd documw tbxOllgh a judicw
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                may them I.Ur iiwokt iti arbitration rirhts at any time btf4re 111.y discovery is hbn mtU judici:d amon. Ir the Borroinr,
                l.e.lldet or a Guannlor $tW to have 11. dhpute resolve-cl. by :ubitratio11i tbt party must fir.st saud to tht olhet p;ui)~w) by
                cuti.11~ llUU, a writtl.ll. Noti~e ot bttnt to Arbitn.te. It Bonomr, ltiidar or a Gum.ntor do :not mcli om agn:emt11t to
                re:;oln the claim within }() da)"ll aftu tilt Nati~ is reoo\•ed, a:ny puty WY tommeuc. m a.rbitntion J.>IO«tding wilh tlu!
                Amuican Miln.lio11 Anociatio11.        eAAA").       ludu will promptly rtimbur..t Bt>mllrtr or the Gum.cmr any .ubilratfou
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                Gwnator or th1 rtli•f $OU&ht by J3omn-u or a Guamlkir is im}lrop u or not wamrmd, ~J mmmed by Iha mud.uds set
                torlh in Federal RWt of Proce.dure ll(b), the.a Ltndu MU PllY the adm.inistnti1111 or a.rl>ltnlor Im oaJy ii'tt<ttdted by !ht
                AAA R:oles. lfthe ubitntor Jl'\l.Qh relitf fo the Bonov.v or :t Gumntor that b ~I to or greater l.bm tb ''11ue otru relit£
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                £or thit pllty'it reiuollltble atlomt)'i' ftts and ~~1 incumd. for ihe a.ibilntioo. BORROWER AMD LENDER. AGUE
                THAT BY EN!ERJNG mro lHJS LOAN AGREEMENT, BACH IS WAMNG nm RIGHT TO tR1A1. aY JURY.
                DOR.ROWER. AND LENDER. MAyBlUNG CLAIMS AGAINST ANY orm PARTY ONLY 1N nmIR.l'.NtlIVIDUAL
                CAl?AClTY AND NOT AS A PLAINTIFF REVR!SBNTATIVE OR. CI.ASS ~lEMD!R. IN ANY PURPORTED
                REPRESl!NTATIVE OR. CLASS PROCE:EPJNG. Fnrihu', Bo1T0wu 111d Lender agtt l:bat tht a.riiitr.stor may not
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                 Arbilnlion Act C'FA.A;, and nuy bt t11t1nd and en!orc.abt. ;u a judpDl!lt in .111y tourt of campt~I jurisdktioa, il:ieludicg
                as a judp:nl th.at~ Le.nderto inimt! or complete th~ umi:st ofils te!lll!dil\S a~~ or ill reali.utio11 or tor.clol'lllt
                 upon, ai:iy collalml or Sll:llri!Y pl\'l\ide.d &r tht bme!t of wdu. T~ atbhntioll provision. is l'llllta p11:m1.aat lo a
                 lra11.uctio11 in intentatt cot!.mlt~-. and shall be goi:urwl Q)' the f'tdcnl Atbitniion Ad at 9 U.S.C. Section l.

            (p) I.a. order to wurt a high q;oillly of $tl\ice far L!.11dtr'$ ~lomm, Wdtt m.y mocltot and.'or ffi:Ord tekphon.e Wh
                bel:w!tl:I Borrower and I.wlu's tmployeu Borrower aclmowlid~ tJm lander wy do $0 and am~ in adVill!Cl! to ui.y
                  ~ monitori.ri1 cir rKOtding of lelqbe1ne cilltt.

            (q) Bon-Dwtr aulhorius Lender and Lf:Ddu'$ affili.:tt(\$, lt&em andind•J>flndenl co11!ncfo!'l to ~ontacl Botto\WI" at any ttlephone
                  nnmbtt Borrower pro\id.lls to Le.ndt.r or &otu "'~h Borro;.rtr places a ~ill to Lt11du1 or my t1ltphone 11umbu whut
                  Lender belliins it IIl3Y mch BolTO'l\'tr, 1aWf any IDlllM ot cotwnuni~dioni iocl11diog, but uat limittd lo, c:~ or fut
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                  busir.11Ss by eltctn>!W: amm.

            (r)   TO TitE ID.'TENTNOT PROHIBI'l'lm 'BY APPlICABLB LAW, BORROWER.AND LENDER WAIVE lHEIRlUGHT
                  TO A TRW. BY JURY OP ANY CLAlM Olt CAUSE OP ACTION BASED 'UPON1 ARISING OUT OF OR RBLAT!D
                  TO 'IlilS LOAN AGREEMBNt' AND ALL OTH:Elt DOCU'MENTAnON EVIDENCING 1HE OBUGA'llQNS, IN ANY
                  LEGAL ACTION OR.PROCEEDING.
            (s) This Lom Ap;emmt may be utcut1d in ont or mrm1 COU!l.ttlparts, mh ot which counleipub ~bMl he dttmtd to be an
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                Agrwnmt, t!ladrwuc: or t.u: $iputu.ru sbaU lit btattd i.u all rtlllects as origllul dgmtur\U,
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 149 of 189 PageID 220




           PRIOR TO $ICNlNC TlD$ LOAN ACREDU:NT, tlORROWER READ AND t"NDER~'TOOD At.t OF TUE.
           PR0\1SIONS OF TBJS LOAN AGREEUE!\'T. AnU. DllI CONSIDERAUON, Ar-i'D TBE OPPORTlThID' TO
           CON.Sl.11..T mm OTBlR W'DUS Al\1'D AN AUORh'"E\', ACCOUNTANT OR OTRER COUPETENT
           PROFESSIONAL OF rrs CHOI(?, BORROWER KNO\\'lNCL\\ WILLFULLY :\.\'D \'OLU't\l,\Ril.Y A.CRIES TO
           T8E TERMS 01 THIS WAN ACWME.1'1:1.

           BORROl\'ER ACKNOWtEDG.E.S ucmr OP A:nus (:OUPLETE.D AND EXEClJTED \"RRSION OF um
           LOAN ACREE.MEN!.

           BORROWER• Fl.nt Nnt!oult .Soloriollt L1C
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           Ttllu_ _ _ _ _ _ _ __



           :BORRO\\'ERt Athice t111d Lit• Croup LLC
           B11 _ _ _ _ _ _ _ __


           Printed. Nilmt1 - - - - - - -
           Tlllt1 _ _ _ _ _ _~--
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 150 of 189 PageID 221




                                                         Exhibit 2A



          Al.L THAT CERTAIN lot or pfece of ground situate in the Clty of Sarasota 1
          County of Sarasota, State of Florida.
          Lot 62, SOUTHPOINTE SHORES, Unit No. 2, as per plat thereof, recorded
          in Plat Book 10, Page 68, of the Public Records of Sarasota County,
          Florida.


          commonly Known as 7614 Peninsular Drive, Sarasota, FL 34233
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 151 of 189 PageID 222




                                                     Exhibit 2 B

             eBEMISESA;

             ALL THAT CERTAIN lot or piece of ground siluate In the County of Sarasota, State of Florida.

             Lot 75, Oaks, accordln!l to the plat thereof recorded in Plat Book 28, Pages 48, 48A through 4BS,
             inclusive, of the Public Records of Sarasota County, Florida.

             PREMISESB:

             ALL THAT CERTAIN lot or piece of ground situate in the County of Sarasota, State of Florida.

             Lot n, Oaks, according to the Plat thereof recorded In Plat Book 28, Pages 48, 49A through 4BS,
             inclusive, of the Public Records of Sarasota County, Florida.


          Commonly Known as 74 Sugarmill Drive, Osprey, FL 342291 and 82 SugarmiU Drive, Ospcey, FL 34229
 Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 152 of 189 PageID 223


  Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                                                                                             INSTRUMENT# 2016038714                      1   PG{S)
                                                                                                            4/1/20168:41 AM
                                                                                                           KAREN E. RUSHING
                                                                                                     CLERK OF THE CIRCUIT COURT
                                                                                                     SARASOTA COUNTY, FLORIDA
                                                                                                SIMPLIFILE              Receipt ff 1968400



                   Prepared by: World Business Lenders, LLC.
                   Addresll: 120 We$t 45•k. St191h Floor
                             New YorJii NY 10036


                                                   ASSIGNMENT OF' MORTGAGE

                   KNOW ALL MEN BY THP,SE PRESENTS that Dank of Lake Mills, for value received does
                   hereby sell, assign, transfer, set over and convey unto World Business LendersJ LLC at llO W.
                   451h St 29'11 Ftoor1 New York, NY 10036, all ofits right, title and interest of in and to that
                   certain Mortgage dated the lfil.h day of March, 2016. executed by Ylnswt W. DeRamo and
                   Tracy E. DcRamo. and coverlng the following described property:

                                                                      Exhibit A
                                                                   Legal Dtllcrlptton
                   ALI.. THAT OE!l\T AlN lot or p!el'le ol groond slltmle hi the Clly or Sarasola. Counly Qf SwawU1, State or florlc.!:J,

                   Loi 62, SOUTHPOlNTe SHOR~S. Unit No. 2, fl3 P'lt.Plal lheroof, 1eoordad in Plat Bodi 10, Page; 68, of Iha
                   Pubffo Records of Sarasola Counly, rlorlda.

                   flled fot record on the 23rd day ofMnr£h, Wj. as Instrument No. 2016034543 recorded in the
                   Official Records of~ County, Florida, together with note debts and chums secured by
                   said mortgage and the covenants contained therein.
                   IN   WI~ESS WHEREOF,                .    &an_k.       &~ f.ttfi. f\tl ls                               has~
                   this ~nt                         its f!:Gb/ ,,.1;t
                                    1be signed. byJ.l>l                               1"   ffui\"           heretQ this     4
                   day of         r-c                      .




                                1c                                                    My Commission Expires          J ,. jil"f>. .. ~
                        1,t,·c#riv.. e,.".ttcn.
                                                    VICTORIA t!RITTTON
                                            NOTARY PUBLIC. $ta1(1 of t+aw York
                                                  · No.01MA5Q32136
                                                OunlHletl In Nti/I York Counw   'eJ
                                            Com mis si~ o Exp1ras Aug, n. 20 iJ
                                                                                                                                                     EXHIBIT




Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 153 of 189 PageID 224


                                                                                              RECORDED IN OFFICIAL RECORDS
                                                                                            INSTRUMENT# 2016038714 1 PG(S)
                                                                                                               4/1/2016 8:41 AM
                                                                                                          KAREN E. RUSHING
                                                                                                   CLERK OF THE CIRCUIT COURT
                                                                                                    SARASOTA COUNTY, FLORIDA
                                                                                              SIMPLIFILE:             Receipt# 1968400



                 Prep1ned by: World Business Lenders, LLC.
                 Address: 120 Wed 45°1• St 2911t Floor
                          New Yorki NY 10036


                                                       ASSIGNMENT OF MORTGAGE

                 KNOW ALL MEN BY THBSE PRESENTS that Bank of Lake Mills, for value received does
                 hereby selk assign, transfer, set over and convey unto World Business Lenders> LLC at 120 W.
                 45•h St 29 Floor1 New Yol'k1, NY 10036, alt ofits right~ tltle and interest ofin and to that
                 certain Mortgage dated the !§lli day ofMarcb. 201~, executed by Yin'!ent W. DeRamo and
                 Tracx E. DeRamo, and covering the fallowing described property:

                                                                       Exhibit A
                                                                    Legal Descrlpttun

                  All. THAT Cllftl AIN lot or plelle ol gr01Jnd ~l!!Xtle in the Cily or Sarasota, County 1.1f Sat<i$ola, Slate of flotld~.
                  Loi 62, SOUTHPOlNTE SHORElS, Unit No. 2, 8' per,plal lheroof1 reoorded In Plal Book 10, P~e 68, of the
                  Pub~o ReCO(d$ of Sarasola Oounly, f'kirlda.


                 filed fo1 record on the 23rd day of March, !!U§, as Instrument No. 2016034543 re4.l-Orded in the
                 Official Records of Sarasota County, Florida, together with note debts and claims secured by
                 said mortgage and the covenants contained therein.
                 IN   WI~ESS WHEREOF,                    .    6ari k   l> ~ L~J:t f\tt ls
                                                                                                                           has~
                 this ~leilt ~be signed by its                  1f!4!rozt. . . ;I\""&if                      hereto this_//,
                 day of..I.~·l't    ~-' ~ f> l                       .




             ...__L'ilat.alll."'l"f1hl C                                                My Commission Expires ] ,. ?"'~ ... fi
                      lt1·t#riG\           jr.:.H0"·

                                                       VICTORIA !lRETTON
                                               NOTARY PUBLIC. $ta12 al t-lswYotk
                                                    · No.01MA5032136
                                                  Qualllled In Nefl ·rork Ct11rnt'f ~
                                               Commission Expire$ Aug. 22. 20 iv
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 154 of 189 PageID 225


Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                      4610 Ashton Rd. 1 Samsota, Florida, 34233                            I36E. Madison St., Lake Mills, WI 53551
l
!
                                                             Disbursement to Borrowers:

                                                                    I     $87,000.00
                                                                                       I
                                                        Tltls amount is to be disbursed on 3/25/2016
                                                                           Feest
                                                                    [     $4,215.00
                                                                                       l
                                                            See Itemization orl attached Page 2
                                                                        Adjustments:
                                                                    t       so.oo      1
                                                           See Itemization on attached Page 2                                         {


                                                                    Loan Amount:
                                                                    l s91,21s.oo I
                                                           See Itemization on attached Page 2
                                                                   Interest Chante:

                                                                   I      $67~170.81
                                                                                       I
                                                            See Itemization on attached Page 2
                                                              Total Repayment Amount:

                                                                    I $158,385.81 l
                                                           See Itemization on attached Page 2

       Payment Schedule: 251 payments of$628.52 due each "Business Day" commencing on 3/28/2016 until 3/2712017, followed by a
       final payment of $627.29 on 3/28/2017 when any remaining outstanding Principal, interest nud other unpaid charges shall be due
       and payable in full. "Business Day" means any Monday through Friday, except Federal Reserve holidays. The period commencing
       on 3/28/2016 and ending on 3/28/2017 is referred to as the "Repayment Perlod! 1
       Prepayment: Borrower may make a full prepayment of unpaid Principal at any time accompanied by a prepayment premium.
       The prepayment premium will be equal to the greatet· of (a) fifteen percent (15%) of the amount of the unpaid Principal or (b)
       the aggregate amount required to be repaid by Borrower to Lender during the Repayment Period reduced by the sum of (i) the
       aggregate amount of any payments made by Borrower to Lender prior to the date of such prepayment and (li) the amount of the
       unpaid Principal.
       Charges: Returned {NSF/ACH) Payment Charge: $35.00.
      *If there is any conflict between the tenns of this Business Loan Summary and the related Business Promissory Note and Security
      Agreement entered into by Borrower1 the tenns of the Business Promissory Note and Security Agreement shall govern.
      Borrower hereby acknowledge(s) reading and understanding au of the Information disclosed above, and receiving a
      completed copy of this Business Loan Summary on the date indicated below.
      Borr \\je¥fil~~~~iily1 DeR¥Jl01Jnc,        .l
             VllA.(.().A.f UJilUlU"- Vl- Ul\\6   Jf',
      By:-"-=::z'J:8fJ:/~~~--:-:~-
      pri nted N      V1 ncent Wi 11 i am De Ramo Jr,
               . ame: ----~-
      Title: president

      ReRd, acknowledged and accepted This Day~ of Month~ of Year~.




      Rev. Sep 2014                                                                                               J> age   II
                                                                                                                                     EXHIBIT




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   FEES                               Description                                                                Net Out      Capitalize
   Processing Fee                     Fee for loan processing                                                    SO.OD        $795.00
   Notary Fee                         Fee for notary to witness. mortgage signing                                $0.00        $0.00
   Courier & Wire                     Fee to deliver documents and wfre fund                                     $0.00        $0.00
   Settlement Fee                     Fee for settlement or closing fee                                          $0.00        $0.00
   Title Exam Fee                     Fee for title examlnation                                                  $0.00        $0.00
   Business Inspe<:tion               Fee for inspection of business                                             $0,00        $0.00
   Estimated Title Fee                Estimate of Title Fees                                                     $0.00        $4,000.00
   Residential Title Insurance        Fee for residential property insurance                                     $0.00        $0.00
   Commercial Title Search            Fee for commercial property lien search report(s)                          $0.00        $0.00
   Commercial Title Insurance         Fee for commercial property insurance                                      $0.00        $0.00
   Closing Protection Letter          Fee for Closing Protection Letter                                          $0.00        so.oo
   Recording Fee                      Fee for title agency to record mortgage(s)                                 $0.00        $0.00
   Endorsement                        Fee for change(s) in title insurance coverage                              $0.00        $0.00
   Mortga_ge State Tax Stamps         Fee for state tax stamps                                                   $0.00        so.oo
   Tax Certification                  Fee for confim1ing if property tax is cmtent                               $0,00        $0.00
   Certificate ofGood Standing        Fee for Certificate of Good Standing                                       $0.00        $0.00
   Broker Price Opinion Fee           Fee for evaluating the property                                            $0.00        $600.00
   Prepaid Fees                       Borrower prepaid fee credit                                                ($0.00)      ($1, 180.00)



                                                                                                          $0.00
                                                                                               TOTAL FEES S4i215.00
   ADJUSTMENTS
   Principal Balance (Refi Only)      Unpaid principal balance on previous loan                                  $0.00
   Remaining Interest (Refi Only)     Unpaid interest due on previous Joan                                       $0.00
   Interest Due                       Current daily interest charge                                              $0.00
   Funds Held it1 Escrow              Amount in escrow to be released upon satisfaction of escrow conditfon(s)   $0.00
   Third Party 1 Payoff                                                                                          $0.00
   Third Party 2 Payoff                                                                                          $0.00
   Third Party 3 Payoff                                                                                          $0.00
   Third Party 4 Payoff                                                                                          $0.00




                                                                                  TOTAL ADJUSTMENTS              so.oo
   BEGINNING PRINCIPAL
   Loan Amount Before Fees & Costs                                                               $87,000.00
   Total Fees (only if capitalized)   Sum of above itemized fees                                 $4,215.00
                                                                       TOTAL BEGINNING PRINCIPAL $91,215.00
   DISBURSEMENT AMOUNT
   Loan Amount Before Fees & Costs                                                                               $81iQOO.OO
   Total Fee.') (Only if net out)     Sum of above itemized fees                                                 $0.00
   Total Adjustments                  Sum of above itemized adjustments                                          $0.00
                                                                                 TOTAL DISBURSEMENT              $87~000.00
   INTEREST CHARGES
   Interest Charges                   Tola! interest to be paid over the tenn of the loan        $67,170.81
                                                                          TOTAL INTEREST CHARGES $67~170.81
   TOTAL REPAYMENT
   Loan Amount Before Fees & Costs                                                                 $87 000.00
   Total Fees (only if capitalized)   Sum of above itemized fees                                   $4,215.00
   Interest Charges                   Total interest to be paid over the tenn of the loan          $67,170.81
                                                          rr~M·"·"
                                                                                   TOTAL REPAYMENT $158,385.81

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    BUSINESS LOAN AUTHORIZATION AGREEMENT FOR DIRECT DEPOSIT (ACH CREDIT) AND DIRECT PAYMENTS
    (ACH DEBITS)
    Date: 03-24-2016
    DISBURSEMENT OF BUSINESS LOAN PROCEEDS. By signing below, Borrower authorizes Lender to disburse the business loan
    proceeds, as evidenced by the Business Promissory Note and Security Agreement executed by Borrower of even date herewith, less the
    amount of any applicable fees, (a) by issuing (i) a check to Borrower or (ii) a check or bank wire to Borrower's checking account
    indicated below (or a substitute checking account Borrower later identifies and is acceptable to Lender) (hereinafter rcfe1red to as the
     Designated Checking Account) or (b) by initiating an ACH credit e1my to the Designated Checking Account This authorization is to
    remain in full force and effect until Lender has received written notification from Borrower of its tem1ination in such time and in such
    manner as to afford Lender and Borrower's depository bank a l'easonable opportunity to act on it.
    AUTOMATIC PAYMENT PLAN. Enrollment in Lender1s Automatic Payment Plan is required for approval of the business loan.By
    signing belowJ Borrower agrees to enroll in the Automatic Payment Plan and authorizes Lender to collect payments required under the
    terms of the Business Promissory Note and Security Agreement by initiating ACH debit entries to the Designated Checking Account in
    the amounts and on the dates provided in the Payment Schedule set forth in the Business Promissory Note and Security Agreement.
    Borrower authodzes Lender to increase lhe amount of any sclteduled ACH debit entry or assess multiple ACH debils for the amount of
    any previously scheduled payment(s) that was not paid as provided in the Payment Schedule and any unpaid charges.This authorization
    is to remain in full force and effect until the loan is paid in full or until Lender has received written notification from Borrower of its
    termination in such time and in such maimer as to afford Lender and Borrower's depository bank a reasonable opportunity to act on it.
    Lender may suspend or terminate Borrower's enrollment in the Automatic Payment Plan immediately ifBorrower fails to keep
    Borrower1s Designated Checking Account in good standing or ifthere are insufficient funds in Borrower'sDesignated Cheeking
    Account to process any payment. If Borrower tenninates this authorization or Lender suspends or tenninates Borrower's enrollment in
    the Automatic Payment Plan~ Borrower still will be responsible for making timely payments pursuant to the alternative payment method
    prescribed by Lender.
    BUSINESS PURPOSE ACCOUNT. By signing below, Borrower attests that the Designated Checking Account was established by
    Borrower> and the loan proceeds will be used for business purposes only and not for personal 1 comumer, family or household purposes
    or to purchase personal, consumer, family or household goods.
    ACCOUNT CHANGES. Borrower agrees to notify Lender promptly if there are any changes to the Designated Cltecking Account,
    including routing numbers.
    MISCELLANEOUS. Lender is not responsible for any fees charged by Borrowers depository bank as the result of credits or debits
    initiated under this Authorization Agreement. The origination of ACH transactions to Borrower's Designated Checking Account must
    comply with the provisions ofU.S. law.
    Depository Bank Name: SunTrust Bank
    Branch: Nashville, TN
    Branch Add1·ess: PO Box 305183 Nashville, TN 37230
    Account Name: Homes by Deramo, Inc.
    Account#10S74000060097
    Routing#: 061000104
    Customer Federal Tax ID (EIN): XX-XXXXXXX
    BORRO          ·ddru!ijlliJJiy. DeRamo, Inc.
                  I t' ..... 1 "'iU.fo.n\
    Signature: ,...._v_1~-~·\f'J
                                           Vt.'°"·
                                              t' •. \.\A
                              _ _ _~f'W'_'_v_JT
                                                             Vincent William De Ramo ~sident
                                             _ _ Name/Title: ~---~~~------
                     ~f~CFE~f'438 •.
           3/
    Date: ~----~---~-~~-




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     Date: 3/24/2016
                                                                   AFFIDAVIT


     STATE/COMMONWEALTH

                                                                             ss.:

     COUNTY OF_~~-



     In connection with the business loan to Borrower evidenced by the Business Promissory Note and Security Agreement of even
     date herewith ("L-Oan Agreement"), Borrower being first duly sworn on oath deposes and slates:

     That the proceeds of the Loan Agreement of NINETY-ONE THOUSAND TWO HUNDRED FIFTEEN DOLLARS AND ZERO
     CENTS ($91,215,00), being fumished to Borrower will be used for business purposes only, and not for personal, consumer, family or
     household purposes or to purchase personal, commme1·, family or household goods.

     Subscribed and swom to by Borrower, under penalty of perjury, this-~ day of _ _~ in the year~·



                                               BORROWER; Homes By DeRamo, Inc.


                                               sy:   (p:::1Tuw1.111 Vt- "-"'6 Jr.
                                                         2!.lM&!WfEgma ..•
                                               Prilited Name:        Vincent Wil 1iam De Ramo Jr.

                                                Title:   president




    Subscribed and sworn lo me this __ day of _ _ _, in the year __.



    My Commission expires:




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     BORROWER: Homes By DeRamo, Inc,

     PRINCIPAL (including processing fees): $91,215.00

     DATE: 3/24/2016

    l. PROMISE TO PAY: Homes By DeRamo, Inc, ("Borrower"), with its principal place of business located at 4610
    Ashton Rd., Sarasota, Florida, 34233 1 does hereby promise to pay to the order ofBANK OF LAKE MILLS, its successors
    and/or as~dgns C'Lender at its offices located at 136 E. Madison St., Lake Mills, WI 53551, or at such other location or in
                             0
                                 )

    such other manner as designated by Lender, the sum of NINETY.. QNE THOUSAND TWO HUNDRED FIFTEEN
    DOLLARS A.t~D ZERO CENTS ($91,215.00) plus interest at the daily interest rate set forth below in Section 2 in
    accordance with the payment schedule set forth below in Section 3. This Business Promissory Note and Security
    Agreement (°Loan Agreemenf') is accepted by Lender in Wisconsin.

     2. INTEREST RATE: The unpaid Principal shall bear interest at the rate of 0.335945205479% per day lmtil paid it1 full.

    3. PAYMENT SCHEDULE/APPLICATION OF PAYMENTS: Borrower shall repay the Principal and interest
    conunencing on 3/28/2016 and on each Business Day thereafter untll 3/27/2017 with each daily payment equaling $628.52,
    followed by a flna! payment of $627.29 on 3/28/2017, when any remaining outstanding Principal, interest and other unpaid
    charges shall be due and payable in full. "Business Day" means any Monday through Friday, except Federal Reserve
    holidays. The period commencing on 3!28/2016 and ending on 3/28/2017 is referred to as the "Repayment Period. 11

    All payments shall be made by automatic ACH debit from the '1Designated Checking Accounf 1 set forth in the Business
    Loan Authorization Agreement for Direct Deposit (ACH Credit) and Direct Payments (ACH Debits) given by Borrower to
    Lender or pursuant to an alteniative payment method prescribed by Lender, and Borrower shall maintain balances i11 the
    Designated Checking Account sufficient to make each daily payment due under this Loan Agreement.

    Payments shall be applied on the date received first to late charges and other charges due under this Loan Agreement, then
    to unpaid accrued interest, and then to Principal.

    4. yQI..UNTARY PREPAYME~I AND PREPAYMEN'f PREMIUM: Borrower has the right to prepay the unpaid Principal in
    full at nny time, but may not make partial prepayments (except as pennitted by applicable law). Any such prepayment of the unpaid
    Principal shall be accompanied by a prepayment premium equal to the greater of (a) fifteen percent (15%) of the amount of the unpaid
    Principal as of the date of such prepayment or (b) the aggregate amount required to be repaid by Borrower to Lender during the
    Repayment Period reduced by the sum of (i) the aggregate amount of any payments made by Borrower to Lender pursuant to Section
    3 above prior to the date of such prepayment and (ii) the amount of the unpaid Principal as of the date of such prepayment. This
    prepayment premium is in addition to any and all interest calculated and accrued on the unpaid Principal as of the date of such
    prepayment in accordance with Section 2 above together with all other amounts then due and payable under this Lo~m Agreement. No
    prepayment is permitted unless all outsta11ding charges are paid fu fl.111 as of the date of prepayment. IfBorrower desires to prepay,
    Borrower shall foiward a written request to WBLPayoff@wbl.com. In addition, Borrower may contact Lender s Servicing Agent at
    120 W. 451h St. 291h Floor, New York, NY 10036 or at 212~29H200 and Lenders Servicing Agent shall provide Borrower with the
    amount of the unpaid Principal, prepayment premium, and any other amounts due under the tenns of the Loan Agreement as ofa date
    designated by Borrower. For the avoidance of doubtJ as penuitted under applicable law, if the Obligations (as defined below) have
    been accelerated on the happening of an Event ofDefault (as defined below), payment of Principal and interest shall be deemed a
    prepayment for purposes of this Section 4 and shall be accompanied by a prepayment premium.

     5. RETURNED PAYMENT CHARGE: Borrower will pay a charge of thirty~five dollars ($35.00) ("NSF Charge'') in
     connection with any payment by check or electronic transfer that is returned unpaid because of an insufficient balance in the
     Designated Checking Account or otherwise.

     6. SECURITY INTEREST: Borrower grants to Lender a security interest in and to any and all property as described below in
     this Section 6 to secure payment of all debts) obligations and liabilities of Borrower to Lender evidenced by this Lonn
     Agreement or any other loan agreement with Lender (11 0bligations"). This is a conlitming security interest and will continue in
     effect even though all or any part of the Obligations is paid in full and even though for a period of time Borrower may not be
     indebted to Lender. The collateral includes the property purchased with the proceeds of this Loan Agreement described on
     Schedule A attached to and made a part of this Loan Agreement en Purchase Money Collateral"), the vehicles and other personal
     property described on Schedule B attached to and made a part of this Loan Agreement ("Specific Collateral") and all other
     Rev. Sep 2014                                                                                            P <i g c ]5
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    Collatcrali is co1lectively refelTed to as "Collateral"), including, but not limited to1 all goods (except consumer goods), farm
    products, inventory, equipment, furniture, money, instmments, accounts, accounts receivable, contract rights, documents,
    chattel paper, general intangibles, including, but not limited to, all products and proceeds of Collateral and all additions and
    accessions to, replacements of, insurance proceeds of, and documents covering Collateral, all property received wholly or partly
    in trade or exchange for Collateral, all leases of Collateral and all rents, revenues, issues 1 profits and proceeds arising from the
    sale, lease encumbrance, collection, or any other temporary or pennanel\t disposition, of the Collateral or any interest therein.
    Borrower agrees that Lender may file any financing statement, lien entry fonn or other document Lender requires in order to
    perfect1 amend or continue Lender's security interest in the Collateral and Borrower agrees to cooperate with Lender as may be
    necessary to accomplish said filing and to do whatever Lender deems necessary to protect Lender's security interest in the
    Collateral. Borrower shall ensure that Lender is named as the only lien holder on the titles to the motor vehicles listed on
    Schedule B to ~1is Loan Agreement as of the date of this Loan Agreement (or the nearest subsequent date as pennitted under
    applicable law).

    Borrower shall maintain the Collateral in good condition and repair and not pellllit its value to be impaired; keep the
    Collateral free from all liens, encumbrances and security interests (other than those created or expressly pem1ittcd by this
    Loan Agreement); defend the CoHateral against all claims and legal proceedings by persons other than Lender; pay and
    discharge when due all taxes. license fees, levies and other charges upon the Collateral; not sell, lease or otherwise dispose
    of the Collateral or pem1it it to become a fixture or an accession to other goods, except as specifically authorized by Lender
    in writing; and not pennit the Collateral to be used in violation of any applicable law, regulation or policy of insurance.

    Borrower .shall pay all expenses and, upon request, take any action rmonably deemed advisable by Lender to preserve the
    Collateral or to establish, detenniue priority of, perfect, continue perfected1 tenninate and/or enforce Lender's interest in the
    Collateral or rights under this Loan Agreement and, further, Borrower authorizes Lender, with full power of substitution 1 to
    execute in Borrower's name any documents necessary to perfect1 amend or to continue Lender's interest in the Collateral or
    rights under this Loan Agreement or to demand termination of filings of other secured parties. Lender has no duty to protect,
    insure or realize upon the Collateral. Loss of or damage to the Collateral shall not release Borrower from any of the
    Obligations,

    7. FOR BORROWERS OR COLLATERAL IN LOUISIANA ONLY:

          (a)      Foreclosure, In the event that Borrower is domiciled in, or Collateral is located in, Louisiana, on the
    happening of an Event of Default, Lender shall have the right to commence appropriate foreclosure proceedings against the
    Collateral and against Borrower.

          (b)      Seizure and Sale of Collateral. Jn the event that Lender elects to commence appropriate Louisiana foreclosure
    proceedings under the Loan Agreement1 Lender may cause the Collateral, or any part or parts thereof, to be immediately
    seized and sold, whether in tem1 of court or in vacation, under ordinary or executory process1 hi accordance with applicable
    Louisiana law 1 to the highest bidder for casht with or without appraisement, and without the necessity of making additional
    demand upon or notifying Borrower or placing Borrower in default, all of which are expressly waived.

           (c)      Executory Process, For putposes of foreclosure under Louisiana executory process procedures, Borrower
    confesses judgment and acknowledges to be indebted to Lender, up to the full amount of the Obligations, in Principal,
    interest, prepayment charges, NSF Charges, and any other unpaid costs and charges authorized by the Loan Agreement,
    reasonable attorneys' fees and all costs of collection. Borrower further confesses judgment and acknowledges to be indebted
    unto and in favor of Lender in the amount of any additional advances that Lender may make on Borrower's behalf pursuant
    to the Loan Agreement, together with interest thereon. To the extent pennitted under applicable Louisiana law, Bon·ower
    additionally waives the following: (1) the benefit of appraisal as provided in Articles 2332, 2336, 2723, and 2724 of the
    Louisiana Code of Civil Procedure, and all other laws with regard to appraisal upon judicial sale; (2) the demand and three
    (3) days' delay as provided under Articles 2639 and 2721 of the Louisiana Code of Civil Procedure; (3) the notice of seizure
    as provided under Articles 2293 and 2721 of the Louisiana Code of Civil Procedure; (4) the three (3) days' delay provided
    under Articles 2331 and 2722 of the Louisiana Code of Civil Procedure; and (5) all other benefits provided under Articles
    2331, 2722 and 2723 of the Louisiana Code of Civil Procedure and all othet· Al'ticles not specifically mentioned above.

           (d)    Keeper. Should any or all of the Collateral be seized as an incident to an action for the recognition or
    enforcement of this Loan Agreement, by executory process, sequestration, attachment, writ of fierl facias or othenvisc,
    Borrower hereby agrees that the court issuing any such order shall1 if requested by Lender, appoint Lender, or any agent
    designated by Lender or any person or entity named by Lender at the time such seizure is requested, or a11y time thereafter,
    as "Keeper0 of the Collateral as provided under La. R.S. 9:5136, et seq. Such a Keeper shall be entitled to reasonable
    Rev. Sep 2014                                                                                      P a g e f6
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    secured by this Loan Agreement.

    8. REPRESENTATIQNS, WARRANTIES, AND COVENANTS: Borrower makes the following representations,
    warranties and covenants:

         (a) Borrower is the owner of or is acquiring the Purchase Money Collateral free of all liens, encumbrances and
             security interests (except Lender 1s security interest), and is the owner of all other Collateral free of all liens,
             encumbrances and security interests, except Lender's security interest and any security interests listed on Schedule
             C. attached and made a part of this Loan Agreement;
         (b) the proceeds of this Loan Agreement will be used for business pul'poscs only, and not for personal~ consumet\
             family 01· household purposes or to purchase personal, consumer, family or household goods. Borrower
              understands Lender is i·elying on the accuracy of this representation in disbursing the loan proceeds and that
              Borrower's agreement not to use the proceeds of this Loan Agreement for personal, consumer, family 01·
              household purposes or to purchase personal, consumer, family or household goods means that certain
              important duties imposed upon entities making loans fo1• consumer/personal purposes, and certain impol'tant
              ri2hts conferred upon consumers, pursuant to federal or state law will not apply to this Loan Agreement, or
              any other document or instrument given to Lender in connection with or related to this Loan Agreement.
              Bonower also understands that Lender will be unable to confirm whether the pl'oceeds of this Loan
              Agl'eement will be used fol' business purposes only. Borl'ower acknowledge.s and agrees that a breach by
              Borrower of the provisions of this subsection 8(b) will not affect Lender's rJght to (I) enfo1·ce Borrower's
              promise to pay for all amounts owed under this Loan Agreement, regardless of the purpose for which the
              proceeds of this Loan Agreement ue Jn fact obtained or {II) use any remedy legally available to Lender, even
              if that remedy would not have been available had the proceeds of this Loan Agreement been used for
              consumer purposes;

        (c) the Collateral will be kept at Borrower's address set fo1th above in Section 1, on Schedule D attached to and made a
            part of this Loan Agreement;

        (d) Dol't'ower's name in Section I above is its exact name on its organizing and/or registered documents, if any, and is
            Borrower's principal place of business. Borrower shall immediately advise Lender of any change in Borrower's
            name or address as set forth above in Section 1;

        (e) Borrower is duly organized, validly existing and in good standing under the law of the jurisdiction in which it is
            organized, and has all licenses and authorizations necessary to carry on its business as now being conducted;

        (f) Borrower has the full power and authority to execute, deliver and perfonn all transactions contemplated by this
            Loan Agreement and the petfonuance of and compliance with the terms of this Loan Agreement will not violate the
            Borrower's organizational documents or constitute a default of any contract1 agreement or other instn1ment to which
            Borrower is a party;

        (g) Borrower has duly authorized the execution, delivery and perfonnance of thls Loan Agreement and has duly
            executed and delivered this Loan Agreement, and this Loan Agreement constitutes a legal, valid and binding
            obligation of the Borrower, enforceable against it in accordance with its tenns;

        (h) there is no action, suit, proceeding or investigation pending or, to Borrower's knowledge, threatened against or
            affecting it or any of its assets before or by any court or other governmental authority which, if detemtined
            adversely to it1 would have a material adverse effect on Hs financial condition, business or prospects, or the value of
            the Collateral; and

         (i) Borrower will provide any financial information on request or pennit an examination of its books and records to
              pennit Lender to confirm Borrower's ability to pay its Obligations and all other financial obligations.

         G) Borrower has not been notified by any of its lenders that it is in default lmder the terms of any of its credit
            agreements, nor has Borrower done, caused to be done, or failed to do any act or omission that would result in a
            default tinder any credit agreement.


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              providing financing to Borrower's customers.

     9. DEFAULT: On the happening of any of the following events (each an                                                                                                                                                                                                   11
                                                                                                                                                                                                                                                                                 Event of Default"):

         (a) failure by Borrower to pay any daily or other payment required by this Loan Agreement when duei

         (b) failure by Borrower to observe, perform1 keep or abide by any tenn, covenant or condition contained in this Loan
             Agreement or any other document or instrument given to Lender in connection with or related to this Loan
             Agreement, including any real estate mortgage, security agreement or other agreement or document now or
             hereafter evidencing or creating any security for the payment of this Loan Agreement;

         (c) the filing of a bankruptcy proceeding, assignment for the benefit of creditors, issuatlce of a judgment execution,
             garnishment or levy against, or the appointment of a representative of any kind for the commencement of any
             proceeding for relief from indebtedness by or against Borrower;

        (d) the happening of any event, which, in the reasonable judgment of Lender, adversely affects Borrower's ability or
             the ability of any guarantor of Borrower's Obligations under this Loan Agreement (11 Guarantor") to repay
                                       1
             Borrower s Obligations, or materially affects the value of the Collateral;

        (e) any written representation, statement or warranty made to Lender by Borrower m any Guarantor is untrue or is
            breached;

        (f) the occurrence of (I) a default under any guaranty of Borrower's Obligations C'Guaranty"), or any other document
             or instrument given to Lender in connection with or related to this Loan Agreement, or (II) an event of default under
             any other loan agreement that Borrower may have with any other lender~

        (g) any Guaranty is revoked or becomes unenforceable for any reason;

        (h) Lender, upon examination of BmTOwer's financial information during the term of this Loan Agreement, becomes
            insecure in Borrower's ability to pay the Obligations,

    Lender, at its option, without notice or demand (except as required by applicable law), may (A) declare the entire unpaid
    balance of alt Obligations under this Loan Agreement or other agreements immediately due and payable, and shall have the
    right to proceed to collect such Obligations under applicable law and enforce its rights under any Guaranty; and (B) proceed
    against the Collateral and any other collateral securing any obligation to Lender as if said collateral secured the Obligations,
    as pennitted under the applicable Unifom1 Commercial Code or any other applicable law. As pennitted under the Unifonn
    Commercial Code, Lender may take possession of Collateral without notice or hearing 1 which Borrower waives, and upon
    demand, Borrower shall assemble the Collateral and make it available to Lender at any convenient place designated by
    Lender. Lender)s receipt of any payment after the occurrence of an Event of Default, whether or not the Obligations have
    been accelerated, shall not constitute a waiver of the default or of Lendees rights or remedies upon such default, including
    Lender's right to accelerate the unpaid balance of the Obligations and pursue collection thereof. Election by Lender to
    pursue or waive any remedy shall not exclude pursuit of any other remedy.

    10. INSPECTION OF COiiLATERAL AND PJ,ACE OF BUSINESS: Lender and Lender's representatives and agents
    shall have the right at any reasonable time or times to inspect the Collateral wherever located and the interior and exterior of
    any Borrower place of business, and Borrower shall assist Lendet and its representatives and agents in making any such
    inspection. During an inspection of any Borrower place of business, Lender or Lender's representatives and agents may
    examine, among other things, whether Borrower (i) has a place of business that is separate from any personal residence, (ii)
    is open for business, (iii) has sufficient inventory and/or staff to conduct Borrower's business and (iv) has one or more credit
    card tenninals or point of sale systems if Borrower processes credit card transactions. When performing an inspection,
    Lender or Lender's representatives and agents may photograph the interior and exterior of any Borrower place of business,
    including any signage. Any photograph will become and remain the sole property of Lender and will be shared with
    Lender's employees, representatives and agents. Borrower grants Lender the frrevocable and pennanent right to display and
    share any photograph in all fonns, including composite and modified representations~ for all purposes, with Lender's
    employees, representatives and agents. Borrower agrees to reimburse Lender for the cost of the inspections described in this
    Section IO.


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     Borrower's name, at any time and from time to time for purposes of deciding whether to approve the requested business loan
     or for any update, renewal 1 extension of credit or other lawful purpose. Upon Borrower1s request, Lender will advise
     Borrower if Lender obtained a credit report and Lender will give Borrower the credit bureau 1s name and address. Borrower
     agrees to submit current financial infonuation, a new credit application 1 or both, in Borrower's name at any time promptly
     upon Lender's request

    12. ATTORNEYS, FEES, COLLECTION COSTS AND POST-JUDGMENT RATE OF INTEREST: In the event
    Lender retains counsel with respect to enforcement of its rights under this Loan Agreement or any other document or
    instrument given to Lender, Borrower agrees to pay all expenses of Lender in enforcing its rights to collect the Obligations
    or in taking possession, holding, preparing for disposition, and disposing of the Collateral, including Lender's reasonable
    attorneys' fees (whether or not an action is commenced and whether or not in the court of original jurisdiction, appellate
    court, bankruptcy courl or otherwise) and all costs of collection of any judgment and any costs of appeal. In the event this
    Loan Agreement is brought to a judgment, interest shall accrue at the interest rate set forth in Section 2 above until the
    judgment 1s satisfied, except as prohibited by applicable law.

    13. SALE OF LOAN AGREEMECSI: This Loan Agreement, or an interest in this Loan Agreement} together with the
    rights to the Collateral, may be sold, assigned, transferred or conveyed by Lender one or more times.

    14. INDEMNIFICATION: Except for Lender's willful misconduct, Borrower will indemnify and save Lender harmless
    from all loss1 costs> damage, liability or expenses (including, without limitation, court costs and reasonable attorneys' fees)
    that Lender may sustain or incur by reason of defending or protecting Lender's security interest or the priority thereof or
    enforcing its rights to collect the Obligations, or in the prosecution or defense of any action or proceeding concerning any
    matter growing out of or in connection with this Loan Agreement and/or any other documents or instruments now or
    hereafter executed in connection with this Loan Agreement and/ol' the Obligations and/or the Collateral. This indemnity
    shall survive the repayment of the Obligations and the tennination of this Loan Agreement.

    15. MISCELLANEOUS:

         (a) Delay or failme of Lender to exercise any of its rights under this Loan Agreement shall not be deemed a waiver
             thereof. No waiver of any condition or l'equirement shall operate as a waiver of any other or subsequent condition
             or requirement.

         (b) This Loan Agreement may not be modified orally, and may be modified only upon written agreement signed by
             Lender.

         (c) L-Ondcr ls an FDIC h1sured 1 Wisconsin state chartered bank and this Loan Agreement is accepted by Lender in
             Wisconsin. CONSEQUBNTLY1 THCS AGREEMENT WILL BE GOVERNED BY FEDERAL LAW
             APPLICABLE TO AN FDIC INSURED INSTITUTION AND TO THE EXTENT NOT PREEMPTED BY
             FEDERAL LAW, THE LAWS OF THE STATE OF WISCONSIN WITHOUT REGARD TO CONFLICT OF
             LAW RULES. The legality, enforceability and interpretation of this Agreement and the amounts contracted for,
             charged and reserved under this Loan Agreement will be govemed by such laws.

         (d) Borrower and Lender agree that any action or proceeding to enforce any rights or obligations arising out of this
             Loan Agreement shall be commenced either in Wisconsin 1 New York or the state (or commonwealth, as the case
             may be) of Borrower's address set forth in Section 1 above C4Borrower's State") and Bonower waives personal
             service of process and agrees that a su1mnons and complaint commencing an action or proceeding in any such
             court shall be properly served and confet personal jurisdiction if served by registered or certified mail to Borrower
             at the address specified by Borrower above in Section 1, or as otherwise provided by the laws of the State of
             Wisconsin, the State of New York, the Borrower's State, or the United States of America. Borrower and Lender
             agree that venue is proper in such courts.

         (e) Without affecting the liability of Borrower or any Guarantor1 Lender may accept partial payments marked 1'in fulP 1
             or otherwise, release or impair any Collateral or agree not to sue any party liable 011 this Loan Agreement without
             waiving any ofits rights hereunder.

         (t) Presentment, protest, demand and notice of dishonor are waived.


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              the time for payme11t.

         (h) Borrower expressly agrees that the interest rate set forth above in Section 2 is appropriate under the circumstances
             and shall be the applicable rate at which unpaid Principal (and Costs) as defined below) shall bear interest under
             this Loan Agreement1 notwithstanding any rate of interest presctibed by statute from time to time; ~'
             ~1 if fulfillment of any provisions of this Loan Agreement or any other instrument securing the Obligations
             is subject to a law that sets maximum interest rates or other charges, and that law is finally interpreted so that the
             interest or other fees collected or to be collected in connection with this Loan Agreement exceed the pennitted
             Iimits 1 then (I) any such charge will be reduced by the amount necessary to reduce the charge to the pennitted limit
             and (II) any sums already collected from Borrower that exceed the permitted limits will be refunded or credited to
             Borrower and the obligations created by this Loan Agreement shall be fulfilled to the limit of such validity as is
             permitted by law.

         (i) Borrower shall keep the Collateral and Lender's interest in it insured under policies with such provisions, for such
              amounts and by such insurers as shall be satisfactory to Lender from time to time, and shall furnish evidence of
              such insurance satisfacto1y to Lender upon reque.st. Borrower assigns (and directs any insurer to pay) to Lender
              the proceeds of all such insurance and any premium refund and authorizes Lender to endorse in the name of
              Borrower any instrument for such proceeds or refunds and, at the option of Lender, to apply such proceeds and
              refimds to any unpaid balance of the Obligations, whether or not due, and/or to restoration of the Collateral,
              returning any excess to Borrower. Lender is authorized, in the name of Borrower or otherwise, to make, adjust
              and/or settle claims under any insurance on the Collateral, or cancel the same after the occurrence of an Event of
              Default.

         U) If Borrower fails to perfonn any of Borrower's duties set forth in this Loan Agreement or in any evidence of or
            document relating to the Obligations, Lender is authorized, in Borrower's name or otherwise, to take any such
            action, including, without limitation, signing Borrower's name or paying any amount so required, and the cost
            ("Cost11) shall be one of the Obligations secured by this Loan Agreement and shall be payable by Borrower upon
            Lender's demand with interest at the interest rate set forth above in Section 2 from the date of payment by Lender.

         (k) Bo1rower releases Lender from any liability for any act or omission relating to the Obligations 1 the Collateral or
             this Loan Agreement, except Lender1s willful misconduct.

         (L) Invalidity or unenforceability of any provjgion of this Loan Agreement shall not affect the validity or
              enforceability of any other provision.

         (m) The tcnns of this Loan Agreement shall be binding upon Borrower and its pennitted successors and assigns, and
             shall inure to the benefit of Lender and its successors and assigns.

         (n) Borrower acknowledges that a broker may have received compensation ]n collll.ection with this Loan Agreement,

         (o) Any of the Borrower, Lender or a Guarantor may choose to arbitrate any or all disputes and claims arising out of or
             relating to this Lonn Agreement1 the Guaranty or any other related document. A claim includes matters arising as an
              initial claim, countcr·claim, cross-claim, third-party claim1 or o.therwise. If the Borrower) Lender or a Guarantor
              chooses to litigate any dispute or claim arising out of or relating to this Loan Agreement, the Guaranty or any related
              document through a judicial action, the decision to litigate shall not be deemed a waiver of arbitration, and if such
              judicial action is contested, any party may thereafter invoke its arbitration rights at any time before any discovery is
              taken in the judicial action. If the Borrower, Lender or a Guarantor seeks to have a dispute resolved by arbitration, that
              party must first send to the other party(ies) by certified mail, a written Notice of Intent to Arbitrate. If Borrower,
              Lender or a Guarantor do not reach an agreement to resolve the claim within 10 days after the Notice is received, any
              party may conunence an arbitration proceeding with the American Arbitration Association ("AAA"). Lender will
              promptly reimburse Borrower or the Guarantor any arbitration filing fee, however, in the event that both the Borrower
              and the Guarantor must pay arbitration filing fees, Lender will only reimburse the Borrower's arbitration filing fee and,
              except as provided in the next sentence1 the Lender wilt pay all arbitration administration and arbitrator fees. If the
              arbitrator finds that either the substance of any claim raised by Borrower or a Guarantor or the relief sought by
              Borrower or a Guarantor is improper or not warranted, as measured by the standards set fmth in Federal Rule of
              Procedure 1l(b), then Lender will pay the administration or arbitrator fees only if required by the AAA Rules. If the
              arbitrator grants relief to the Borrower or a Guarantor that is equal to or greater than the value of the relief requested by
              the Borrower or a Guarantor in the arbitration, Lender shall reimburse Borrower or the Guarantor, as applicable, for
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             AGREE THAT BY ENTERING INTO THIS LOAN AGREEMENT, EACH IS WAIVING THE RIGHT TO TRIAL
             BY JURY. BORROWER AND LENDER MAY BRING CLAIMS AGAINST ANY OTHER PARTY ONLY IN
             THEIR INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF REPRESENTATIVE OR CLASS MEMBER IN
             ANY PURPORTED REPRESENTATIVE OR CLASS PROCEEDING. Further, Borrower and Lender agree that the
             arbitrator may not consolidate proceedings for more than one person's claims 1 and may not otherwise preside over any
             fonn of a representative or class proceeding, and if this specific provision is found unenforceable, then the entirety of
             this arbitration clause shall be null and void. Any award by the individual arbitrator shall be final and binding, except
             for any appeal right under the Federal Arbitration Act (11 FAA 11 ), and may be entered and enforceable as a judgment in
             any court of competent jurisdiction1 including as a judgment that pennits Lender to initiate or complete the exercise of
             its remedies against, or its realization or foreclosure upon, any collateral or security provided for the benefit of Lender.
             This arbitration provision is made pursuant to a transaction in interstate commerce, and shall be govemed by the
             Federal Arbitration Act at 9 U.S.C. Section I.

         (p) In order to ensure a high quality of service for Lender's customers, Lender may monitor and/or record telephone calls
             between Borrower and Lender's employees. Borrower acknowledges that Lender may do so and agrees in advance to
             any suc]1 monitoring or recording of telephone calls.

         (q) Borrower authorizes Lender and Lender's affiliates, agents and independent contractors to contact Borrower at any
             telephone number Borrower provides to Lender or from which Borrower places a call to Lender1 or any telephone
             number where Lender believes it may 1·each Borrower, using any means of communication, including 1 but not limited
             to, calls or text messages to mobile, cellular, wireless or similar devices or calls or text messages using an automated
             telephone dialing system and/or artificial voices or prerecorded messages 1 even if Borrower incurs charges for
             receiving such communications, Lendor and Lender's affiliates, agents and independent contractors, may \lSC any other
             medium not prohibited by law, including, but not limited to, mail, e-mail and facsimile, to contact Botrower. Borrower
             expressly consents to conduct business by electronic means.

         (r) TO THE EXTENT NOT PROHIBITED BY APPLICABLE LAW, BORROWER AND LENDER WAIVE THEIR
             RIGHT TO A TRIAL BY JURY OF ANY CLAIM OR CAUSE OF ACTION BASED UPON, ARISING OUT OF OR
             RELATED TO THIS LOAN AGREEMENT AND ALL OTHER DOCUMENTATION EVIDENCING THE
             OBLIGATIONS, IN ANY LEGAL ACTION OR PROCEEDING.

         (s) This Loan Agreement may be executed in one or more counterparts, each of which counterparts shall be deemed to be
             an original, and all such counterparts shall constitute one and the same instrnment. For purposes of the execution of this
             Loan Agreement, electronic or fax signatures shall be treated in all respects as original signatures.

    PRIOR TO SIGNING THIS LOAN AGREEMENT, BORROWER READ AND UNDERSTOOD ALL OF THE
    PROVISIONS OF THIS LOAN AGREEMENT. AFTER DUE CONSIDERATION, AND THE OPPORTUNITY
    TO CONSULT WITH OTHER LENDERS AND AN ATTORNEY, ACCOUNTANT OR OTHER COMPETENT
    PROFESSIONAL OF ITS CHOICEi BORROWER KNOWINGLY, WILLFULLY AND VOLUNTARILY
    AGREES TO THE TERMS OF THIS LOAN AGREEMENT.

    BORROWER ACKNOWLEDGES RECEIPT OF A FULLY COMPLETED AND EXECUTED VERSION OF
    THIS LOAN AGREEMENT,

                                            BORROWER: Hoines By DeRamot Inc.


                                            sfY::i'&wPJ\I v~ ~it.
                                                     2~FE~F438...
                                                        Vincent William De Ramo Jr,
                                            Printed Name:-~-----
                                            Title:      president




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                                                    ACKNOWLEDGMENT



     STATE/COMMONWEALTH OF _ _ __

                                                       )       ss.:

     COUNTY OF _ _ __                                  )

    On the~-- day of                        in the year __ before me, the undersigned, a notary public in and for said
    State/Commonwealth, personally appeared Vincent William De Ramo, Jr., personalty known to me or proved to me on the
    basis of satisfactory evidence to be the individual whose name is subscribed to the within Business Promissory Note and
    Security Agreement and acknowledged to me that she/he executed the same in her/his capacity
    as                                         of                                          and that by her/his signature on tho
    Business Promissory Note and Security Agreement, the individuali or the person upon behalf of which the individual acted,
    executed the Business Promissory Note and Security Agreement.




    Notary Public
    My Commission expires:




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                                                        NONE




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                                     NONE




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                                      NONE




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                                                 SCHEDULED
                ADDRESS OTHER THAN BORROWERtS ADDRESS AT WHICH COLLATERAL IS KE}!T


                                                 Property Address
             74 Sugar Mill Dr, Osprey FL 34229
             82 Sugar Mill Dr, Osprey FL 34229




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    CONTINUING GUARANTYJ PERSONAL (Unlimited)                                      Dated; 3/24/2016

    GUARANTY. For value receive<t and to induce BANK OF LAKE MILLS, its successors and/or assigns ("Lender"),
    with offices at 136 E. Madison St., Lake Mills, WI 53551 1 to extend credit or grant or continue other credit
    accommodations to Homes By DeRamo, Inc. ("Borrower"), the undersigned (11Guarantor/ 1 whether one or more) jointly
    and severally guarantees payment of the Obligations defined below when due or at the time any Borrower becomes the
    subject of bankruptcy or other insolvency proceedings. Except as provided below1 11 0bHgations 11 mean all debts,
    obligations and liabilities of Borrower to Lender arising out of credit previously grantedi credit contemporaneously
    granted or credit granted in the future by Lender to Borrower. Obligations include interest and charges and the amount of
    payments made to Lender or another by or on behalf of Borrower which are recovered from Lender by a trustee, receiver,
    creditor or other party pursuant to applicable federal or state Iawj and all costs, expenses and attorneys' fees at any time
    paid or incurred before and after judgment in endeavoring to collect all or part of any of the above, or to realize upon this
    Guaranty, or any collateral securing any of the above, including those incurred in successful defense or settlement of any
    counterclaim brought by Borrower or Guarantor or incident to any action or proceeding involving Borrower or Guarantor
    brought pursuant to the United States Bankruptcy Code. Obligations do not include personal, consumer1 family or
    household transactions. Guarantor grants to Lender a security interest and lien in any credit balance and other money now
    owing or hereafter owed Guarantor by Lender. Lender may, at any time after the occurrence of an event of default with
    respect to any Obligation, without prior notice or demand, set off against any such credit balance or other money any
    amount owing upon the Obligations. This Guaranty also is secured by all existing and future security agreements between
    Lender and Guarantor, and the titles to the motor vehicles listed on Exhibit l to this Guaranty, with respect to which,
    Guarantor shall ensure that Lender is named as the only lien holder on each such motor vehicle title as of the date of this
    Guaranty (or the nearest subsequent date as pem1itted under applicable law). This Guaranty is valid and enforceable
    against Guarantor even though any Obligation is invalid or unenforceable against the Borrower.

    WAIVER. Guarantor expressly waives (a) notice of the acceptance of this Guaranty, the creation of any present or future
    Obligation, default under any Obligation, proceedings to collect from the Borrower or anyone else, (b) all diligence of
    collection and presentment, demand, notice and protest, (c) any right to disclosures from Lender regarding the financial
    condition of the Bon-ower or the enforceability of the Obligations, and (d} all other legal and equitable defenses of
    sul'etyship and impairment of collateral. No claim, including a claim for reimbursement, subrogation, contribution or
    indemnification which Guarantor may, as a guarantor of the Obligations, have against a co-guarantor of any of the
    Obligations or against the Borrower shall be enforced or any payment accepted until the Obligations are paid in full and
    no payments to or collections by Lender are subject to any right of recovery.

    CONSENT. With respect to any of the Obligations, Lender may from time to time before or after revocation of this
    Guaranty without notice to Guarantor and without affecting the liability of Guarantor (a) surrender, release, impair, sell or
    otherwise dispose of any security or collateral for the Obligations, (b) release or agree not to sue any guarantor or surety~
    (c) fail to perfect its security interest in or realize upon any security or collateral, (d) fail to realize upon any of the
    Obligations or to proceed against any Borrower or any guarantor or surety, (e) renew or extend the time of payment, (f)
    increase or decre.ase the rate of interest or the amount of the Obligationst (g) accept additional security or collateral, (h)
    determine the allocation and application of payments and credits and accept partial payments, (i) apply the proceeds of
    disposition of any collateral for the Obligations to any obligation of Borrower secured by such collateral in such order
    and amounts as it elects, G) detennine what, if anything, may at any time be done with reference to any security or
    collateral, and (k} settle or compromise the amount due or owing or claimed to be due or owing from the Borrower,
    which settlement or compromise shall not affect Guarantor's liability for the full amount of the unpaid Obligations.
    Guarantor expressly consents to and waives notice of all of the above. Guarantor consents to and authorizes Lender to
    obtain business and personal credit bureau reports in G1iarantor's name, at any time and from time to time for purposes of
    deciding whether to approve the business loan requested by borrower or for any update1 renewal, extension of credit to
    Borrower or other lawful purpose. Guarantor expressly authorizes Lender, agents or designees to report the payment
    history and loan performance to any national credit bureau for the purpose of inclusion of the related data in Guarantor's
    consumer credit report. Nothing contained in this Guaranty shall require Lender to first seek or exhaust any remedy
    against Borrower or to first proceed against any collateral or security for any of the Obligations or this Guaranty.



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    PERSONS BOUND. This Guaranty benefits and is enforceable by Lender, and its successors and assigns (collectively
    called "successors11 and each a "successor11), and binds Guarantor, and Guarantor1s heirs, personal representatives,
    successors and assigns, This Guaranty sliall continue in full force and effect notwithstanding any change in structure or statt1s of
    Borrower or Lender, whether by merger, consolidation, reorganization or otherwise, or assignment of this Guaranty to a
    successor Lender. This Guarani)'. includes addltlonal provisions below.

                                                      NOTICE TO GUARANTOR
     You are being asked to guarantee the past1 present and future Obligations of Borrower. IfBorrower does not pay, you
     will have to. You may also have to pay collection costs. Lender can collect tile Obligations from you without fl1•st
     trying to collect from Borrower or another guarantor or proceeding against any collateral or other security for the
     Obligations.



     (Guarantor Name) Vjnce\\tlW"WiJAi§t;ijPe Ramo, Jr.

      Gu                           \Ji~ ~iUi~~     Vt. ~M j)ll,
                              76   p~l¥NWffff~~ivesarasotafl34231
     (Guarantor Address)
                                                                          (Guarantor Addrim) 7614peni nsul ardrivesarasotafl 34231

     For Married Residents Only: Each Guarantor who signs below represents that this obligation is incurred in the interest of
     his or her marriage or family.
           Docu51gMd hy:

        Vt~ ()JilJJOJ\\                                                  x
           2BAA81l3CFl:9F438 ••




                                                    ADDITIONAL PROVISIONS
    ENTIRE AGREEMENT. This Guaranty is intended by Guarantor and Lender as a final expression of this Guaranty and
    as a complete and exclusive statement of its terms, there being no conditions to the full effectiveness of this Guaranty.
    This Guaranty may not be supplemented or modified, except in writing by Lender.

    REPRESENTATIONS. Guarantor acknowledges and agrees that Lender (a) has not made any representations or
    warranties with respect to~ (b) does not assume any responsibility to Guarantor for, and (c) has no duty to provide
    infonnation to Guarantor regarding, the enforceability of any of the Obligations or the financial condition of the
    Borrower. Gua1·antor has independently determined the creditworthiness ofBorrowcr and the enforceability of the
    Obligations and until the Obligations are paid in full will independently and without reliance on Lender continue
    to make such determinations.

    REVOCATION. This is a continuing guaranty and shall remain in fttll force and effect until Lender receives written
    notice of its revocation signed by Guarantor or actual notice of the death of Guarantor. Upon revocation by written notice
    or actual notice of death 1 this Guaranty shall continue in full force and effect as to all Obligations contracted for or
    incurred before revocation and, as to them 1 Lender shall have the rights provided by this Guaranty as if no revocation had
    occurred. Any renewal> extension or increase in the interest rate of any such Obligation, whether made before or after
    revocation~ shall constitute an Obligation contracted for or incurred before revocation. Obligations contracted for or
    incurred before revocation shall also include credit extended after revocation pursuant to commitments made before
    revocation. Revocation by one Guarantor shall not affect any of the liabilities or obligations of any other Guarantor and
    this Guaranty shall continue in full force and effect with respect to them.

    ARBITRATION. Any of the Borrower, Lender or a Guarantor may choose to arbitrate any or all disputes and claims
    arising out of or relating to this Guaranty or any other related document. A claim includes matters arising as an initial
    claim1 counter-claim, cross-claim1 third-party claim1 or otherwise. [f the Borrower, Lender or a Guarantor chooses to
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      litigate any dispute or claim arising out of or relating to this Guaranty or any related document through a judicial action 1
     the decision to litigate shall not be deemed a waiver of arbitration1 and if such judicial action is contested, any party may
     thereafter invoke its arbitration rights at any time before any discovery is taken in the judicial action. If the Borrower,
     Lender or a Guarantor seeks to have a dispute resolved by arbitration, that party must first send to the other party(ies) by
     certified mail, a written Notice of Intent to Arbitrate. If Borrowet\ Lender or a Guarantor do not reach an agreement to
     resolve the claim within 10 days after the Notice is received, any party may commence an arbitration proceeding with the
     American Arbitration Association ("AAA"). Lender will promptly reimburse Borrower or the Guarantor any arbitration
     filing fee, however, in the event that both the Borrower and the Guarnntor must pay arbitration filing fees, Lender will
     only reimburse the Borrower's arbitration filing fee and, except as provided in the next sentence, the Lender will pay all
    arbitration administration and arbitrator fees. If the arbitrator finds that either the substance of any claim raised by
    Borrower or a Guarantor or the relief sought by Borrower or a Guarantor is improper or not warranted, as measured by
     the standards set forth in Federal Rule of Procedure l l(b), then Lender will pay the administration and arbitrator fees only
    if required by the AAA Rules. If the arbitrator gra11ts relief to the Borrower or a Guarantor that is equal to or greater than
     the value of the relief requested by the Borrower or a Guarantor in the arbitration, Lender shall reimburse Borrower or the
    Guarantor1 as applicable, for that partis reasonable attorneys' fees and expenses incurred for the arbilration.
    GUARANTOR AND LENDER AGREE THAT BY ENTERING INTO THIS GUARANTY, EACH rs WAIVING THE
    RIGHT TO TRIAL BY JURY. GUARANTOR AND LENDER MAY BRING CLAIMS AGAINST ANY OTHER
    PARTY ONLY IN THEIR INDIVIDUAL CAPACITY AND NOT AS A PLAINTIFF REPRESENTATrYE OR CLASS
    MEMBER IN ANY PURPORTED REPRESENTATIVE OR CLASS PROCEEDING. Further, Guarantor and Lender
    agree that the arbitrator may not consolidate proceedings for more than one person's claims, and may not othenvise
    preside over any fonn of a representative or class proceeding, and if this specific provision is found unenforceable, then
    the entirety of this arbitration clause shall be null and void. Any award by the individual arbitrator shall be final and
    binding, except for any appeal right under the Federal Arbitration Act (' 1FAA11 ), and may be entered and enforceable as a
    judgment in any comt of competent jurisdiction1 including as a judgment that pennits Lender to initiate or complete the
    exercise of its remedies against, or its realization or foreclosure upon, any collateral or security provided for the benefit of
    Lender, This arbitration provision is made pursuant to a transaction in interstate commerce, and shall be governed by the
    Federal Arbitration Act at 9 U.S.C. Section 1.

     INTERPRETATION. Lender is an FDIC insured, Wisconsin state chartered bank. CONSEQUENTLY, THIS
    GUARANTY WILL DE GOVERNED DY FEDERAL LAW APPLICABLE TO AN FDIC INSURED INSTITUTION
    AND TO THE EXTENT NOT PREEMPTED BY FEDERAL LAW, THE LAWS OF THE STATE OF WISCONSIN
    WITHOUT REGARD TO CONFLICT OF LAW RULES. The lega!ity1 enforceability and interpretation of this Guaranty
    and the amounts guaranteed will be governed by such laws.

    JURISDICTION. Guarantor irrevocably consents with respect to any suit, action or proceeding relating to this Guaranty
    or any of the other loan documents relating to the Obligations, that venue shall be either in Wisconsin, New York 01· the
    state (or commonwealth, as the case may be) of Borrower's principal place of business ("Borrower's State") and
    Guarantor waives personal service of process and agrees that a summons and complaint commencing au action or
    proceeding in any such court shall be properly served and confer personal jurisdiction if served by registered or certified
    mail to Guarantor at the address specified by Guarantor above, or as otherwise provided by the laws of the State of
    Wisconsin) the State of New York, the Borrower's State, or the United States of America. Guarantor agrees that venue is
    proper in such courts.




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                                                       JURYWAIYER

     GUARANTOR KNO\VINGLY AND VOLUNTARILY WAIVES TRIAL BY JURY IN ANY ACTION, PROCEEDING,
     CLAIM OR COUNTERCLAIM BASED UPON, ARISING OUT OF OR IN ANY WAY RELATING TO THIS
     GUARANTY, THE OBLIGATIONS GUARANTEED BY THIS GUARANTY OR ANY CONDUCT, ACT OR OMISSION
     OF LENDER, AND AGREES AND CONSENTS THAT ANY SUCH ACTION1 PROCEEDING1 CLAIM OR
     COUNTERCLAIM SHALL BE DECIDED BY TRIAL TO THE COURT WITHOUT A JURY. GUARANTOR
     ACKNOWLEDGES AND UNDERSTANDS THAT THIS WAIVER AND CONSENT CONSTITUTES A MATERIAL
     INDUCEMENT TO LENDER TO ENTER INTO THE TRANSACTION WITH THE BORROWER.


      Guarantor Vincent William De Ramo, Jr.                   Guarantor Vincent W DeRamo and Tracy E, DeRamo
                                                               Imstees under Agreement dated 3/7/QQ
                                                                 D~uStgned   by:

                                                                Vilr\tUJ lUtWtt"' Vt- ~\b Jr.
                                      Acknowledgement to slgnature(s) on following pages.




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                                                         ACKNOWLEDGEMENT

     STATE/COMMONWEALTH OF _ _ _ _ _ _~_)
                                                                          ) SS.
                                                                          )

     On the _ _ day of               • in the year_, before me, the undersigned, a notary public in and for said StateJCommonwealth,
     personally appeared Vincent Wm jam De RamQ.,lr., personally known to me or proved to me on the basis of satisfactory evidence to
     be the individual whose name is subscribed to the within Continuing Guaranty (Unlimited) and acknowledged to me that she/he
     executed the same in her/his capacity, and that by her/his signature on the Continuing Guaranty (Unlimited), the individual, or the
     person upon behalf of which the individual acted, executed the Continuing Guara11ly (Unlimited).


     Notary Public
     My Commission expires:
                                                         ACKNOWLEDGEMENT

     STATE/COMMONWEALTH
                                                                              SS.
                                                                          )

     On the _ _ day of                , in the year_, before me, the undersigned, a notary public in and for said State/Commonwealth,
     personally appeared Yinccnt W. DeRanm and Tracy E. DeRamo Trnstees under Agreement dated 30/00, personally known to me or
     proved to me on the basis of satisfactory evidence to be the individual whose name is subscribed to the within Continuing Guaranty
     (Unlimited) and acknowledged to me that she/he executed the same in her/his capacity, and that by her/his signature on the
     Continuing Guaranty (Unlimited), the individual, or the person upo11 behalf of which the individual acted, executed the Continuing
     Guaranty (Unlimited),


     Notary Public
     My Commission expires:




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                                   EXHIBIT 1
                                      NONE




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                                                                                                    COOPERATION AGREEMEN1'

     DATE: 3/24/2016

     In connection with the business loan to Borrower evidenced by the Business Promissory Note and Security Agreement of even date
     herewith, Borrower hereby agrees:

     ht the event any ftn1her docwnentation is required by Lender in connection with the loan, Borrower hereby agrees to execute such
     documentation, including, but not limited to, any amendments1 corrections, deletions or additions to the loan documents being
     executed on even date hetewith.

     In the event Borrower is required to famish such necessary documentation and foils to do so within ten (10) days from receipt of
     written demand, then such failure shall be an event of default lmder the terms of the loan and Lender or its successors and assigns
     shall have the right to demand payment in full under the loan documents and enforce all other rights against Borrower.

     The tem1s "Borrower" and "Lender'' have the same meanings as set forth in the Business Promissory Note and Security
     Agreement.

     BORROWER: Homes By DeRamo, Inc.
        (\DocuS!gned by:

     By:~tA.tUJ lJJiUi~, Dt- l!Mt6         Jr,
            29M9S3CFEWm...
                           Vincent William De Ramo Jr.
     Printed Name:--------
     Title: president




    STATE/COMMONWEALTH OF _ _ _ _ _ ,

                                                                   ss.:

    COUNTY OF _ _ __

    On the___ day of                         , in the year _      before me, the undersigned, n notary public in and for said
    State/Commonwealth, personally appeared Vincent William De Ramo/ Jr., personally known to me or proved to me on the basis
    of satisfactory evidence to be the individual whose name is subscribed to the within Cooperation Agreement and acknowledged to
    me that she/he executed the same in her/his capacity as                                                                     of
    - - - - - - - - - - - - ' a n d that by herfltis signature on the Cooperation Agreement, the individual, or the
    person upon behalf of which the individual acted, executed the Cooperation Agreement.




    Notary Public
    My Commission expires




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       In connection with the loan and all related agreements dated 3/24/2016 (the "Agreement") between Bank of
       Lake Mills, Its Successors and/or Assigns ("Lender'') and Homes By DeRamo, Inc. C1Borrower 11 }1 Borrower has
       requested the disbursement of the loan proceeds, notwithstanding that one or more tltle invoices needed to
       accurately establish the loan balance, net proceeds and/or required loan payments have not been received.
       Borrower has requested that Lender estimate the amount of the title lnvo!ce and establish the loan balance
       and/or net proceeds (as the case may be) and required loan payments based upon the estimated Invoice.

       Upon recelpt of the actual Jnvoice, Lender will notify the Borrower of the amount of the actual lnvoice(s) and the
       difference between the actual lnvoJce and the estimated amount used at closing. If the estimate Is lower than
       the actual cost of the related tltle services and premium, Borrower will be obligated to reimburse Lender for the
       shortfall and Borrower expressly authorizes Lender to ACH the shortfall from Borrower1s business account along
       with the dally or weekly payment. In the event the actual Invoice is less than the estimated invoice, Borrower
       will receive a refund for the excess amount.

       Where the Invoice received Is less than the estimated invoice, Borrower has the option in lieu of a refund to
       request an amendment to the Agreement that reduces the loan amount and required dally or weekly payments
       accordingly. Requests must be sent to closjng@wbl.com from the email address provided in the loan
       application. In the event that no amendment request is received within 5 business days of the disbursement of
       the loan proceeds to Borrower, Lender will automatically process a refund of the excess amount and Borrower
       agrees that the loan balance and dally payments will remain unchanged.




       Name: Vincent William oe Ramo Jr.

       Bank of Lake Miils, Its successors and/or Assigns
       By: _ _ _ _ __
       Date: _ _ _ _ __
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 178 of 189 PageID 249


                                                                                SECTION I
    1. LENDER NAME AND ADDRESS                                 2. COLLATERAL(Bulldfng/Moblle Home/Personal property) PROPERTY ADDRESS
                                                               (legal description may be attached)
   WORLD BUSINESS LENDERS, LLC                                 DERAMO, TRACEY & DERAMO, VINCENT
   120 W45TH STREET - 29TH FLOOR                               74 SUGAR MILL OR
   NEW YORK, NY 10036                                          OSPREY, FL 34229·9077



   3. LENDER ID. NO.                                           4. LOAN IDENTIFIER                    5. AMOUNT OF FLOOD INSURANCE REQUIRED

                                                               19547                                 $
                                                 SECTION II
   A. NATIONAL FLOOD INSURANCE PROGRAM NFIP) COMMUNITY JURISDICTION
   1. NFIP community nama                                      2. County(ies)                                              3.Stata                 4. NFfP community
                                                                                                                                                   number
   SARASOTA COUNTY*                                            Unincorporated Areas                                                  FL                   125144

   B. NATIONAL FLOOD INSURANCE PROGRAM NFIP) DATA AFFECTING BUILDING I MOBILE HOME
   1.NFIP map number or community-panel number                 2. NFIP map panel effective/         3. LOMA/LOMR           4. Flood zone/SFE       5. No NFIP map
   (oornmunlty name, If not the same as in "A").               revised date

                                                                                                                                     x
                          1251440228E                                     09/03/1992
                                                                                                   D
                                                                                                   Yas        Data
   c. FEDERAL FLOOD INSURANCE AVAILABILITY (check all that apply}
   1. [!] Flood insurance Is available (oommunlty partlc!patos In NFIP),                          [Kl    Regular Program    D Emergency Program of NFIP
   2,   D Federal Flood Insurance ls not available because communlly Is not participating In \he NFIP.
   3.   D aul!dlng/Mobl!e home Is In a Coastal Barrier Resources Area (CBRA) or Otherwise Protected Area { OPA ), Federal Flood insurance may not be
   available.
               CBRNOPA designation date:

   D. DETERMINATION
   IS BUILDING I MOBILE HOME IN SPECIAL FLOOD HAZARD AREA
   (ZONES CONTAINING THE 1.EITERS "A" OR ''V"}?
                                                                                                  D      Yes                0         No

   lf yes, flood Insurance Is required by the Flood Disaster Protection Act of 1973.
   lf no, flood Insurance Is not required by the Flood Disaster Protection Act of 1973. Please note, the risk of flooding in this area Is only reduced, not removed.
   E. COMMENTS (optional}:
   Request Date: 03/22/2016                  Service Type: Lire Of Loan
                                             Requested By; J057213A

   Input address: 74 SUGARMILL DRIVE, OSPREY, FL 34229
   HMDA Information: MSAIMD: 42260 NECTA: Slate: 12County:115 Census Tract: 0021.00




   Th ls flood detormlnatlon 1!1 provided solely for the uee and benefit of the entity named In SecUon 1, Box 1 In order to comply with the 1994 Reform
   Act and may not be used fot or retied upon by any other ontlty or lndlvldual for any purpcn.10, including, but not limited to deciding whelher to
   purchase a property or determining the value of a property.

   lhls determination Is based on examining the NFIP map,any Federal Emergency Management Agency revisions to it, and any other lnformaUon needed to
   locate the bulldlngfmoblle home on the NF'IP map,

   F.PREPARER'S INFORMATION                                                                          Certificate:       57102652-0
   Name, address, telephone number (if other lhan lender)                                                            DATE OF DE.Tl:RMlNATION
                                            Great Lakes Flood Certmoa.tion1 LLC
                                            P.O.Box663                                                                          03/2212016
                                            Wautoma, WI 54982
                                            (920} 787 - 7664

  FEMA FORM 086-0·32, (4/12}                                    PREVIOUSLY FEMA FORM 81-93
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 179 of 189 PageID 250



     Prepared by: Great Lakes Flood Certification, LLC                               Loan#:        19547
     Customer:    WORLD BUSINESS LENDERS1 LLC                                        Certificate#: 57102652-0
     Client#:     224057                                                             Date:         03/22/2016

     Borrower:      DERAMO, TRACEY & DERAMO, VINCENT
     Property:     74 SUGAR MILL DR
                   OSPREY, FL 34229-9077


           Attached is the comp1eted Standard Flood Hazard Determination Form that Indicates that the building or mobile home
           securing your loan Is nQ1 located In an area designated by the Federal Emergency Management Agency ("FEMA") as
           a Speclal Flood Hazard Area ("SFHA"), As a result of this determination, you will not be required to obtain mandatory
           flood Insurance !n connection with the making of your loan.

           However, there is still a risk of flooding, even in non-SFHA's. As such you, or your lender, may want to consider the
           advlsabll!ty of obtaining flood Insurance at reduced rates. You should check wlth your Insurance agent or company as
           to the coverage types and amounts available to you and make your own determination as to whelher you desire any
           such coverage.

          If, however, at any time during the term of your loan the improved real estate or moblle home securing your loan is 1
          due lo re-mapping by FEMA or otherwise, located In an area that has been Identified by FEMA as an area having
          special flood hazards and In which flood insurance is available under the National Flood Insurance Program 1 you will
          be so notrfied and advised that you must obtain an appropriate amount of flood Insurance coverage. Ir, within 45 days
          after we send you such notification1 you fail to purchase flood insurance in an amount not less than the amount we
          advise you Is necessary, we shall purchase such flood Insurance on your behalf at your expense, as we are
          authorized to do In accordance with the provisions of Flood Disaster Protection Act of 1973, as amended.

          lfWe, the undersigned borrower(s}/appllcants(s}1 hereby understand and agree to all the above.




                                                                                       Borrower/Applicant          Data



          Borrower/Applicant           Date                                            Borrower/Applicant          Date



          Borrower/Ap pllcant          Date                                            Borrower/Applicant          Date
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 180 of 189 PageID 251


                                                                                SECTION t
    1. LENDER NAMi:: AND ADDRESS                               2. COLLATERAL(8ulldlng!Moblte HomefParsonal property) PROPERTY ADDRESS
                                                               (Legal descrlpUon may be altachad)
    WORLD BUSINESS LENDERS, LlC                                DERAMO, TRACEY & DERAMO, VINCENT
    120 W 45TH STREET· 29TH FLOOR                              82 SUGAR MILL OR
    NEW YORK, NY 10036                                         OSPREY, FL 34229-9077




    3. LENDER ID. NO.                                          4. LOAN IDENTIFIER                    5. AMOUNT OF Fl.OOD INSURANCE REQUIRED

                                                               19547                                 $
                                                  SECTION It
   A. NATIONAL FLOOD INSURANCE PROGRAM (NFIP) COMMUNITY JURISDICTION

    1. NFIP community name                                     2. County(les)                                              3. State               4. NFIP community
                                                                                                                                                  number
   SARASOIA COUNTY•                                            Unincorporated Areas                                                   FL                  125144

   8. NATIONAL FLOOD INSURANCC: PROGRAM NFIP) DATA AFFECTING BUILDING I MOBILE HOME
   1.NFIP map number or oommun1ly ·panel number                2. NFtP map panel et'tacllve/        3. LOMA/LOMR           4. Flood zone/BFE      5, No NFIP map
   (community name, If not the same as In "A").                revised date

                         1251440228E                                      09/03/1992                                                  x
                                                                                                   D
                                                                                                   Yos        Date
   C. FEDERAL FLOOD INSURANCE AVAILABILITY (check all that apply}
   1. [!]Flood Insurance ls avallable (oommunl!y participates In NFIP),                        0 Regular Program D Emergency Program of NFlP
   2.   D Federal Flood Insurance is not available bocause community is not participating in the NFIP.
   3.   D Buildlng/Moblle home Is in a Coastal Barner Resources Area (CBRA} or Otherwise Protected Area ( OPA }, Federal Flood insurance may not be
   avallable.
              CBRNOPA designation date:

   D. DETERMINATION
   JS BUILDING I MOBILE HOME IN SPECIAL FLOOD HAZARD AREA
   (ZONES CONTAINING THE LETTERS "A" OR "V")?
                                                                                                  D      Yes                0         No

   lf yes, flood Insurance Is required by the Flood Disaster Protection Act of 1973.
   lf no, flood Insurance Is not required by the Flood Disaster Protection Act of 1973. Please note, the risk of flooding in this araa Is only reduced, not removed,
   E. COMMENTS (optlona!):
   Request Date: 03/22/2016                  Service Type: Life Of Loan
                                             Requested By: J057213A

   Input address: 82 SUGARM!Ll ORM!, OSPREY, FL 34229
   HMDA Information: MSAIMD: 42260 Nl:C'rA: Stale: 12 County: 115 Census Tract: 0021.00




   Thi$ flood determination la provided solely for the use and benefit of the entity named ln Section 1, Box 1 In order to comply with the 1994 Reform
   Act and may not be used for or relled upon by any other entity or lndlvldual for any purpose, lncludlng, but not llmlted to deciding whether to
   purchase a property or determining the value of a property.

   This determination ls based on examlnlng the NFIP map.any Federal Emergency Management Agency revisions to it, and any o1her tnformatlon needed to
   locate the buildtng/mobtle home on Iha NFIP map.

   F.PREPARER'S INFORMATION                                                                          Certlflcate:      57102641rQ
   Name, address, telephone number (If other than lender}                                                            DATE OF DETERMINATION
                                           Great Lakes Flood Certlncatlon, LLC
                                           P.O.Box.663                                                                          03/22/2016
                                           Wautoma, WI 54982
                                           (920) 787 - 7664


  FEMA FORM 086·0·32, (4/12)                                    PREVIOUSLY FEMA FORM 81 ·93
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                                               VI   . . .....-.,,_ ............ ....,. ...   fllf,.._...1.1 ...... 1'1'111L._•'l




     Prepared by: Great Lakes Flood Certification, LLC                                                               Loan#:        19547
     Customer:    WORLD BUSINESS LENDERS, LLC                                                                        Certificate#: 57102841-0
     Client#:     224057                                                                                             Date:         03/22/2016

     Borrower:     DERAMO, TRACEY & DERAMO, VINCENT
     Property:     82 SUGAR MILL DR
                   OSPREY, FL 34229-9077


           Attached Is the completed Standard Flood Hazard Detarminat!on Form that indicates that the bulldlng or mobile home
           securing your loan is n.Q1 located ln an area designated by the Federal Emergency Management Agency ("FEMA") as
           a Special Flood Hazard Area rsFHA"}. As a result of thls determlnaUon, you wlll not be required to obtain mandatory
           tlOod Insurance In connecUon with the making of your loan.

          However, lhere is still a risk of flooding, even In non·SFHA's. As such you, or your lender, may want to consider the
          advisability of obtalnlng flood Insurance at reduced rates. You should check with your Insurance agent or company as
          to the coverage types and amounts available to you and make your own determination as to whether you desire any
          such coverage.

          If, however, at any time during the term of your loan the Improved real estate or mobile home securing your loan Is,
          due to re-mapping by FEMA or otherwise, located In an area that has been identified by FEMA as an area having
          spectal flood hazards and In which flood insurance Is available under the National Flood Insurance Program, you will
          be so notified and advised that you must obtain an appropriate amount of flood insurance coverage. If, within 45 days
          after we send you such notification, you fail to purchase flood insurance in an amount not less than the amount we
          advise you is necessary, we shall purchase such flood Insurance on your behalf at your expense, as we are
          authorized to do in accordance with the provisions of Flood Disaster Protection Act of 1973, as amended.

          llWa, the undersigned borrower(s)/applicants{s), hereby understand and agree to an the above.




                                                                                                                       Borrower/Applicant       Date



          Borrower/Applicant          Date                                                                             Borrower/Applicant       Date



          Borrower/Applicant          Date                                                                            Borrower/Applicant        Date
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  Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                                                                                        INSTRUMENT# 2016057339                    2     PG{S)
                                                                                                        5/10/201611 :25 AM
                                                                                                       KAREN E:. RUSHING
                                                                                                 CLERK OF THE CIRCUIT COURT
                                                                                                 SARASOTA COUNTY, FLORIDA
                                                                                            SIMPLIFILE                Receipt# 1982781




                   Prepared by: World Business Lenders, LLC.
                   Address: 120 We!!t 45rti., St l9!h Floor
                            New York, NY 10036



                                                   ASSIGNMENT OF MORTGAGE

                   KNOW ALL MEN BY THESE PRESENTS that Bank of LRke Mills, for value received does
                   hereby sell, assign, transfer, set over and CQnvey unto World Bnsiness Lenders, LLC at 12-0 W.
                   45th St wt11 Ftoor, New York, NY 10036~ all of its right, title Md interest of in and to that
                   certain Mortgage dated 3/241.2Q16. executed by Tracy E. DeRi.mo aud Vincent W. DeRamo,
                   wlfe and husband. (premises A. Bl Yinccnt w. DeR@mo. Irnstcc under Hreement dated
                   ;m1oq and Tracy E. DeRamo. Trustee un!ler amemept dated 317/00 (premises C), and
                   oovcring the following described property:

                                                                     ExhlbitA
                                                                  Legsl Description
                   PRE.MtSESA:
                   Al.t. TH AT CERTAIN lot or place of iyound situate In !he CQunty of sara$Ol.a, s1a111 or Florida.
                   Lot 75; Oak$, accotd!ng to lhe plat thernof rerorded in Plat Sook 28, Pages 49, 48A lh«>ugh 485, lncluslve, of Iha
                   Public Records of Sarasota County, Florkla.

                   PREMlSl!SB:
                   ALI. THAT CERTAIN lot or piece of ground situate In the County of Saras01a, State or Flor!da.

                   Lot 77, Oaks, according to the Plat thereof recorded In Plat BOOk 28, Pages 46, 46A lhrough 49S, lncrus!ve, of the
                   Public Reoords of Sarasota County, Florida.

                   PREMISESC:
                   ALL THAT CERTAl Nkit or piece or ground situate In the City of Sarasota, County Qf Sarasota, State of
                   Florida,
                   Lot 62, SOUTHPOJNTE SHORES, Unit No, 2, asp.er plat thereof, recorded kl Pfat Book 10, Page 68, of
                   Iha Publlc Records of Sarasota C<lunty, Florida.
                   Commonly Known a&: 74 Sugarmlll Prive, Osprny, FL 34229, end 82 SugarmiA Drive, Osprey, Fl Mna
                   and 7614 Penfnsular Drive, Sarasota, FL 34231                                                  '

                   filed for te¢ord on 4/1212016. as Instrument No. 2016043540 and recorded in the Official
                   Reoords of~ County) Florida, togctl1er with note debts and claims secured by said
                   mortgage and the covenants contained therein,




                                                                                                                                                EXHIBIT




Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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               Attorney-in-Fact hereto this 61$1- day of Hi' •          6'>                !' .
               IN WITNESS WHEREOF, Bank orLake MJlls has wus this instrument to be signed by its


                                                             ff~wik f lr.e. AJ{)
                                                         lfy:Ale.x Nadler
                                                        Title: Vice President, World Business Lenders,
                                 ,   l~                 LLC as Attorney·in·Fact for Bnnk of Lake Mills
               State of   ~ \'cV~                       ~ fMl' o1 M.J«~tl raedt~ i>l).yµis 1\ /,t JqoJ I RJ.~l/l.
               County of /f..veu>
                              {   l.J10~
                                       \                al oHrt r)\ I (Wr~S ~    (,';. tllAJ ('Cvi\ i))   f '"'"'·.
               JlE lT RBMBERED, That on thls '.!I!!\- day of         Lvr\ · ,~~J~fure                  me,
               the undersigf\~ a Notary Public in and for sai   unty ~State r-- ~,-~~--'-"'-'----,-.,.--
                       fJo.&lev'                     the               -Th\...                  (title) who
               is personally known to me to be the same person who ex uted the within instrument ofwrlting,
               and duly acknowledged the execution of the same.
                     ITNESS WHEREOF, I have hereunto subS<:rlbed my name and affixed my official se.a.l the
                        year t above written.                       ·


                      PU ,
                             IllitJ.<\A g..,r.i,,,               My commission BxlJ _
                                                                                             <$~
                                                                                               -~'Jdl."'i
 Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 184 of 189 PageID 255


  Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                    This document was prepared by:                                            INSTRUMENT# 2017057402                    3   PG(S)
                    World Business Lenders, LLC                                                                      6/8/20172: 40 PM
                    101 Hudson Street, 33rd Floor                                                             KAREN E. RUSHING
                    Jersey City • NJ 07302                                                                CLERK OF THE CIRCUIT COURT
                                                                                                           SARASOTA COUNTY, FLORIDA
                    Return To:                                                                    SIMPLIFILE              Receipt# 2108967
                    CT LIEN SOLUTIONS
                    PO BOX29071
                    GLENDALE I CA 91209-9071
                    Phone#; 800·331 ·3282




                                                       ASSIGNMENT OF MORTGAGE

                                        1111111111111111111111111111111111111111111111 lllllll 11111111111111111111111111111111
                      For Value Re<:efved, the undersigned holder of a Mortgage (herein ~Assignor") whose address ls 101
                    Hudson sueet, 33rd Floor, Jer'l!loy City, NJ, 07302 , does hereby grant, self, assign, transfer and
                    convey, unto WBL SPE II, I.LC , a corporation organized and existing under the laws of Delaware
                     (herein "Assignee"}, whose address is 101 Hudson Street, 33rd Floor, Jersey City, NJ, 07302, a
                    certain Mortgage dated 0311612016, made and executed by Vincent W. DaRamo, Trustee under
                    agreement dated 3"100, as to an undivided one-half Interest, and Tracy E. DeRamo, Trustee under
                    agreement datad 317/00, as to an undivided one-half Interest, lo end ln favor of Bank of lake Miiis,
                    its successors ancllor assigns upon the following described property situated in Sarasota County , State
                    or Florida:
                    Such Mortgage having been given to secure payment of Four Hundred Fifty seven Thousand Six
                    Hundred Twenty Five doll11rs and Zero cents ( $457,626.00) which Mortgage is of record in:
                    rnstrumenl No: 2016034543, of the Sarasota County Clerk otthe Circuit Court Re.cords of Sarasota
                    County, Slate of Florida, together with the note(s) and obtigalions therein desclibe<I and the money due
                    and 10 become due thereon with Interest, and all rights accrued or to aoorue under such Mortgage.

                    Description/Additional infonnatlr.m: See attached.
                    Orlglnelty Recorded on: 03123/2016
                      TO HAVE AND TO HOLD lhe $ame unto Anlgnee, its $U~uor and aiistgns, forever, subject only to
                    the terms and conditions of the above-<lescribed Mortgage.
                       IN WITNESS WME:RE6F, the undersigned Assignor has executed thlsAsslgnmet'lt of Mortgage on
                   05/0812017.

                    World Business Lenders, LLC
                    (Assignor)



                    it!!'_~ """""'""'""
                    By: ALEX NADLER
                    Its: Vlce President


                                                    Electronic Signature



                    'Nilness FAN FAN


                    I (a$$ ..&~
                                                       __ Ele<trooklSlgnatwe



                    Witne1ss Cassidy Dou




                   P~i   fJ 1 S(IS(.)4026 RPY Relf 1684468 3e~f Fl.1fQ Sa1a~¢l$ C¢U R1!14$~ 7614 F\M~iM\l~I Dr, S$1.$!<)\ll rL 34231                EXHIBIT
                                                                                                                                                      q
                                                    VMP\l?S·FL, VKJLTERS K~Ul/\ER FUWlCIAl GERVICE$ II> 201fi




Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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               STATE OF NEW JERSEY, HUDSON COUNTY

               On May OB, 2017 before me, the undersigned, a notary public in and for said state, personally appeared
               ALEX NADLER, Vic& President of World Business Lenders, LLC personal~ known to me or proved
               to me on the basis of s.atisfactory evidence to be the individual whose name is subscribed to the within
               instfument and acknowle<Jged to me that he/she executed the same in his/her capacity, and that by
               hls/her signature on the Instrumen!, the indlvidual, or the person upon behalf of which the Individual
               acted, executed the instrument.




                                                                                   »L          a'     tf;;ITIJ-          Eie.;;ltooo
                                                                                                                       Notarization

                                                                             Notary Public SETH A, NOTES

                                                                                          Commission Expires: 07115/2021
                                                                                                    SETH A. NOTES
                                                                                              NOTARY PUBLIC OF HEW J!RSe'I'
                                                                                                   Comm. I 50041976
                                                                                              M)I CommlHlon ~,.. 7115'2021




               Pa.go# 2 613W4026 RPY Reff 168448~38~1FL11~ Sarasoia Cou R19464 7814 P~nlni~lar Di', Saruota Fl 34231
                                          VMP99S·FL, VVOLTERS KLUWER FINANCIAL SERVICES©:2016
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 186 of 189 PageID 257




                                                         begal Det1qtlpfjgn


             ALL THAT CERTAIN lot or pieca of ground sl\uate in lhfi!: Clly of Sarasota, county of Si11rasofa, Slate of
             Florida.
             Loi 62. SOUTHPOtNTE SHORES, Unit No. 2, as psrptat lhCJroor, tiaoordad in Plat Book 10, Pago 58, of
             tl1e Public Records of Sarasota Counly, Florida.


             Commonly Known as 7614 Peninsular Drive, Sarasota1 FL 3423.f1          {jjj)
 Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 187 of 189 PageID 258


  Filing# 56527218 E-Filed 05/16/2017 07:09:01 PM
                    This document was prepared by;                                          INSTRUMENT# 2017057407                         3   PGrSl
                    World Business Lenders, LLC                                                                  5/8120172:41 PM
                    101 Hudson Sln)et, 33rd Floor                                                              KAREN E. RUSHING
                    Jersey City , NJ 01302
                                                                                                    CLERK OF THE CIRCUIT COURT
                                                                                                    SARASOTA COUNTY, FLORIDA
                    Return To:                                                                 SIMPLIFILE            Receipt# 2108972
                    CT LIEN SOLUTIONS
                    POBOX29D71
                    GLENDALE, CA 91209-9071
                    Phoni:t #: 800·331·3282




                                                       ASSIGNMENT OF MORTGAGE

                                        111111111111111111111111111   m11111111111111111111111111111111111 11111111111111111
                      For Value Received, the undersigned holder of a Mortgage (herein •Assignor") whose address Is 101
                    Hudson Street, 33rd Floor, Jersey City, NJ, 07302 , does hereby grant, sell, assign, transfer and
                    convey, unto WBL SPE II, LLC, a corporation organized and existing under the laws of Delaware
                     (herein "Assignee"), whose address Is 101 Hudson Street, 33rd Floor, Jers1:1y City, NJ, 07302, a
                    certain Mortgage dated 03/2412016, made and executed by Tracy E. DeRamo and Vincent W.
                    DeRamo, wife and hu$band, (Premises A, B) and Vincent W. DeRamo, Trust&& under agreement
                    dated 311100 and Tracy E. Deramo, Trustee under agreement dated 3/7/00 (Premises C) , to and ln
                    favor of Bank of lalj.e Mills, Its successors and/or assigns upon the fol!owlng described property situated
                    in Sarasota County , state of Florida:

                   such Mortgage having been given to secure payment of Ninety one Thousand TWo Hundred Fifteen
                   dollars and Zero cent& ( $91,215.00) which Mortgage is of record In: Instrument No: 2016043640, of
                   the Sarasota County Clerk of the Clrcult Court Records of Sarasota County, Slate of Florida, together
                   with the note(s) and obllgatlons therein described and the money due and to become due thereon with
                   Interest, and all rights accrued or 10 aecru e under sucll Mortgage.

                    Desoription/Addltfonal Information: See attaohad.
                    Ortglnally Recorded on! 04!1212016
                      TO HAVE ANO TO HOLD lhe same unto Assignee, itf sue«1nor and Hslgns, forever, subject only to
                    the tetms Md C¢ndltions of tM above.<fe:scribed Mortgage.
                       IN 'MTNESS WHEREOF, the understgnedAss!gnor has executed this Assignment of Mortgage on
                    05/0812017 '


                    World Business Lenders, LLC
                    (Assignor)



                    i~-~--'"'-··
                    By: ALEX NADLER
                    Its: Vice President




                    Witness FAN FAN


                    I (a>$•v          ~
                    \Mtness Ca&sidy Dou


                    Page i 1 ™°4016 RPY R$1# i68449Q 31)(1~1FL116 $!!1$$0l(I C<>u R1$$47 74 $v(jllrrnill Olive, 0$Pf'OY1l"l34~29, $M e,2
                    Sugarrrill Drive, 05Pfrtf, FL M2:29, f>lld 7614 Pooinsular Drive, Sarasota. FL 34231
                                                      VM~5·fl, WOLTERS KLUWER FINANCIAL $J;'ll.VICE$ iO 1011'1

                                                                                                                                                       EXHIBIT

                                                                                                                                                I /O
Filed 05/17/2017 09:01 AM - Karen E. Rushing, Clerk of the Circuit Court, Sarasota County, FL
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               STATE OF NEW JERSEY, HUDSON COUNTY

               On May 08, 2017 before me, the undersigned, a notary publlc rn and for sald state, personally appeared
               ALEX NADLER, Vice President of World auslness Lenders, LLC personally known to me or proved
               10 me on the basis of satisfactory evidence to be the individual whose name is subscribed to the within
               lt1$!tument and acknowledged to me that he/she executed the same in hlsJher capacity, and that by
               his/her signature on the Instrument, the individual, or the person upon behalfofwhlch the individual
               acted, executed the instrument.




                                                                                           )iii. er. t/k E~~~G                  Notarization

                                                                                    Notary Public SETH A. NOTES

                                                                                                  Commi&sion Expires: 0711512021
                                                                                                               SETH A. NOTES
                                                                                                       NOTARY PUSUC OF HEW .IRSIY
                                                                                                            Comm. t 5004il76
                                                                                                       MiJ Commlnlon hplrtt 7115'2021




               Pagel :2 5Ml)I01e RPY Reft 11)1)4490 3a~31FL116 8$1$~1)1,a C-0~ R19(i47 74 Su!)(ltmil Olive, Osprey, FL 34229, M<Hl.2:
               Sll\'lam1ill D!We, Osprey, FL 342'29, e.r.d 7614 Peninsular Drive, Sarasota, FL 34231
                                                 VMPOOS·fL, \o\QLTERS l<LUWER fl~lANCIAt SER\llCESC201El
Case 8:17-cv-01435-RAL-MAP Document 2 Filed 06/16/17 Page 189 of 189 PageID 260




              PREM!§§§ A;.

              Al.L TH~T CERTAIN lo\ or pl~Ce ¢f ground $llYllte In uie COU!i~Y Of StlMSO!a, s1111e Of Florj(Ja.
              Lot 75. Oaks. accordln9 to the plat thereof recorded In Plat S<Jok         2a. Pagos 48. 4BA tllrougll 466,
              inclusive I I) f 1he Pf.lblie Rec<tf(I$ or 6\\ra$¢I~ C°-OUlity. Flqllda.
              f?B&MIS6§ B~

              ALI. THAT CERTAIN lot or plei.::e of ground sHttole In the County of sarawtn. State of Florida.
              Lot 77, Oak~. aotQrdflig to the Plat !hereof re~rded in Plat Book 28, Pagas 4&,          4eA throu.gti 4SS.
              Inclusive, of the Public ~cords or Sarasota Courit~. Flodda.



          Commonly Known as 74 Sugarmlll Orive, Osprey, FL 34229. and 82 SugarmW Dri1Je, Osprey, FL 34229
